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           EXHIBIT A
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                                                                               EXHIBIT A - SOUND RECORDINGS

                              Artist                                                          Track                 Registration Number                  Plaintiff
1     Alabama                                             Mountain Music                                        SR0000045289              Arista Music
2     Alan Jackson                                        Drive (For Daddy Gene)                                SR0000311615              Arista Music
3     Alan Jackson                                        It's Five O' Clock Somewhere                          SR0000340026              Arista Music
4     Alan Jackson                                        Where Were You (When the World Stopped Turning)       SR0000311615              Arista Music
5     Alan Jackson                                        www.memory                                            SR0000289367              Arista Music
6     Alicia Keys                                         Butterflyz                                            SR0000299410              Arista Music
7     Alicia Keys                                         Caged Bird                                            SR0000299410              Arista Music
8     Alicia Keys                                         Diary                                                 SR0000346869              Arista Music
9     Alicia Keys                                         Dragon Days                                           SR0000346869              Arista Music
10    Alicia Keys                                         Fallin                                                PA0001328763              Arista Music
11    Alicia Keys                                         Feeling U, Feeling Me (Interlude)                     SR0000346869              Arista Music
12    Alicia Keys                                         Girlfriend                                            SR0000299410              Arista Music
13    Alicia Keys                                         Goodbye                                               SR0000299410              Arista Music
14    Alicia Keys                                         Harlem's Nocturne                                     SR0000346869              Arista Music
15    Alicia Keys                                         Heartburn                                             SR0000346869              Arista Music
16    Alicia Keys                                         If I Ain't Got You                                    SR0000346869              Arista Music
17    Alicia Keys                                         If I Was Your Woman / Walk On By                      SR0000346869              Arista Music
18    Alicia Keys                                         Jane Doe                                              SR0000299410              Arista Music
19    Alicia Keys                                         Karma                                                 SR0000346869              Arista Music
20    Alicia Keys                                         Lesson Learned                                        SR0000627148              Arista Music
21    Alicia Keys                                         Lovin U                                               SR0000299410              Arista Music
22    Alicia Keys                                         Mr. Man                                               SR0000299410              Arista Music
23    Alicia Keys                                         Never Felt This Way                                   SR0000299410              Arista Music
24    Alicia Keys                                         Nobody Not Really (Interlude)                         SR0000346869              Arista Music
25    Alicia Keys                                         Piano & I                                             SR0000299410              Arista Music
26    Alicia Keys                                         Rock Wit U                                            SR0000299410              Arista Music
27    Alicia Keys                                         Samsonite Man                                         SR0000346869              Arista Music
28    Alicia Keys                                         Slow Down                                             SR0000346869              Arista Music
29    Alicia Keys                                         Streets Of New York                                   SR0000379937              Arista Music
30    Alicia Keys                                         The Life                                              SR0000299410              Arista Music
31    Alicia Keys                                         Troubles                                              SR0000299410              Arista Music
32    Alicia Keys                                         Waiting For Your Love                                 SR0000627148              Arista Music
33    Alicia Keys                                         Wake Up                                               SR0000346869              Arista Music
34    Alicia Keys                                         When You Really Love Someone                          SR0000346869              Arista Music
35    Alicia Keys                                         Why Do I Feel So Sad                                  SR0000299410              Arista Music
36    Alicia Keys                                         You Don't Know My Name                                SR0000346869              Arista Music
37    Alicia Keys feat. Lellow                            So Simple                                             SR0000346869              Arista Music
38    Angie Stone feat. Alicia Keys & Eve                 Brotha Part II                                        SR0000303830              Arista Music
39    Brad Paisley                                        All I Wanted Was a Car                                SR0000610946              Arista Music
40    Brad Paisley                                        Better Than This                                      SR0000610946              Arista Music
41    Brad Paisley                                        If Love Was a Plane                                   SR0000610946              Arista Music
42    Brad Paisley                                        I'm Still A Guy                                       SR0000610946              Arista Music
43    Brad Paisley                                        It Did                                                SR0000610946              Arista Music
44    Brad Paisley                                        Letter To Me                                          SR0000610946              Arista Music
45    Brad Paisley                                        Mr. Policeman                                         SR0000610946              Arista Music
46    Brad Paisley                                        Oh Love                                               SR0000610946              Arista Music
47    Brad Paisley                                        Online                                                SR0000610946              Arista Music
48    Brad Paisley                                        Outtake #2                                            SR0000610946              Arista Music
49    Brad Paisley                                        Previously                                            SR0000610946              Arista Music
50    Brad Paisley                                        Some Mistakes                                         SR0000610946              Arista Music
51    Brad Paisley                                        Throttleneck                                          SR0000610946              Arista Music
52    Brad Paisley                                        Ticks                                                 SR0000610946              Arista Music
53    Brad Paisley                                        Waitin' On a Woman                                    SR0000366007              Arista Music
54    Brad Paisley                                        When We All Get to Heaven                             SR0000610946              Arista Music
55    Brad Paisley                                        With You, Without You                                 SR0000610946              Arista Music
56    Brad Paisley feat. The Kung Pao Buckaroos           Bigger Fish to Fry                                    SR0000610946              Arista Music
57    Citizen Cope                                        Bullet And A Target                                   SR0000355314              Arista Music
58    Citizen Cope                                        Deep                                                  SR0000355314              Arista Music
59    Citizen Cope                                        Fame                                                  SR0000355314              Arista Music
60    Citizen Cope                                        Hurricane Waters                                      SR0000355314              Arista Music
61    Citizen Cope                                        My Way Home                                           SR0000355314              Arista Music
62    Citizen Cope                                        Nite Becomes Day                                      SR0000355314              Arista Music
63    Citizen Cope                                        Pablo Picasso                                         SR0000355314              Arista Music
64    Citizen Cope                                        Penitentiary                                          SR0000355314              Arista Music
65    Citizen Cope                                        Sideways                                              SR0000355314              Arista Music
66    Citizen Cope                                        Son's Gonna Rise                                      SR0000355314              Arista Music
67    Diamond Rio                                         Beautiful Mess                                        SR0000319527              Arista Music
68    Etta James                                          Crawlin' King Snake                                   SR0000356724              Arista Music
69    Etta James                                          If I Had Any Pride Left At All                        SR0000279857              Arista Music
70    Etta James                                          I'll Be Seeing You                                    SR0000187947              Arista Music
71    Etta James                                          It's a Man's Man's Man's World                        SR0000386246              Arista Music
72    Etta James                                          I've Been Lovin' You Too Long                         SR0000279857              Arista Music
73    Etta James                                          Strongest Weakness                                    SR0000339597              Arista Music
74    Etta James                                          The Blues Is My Business                              SR0000339597              Arista Music
75    Etta James                                          The Man I Love                                        SR0000187947              Arista Music
76    Etta James                                          The Very Thought Of You                               SR0000187947              Arista Music
77    Etta James                                          Try a Little Tenderness                               SR0000270247              Arista Music
78    Hurricane Chris                                     Beat In My Trunk                                      SR0000620403              Arista Music
79    Hurricane Chris                                     Do Something                                          SR0000620403              Arista Music
80    Hurricane Chris                                     Doin' My Thang                                        SR0000620403              Arista Music
81    Hurricane Chris                                     Leaving You                                           SR0000620403              Arista Music
82    Hurricane Chris                                     New Fashion                                           SR0000620403              Arista Music
83    Hurricane Chris                                     Touch Me                                              SR0000620403              Arista Music
84    Hurricane Chris                                     Walk Like That                                        SR0000620403              Arista Music
85    Hurricane Chris feat. Big Poppa of Ratchet City &   Bang                                                  SR0000620403              Arista Music
      Bigg Redd
86    Hurricane Chris feat. Boxie                         Playas Rock                                           SR0000620403              Arista Music
87    Hurricane Chris feat. Nicole Wray                   Getting Money                                         SR0000620403              Arista Music
88    Hurricane Chris feat. Nicole Wray                   Momma                                                 SR0000620403              Arista Music
89    Kenny Chesney                                       All I Need To Know                                    SR0000208984              Arista Music
90    Kenny Chesney                                       Back Where I Come From                                SR0000277700              Arista Music
91    Kenny Chesney                                       Baptism                                               SR0000263302              Arista Music
92    Kenny Chesney                                       Because Of Your Love                                  SR0000277700              Arista Music
93    Kenny Chesney                                       Don't Happen Twice                                    SR0000277700              Arista Music
94    Kenny Chesney                                       Fall In Love                                          SR0000208984              Arista Music
95    Kenny Chesney                                       For The First Time                                    SR0000277700              Arista Music
96    Kenny Chesney                                       How Forever Feels                                     SR0000263302              Arista Music
97    Kenny Chesney                                       I Lost It                                             SR0000277700              Arista Music
98    Kenny Chesney                                       Me And You                                            SR0000208984              Arista Music
99    Kenny Chesney                                       She Thinks My Tractor's Sexy                          SR0000263302              Arista Music




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                           Artist                                                            Track                Registration Number                    Plaintiff
100   Kenny Chesney                                 She's Got It All                                          SR0000238371              Arista Music
101   Kenny Chesney                                 That's Why I'm Here                                       SR0000238371              Arista Music
102   Kenny Chesney                                 The Tin Man                                               SR0000208984              Arista Music
103   Kenny Chesney                                 When I Close My Eyes                                      SR0000238371              Arista Music
104   Kenny Chesney                                 You Had Me From Hello                                     SR0000263302              Arista Music
105   Luther Vandross                               I'd Rather                                                SR0000298047              Arista Music
106   Luther Vandross                               Take You Out                                              SR0000298047              Arista Music
107   Mario                                         Let Me Love You                                           SR0000363091              Arista Music
108   SWV                                           Anything                                                  SR0000146905              Arista Music
109   SWV                                           Blak Pudd'n                                               SR0000146905              Arista Music
110   SWV                                           Can We                                                    SR0000249300              Arista Music
111   SWV                                           Come And Get Some                                         SR0000249300              Arista Music
112   SWV                                           Coming Home                                               SR0000146905              Arista Music
113   SWV                                           Downtown                                                  SR0000146905              Arista Music
114   SWV                                           Gettin' Funky                                             SR0000249300              Arista Music
115   SWV                                           Give It To Me                                             SR0000146905              Arista Music
116   SWV                                           Give It Up                                                SR0000249300              Arista Music
117   SWV                                           Here For You                                              SR0000249300              Arista Music
118   SWV                                           I'm So Into You                                           SR0000146905              Arista Music
119   SWV                                           It's About Time                                           SR0000146905              Arista Music
120   SWV                                           Lose Myself                                               SR0000249300              Arista Music
121   SWV                                           Love Like This                                            SR0000249300              Arista Music
122   SWV                                           Rain                                                      SR0000249300              Arista Music
123   SWV                                           Release Some Tension                                      SR0000249300              Arista Music
124   SWV                                           Right Here                                                SR0000146905              Arista Music
125   SWV                                           SWV (In The House)                                        SR0000146905              Arista Music
126   SWV                                           That's What I Need                                        SR0000146905              Arista Music
127   SWV                                           Think You're Gonna Like It                                SR0000146905              Arista Music
128   SWV                                           Weak                                                      SR0000146905              Arista Music
129   SWV                                           Weak (A Cappella)                                         SR0000146905              Arista Music
130   SWV                                           When U Cry                                                SR0000249300              Arista Music
131   SWV                                           You're Always On My Mind                                  SR0000146905              Arista Music
132   SWV                                           You're The One                                            PA0001288814              Arista Music
133   SWV feat. Puff Daddy                          Someone                                                   SR0000249300              Arista Music
134   SWV feat. Redman                              Lose My Cool                                              SR0000249300              Arista Music
135   Usher                                         Bad Girl                                                  SR0000354784              Arista Music
136   Usher                                         Burn                                                      SR0000354784              Arista Music
137   Usher                                         Can U Handle It?                                          SR0000354784              Arista Music
138   Usher                                         Caught Up                                                 SR0000354784              Arista Music
139   Usher                                         Confessions                                               SR0000354784              Arista Music
140   Usher                                         Confessions Part II                                       SR0000354784              Arista Music
141   Usher                                         Do It To Me                                               SR0000354784              Arista Music
142   Usher                                         Follow Me                                                 SR0000354784              Arista Music
143   Usher                                         Simple Things                                             SR0000354784              Arista Music
144   Usher                                         Superstar                                                 SR0000354784              Arista Music
145   Usher                                         Take Your Hand                                            SR0000354784              Arista Music
146   Usher                                         That's What It's Made For                                 SR0000354784              Arista Music
147   Usher                                         Throwback                                                 SR0000354784              Arista Music
148   Usher                                         Truth Hurts                                               SR0000354784              Arista Music
149   Usher                                         Yeah!                                                     SR0000354784              Arista Music
150   Waylon Jennings                               Luckenbach, Texas (Back to the Basics of Love)            RE0000919768              Arista Music
151   Whitney Houston                               Cantique De Noël (O Holy Night)                           SR0000353688              Arista Music
152   Whitney Houston                               Deck the Halls / Silent Night                             SR0000353688              Arista Music
153   Whitney Houston                               Have Yourself a Merry Little Christmas                    SR0000353688              Arista Music
154   Whitney Houston                               I'll Be Home for Christmas                                SR0000353688              Arista Music
155   Whitney Houston                               Little Drummer Boy                                        SR0000353688              Arista Music
156   Whitney Houston                               O Come O Come Emanuel                                     SR0000353688              Arista Music
157   Whitney Houston                               One Wish (For Christmas)                                  SR0000353688              Arista Music
158   Whitney Houston                               The Christmas Song (Chestnuts Roasting on an Open Fire)   SR0000353688              Arista Music
159   Whitney Houston                               The First Noel                                            SR0000353688              Arista Music
160   Whitney Houston                               Who Would Imagine A King                                  SR0000353688              Arista Music
161   Whitney Houston with The Georgia Mass Choir   Joy To The World                                          SR0000353688              Arista Music
162   Alan Jackson                                  Chasin' That Neon Rainbow                                 SR0000120465              Arista Records LLC
163   Alan Jackson                                  Chattahoochee                                             SR0000147716              Arista Records LLC
164   Alan Jackson                                  Don't Rock The Jukebox                                    SR0000138302              Arista Records LLC
165   Alan Jackson                                  Everything I Love                                         SR0000227719              Arista Records LLC
166   Alan Jackson                                  Gone Country                                              SR0000202090              Arista Records LLC
167   Alan Jackson                                  Here In The Real World                                    SR0000120465              Arista Records LLC
168   Alan Jackson                                  It Must Be Love                                           SR0000303828              Arista Records LLC
169   Alan Jackson                                  Little Bitty                                              SR0000227719              Arista Records LLC
170   Alan Jackson                                  Little Man                                                SR0000295185              Arista Records LLC
171   Alan Jackson                                  Livin' On Love                                            SR0000202090              Arista Records LLC
172   Alan Jackson                                  Midnight In Montgomery                                    SR0000138302              Arista Records LLC
173   Alan Jackson                                  Pop A Top                                                 SR0000303828              Arista Records LLC
174   Alan Jackson                                  Right On the Money                                        SR0000295185              Arista Records LLC
175   Alan Jackson                                  She's Got the Rhythm (And I Got the Blues)                SR0000147716              Arista Records LLC
176   Alan Jackson                                  Tall, Tall Trees                                          SR0000216936              Arista Records LLC
177   Alan Jackson                                  Who's Cheatin' Who                                        SR0000227719              Arista Records LLC
178   Brandy                                        Sittin' Up In My Room                                     SR0000219539              Arista Records LLC
179   Brooks & Dunn                                 Boot Scootin' Boogie                                      SR0000140290              Arista Records LLC
180   John Williams                                 March from 1941                                           SR0000019891              Arista Records LLC
181   Monica feat. OutKast                          Gone Be Fine                                              SR0000263982              Arista Records LLC
182   OutKast                                       Da Art of Storytellin' (Pt. 1)                            SR0000264092              Arista Records LLC
183   OutKast                                       Da Art of Storytellin' (Pt. 2)                            SR0000264092              Arista Records LLC
184   P!nk                                          Eventually                                                SR0000326672              Arista Records LLC
185   P!nk                                          God Is A DJ                                               SR0000345431              Arista Records LLC
186   P!nk                                          Trouble                                                   SR0000344428              Arista Records LLC
187   Paula DeAnda                                  Breathe                                                   SR0000393631              Arista Records LLC
188   Paula DeAnda                                  Doing Too Much                                            SR0000393631              Arista Records LLC
189   Paula DeAnda                                  Easy                                                      SR0000393631              Arista Records LLC
190   Paula DeAnda                                  Footprints On My Heart                                    SR0000393631              Arista Records LLC
191   Paula DeAnda                                  Good Girl                                                 SR0000393631              Arista Records LLC
192   Paula Deanda                                  I'll Be Down For You                                      SR0000393631              Arista Records LLC
193   Paula DeAnda                                  Overloved                                                 SR0000393631              Arista Records LLC
194   Paula DeAnda                                  So Cold                                                   SR0000393631              Arista Records LLC
195   Paula DeAnda                                  When It Was Me                                            SR0000393631              Arista Records LLC
196   Paula DeAnda feat. Ak'Sent                    Clap Ta This                                              SR0000393631              Arista Records LLC
197   Paula DeAnda feat. P.B.                       Let's Go Out Tonight                                      SR0000393631              Arista Records LLC
198   Paula DeAnda feat. The Dey                    Walk Away (Remember Me)                                   SR0000393631              Arista Records LLC
199   Paula DeAnda feat. V Nice                     Wanna Be With You                                         SR0000393631              Arista Records LLC




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                        Artist                                                  Track               Registration Number                     Plaintiff
200   Run D.M.C.                           Beats to the Rhyme                                    SR0000124365             Arista Records LLC
201   Run D.M.C.                           Down With The King                                    SR0000291221             Arista Records LLC
202   Run D.M.C.                           Faces                                                 SR0000124852             Arista Records LLC
203   Run D.M.C.                           Hit It Run                                            SR0000124846             Arista Records LLC
204   Run D.M.C.                           I'm Not Going Out Like That                           SR0000124365             Arista Records LLC
205   Run D.M.C.                           It's Like That                                        SR0000044959             Arista Records LLC
206   Run D.M.C.                           It's Tricky                                           SR0000124846             Arista Records LLC
207   Run D.M.C.                           King Of Rock                                          SR0000124851             Arista Records LLC
208   Run D.M.C.                           Mary, Mary                                            SR0000124365             Arista Records LLC
209   Run D.M.C.                           My Adidas                                             SR0000124846             Arista Records LLC
210   Run D.M.C.                           Run's House                                           SR0000124365             Arista Records LLC
211   Run D.M.C.                           What's It All About                                   SR0000124852             Arista Records LLC
212   Run D.M.C.                           You Be Illin'                                         SR0000124846             Arista Records LLC
213   Run D.M.C.                           You Talk Too Much                                     SR0000124851             Arista Records LLC
214   Whitney Houston                      Didn't We Almost Have It All                          SR0000089966             Arista Records LLC
215   Whitney Houston                      Exhale                                                SR0000219539             Arista Records LLC
216   Whitney Houston                      Greatest Love Of All                                  SR0000060716             Arista Records LLC
217   Whitney Houston                      How Will I Know                                       SR0000060716             Arista Records LLC
218   Whitney Houston                      I Have Nothing                                        SR0000152583             Arista Records LLC
219   Whitney Houston                      I Wanna Dance With Somebody                           SR0000089966             Arista Records LLC
220   Whitney Houston                      I Will Always Love You                                SR0000152583             Arista Records LLC
221   Whitney Houston                      I'm Every Woman                                       SR0000152583             Arista Records LLC
222   Whitney Houston                      I'm Your Baby Tonight                                 SR0000129257             Arista Records LLC
223   Whitney Houston                      One Moment In Time                                    SR0000097640             Arista Records LLC
224   Whitney Houston                      Run To You                                            SR0000152583             Arista Records LLC
225   Whitney Houston                      Saving All My Love For You                            SR0000060716             Arista Records LLC
226   Whitney Houston                      So Emotional                                          SR0000089966             Arista Records LLC
227   Whitney Houston                      Where Do Broken Hearts Go                             SR0000089966             Arista Records LLC
228   3OH!3                                StarStrukk                                            SR0000652637             Atlantic Recording Corporation
229   Brandy                               (Everything I Do) I Do It For You                     SR0000256701             Atlantic Recording Corporation
230   Brandy                               Afrodisiac                                            SR0000370673             Atlantic Recording Corporation
231   Brandy                               All In Me                                             SR0000345858             Atlantic Recording Corporation
232   Brandy                               Almost Doesn't Count                                  SR0000256701             Atlantic Recording Corporation
233   Brandy                               Always On My Mind                                     SR0000202696             Atlantic Recording Corporation
234   Brandy                               Angel In Disguise                                     SR0000256701             Atlantic Recording Corporation
235   Brandy                               Anybody                                               SR0000345858             Atlantic Recording Corporation
236   Brandy                               Apart                                                 SR0000345858             Atlantic Recording Corporation
237   Brandy                               As Long As You're Here                                SR0000202696             Atlantic Recording Corporation
238   Brandy                               B Rocka Intro                                         SR0000345858             Atlantic Recording Corporation
239   Brandy                               Baby                                                  SR0000202696             Atlantic Recording Corporation
240   Brandy                               Best Friend                                           SR0000202696             Atlantic Recording Corporation
241   Brandy                               Can We                                                SR0000345858             Atlantic Recording Corporation
242   Brandy                               Come A Little Closer                                  SR0000345858             Atlantic Recording Corporation
243   Brandy                               Come As You Are                                       SR0000370673             Atlantic Recording Corporation
244   Brandy                               Die Without You                                       SR0000345858             Atlantic Recording Corporation
245   Brandy                               Finally                                               SR0000370673             Atlantic Recording Corporation
246   Brandy                               Focus                                                 SR0000370673             Atlantic Recording Corporation
247   Brandy                               Full Moon                                             SR0000345858             Atlantic Recording Corporation
248   Brandy                               Give Me You                                           SR0000202696             Atlantic Recording Corporation
249   Brandy                               Happy                                                 SR0000256701             Atlantic Recording Corporation
250   Brandy                               Have You Ever?                                        SR0000256701             Atlantic Recording Corporation
251   Brandy                               He Is                                                 SR0000345858             Atlantic Recording Corporation
252   Brandy                               How I Feel                                            SR0000370673             Atlantic Recording Corporation
253   Brandy                               I Dedicate (Part I)                                   SR0000202696             Atlantic Recording Corporation
254   Brandy                               I Dedicate (Part II)                                  SR0000202696             Atlantic Recording Corporation
255   Brandy                               I Dedicate (Part III)                                 SR0000202696             Atlantic Recording Corporation
256   Brandy                               I Thought                                             SR0000345858             Atlantic Recording Corporation
257   Brandy                               I Tried                                               SR0000370673             Atlantic Recording Corporation
258   Brandy                               I Wanna Be Down                                       SR0000202696             Atlantic Recording Corporation
259   Brandy                               I'm Yours                                             SR0000202696             Atlantic Recording Corporation
260   Brandy                               In The Car Interlude                                  SR0000256701             Atlantic Recording Corporation
261   Brandy                               Intro                                                 SR0000256701             Atlantic Recording Corporation
262   Brandy                               It's Not Worth It                                     SR0000345858             Atlantic Recording Corporation
263   Brandy                               Learn The Hard Way                                    SR0000256701             Atlantic Recording Corporation
264   Brandy                               Like This                                             SR0000345858             Atlantic Recording Corporation
265   Brandy                               Love Is On My Side                                    SR0000202696             Atlantic Recording Corporation
266   Brandy                               Love Wouldn't Count Me Out                            SR0000345858             Atlantic Recording Corporation
267   Brandy                               Movin' On                                             SR0000202696             Atlantic Recording Corporation
268   Brandy                               Necessary                                             SR0000370673             Atlantic Recording Corporation
269   Brandy                               Never Say Never                                       SR0000256701             Atlantic Recording Corporation
270   Brandy                               Nothing                                               SR0000345858             Atlantic Recording Corporation
271   Brandy                               One Voice                                             SR0000256701             Atlantic Recording Corporation
272   Brandy                               Put That On Everything                                SR0000256701             Atlantic Recording Corporation
273   Brandy                               Sadiddy                                               SR0000370673             Atlantic Recording Corporation
274   Brandy                               Say You Will                                          SR0000370673             Atlantic Recording Corporation
275   Brandy                               Should I Go                                           SR0000370673             Atlantic Recording Corporation
276   Brandy                               Sunny Day                                             SR0000202696             Atlantic Recording Corporation
277   Brandy                               Talk About Our Love                                   SR0000370673             Atlantic Recording Corporation
278   Brandy                               Tomorrow                                              SR0000256701             Atlantic Recording Corporation
279   Brandy                               Truthfully                                            SR0000256701             Atlantic Recording Corporation
280   Brandy                               Turn It Up                                            SR0000370673             Atlantic Recording Corporation
281   Brandy                               U Dont Know Me (Like U Used To)                       SR0000256701             Atlantic Recording Corporation
282   Brandy                               What About Us?                                        SR0000345858             Atlantic Recording Corporation
283   Brandy                               When You Touch Me                                     SR0000345858             Atlantic Recording Corporation
284   Brandy                               Where You Wanna Be                                    SR0000370673             Atlantic Recording Corporation
285   Brandy                               Who I Am                                              SR0000370673             Atlantic Recording Corporation
286   Brandy                               Who Is She 2 U                                        SR0000370673             Atlantic Recording Corporation
287   Brandy                               Wow                                                   SR0000345858             Atlantic Recording Corporation
288   Brandy                               Brokenhearted (feat. Wanya Morris)                    SR0000373291             Atlantic Recording Corporation
289   Brandy                               Top Of The World                                      SR0000256701             Atlantic Recording Corporation
290   Brandy & Monica                      The Boy Is Mine                                       SR0000256110             Atlantic Recording Corporation
291   Brandy & Ray J                       Another Day In Paradise                               SR0000373291             Atlantic Recording Corporation
292   Bruno Mars                           Gorilla                                               SR0000715738             Atlantic Recording Corporation
293   Bruno Mars                           Locked Out of Heaven                                  SR0000715738             Atlantic Recording Corporation
294   Bruno Mars                           Treasure                                              SR0000715738             Atlantic Recording Corporation
295   Carolina Liar                        All That Sh** Is Gone                                 SR0000637774             Atlantic Recording Corporation
296   Carolina Liar                        Better Alone                                          SR0000637774             Atlantic Recording Corporation
297   Carolina Liar                        California Bound                                      SR0000637774             Atlantic Recording Corporation
298   Carolina Liar                        Coming To Terms                                       SR0000637774             Atlantic Recording Corporation
299   Carolina Liar                        Done Stealin'                                         SR0000637774             Atlantic Recording Corporation




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                              Artist                                               Track                Registration Number                     Plaintiff
300   Carolina Liar                        I'm Not Over                                             SR0000637774              Atlantic Recording Corporation
301   Carolina Liar                        Last Night                                               SR0000637774              Atlantic Recording Corporation
302   Carolina Liar                        Show Me What I'm Looking For                             SR0000637774              Atlantic Recording Corporation
303   Carolina Liar                        Simple Life                                              SR0000637774              Atlantic Recording Corporation
304   Carolina Liar                        Something To Die For                                     SR0000637774              Atlantic Recording Corporation
305   Carolina Liar                        When You Are Near                                        SR0000637774              Atlantic Recording Corporation
306   Christina Perri                      arms                                                     SR0000704080              Atlantic Recording Corporation
307   Christina Perri                      bang bang bang                                           SR0000704080              Atlantic Recording Corporation
308   Christina Perri                      bluebird                                                 SR0000704080              Atlantic Recording Corporation
309   Christina Perri                      interlude                                                SR0000704080              Atlantic Recording Corporation
310   Christina Perri                      miles                                                    SR0000704080              Atlantic Recording Corporation
311   Christina Perri                      mine                                                     SR0000704080              Atlantic Recording Corporation
312   Christina Perri                      penguin                                                  SR0000704080              Atlantic Recording Corporation
313   Christina Perri                      sad song                                                 SR0000704080              Atlantic Recording Corporation
314   Christina Perri                      the lonely                                               SR0000704080              Atlantic Recording Corporation
315   Christina Perri                      tragedy                                                  SR0000704080              Atlantic Recording Corporation
316   Clean Bandit                         Rather Be                                                SR0000767823              Atlantic Recording Corporation
317   Flo Rida                             21                                                       SR0000672870              Atlantic Recording Corporation
318   Flo Rida                             Ack Like You Know                                        SR0000629161              Atlantic Recording Corporation
319   Flo Rida                             All My Life                                              SR0000629161              Atlantic Recording Corporation
320   Flo Rida                             American Superstar                                       SR0000629161              Atlantic Recording Corporation
321   Flo Rida                             Available                                                SR0000658178              Atlantic Recording Corporation
322   Flo Rida                             Be On You                                                SR0000658178              Atlantic Recording Corporation
323   Flo Rida                             Don't Know How To Act                                    SR0000629161              Atlantic Recording Corporation
324   Flo Rida                             Elevator                                                 SR0000629161              Atlantic Recording Corporation
325   Flo Rida                             Finally Here                                             SR0000658178              Atlantic Recording Corporation
326   Flo Rida                             Freaky Deaky                                             SR0000629161              Atlantic Recording Corporation
327   Flo Rida                             Gotta Get It (Dancer)                                    SR0000658178              Atlantic Recording Corporation
328   Flo Rida                             In My Mind (Part 2)                                      SR0000754532              Atlantic Recording Corporation
329   Flo Rida                             In The Ayer                                              SR0000629161              Atlantic Recording Corporation
330   Flo Rida                             Low                                                      SR0000629161              Atlantic Recording Corporation
331   Flo Rida                             Me & U                                                   SR0000629161              Atlantic Recording Corporation
332   Flo Rida                             Mind On My Money                                         SR0000658178              Atlantic Recording Corporation
333   Flo Rida                             Money Right                                              SR0000629161              Atlantic Recording Corporation
334   Flo Rida                             Ms. Hangover                                             SR0000629161              Atlantic Recording Corporation
335   Flo Rida                             Never                                                    SR0000658178              Atlantic Recording Corporation
336   Flo Rida                             On and On                                                SR0000672870              Atlantic Recording Corporation
337   Flo Rida                             Priceless                                                SR0000629161              Atlantic Recording Corporation
338   Flo Rida                             R.O.O.T.S.                                               SR0000658178              Atlantic Recording Corporation
339   Flo Rida                             Respirator                                               SR0000672870              Atlantic Recording Corporation
340   Flo Rida                             Rewind                                                   SR0000658178              Atlantic Recording Corporation
341   Flo Rida                             Right Round                                              SR0000658178              Atlantic Recording Corporation
342   Flo Rida                             Roll                                                     SR0000629161              Atlantic Recording Corporation
343   Flo Rida                             Shone                                                    SR0000658178              Atlantic Recording Corporation
344   Flo Rida                             Still Missin                                             SR0000629161              Atlantic Recording Corporation
345   Flo Rida                             Sugar                                                    SR0000658178              Atlantic Recording Corporation
346   Flo Rida                             Touch Me                                                 SR0000658178              Atlantic Recording Corporation
347   Flo Rida                             Turn Around (5,4,3,2,1)                                  SR0000672870              Atlantic Recording Corporation
348   Flo Rida                             Who Dat Girl                                             SR0000672870              Atlantic Recording Corporation
349   Flo Rida                             Why You Up In Here                                       SR0000672870              Atlantic Recording Corporation
350   Flo Rida                             Wild Ones                                                SR0000754532              Atlantic Recording Corporation
351   Genesis                              Congo                                                    SR0000239424              Atlantic Recording Corporation
352   Genesis                              I Know What I Like (In Your Wardrobe)                    N10834                    Atlantic Recording Corporation
353   Genesis                              Mama                                                     SR0000047558              Atlantic Recording Corporation
354   Genesis                              The Carpet Crawlers                                      N19639                    Atlantic Recording Corporation
355   Gnarls Barkley                       Crazy                                                    SR0000398345              Atlantic Recording Corporation
356   Gnarls Barkley                       Feng Shui                                                SR0000398345              Atlantic Recording Corporation
357   Gnarls Barkley                       Go-Go Gadget Gospel                                      SR0000398345              Atlantic Recording Corporation
358   Gnarls Barkley                       Gone Daddy Gone                                          SR0000398345              Atlantic Recording Corporation
359   Gnarls Barkley                       Just A Thought                                           SR0000398345              Atlantic Recording Corporation
360   Gnarls Barkley                       Necromancer                                              SR0000398345              Atlantic Recording Corporation
361   Gnarls Barkley                       Online                                                   SR0000398345              Atlantic Recording Corporation
362   Gnarls Barkley                       Smiley Faces                                             SR0000398345              Atlantic Recording Corporation
363   Gnarls Barkley                       St. Elsewhere                                            SR0000398345              Atlantic Recording Corporation
364   Gnarls Barkley                       The Boogie Monster                                       SR0000398345              Atlantic Recording Corporation
365   Gnarls Barkley                       The Last Time                                            SR0000398345              Atlantic Recording Corporation
366   Gnarls Barkley                       Transformer                                              SR0000398345              Atlantic Recording Corporation
367   Gnarls Barkley                       Who Cares?                                               SR0000398345              Atlantic Recording Corporation
368   Grouplove                            Betty's a Bombshell                                      SR0000704081              Atlantic Recording Corporation
369   Grouplove                            Chloe                                                    SR0000704081              Atlantic Recording Corporation
370   Grouplove                            Close Your Eyes and Count to Ten                         SR0000704081              Atlantic Recording Corporation
371   Grouplove                            Colours                                                  SR0000707748              Atlantic Recording Corporation
372   Grouplove                            Cruel and Beautiful World                                SR0000704081              Atlantic Recording Corporation
373   Grouplove                            Don't Say Oh Well                                        SR0000707748              Atlantic Recording Corporation
374   Grouplove                            Get Giddy                                                SR0000707748              Atlantic Recording Corporation
375   Grouplove                            Getaway Car                                              SR0000707748              Atlantic Recording Corporation
376   Grouplove                            Goldcoast                                                SR0000707748              Atlantic Recording Corporation
377   Grouplove                            Itchin' On A Photograph                                  SR0000704081              Atlantic Recording Corporation
378   Grouplove                            Love Will Save Your Soul                                 SR0000704081              Atlantic Recording Corporation
379   Grouplove                            Lovely Cup                                               SR0000704081              Atlantic Recording Corporation
380   Grouplove                            Naked Kids                                               SR0000704081              Atlantic Recording Corporation
381   Grouplove                            Slow                                                     SR0000704081              Atlantic Recording Corporation
382   Grouplove                            Spun                                                     SR0000704081              Atlantic Recording Corporation
383   Grouplove                            Tongue Tied                                              SR0000704081              Atlantic Recording Corporation
384   Hootie & The Blowfish                Be The One                                               SR0000223661              Atlantic Recording Corporation
385   Hootie & The Blowfish                Hey Hey What Can I Do?                                   SR0000207905              Atlantic Recording Corporation
386   Hootie & The Blowfish                Hold My Hand                                             SR0000193960              Atlantic Recording Corporation
387   Hootie & The Blowfish                I Go Blind                                               SR0000230125              Atlantic Recording Corporation
388   Hootie & The Blowfish                I Will Wait                                              SR0000246482              Atlantic Recording Corporation
389   Hootie & The Blowfish                Innocence                                                SR0000334892              Atlantic Recording Corporation
390   Hootie & The Blowfish                Let Her Cry                                              SR0000193960              Atlantic Recording Corporation
391   Hootie & The Blowfish                Not Even The Trees                                       SR0000193960              Atlantic Recording Corporation
392   Hootie & The Blowfish                Old Man & Me                                             SR0000223661              Atlantic Recording Corporation
393   Hootie & The Blowfish                Only Lonely                                              SR0000246482              Atlantic Recording Corporation
394   Hootie & The Blowfish                Only Wanna Be With You                                   SR0000193960              Atlantic Recording Corporation
395   Hootie & The Blowfish                Sad Caper                                                SR0000223661              Atlantic Recording Corporation
396   Hootie & The Blowfish                Space                                                    SR0000334892              Atlantic Recording Corporation
397   Hootie & The Blowfish                Time                                                     SR0000193960              Atlantic Recording Corporation
398   Hootie & The Blowfish                Tucker's Town                                            SR0000223661              Atlantic Recording Corporation
399   Hootie & The Blowfish                Use Me                                                   SR0000311807              Atlantic Recording Corporation




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                        Artist                                                      Track                Registration Number                     Plaintiff
400   Hunter Hayes                         I Want Crazy (Encore)                                     SR0000748751              Atlantic Recording Corporation
401   Jason Mraz                           I Won't Give Up                                           SR0000704463              Atlantic Recording Corporation
402   Kid Rock                             All Summer Long                                           SR0000622796              Atlantic Recording Corporation
403   Kid Rock                             Amen                                                      SR0000622796              Atlantic Recording Corporation
404   Kid Rock                             Blue Jeans And A Rosary                                   SR0000622796              Atlantic Recording Corporation
405   Kid Rock                             Don't Tell Me You Love Me                                 SR0000622796              Atlantic Recording Corporation
406   Kid Rock                             Half Your Age                                             SR0000622796              Atlantic Recording Corporation
407   Kid Rock                             Lowlife (Living The Highlife)                             SR0000622796              Atlantic Recording Corporation
408   Kid Rock                             New Orleans                                               SR0000622796              Atlantic Recording Corporation
409   Kid Rock                             Rock N Roll Jesus                                         SR0000622796              Atlantic Recording Corporation
410   Kid Rock                             Roll On                                                   SR0000622796              Atlantic Recording Corporation
411   Kid Rock                             So Hott                                                   SR0000622796              Atlantic Recording Corporation
412   Kid Rock                             Sugar                                                     SR0000622796              Atlantic Recording Corporation
413   Kid Rock                             When U Love Someone                                       SR0000622796              Atlantic Recording Corporation
414   Led Zeppelin                         Achilles Last Stand                                       N31545                    Atlantic Recording Corporation
415   Led Zeppelin                         All My Love                                               SR0000013105              Atlantic Recording Corporation
416   Led Zeppelin                         D'yer Mak'er                                              N5660                     Atlantic Recording Corporation
417   Led Zeppelin                         Houses Of The Holy                                        N21799                    Atlantic Recording Corporation
418   Led Zeppelin                         In The Evening                                            SR0000013105              Atlantic Recording Corporation
419   Led Zeppelin                         Kashmir                                                   N21799                    Atlantic Recording Corporation
420   Led Zeppelin                         No Quarter                                                N5660                     Atlantic Recording Corporation
421   Led Zeppelin                         Nobody's Fault But Mine                                   N31545                    Atlantic Recording Corporation
422   Led Zeppelin                         Over The Hills And Far Away                               N5660                     Atlantic Recording Corporation
423   Led Zeppelin                         The Song Remains The Same                                 N5660                     Atlantic Recording Corporation
424   Led Zeppelin                         Trampled Underfoot                                        N21799                    Atlantic Recording Corporation
425   Lupe Fiasco                          All Black Everything                                      SR0000704469              Atlantic Recording Corporation
426   Lupe Fiasco                          Beautiful Lasers (2 Ways)                                 SR0000704469              Atlantic Recording Corporation
427   Lupe Fiasco                          Break the Chain                                           SR0000704469              Atlantic Recording Corporation
428   Lupe Fiasco                          Coming Up                                                 SR0000704469              Atlantic Recording Corporation
429   Lupe Fiasco                          I Don't Wanna Care Right Now                              SR0000704469              Atlantic Recording Corporation
430   Lupe Fiasco                          Letting Go                                                SR0000704469              Atlantic Recording Corporation
431   Lupe Fiasco                          Never Forget You                                          SR0000704469              Atlantic Recording Corporation
432   Lupe Fiasco                          Out Of My Head                                            SR0000704469              Atlantic Recording Corporation
433   Lupe Fiasco                          State Run Radio                                           SR0000704469              Atlantic Recording Corporation
434   Lupe Fiasco                          The Show Goes On                                          SR0000704469              Atlantic Recording Corporation
435   Lupe Fiasco                          Till I Get There                                          SR0000704469              Atlantic Recording Corporation
436   Lupe Fiasco                          Words I Never Said                                        SR0000704469              Atlantic Recording Corporation
437   Matchbox Twenty                      English Town                                              SR0000714896              Atlantic Recording Corporation
438   Matchbox Twenty                      How Long                                                  SR0000714896              Atlantic Recording Corporation
439   Matchbox Twenty                      I Will                                                    SR0000714896              Atlantic Recording Corporation
440   Matchbox Twenty                      Like Sugar                                                SR0000714896              Atlantic Recording Corporation
441   Matchbox Twenty                      Our Song                                                  SR0000714896              Atlantic Recording Corporation
442   Matchbox Twenty                      Overjoyed                                                 SR0000714896              Atlantic Recording Corporation
443   Matchbox Twenty                      Put Your Hands Up                                         SR0000714896              Atlantic Recording Corporation
444   Matchbox Twenty                      Radio                                                     SR0000714896              Atlantic Recording Corporation
445   Matchbox Twenty                      She's So Mean                                             SR0000714896              Atlantic Recording Corporation
446   Matchbox Twenty                      Sleeping At The Wheel                                     SR0000714896              Atlantic Recording Corporation
447   Meek Mill                            Amen                                                      SRu001109021              Atlantic Recording Corporation
448   Musiq Soulchild                      backagain                                                 SR0000706644              Atlantic Recording Corporation
449   Musiq Soulchild                      dearjohn                                                  SR0000706644              Atlantic Recording Corporation
450   Musiq Soulchild                      deserveumore                                              SR0000706644              Atlantic Recording Corporation
451   Musiq Soulchild                      ifuleave                                                  SR0000706644              Atlantic Recording Corporation
452   Musiq Soulchild                      iwannabe                                                  SR0000706644              Atlantic Recording Corporation
453   Musiq Soulchild                      loveofmylife                                              SR0000706644              Atlantic Recording Corporation
454   Musiq Soulchild                      moneyright                                                SR0000706644              Atlantic Recording Corporation
455   Musiq Soulchild                      Radio                                                     SR0000706644              Atlantic Recording Corporation
456   Musiq Soulchild                      sobeautiful                                               SR0000706644              Atlantic Recording Corporation
457   Musiq Soulchild                      someone                                                   SR0000706644              Atlantic Recording Corporation
458   Musiq Soulchild                      special                                                   SR0000706644              Atlantic Recording Corporation
459   Musiq Soulchild                      until                                                     SR0000706644              Atlantic Recording Corporation
460   P.O.D.                               Youth Of The Nation                                       SR0000303757              Atlantic Recording Corporation
461   Paramore                             (One Of Those) Crazy Girls                                SR0000724441              Atlantic Recording Corporation
462   Paramore                             Anklebiters                                               SR0000724441              Atlantic Recording Corporation
463   Paramore                             Be Alone                                                  SR0000724441              Atlantic Recording Corporation
464   Paramore                             Born For This                                             SR0000631909              Atlantic Recording Corporation
465   Paramore                             crushcrushcrush                                           SR0000631909              Atlantic Recording Corporation
466   Paramore                             Daydreaming                                               SR0000724441              Atlantic Recording Corporation
467   Paramore                             Fast In My Car                                            SR0000724441              Atlantic Recording Corporation
468   Paramore                             Fences                                                    SR0000631909              Atlantic Recording Corporation
469   Paramore                             For A Pessimist, I'm Pretty Optimistic                    SR0000631909              Atlantic Recording Corporation
470   Paramore                             Future                                                    SR0000724441              Atlantic Recording Corporation
471   Paramore                             Grow Up                                                   SR0000724441              Atlantic Recording Corporation
472   Paramore                             Hallelujah                                                SR0000631909              Atlantic Recording Corporation
473   Paramore                             Hate To See Your Heart Break                              SR0000724441              Atlantic Recording Corporation
474   Paramore                             Interlude: Holiday                                        SR0000724441              Atlantic Recording Corporation
475   Paramore                             Interlude: I'm Not Angry Anymore                          SR0000724441              Atlantic Recording Corporation
476   Paramore                             Interlude: Moving On                                      SR0000724441              Atlantic Recording Corporation
477   Paramore                             Last Hope                                                 SR0000724441              Atlantic Recording Corporation
478   Paramore                             Let The Flames Begin                                      SR0000631909              Atlantic Recording Corporation
479   Paramore                             Miracle                                                   SR0000631909              Atlantic Recording Corporation
480   Paramore                             Now                                                       SR0000724441              Atlantic Recording Corporation
481   Paramore                             Part II                                                   SR0000724441              Atlantic Recording Corporation
482   Paramore                             Proof                                                     SR0000724441              Atlantic Recording Corporation
483   Paramore                             That's What You Get                                       SR0000631909              Atlantic Recording Corporation
484   Paramore                             We Are Broken                                             SR0000631909              Atlantic Recording Corporation
485   Paramore                             When It Rains                                             SR0000631909              Atlantic Recording Corporation
486   Plies                                1 Mo Time                                                 SR0000612286              Atlantic Recording Corporation
487   Plies                                100 Years                                                 SR0000612286              Atlantic Recording Corporation
488   Plies                                Friday                                                    SR0000612286              Atlantic Recording Corporation
489   Plies                                Goons Lurkin                                              SR0000612286              Atlantic Recording Corporation
490   Plies                                I Am The Club                                             SR0000612286              Atlantic Recording Corporation
491   Plies                                I Kno U Workin                                            SR0000612286              Atlantic Recording Corporation
492   Plies                                Kept It Too Real                                          SR0000612286              Atlantic Recording Corporation
493   Plies                                Money Straight                                            SR0000612286              Atlantic Recording Corporation
494   Plies                                Murkin Season                                             SR0000612286              Atlantic Recording Corporation
495   Plies                                On My D**k                                                SR0000612286              Atlantic Recording Corporation
496   Plies                                Runnin' My Momma Crazy                                    SR0000612286              Atlantic Recording Corporation
497   Plies                                The Real Testament Intro                                  SR0000612286              Atlantic Recording Corporation
498   Plies                                You                                                       SR0000612286              Atlantic Recording Corporation
499   Plies                                Shawty                                                    SR0000612286              Atlantic Recording Corporation




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500   Plies feat. Akon                     Hypnotized                                         SR0000612286             Atlantic Recording Corporation
501   Shinedown                            45                                                 SR0000342566             Atlantic Recording Corporation
502   Shinedown                            All I Ever Wanted                                  SR0000342566             Atlantic Recording Corporation
503   Shinedown                            Better Version                                     SR0000342566             Atlantic Recording Corporation
504   Shinedown                            Breaking Inside                                    SR0000673788             Atlantic Recording Corporation
505   Shinedown                            Burning Bright                                     SR0000342566             Atlantic Recording Corporation
506   Shinedown                            Call Me                                            SR0000673788             Atlantic Recording Corporation
507   Shinedown                            Cry For Help                                       SR0000673788             Atlantic Recording Corporation
508   Shinedown                            Crying Out                                         SR0000342566             Atlantic Recording Corporation
509   Shinedown                            Cyanide Sweet Tooth Suicide                        SR0000673788             Atlantic Recording Corporation
510   Shinedown                            Devour                                             SR0000673788             Atlantic Recording Corporation
511   Shinedown                            Fly From The Inside                                SR0000342566             Atlantic Recording Corporation
512   Shinedown                            I Own You                                          SR0000673788             Atlantic Recording Corporation
513   Shinedown                            If You Only Knew                                   SR0000673788             Atlantic Recording Corporation
514   Shinedown                            In Memory                                          SR0000342566             Atlantic Recording Corporation
515   Shinedown                            Lacerated                                          SR0000342566             Atlantic Recording Corporation
516   Shinedown                            Left Out                                           SR0000342566             Atlantic Recording Corporation
517   Shinedown                            Lost In The Crowd                                  SR0000342566             Atlantic Recording Corporation
518   Shinedown                            No More Love                                       SR0000342566             Atlantic Recording Corporation
519   Shinedown                            Second Chance                                      SR0000673788             Atlantic Recording Corporation
520   Shinedown                            Sin With A Grin                                    SR0000673788             Atlantic Recording Corporation
521   Shinedown                            Son Of Sam                                         SR0000673788             Atlantic Recording Corporation
522   Shinedown                            Sound Of Madness                                   SR0000673788             Atlantic Recording Corporation
523   Shinedown                            Stranger Inside                                    SR0000342566             Atlantic Recording Corporation
524   Shinedown                            The Crow & The Butterfly                           SR0000673788             Atlantic Recording Corporation
525   Shinedown                            The Energy                                         SR0000673788             Atlantic Recording Corporation
526   Shinedown                            What A Shame                                       SR0000673788             Atlantic Recording Corporation
527   Trey Songz                           2 Reasons                                          SR0000715080             Atlantic Recording Corporation
528   Trey Songz                           Alone                                              SR0000671697             Atlantic Recording Corporation
529   Trey Songz                           Bad Decisions                                      SR0000715080             Atlantic Recording Corporation
530   Trey Songz                           Blind                                              SR0000671697             Atlantic Recording Corporation
531   Trey Songz                           Bottoms Up                                         SR0000671697             Atlantic Recording Corporation
532   Trey Songz                           Can't Be Friends                                   SR0000671697             Atlantic Recording Corporation
533   Trey Songz                           Chapter V                                          SR0000715080             Atlantic Recording Corporation
534   Trey Songz                           Check Me Out                                       SR0000715080             Atlantic Recording Corporation
535   Trey Songz                           Dive In                                            SR0000715080             Atlantic Recording Corporation
536   Trey Songz                           Don't Be Scared                                    SR0000715080             Atlantic Recording Corporation
537   Trey Songz                           Doorbell                                           SR0000671697             Atlantic Recording Corporation
538   Trey Songz                           Forever Yours                                      SR0000715080             Atlantic Recording Corporation
539   Trey Songz                           Fumble                                             SR0000715080             Atlantic Recording Corporation
540   Trey Songz                           Hail Mary                                          SR0000715080             Atlantic Recording Corporation
541   Trey Songz                           Heart Attack                                       SR0000715080             Atlantic Recording Corporation
542   Trey Songz                           Inside Interlewd                                   SR0000715080             Atlantic Recording Corporation
543   Trey Songz                           Interlude4U                                        SR0000715080             Atlantic Recording Corporation
544   Trey Songz                           Love Faces                                         SR0000671697             Atlantic Recording Corporation
545   Trey Songz                           Made To Be Together                                SR0000671697             Atlantic Recording Corporation
546   Trey Songz                           Massage                                            SR0000671697             Atlantic Recording Corporation
547   Trey Songz                           Never Again                                        SR0000715080             Atlantic Recording Corporation
548   Trey Songz                           Pain (Interlude)                                   SR0000671697             Atlantic Recording Corporation
549   Trey Songz                           Panty Wetter                                       SR0000715080             Atlantic Recording Corporation
550   Trey Songz                           Passion (Interlude)                                SR0000671697             Atlantic Recording Corporation
551   Trey Songz                           Playin' Hard                                       SR0000715080             Atlantic Recording Corporation
552   Trey Songz                           Please Return My Call                              SR0000671697             Atlantic Recording Corporation
553   Trey Songz                           Pleasure (Interlude)                               SR0000671697             Atlantic Recording Corporation
554   Trey Songz                           Pretty Girl's Lie                                  SR0000715080             Atlantic Recording Corporation
555   Trey Songz                           Red Lipstick                                       SR0000671697             Atlantic Recording Corporation
556   Trey Songz                           Simply Amazing                                     SR0000715080             Atlantic Recording Corporation
557   Trey Songz                           Unfortunate                                        SR0000671697             Atlantic Recording Corporation
558   Trey Songz                           Unusual                                            SR0000671697             Atlantic Recording Corporation
559   Trey Songz                           Without A Woman                                    SR0000715080             Atlantic Recording Corporation
560   Trey Songz                           You Just Need Me                                   SR0000671697             Atlantic Recording Corporation
561   Ty Dolla $ign                        Or Nah                                             SR0000743306             Atlantic Recording Corporation
562   Uncle Kracker                        Smile                                              SR0000657108             Atlantic Recording Corporation
563   Waka Flocka Flame                    Bang                                               SR0000672357             Atlantic Recording Corporation
564   Waka Flocka Flame                    Bricksquad                                         SR0000672357             Atlantic Recording Corporation
565   Waka Flocka Flame                    Bustin' At 'Em                                     SR0000672357             Atlantic Recording Corporation
566   Waka Flocka Flame                    F**k The Club Up                                   SR0000672357             Atlantic Recording Corporation
567   Waka Flocka Flame                    F**k This Industry                                 SR0000672357             Atlantic Recording Corporation
568   Waka Flocka Flame                    For My Dawgs                                       SR0000672357             Atlantic Recording Corporation
569   Waka Flocka Flame                    G Check                                            SR0000672357             Atlantic Recording Corporation
570   Waka Flocka Flame                    Grove St. Party                                    SR0000672357             Atlantic Recording Corporation
571   Waka Flocka Flame                    Homies                                             SR0000672357             Atlantic Recording Corporation
572   Waka Flocka Flame                    Karma                                              SR0000672357             Atlantic Recording Corporation
573   Waka Flocka Flame                    Live By The Gun                                    SR0000672357             Atlantic Recording Corporation
574   Waka Flocka Flame                    No Hands                                           SR0000672357             Atlantic Recording Corporation
575   Waka Flocka Flame                    O Let's Do It                                      SR0000672357             Atlantic Recording Corporation
576   Waka Flocka Flame                    Smoke, Drank                                       SR0000672357             Atlantic Recording Corporation
577   Waka Flocka Flame                    Snake In The Grass                                 SR0000672357             Atlantic Recording Corporation
578   Waka Flocka Flame                    TTG (Trained To Go)                                SR0000672357             Atlantic Recording Corporation
579   Wale & Meek Mill                     Bag Of Money                                       SR0000718581             Atlantic Recording Corporation
580   Wiz Khalifa                          Bluffin                                            SR0000715951             Atlantic Recording Corporation
581   Wiz Khalifa                          Fall Asleep                                        SR0000715951             Atlantic Recording Corporation
582   Wiz Khalifa                          Got Everything                                     SR0000715951             Atlantic Recording Corporation
583   Wiz Khalifa                          Initiation                                         SR0000715951             Atlantic Recording Corporation
584   Wiz Khalifa                          Intro                                              SR0000715951             Atlantic Recording Corporation
585   Wiz Khalifa                          It's Nothin                                        SR0000715951             Atlantic Recording Corporation
586   Wiz Khalifa                          Let It Go                                          SR0000715951             Atlantic Recording Corporation
587   Wiz Khalifa                          Medicated                                          SR0000715951             Atlantic Recording Corporation
588   Wiz Khalifa                          No Limit                                           SR0000715951             Atlantic Recording Corporation
589   Wiz Khalifa                          Paperbond                                          SR0000715951             Atlantic Recording Corporation
590   Wiz Khalifa                          Remember You                                       SR0000715951             Atlantic Recording Corporation
591   Wiz Khalifa                          Rise Above                                         SR0000715951             Atlantic Recording Corporation
592   Wiz Khalifa                          The Bluff                                          SR0000715951             Atlantic Recording Corporation
593   Wiz Khalifa                          The Plan                                           SR0000715951             Atlantic Recording Corporation
594   Wiz Khalifa                          Time                                               SR0000715951             Atlantic Recording Corporation
595   Wiz Khalifa                          Up In It                                           SR0000715951             Atlantic Recording Corporation
596   Wiz Khalifa                          Work Hard, Play Hard                               SR0000715951             Atlantic Recording Corporation
597   Zac Brown Band                       Day That I Die                                     SR0000726685             Atlantic Recording Corporation
598   Zac Brown Band                       Goodbye In Her Eyes                                SR0000726685             Atlantic Recording Corporation
599   Zac Brown Band                       Island Song                                        SR0000726685             Atlantic Recording Corporation




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                           Artist                                             Track               Registration Number                     Plaintiff
600   Zac Brown Band                       Lance's Song                                        SR0000726685             Atlantic Recording Corporation
601   Zac Brown Band                       Last But Not Least                                  SR0000726685             Atlantic Recording Corporation
602   Zac Brown Band                       Natural Disaster                                    SR0000726685             Atlantic Recording Corporation
603   Zac Brown Band                       Overnight                                           SR0000726685             Atlantic Recording Corporation
604   Zac Brown Band                       Sweet Annie                                         SR0000726685             Atlantic Recording Corporation
605   Zac Brown Band                       The Wind                                            SR0000726685             Atlantic Recording Corporation
606   Zac Brown Band                       Uncaged                                             SR0000726685             Atlantic Recording Corporation
607   Gorilla Zoe                          Lost                                                SR0000663781             Bad Boy Records LLC
608   The Notorious B.I.G.                 Notorious Thugs                                     SR0000220411             Bad Boy Records LLC
609   Yung Joc                             Brand New                                           SR0000622799             Bad Boy Records LLC
610   Yung Joc                             BYOB                                                SR0000622799             Bad Boy Records LLC
611   Yung Joc                             Chevy Smile                                         SR0000622799             Bad Boy Records LLC
612   Yung Joc                             Cut Throat                                          SR0000622799             Bad Boy Records LLC
613   Yung Joc                             Hustlemania (Skit)                                  SR0000622799             Bad Boy Records LLC
614   Yung Joc                             Hustlenomics                                        SR0000622799             Bad Boy Records LLC
615   Yung Joc                             Livin' The Life                                     SR0000622799             Bad Boy Records LLC
616   Yung Joc                             Pak Man                                             SR0000622799             Bad Boy Records LLC
617   Yung Joc                             Play Your Cards                                     SR0000622799             Bad Boy Records LLC
618   Yung Joc                             Bottle Poppin'                                      SR0000622799             Bad Boy Records LLC
619   Yung Joc                             Coffee Shop                                         SR0000622799             Bad Boy Records LLC
620   Yung Joc                             Getting to da Money                                 SR0000622799             Bad Boy Records LLC
621   Yung Joc                             Hell Yeah                                           SR0000622799             Bad Boy Records LLC
622   Yung Joc                             I'm A G                                             SR0000622799             Bad Boy Records LLC
623   Yung Joc                             Momma                                               SR0000622799             Bad Boy Records LLC
624   5 Seconds Of Summer                  Heartache On The Big Screen                         SR0000741298             Capitol Records, LLC
625   5 Seconds Of Summer                  She Looks So Perfect                                SR0000741298             Capitol Records, LLC
626   5 Seconds Of Summer                  The Only Reason                                     SR0000741298             Capitol Records, LLC
627   5 Seconds Of Summer                  What I Like About You                               SR0000764151             Capitol Records, LLC
628   Avant                                Break Ya Back                                       SR0000648878             Capitol Records, LLC
629   Avant                                French Pedicure                                     SR0000648878             Capitol Records, LLC
630   Avant                                Involve Yourself                                    SR0000648878             Capitol Records, LLC
631   Avant                                Material Things                                     SR0000648878             Capitol Records, LLC
632   Avant                                Out of Character                                    SR0000648878             Capitol Records, LLC
633   Avant                                Perfect Gentleman                                   SR0000648878             Capitol Records, LLC
634   Avant                                Sailing                                             SR0000648878             Capitol Records, LLC
635   Avant                                Sensuality                                          SR0000648878             Capitol Records, LLC
636   Avant                                When It Hurts                                       SR0000649607             Capitol Records, LLC
637   Avant                                Y.O.U.                                              SR0000648878             Capitol Records, LLC
638   Avant feat. Snoop Dogg               Attention                                           SR0000648878             Capitol Records, LLC
639   Blind Melon                          2X4                                                 SR0000262682             Capitol Records, LLC
640   Blind Melon                          All That I Need                                     SR0000336269             Capitol Records, LLC
641   Blind Melon                          Car Seat (God's Presents)                           SR0000262682             Capitol Records, LLC
642   Blind Melon                          Change                                              SR0000384161             Capitol Records, LLC
643   Blind Melon                          Dear Ol' Dad                                        SR0000384161             Capitol Records, LLC
644   Blind Melon                          Deserted                                            SR0000384161             Capitol Records, LLC
645   Blind Melon                          Drive                                               SR0000384161             Capitol Records, LLC
646   Blind Melon                          Dumptruck                                           SR0000262682             Capitol Records, LLC
647   Blind Melon                          Galaxie                                             SR0000262682             Capitol Records, LLC
648   Blind Melon                          Glitch                                              SR0000336269             Capitol Records, LLC
649   Blind Melon                          Hell                                                SR0000336269             Capitol Records, LLC
650   Blind Melon                          Holyman                                             SR0000384161             Capitol Records, LLC
651   Blind Melon                          I Wonder                                            SR0000384161             Capitol Records, LLC
652   Blind Melon                          John Sinclair                                       SR0000336269             Capitol Records, LLC
653   Blind Melon                          Lemonade                                            SR0000262682             Capitol Records, LLC
654   Blind Melon                          Letters From A Porcupine                            SR0000336269             Capitol Records, LLC
655   Blind Melon                          Life Ain't So Shitty                                SR0000336269             Capitol Records, LLC
656   Blind Melon                          Mouthful Of Cavities                                SR0000262682             Capitol Records, LLC
657   Blind Melon                          New Life                                            SR0000262682             Capitol Records, LLC
658   Blind Melon                          No Rain                                             SR0000384161             Capitol Records, LLC
659   Blind Melon                          No Rain (Ripped Away Version)                       SR0000336269             Capitol Records, LLC
660   Blind Melon                          Paper Scratcher                                     SR0000384161             Capitol Records, LLC
661   Blind Melon                          Pull                                                SR0000336269             Capitol Records, LLC
662   Blind Melon                          Seed To A Tree                                      SR0000384161             Capitol Records, LLC
663   Blind Melon                          Skinned                                             SR0000262682             Capitol Records, LLC
664   Blind Melon                          Sleepyhouse                                         SR0000384161             Capitol Records, LLC
665   Blind Melon                          Soak The Sin                                        SR0000384161             Capitol Records, LLC
666   Blind Melon                          Soul One                                            SR0000336269             Capitol Records, LLC
667   Blind Melon                          Soup                                                SR0000336269             Capitol Records, LLC
668   Blind Melon                          St. Andrew's Fall                                   SR0000262682             Capitol Records, LLC
669   Blind Melon                          St. Andrew's Hall                                   SR0000336269             Capitol Records, LLC
670   Blind Melon                          Swallowed                                           SR0000336269             Capitol Records, LLC
671   Blind Melon                          The Duke                                            SR0000262682             Capitol Records, LLC
672   Blind Melon                          The Pusher                                          SR0000336269             Capitol Records, LLC
673   Blind Melon                          Time                                                SR0000384161             Capitol Records, LLC
674   Blind Melon                          Toes Across The Floor                               SR0000262682             Capitol Records, LLC
675   Blind Melon                          Tones Of Home                                       SR0000384161             Capitol Records, LLC
676   Blind Melon                          Vernie                                              SR0000262682             Capitol Records, LLC
677   Blind Melon                          Walk                                                SR0000262682             Capitol Records, LLC
678   Blind Melon                          Wilt                                                SR0000262682             Capitol Records, LLC
679   Capital Cities                       Center Stage                                        SR0000725325             Capitol Records, LLC
680   Capital Cities                       Chartreuse                                          SR0000725325             Capitol Records, LLC
681   Capital Cities                       Chasing You                                         SR0000725325             Capitol Records, LLC
682   Capital Cities                       Farrah Fawcett Hair                                 SR0000725325             Capitol Records, LLC
683   Capital Cities                       I Sold My Bed, But Not My Stereo                    SR0000725325             Capitol Records, LLC
684   Capital Cities                       Kangaroo Court                                      SR0000725325             Capitol Records, LLC
685   Capital Cities                       Lazy Lies                                           SR0000725325             Capitol Records, LLC
686   Capital Cities                       Love Away                                           SR0000725325             Capitol Records, LLC
687   Capital Cities                       Origami                                             SR0000725325             Capitol Records, LLC
688   Capital Cities                       Patience Gets Us Nowhere Fast                       SR0000725325             Capitol Records, LLC
689   Capital Cities                       Safe and Sound                                      SR0000725325             Capitol Records, LLC
690   Capital Cities                       Tell Me How To Live                                 SR0000725325             Capitol Records, LLC
691   Darius Rucker                        Heartbreak Road                                     SR0000724693             Capitol Records, LLC
692   Darius Rucker                        Leavin' The Light On                                SR0000724693             Capitol Records, LLC
693   Darius Rucker                        Lie To Me                                           SR0000724693             Capitol Records, LLC
694   Darius Rucker                        Lost In You                                         SR0000724693             Capitol Records, LLC
695   Darius Rucker                        Miss You                                            SR0000724693             Capitol Records, LLC
696   Darius Rucker                        Radio                                               SR0000724693             Capitol Records, LLC
697   Darius Rucker                        Shine                                               SR0000724693             Capitol Records, LLC
698   Darius Rucker                        Take Me Home                                        SR0000724693             Capitol Records, LLC
699   Darius Rucker                        True Believers                                      SR0000724693             Capitol Records, LLC




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                             Artist                                                     Track               Registration Number                     Plaintiff
700   Darius Rucker                        Wagon Wheel                                                   SR0000724693             Capitol Records, LLC
701   Darius Rucker/Mallary Hope           I Will Love You Still                                         SR0000724693             Capitol Records, LLC
702   Darius Rucker/Sheryl Crow            Love Without You                                              SR0000724693             Capitol Records, LLC
703   David Guetta                         Sweat                                                         SR0000683521             Capitol Records, LLC
704   Garth Brooks                         Dance, The                                                    SR0000109121             Capitol Records, LLC
705   Katy Perry                           Circle The Drain                                              SR0000662268             Capitol Records, LLC
706   Katy Perry                           Dressin' Up                                                   SR0000695553             Capitol Records, LLC
707   Katy Perry                           E.T.                                                          SR0000681293             Capitol Records, LLC
708   Katy Perry                           Firework                                                      SR0000662268             Capitol Records, LLC
709   Katy Perry                           Hummingbird Heartbeat                                         SR0000662268             Capitol Records, LLC
710   Katy Perry                           Last Friday Night (T.G.I.F.)                                  SR0000662268             Capitol Records, LLC
711   Katy Perry                           Last Friday Night (T.G.I.F.) (feat. Missy Elliot)             SR0000695549             Capitol Records, LLC
712   Katy Perry                           Not Like The Movies                                           SR0000662268             Capitol Records, LLC
713   Katy Perry                           Part Of Me                                                    SR0000695742             Capitol Records, LLC
714   Katy Perry                           Peacock                                                       SR0000662268             Capitol Records, LLC
715   Katy Perry                           Pearl                                                         SR0000662268             Capitol Records, LLC
716   Katy Perry                           Teenage Dream                                                 SR0000662267             Capitol Records, LLC
717   Katy Perry                           Teenage Dream (Kaskade Club Remix)                            SR0000662268             Capitol Records, LLC
718   Katy Perry                           The One That Got Away                                         SR0000662268             Capitol Records, LLC
719   Katy Perry                           The One That Got Away (Acoustic)                              SR0000695553             Capitol Records, LLC
720   Katy Perry                           Tommie Sunshine's Megasix Smash-Up                            SR0000695553             Capitol Records, LLC
721   Katy Perry                           Who Am I Living For?                                          SR0000662268             Capitol Records, LLC
722   Katy Perry feat. Snoop Dogg          California Gurls                                              SR0000662264             Capitol Records, LLC
723   Katy Perry feat. Snoop Dogg          California Gurls (Armand Van Helden Remix)                    SR0000669922             Capitol Records, LLC
724   Katy Perry feat. Snoop Dogg          California Gurls (Passion Pit Main Mix)                       SR0000662268             Capitol Records, LLC
725   Lady Antebellum                      All For Love                                                  SR0000724696             Capitol Records, LLC
726   Lady Antebellum                      And The Radio Played                                          SR0000724696             Capitol Records, LLC
727   Lady Antebellum                      As You Turn Away                                              SR0000686148             Capitol Records, LLC
728   Lady Antebellum                      Better Man                                                    SR0000724696             Capitol Records, LLC
729   Lady Antebellum                      Better Off Now (That You're Gone)                             SR0000724696             Capitol Records, LLC
730   Lady Antebellum                      Can't Stand The Rain                                          SR0000724696             Capitol Records, LLC
731   Lady Antebellum                      Cold As Stone                                                 SR0000686148             Capitol Records, LLC
732   Lady Antebellum                      Compass                                                       SR0000750709             Capitol Records, LLC
733   Lady Antebellum                      Dancin' Away With My Heart                                    SR0000686147             Capitol Records, LLC
734   Lady Antebellum                      Downtown                                                      SR0000721174             Capitol Records, LLC
735   Lady Antebellum                      Friday Night                                                  SR0000686148             Capitol Records, LLC
736   Lady Antebellum                      Generation Away                                               SR0000723786             Capitol Records, LLC
737   Lady Antebellum                      Get To Me                                                     SR0000724696             Capitol Records, LLC
738   Lady Antebellum                      Golden                                                        SR0000741953             Capitol Records, LLC
739   Lady Antebellum                      Heart Of The World                                            SR0000686148             Capitol Records, LLC
740   Lady Antebellum                      I Run To You                                                  SR0000732681             Capitol Records, LLC
741   Lady Antebellum                      It Ain't Pretty                                               SR0000724696             Capitol Records, LLC
742   Lady Antebellum                      Just A Kiss                                                   SR0000679267             Capitol Records, LLC
743   Lady Antebellum                      Life As We Know It                                            SR0000724696             Capitol Records, LLC
744   Lady Antebellum                      Long Teenage Goodbye                                          SR0000724696             Capitol Records, LLC
745   Lady Antebellum                      Love I've Found In You                                        SR0000686148             Capitol Records, LLC
746   Lady Antebellum                      Nothin' Like The First Time                                   SR0000724696             Capitol Records, LLC
747   Lady Antebellum                      Singing Me Home                                               SR0000686148             Capitol Records, LLC
748   Lady Antebellum                      Somewhere Love Remains                                        SR0000686148             Capitol Records, LLC
749   Lady Antebellum                      Wanted You More                                               SR0000686145             Capitol Records, LLC
750   Lady Antebellum                      We Owned The Night                                            SR0000686144             Capitol Records, LLC
751   Lady Antebellum                      When You Were Mine                                            SR0000686148             Capitol Records, LLC
752   Luke Bryan                           Beer In The Headlights                                        SR0000728445             Capitol Records, LLC
753   Luke Bryan                           Better Than My Heart                                          SR0000728445             Capitol Records, LLC
754   Luke Bryan                           Blood Brothers                                                SR0000722027             Capitol Records, LLC
755   Luke Bryan                           Crash My Party                                                SR0000722027             Capitol Records, LLC
756   Luke Bryan                           Dirt Road Diary                                               SR0000722027             Capitol Records, LLC
757   Luke Bryan                           Drink A Beer                                                  SR0000728445             Capitol Records, LLC
758   Luke Bryan                           Goodbye Girl                                                  SR0000728445             Capitol Records, LLC
759   Luke Bryan                           Out Like That                                                 SR0000728445             Capitol Records, LLC
760   Luke Bryan                           Play It Again                                                 SR0000728445             Capitol Records, LLC
761   Luke Bryan                           Roller Coaster                                                SR0000728445             Capitol Records, LLC
762   Luke Bryan                           Shut It Down                                                  SR0000728445             Capitol Records, LLC
763   Luke Bryan                           Sunburnt Lips                                                 SR0000728445             Capitol Records, LLC
764   Luke Bryan                           That's My Kind Of Night                                       SR0000728445             Capitol Records, LLC
765   Luke Bryan                           We Run This Town                                              SR0000728445             Capitol Records, LLC
766   Luke Bryan                           What Is It With You                                           SR0000728445             Capitol Records, LLC
767   Luke Bryan                           Your Mama Should've Named You Whiskey                         SR0000728445             Capitol Records, LLC
768   Maze                                 Before I Let Go                                               SR0000034187             Capitol Records, LLC
769   Maze                                 Changing Times                                                SR0000034187             Capitol Records, LLC
770   Maze                                 Dee's Song (Live)                                             SR0000337846             Capitol Records, LLC
771   Maze                                 Feel That You're Feelin'                                      SR0000034187             Capitol Records, LLC
772   Maze                                 Feel That You're Feelin' (Live)                               SR0000337846             Capitol Records, LLC
773   Maze                                 Golden Time Of Day                                            SR0000007973             Capitol Records, LLC
774   Maze                                 I Wanna Thank You (Live)                                      SR0000337846             Capitol Records, LLC
775   Maze                                 I Want To Feel Wanted (Live)                                  SR0000337846             Capitol Records, LLC
776   Maze                                 Introduction                                                  SR0000034187             Capitol Records, LLC
777   Maze                                 Joy And Pain                                                  SR0000034187             Capitol Records, LLC
778   Maze                                 Lady Of Magic                                                 SR0000048450             Capitol Records, LLC
779   Maze                                 Reason                                                        SR0000034187             Capitol Records, LLC
780   Maze                                 Running Away                                                  SR0000034187             Capitol Records, LLC
781   Maze                                 Running Away (Live)                                           SR0000337846             Capitol Records, LLC
782   Maze                                 We Are One (Live)                                             SR0000337846             Capitol Records, LLC
783   Maze                                 You (Live)                                                    SR0000096013             Capitol Records, LLC
784   Maze feat. Frankie Beverly           Ain't It Strange                                              SR0000008107             Capitol Records, LLC
785   Maze feat. Frankie Beverly           Back In Stride                                                SR0000337846             Capitol Records, LLC
786   Maze feat. Frankie Beverly           Back In Stride (Live)                                         SR0000337846             Capitol Records, LLC
787   Maze feat. Frankie Beverly           Call On Me                                                    SR0000008107             Capitol Records, LLC
788   Maze feat. Frankie Beverly           Feel That You're Feelin'                                      SR0000007931             Capitol Records, LLC
789   Maze feat. Frankie Beverly           Freedom (South Africa) (Live)                                 SR0000337846             Capitol Records, LLC
790   Maze feat. Frankie Beverly           Happy Feelings (Live)                                         SR0000096013             Capitol Records, LLC
791   Maze feat. Frankie Beverly           I Need You                                                    SR0000007973             Capitol Records, LLC
792   Maze feat. Frankie Beverly           I Wanna Thank You                                             SR0000046840             Capitol Records, LLC
793   Maze feat. Frankie Beverly           Lovely Inspiration (Instrumental)                             SR0000008107             Capitol Records, LLC
794   Maze feat. Frankie Beverly           Song For My Mother                                            SR0000007973             Capitol Records, LLC
795   Maze feat. Frankie Beverly           Time Is On My Side                                            SR0000349929             Capitol Records, LLC
796   Maze feat. Frankie Beverly           Timin'                                                        SR0000008107             Capitol Records, LLC
797   Maze feat. Frankie Beverly           Too Many Games (Live)                                         SR0000337846             Capitol Records, LLC
798   Maze feat. Frankie Beverly           Welcome Home                                                  SR0000008107             Capitol Records, LLC
799   Maze feat. Frankie Beverly           When You Love Someone (Live)                                  SR0000337846             Capitol Records, LLC




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                            Artist                                                Track                Registration Number                     Plaintiff
800   Maze feat. Frankie Beverly           Woman Is A Wonder                                       SR0000008107              Capitol Records, LLC
801   Maze feat. Frankie Beverly           You                                                     N39985                    Capitol Records, LLC
802   Maze feat. Frankie Beverly           Your Own Kind Of Way                                    SR0000046840              Capitol Records, LLC
803   Maze feat. Frankie Beverly           You're Not The Same                                     SR0000007973              Capitol Records, LLC
804   Rolling Stones                       Harlem Shuffle                                          SR0000071259              Capitol Records, LLC
805   CeeLo Green                          Bodies                                                  SR0000673160              Elektra Entertainment Group Inc.
806   CeeLo Green                          Bright Lights Bigger City                               SR0000673160              Elektra Entertainment Group Inc.
807   CeeLo Green                          Cry Baby                                                SR0000673160              Elektra Entertainment Group Inc.
808   CeeLo Green                          Forget You                                              SR0000673158              Elektra Entertainment Group Inc.
809   CeeLo Green                          I Want You                                              SR0000673160              Elektra Entertainment Group Inc.
810   CeeLo Green                          It's OK                                                 SR0000673160              Elektra Entertainment Group Inc.
811   CeeLo Green                          Love Gun                                                SR0000673160              Elektra Entertainment Group Inc.
812   CeeLo Green                          No One's Gonna Love You                                 SR0000673160              Elektra Entertainment Group Inc.
813   CeeLo Green                          Old Fashioned                                           SR0000673160              Elektra Entertainment Group Inc.
814   CeeLo Green                          Satisfied                                               SR0000673160              Elektra Entertainment Group Inc.
815   CeeLo Green                          The Lady Killer Theme (Intro)                           SR0000673160              Elektra Entertainment Group Inc.
816   CeeLo Green                          The Lady Killer Theme (Outro)                           SR0000673160              Elektra Entertainment Group Inc.
817   CeeLo Green                          Wildflower                                              SR0000673160              Elektra Entertainment Group Inc.
818   Fitz & The Tantrums                  6am                                                     SR0000724442              Elektra Entertainment Group Inc.
819   Fitz & The Tantrums                  Break The Walls                                         SR0000724442              Elektra Entertainment Group Inc.
820   Fitz & The Tantrums                  Fools Gold                                              SR0000724442              Elektra Entertainment Group Inc.
821   Fitz & The Tantrums                  Get Away                                                SR0000724442              Elektra Entertainment Group Inc.
822   Fitz & The Tantrums                  House On Fire                                           SR0000724442              Elektra Entertainment Group Inc.
823   Fitz & The Tantrums                  Keepin Our Eyes Out                                     SR0000724442              Elektra Entertainment Group Inc.
824   Fitz & The Tantrums                  Last Raindrop                                           SR0000724442              Elektra Entertainment Group Inc.
825   Fitz & The Tantrums                  MerryGoRound                                            SR0000724442              Elektra Entertainment Group Inc.
826   Fitz & The Tantrums                  Out Of My League                                        SR0000724442              Elektra Entertainment Group Inc.
827   Fitz & The Tantrums                  Spark                                                   SR0000724442              Elektra Entertainment Group Inc.
828   Fitz & The Tantrums                  The End                                                 SR0000724442              Elektra Entertainment Group Inc.
829   Fitz & The Tantrums                  The Walker                                              SR0000724442              Elektra Entertainment Group Inc.
830   George Jones                         Choices                                                 SR0000178893              Elektra Entertainment Group Inc.
831   Grover Washington, Jr.               Just The Two Of Us                                      SR0000023451              Elektra Entertainment Group Inc.
832   Keith Sweat                          (There You Go) Tellin' Me No Again                      SR0000150241              Elektra Entertainment Group Inc.
833   Keith Sweat                          Come With Me                                            SR0000226496              Elektra Entertainment Group Inc.
834   Keith Sweat                          Don't Stop Your Love                                    SR0000086761              Elektra Entertainment Group Inc.
835   Keith Sweat                          How Deep Is Your Love                                   SR0000086761              Elektra Entertainment Group Inc.
836   Keith Sweat                          I Want Her                                              SR0000085227              Elektra Entertainment Group Inc.
837   Keith Sweat                          I'll Give All My Love To You                            SR0000150379              Elektra Entertainment Group Inc.
838   Keith Sweat                          Make It Last Forever                                    SR0000086761              Elektra Entertainment Group Inc.
839   Keith Sweat                          Merry Go Round                                          SR0000150379              Elektra Entertainment Group Inc.
840   Keith Sweat                          Right And A Wrong Way                                   SR0000086761              Elektra Entertainment Group Inc.
841   Keith Sweat                          Something Just Ain't Right                              SR0000086761              Elektra Entertainment Group Inc.
842   Keith Sweat                          Why Me Baby?                                            SR0000150241              Elektra Entertainment Group Inc.
843   Keith Sweat                          Yumi                                                    SR0000226496              Elektra Entertainment Group Inc.
844   Keith Sweat                          Get Up On It                                            SR0000193836              Elektra Entertainment Group Inc.
845   The Cure                             10:15 Saturday Night                                    SR0000072309              Elektra Entertainment Group Inc.
846   The Cure                             A Night Like This                                       SR0000065872              Elektra Entertainment Group Inc.
847   The Cure                             Boys Don't Cry                                          SR0000075783              Elektra Entertainment Group Inc.
848   The Cure                             Charlotte Sometimes                                     SR0000192615              Elektra Entertainment Group Inc.
849   The Cure                             Closedown                                               SR0000104305              Elektra Entertainment Group Inc.
850   The Cure                             In Between Days                                         SR0000065872              Elektra Entertainment Group Inc.
851   The Cure                             Jumping Someone Else's Train                            SR0000072371              Elektra Entertainment Group Inc.
852   The Cure                             Killing An Arab                                         SR0000072371              Elektra Entertainment Group Inc.
853   The Cure                             The Hanging Garden                                      SR0000036019              Elektra Entertainment Group Inc.
854   The Cure                             Untitled                                                SR0000104305              Elektra Entertainment Group Inc.
855   Third Eye Blind                      10 Days Late                                            SR0000278241              Elektra Entertainment Group Inc.
856   Third Eye Blind                      1000 Julys                                              SR0000278241              Elektra Entertainment Group Inc.
857   Third Eye Blind                      An Ode To Maybe                                         SR0000278241              Elektra Entertainment Group Inc.
858   Third Eye Blind                      Anything                                                SR0000278241              Elektra Entertainment Group Inc.
859   Third Eye Blind                      Burning Man                                             SR0000188673              Elektra Entertainment Group Inc.
860   Third Eye Blind                      Camouflage                                              SR0000278241              Elektra Entertainment Group Inc.
861   Third Eye Blind                      Darwin                                                  SR0000278241              Elektra Entertainment Group Inc.
862   Third Eye Blind                      Farther                                                 SR0000278241              Elektra Entertainment Group Inc.
863   Third Eye Blind                      God Of Wine                                             SR0000188673              Elektra Entertainment Group Inc.
864   Third Eye Blind                      Good For You                                            SR0000188673              Elektra Entertainment Group Inc.
865   Third Eye Blind                      Graduate                                                SR0000188673              Elektra Entertainment Group Inc.
866   Third Eye Blind                      How's It Going To Be                                    SR0000188673              Elektra Entertainment Group Inc.
867   Third Eye Blind                      I Want You                                              SR0000188673              Elektra Entertainment Group Inc.
868   Third Eye Blind                      Jumper                                                  SR0000188673              Elektra Entertainment Group Inc.
869   Third Eye Blind                      London                                                  SR0000188673              Elektra Entertainment Group Inc.
870   Third Eye Blind                      Losing A Whole Year                                     SR0000188673              Elektra Entertainment Group Inc.
871   Third Eye Blind                      Motorcycle Drive By                                     SR0000188673              Elektra Entertainment Group Inc.
872   Third Eye Blind                      Narcolepsy                                              SR0000188673              Elektra Entertainment Group Inc.
873   Third Eye Blind                      Never Let You Go                                        SR0000278241              Elektra Entertainment Group Inc.
874   Third Eye Blind                      Semi-Charmed Life                                       SR0000188673              Elektra Entertainment Group Inc.
875   Third Eye Blind                      Slow Motion                                             SR0000278241              Elektra Entertainment Group Inc.
876   Third Eye Blind                      Thanks A Lot                                            SR0000188673              Elektra Entertainment Group Inc.
877   Third Eye Blind                      The Background                                          SR0000188673              Elektra Entertainment Group Inc.
878   Third Eye Blind                      The Red Summer Sun                                      SR0000278241              Elektra Entertainment Group Inc.
879   Third Eye Blind                      Wounded                                                 SR0000278241              Elektra Entertainment Group Inc.
880   Cobra Starship                       Cobras Never Say Die                                    SR0000711457              Fueled By Ramen LLC
881   Cobra Starship                       Fold Your Hands Child                                   SR0000657140              Fueled By Ramen LLC
882   Cobra Starship                       Good Girls Go Bad                                       SR0000657140              Fueled By Ramen LLC
883   Cobra Starship                       Hot Mess                                                SR0000657140              Fueled By Ramen LLC
884   Cobra Starship                       I May Be Rude But I'm The Truth                         SR0000711457              Fueled By Ramen LLC
885   Cobra Starship                       Living In The Sky With Diamonds                         SR0000657140              Fueled By Ramen LLC
886   Cobra Starship                       Move Like You Gonna Die                                 SR0000657140              Fueled By Ramen LLC
887   Cobra Starship                       Nice Guys Finish Last                                   SR0000657140              Fueled By Ramen LLC
888   Cobra Starship                       Pete Wentz Is The Only Reason We're Famous              SR0000657140              Fueled By Ramen LLC
889   Cobra Starship                       The Scene Is Dead; Long Live The Scene                  SR0000657140              Fueled By Ramen LLC
890   Cobra Starship                       The World Will Never Do                                 SR0000657140              Fueled By Ramen LLC
891   Cobra Starship                       Wet Hot American Summer                                 SR0000657140              Fueled By Ramen LLC
892   Cobra Starship                       You're Not In On The Joke                               SR0000657140              Fueled By Ramen LLC
893   fun.                                 All Alone                                               SR0000704930              Fueled By Ramen LLC
894   fun.                                 All Alright                                             SR0000704930              Fueled By Ramen LLC
895   fun.                                 Carry On                                                SR0000704930              Fueled By Ramen LLC
896   fun.                                 It Gets Better                                          SR0000704930              Fueled By Ramen LLC
897   fun.                                 One Foot                                                SR0000704930              Fueled By Ramen LLC
898   fun.                                 Out on the Town                                         SR0000704930              Fueled By Ramen LLC
899   fun.                                 Some Nights                                             SR0000704930              Fueled By Ramen LLC




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                              Artist                                        Track                Registration Number                    Plaintiff
900   fun.                                 Some Nights (Intro)                               SR0000704930              Fueled By Ramen LLC
901   fun.                                 Stars                                             SR0000704930              Fueled By Ramen LLC
902   fun.                                 We Are Young                                      SR0000704930              Fueled By Ramen LLC
903   Gym Class Heroes                     The Fighter                                       SR0000704012              Fueled By Ramen LLC
904   Travie McCoy                         Billionaire                                       SR0000706137              Fueled By Ramen LLC
905   Young the Giant                      Anagram                                           SR0000746139              Fueled By Ramen LLC
906   Young the Giant                      Camera                                            SR0000746139              Fueled By Ramen LLC
907   Young the Giant                      Crystallized                                      SR0000746139              Fueled By Ramen LLC
908   Young the Giant                      Daydreamer                                        SR0000746139              Fueled By Ramen LLC
909   Young the Giant                      Eros                                              SR0000746139              Fueled By Ramen LLC
910   Young the Giant                      Firelight                                         SR0000746139              Fueled By Ramen LLC
911   Young the Giant                      In My Home                                        SR0000746139              Fueled By Ramen LLC
912   Young the Giant                      Mind Over Matter                                  SR0000746139              Fueled By Ramen LLC
913   Young the Giant                      Paralysis                                         SR0000746139              Fueled By Ramen LLC
914   Young the Giant                      Slow Dive                                         SR0000746139              Fueled By Ramen LLC
915   Young the Giant                      Teachers                                          SR0000746139              Fueled By Ramen LLC
916   Young the Giant                      Waves                                             SR0000746139              Fueled By Ramen LLC
917   Ciara                                Go Girl                                           PA0001640177              LaFace Records LLC
918   OutKast                              E.T. (Extraterrestrial)                           SR0000233296              LaFace Records LLC
919   OutKast                              Funkin' Around                                    SR0000326671              LaFace Records LLC
920   OutKast                              Hollywood Divorce                                 SR0000395944              LaFace Records LLC
921   OutKast                              Morris Brown                                      SR0000395944              LaFace Records LLC
922   OutKast                              Movin' Cool (The After Party)                     SR0000326671              LaFace Records LLC
923   OutKast                              So Fresh, So Clean                                SR0000306741              LaFace Records LLC
924   OutKast                              The Whole World                                   SR0000309898              LaFace Records LLC
925   OutKast                              Wailin'                                           SR0000233296              LaFace Records LLC
926   OutKast                              You May Die                                       SR0000233296              LaFace Records LLC
927   P!nk                                 Ave Mary A                                        SR0000619959              LaFace Records LLC
928   P!nk                                 Crystal Ball                                      SR0000619959              LaFace Records LLC
929   P!nk                                 Glitter In The Air                                SR0000619959              LaFace Records LLC
930   P!nk                                 It's All Your Fault                               SR0000619959              LaFace Records LLC
931   P!nk                                 Mean                                              SR0000619959              LaFace Records LLC
932   P!nk                                 Most Girls                                        SR0000279958              LaFace Records LLC
933   P!nk                                 Nobody Knows                                      SR0000395942              LaFace Records LLC
934   P!nk                                 One Foot Wrong                                    SR0000619959              LaFace Records LLC
935   TLC                                  Can I Get a Witness-Interlude                     SR0000198743              LaFace Records LLC
936   TLC                                  Case Of The Fake People                           SR0000198743              LaFace Records LLC
937   TLC                                  CrazySexyCool-Interlude                           SR0000198743              LaFace Records LLC
938   TLC                                  Creep                                             SR0000198743              LaFace Records LLC
939   TLC                                  Diggin' on You                                    SR0000198743              LaFace Records LLC
940   TLC                                  If I Was Your Girlfriend                          SR0000198743              LaFace Records LLC
941   TLC                                  Intermission-lude                                 SR0000198743              LaFace Records LLC
942   TLC                                  Intro-Iude                                        SR0000198743              LaFace Records LLC
943   TLC                                  Kick Your Game                                    SR0000198743              LaFace Records LLC
944   TLC                                  Let's Do It Again                                 SR0000198743              LaFace Records LLC
945   TLC                                  Sexy-Interlude                                    SR0000198743              LaFace Records LLC
946   TLC                                  Sumthin' Wicked This Way Comes                    SR0000198743              LaFace Records LLC
947   TLC                                  Switch                                            SR0000198743              LaFace Records LLC
948   TLC                                  Take Our Time                                     SR0000198743              LaFace Records LLC
949   TLC                                  Waterfalls                                        SR0000198743              LaFace Records LLC
950   Usher                                Bedtime                                           SR0000257730              LaFace Records LLC
951   Usher                                Can U Help Me                                     SR0000307207              LaFace Records LLC
952   Usher                                Come Back                                         SR0000257730              LaFace Records LLC
953   Usher                                I Will                                            SR0000257730              LaFace Records LLC
954   Usher                                Just Like Me                                      SR0000257730              LaFace Records LLC
955   Usher                                Love In This Club, Part II                        SR0000620940              LaFace Records LLC
956   Usher                                My Way                                            SR0000257730              LaFace Records LLC
957   Usher                                Nice And Slow                                     SR0000257730              LaFace Records LLC
958   Usher                                One Day You'll Be Mine                            SR0000257730              LaFace Records LLC
959   Usher                                Twork It Out                                      SR0000307207              LaFace Records LLC
960   Usher                                U Don't Have to Call                              SR0000307207              LaFace Records LLC
961   Usher                                U Got It Bad                                      SR0000307207              LaFace Records LLC
962   Usher                                U Remind Me                                       SR0000307207              LaFace Records LLC
963   Usher                                You Make Me Wanna...                              SR0000257730              LaFace Records LLC
964   Usher feat. Monica                   Slow Jam                                          SR0000257730              LaFace Records LLC
965   Usher feat. will.i.am                What's Your Name                                  SR0000620940              LaFace Records LLC
966   Alanis Morissette                    Crazy (James Michael Mix)                         SR0000382587              Maverick Recording Company
967   Alanis Morissette                    Eight Easy Steps                                  SR0000356595              Maverick Recording Company
968   Alanis Morissette                    Everything                                        SR0000356595              Maverick Recording Company
969   Alanis Morissette                    Hand In My Pocket                                 SR0000213545              Maverick Recording Company
970   Alanis Morissette                    Hands Clean                                       SR0000315266              Maverick Recording Company
971   Alanis Morissette                    Head Over Feet                                    SR0000213545              Maverick Recording Company
972   Alanis Morissette                    Ironic                                            SR0000213545              Maverick Recording Company
973   Alanis Morissette                    Princes Familiar                                  SR0000276685              Maverick Recording Company
974   Alanis Morissette                    Simple Together                                   SR0000314676              Maverick Recording Company
975   Alanis Morissette                    Sister Blister                                    SR0000315266              Maverick Recording Company
976   Alanis Morissette                    Still                                             SR0000276563              Maverick Recording Company
977   Alanis Morissette                    Thank U                                           SR0000228847              Maverick Recording Company
978   Alanis Morissette                    That I Would Be Good                              SR0000228847              Maverick Recording Company
979   Alanis Morissette                    Uninvited                                         SR0000252550              Maverick Recording Company
980   Alanis Morissette                    You Learn                                         SR0000213545              Maverick Recording Company
981   Alanis Morissette                    You Oughta Know                                   SR0000213545              Maverick Recording Company
982   Muse                                 Cave                                              SR0000273528              Maverick Recording Company
983   Muse                                 Muscle Museum                                     SR0000273528              Maverick Recording Company
984   Muse                                 Sunburn                                           SR0000273528              Maverick Recording Company
985   Muse                                 Unintended                                        SR0000273528              Maverick Recording Company
986   Muse                                 Uno                                               SR0000273528              Maverick Recording Company
987   Wilco                                Airline To Heaven                                 SR0000374907              Nonesuch Records Inc.
988   Casting Crowns                       Already There                                     SR0000689742              Provident Label Group, LLC
989   Casting Crowns                       City On The Hill                                  SR0000689742              Provident Label Group, LLC
990   Casting Crowns                       Courageous                                        SR0000689742              Provident Label Group, LLC
991   Casting Crowns                       Face Down                                         SR0000689742              Provident Label Group, LLC
992   Casting Crowns                       Jesus, Friend Of Sinners                          SR0000689742              Provident Label Group, LLC
993   Casting Crowns                       Just Another Birthday                             SR0000689742              Provident Label Group, LLC
994   Casting Crowns                       My Own Worst Enemy                                SR0000689742              Provident Label Group, LLC
995   Casting Crowns                       So Far To Find You                                SR0000689742              Provident Label Group, LLC
996   Casting Crowns                       Spirit Wind                                       SR0000689742              Provident Label Group, LLC
997   Casting Crowns                       The Well                                          SR0000689742              Provident Label Group, LLC
998   Casting Crowns                       Wedding Day                                       SR0000689742              Provident Label Group, LLC
999   George McCrae                        Rock Your Baby                                    SR0000072555              Rhino Entertainment Company




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                              Artist                                                      Track                Registration Number                    Plaintiff
1000   Adele                                     Don't You Remember                                        SR0000673074              Sony Music Entertainment
1001   Adele                                     He Won't Go                                               SR0000673074              Sony Music Entertainment
1002   Adele                                     I Found A Boy                                             SR0000718312              Sony Music Entertainment
1003   Adele                                     I'll Be Waiting                                           SR0000673074              Sony Music Entertainment
1004   Adele                                     Lovesong                                                  SR0000673074              Sony Music Entertainment
1005   Adele                                     One And Only                                              SR0000673074              Sony Music Entertainment
1006   Adele                                     Rumour Has It                                             SR0000673074              Sony Music Entertainment
1007   Adele                                     Someone Like You                                          SR0000673074              Sony Music Entertainment
1008   Adele                                     Take It All                                               SR0000673074              Sony Music Entertainment
1009   Adele                                     Turning Tables                                            SR0000673074              Sony Music Entertainment
1010   Aerosmith                                 Angel's Eye                                               SR0000294320              Sony Music Entertainment
1011   Aerosmith                                 Baby, Please Don't Go                                     SR0000355804              Sony Music Entertainment
1012   Aerosmith                                 Fly Away From Here                                        SR0000299932              Sony Music Entertainment
1013   Aerosmith                                 Full Circle                                               SR0000246031              Sony Music Entertainment
1014   Aerosmith                                 Hole In My Soul                                           SR0000246031              Sony Music Entertainment
1015   Aerosmith                                 I Don't Want to Miss a Thing                              SR0000730819              Sony Music Entertainment
1016   Aerosmith                                 Nine Lives                                                SR0000246031              Sony Music Entertainment
1017   Aerosmith                                 Sedona Sunrise                                            SR0000400132              Sony Music Entertainment
1018   Aerosmith                                 Sunshine                                                  SR0000299932              Sony Music Entertainment
1019   Alicia Keys                               Dah Dee Dah (Sexy Thing)                                  SR0000252535              Sony Music Entertainment
1020   Alicia Keys                               Empire State Of Mind (Part II) Broken Down                SR0000752597              Sony Music Entertainment
1021   Alicia Keys                               I Got A Little Something                                  SR0000685875              Sony Music Entertainment
1022   Alicia Keys                               Un-thinkable (I'm Ready)                                  SR0000752593              Sony Music Entertainment
1023   Barbra Streisand duet with Neil Diamond   You Don't Bring Me Flowers                                SR0000004765              Sony Music Entertainment
1024   Becky G                                   Shower                                                    SR0000760239              Sony Music Entertainment
1025   Beyoncé                                   1+1                                                       SR0000683948              Sony Music Entertainment
1026   Beyoncé                                   Ave Maria                                                 SR0000623449              Sony Music Entertainment
1027   Beyoncé                                   Best Thing I Never Had                                    SR0000683948              Sony Music Entertainment
1028   Beyoncé                                   Blow                                                      SR0000747291              Sony Music Entertainment
1029   Beyoncé                                   Broken-Hearted Girl                                       SR0000623449              Sony Music Entertainment
1030   Beyoncé                                   Countdown                                                 SR0000683948              Sony Music Entertainment
1031   Beyoncé                                   Disappear                                                 SR0000623449              Sony Music Entertainment
1032   Beyoncé                                   Ego                                                       SR0000623449              Sony Music Entertainment
1033   Beyoncé                                   Halo                                                      SR0000623449              Sony Music Entertainment
1034   Beyoncé                                   Hello                                                     SR0000623449              Sony Music Entertainment
1035   Beyoncé                                   I Miss You                                                SR0000683948              Sony Music Entertainment
1036   Beyoncé                                   If I Were A Boy                                           SR0000718926              Sony Music Entertainment
1037   Beyoncé                                   Love On Top                                               SR0000683948              Sony Music Entertainment
1038   Beyoncé                                   No Angel                                                  SR0000747291              Sony Music Entertainment
1039   Beyoncé                                   Party                                                     SR0000683948              Sony Music Entertainment
1040   Beyoncé                                   Radio                                                     SR0000623449              Sony Music Entertainment
1041   Beyoncé                                   Rather Die Young                                          SR0000683948              Sony Music Entertainment
1042   Beyoncé                                   Run The World (Girls)                                     SR0000683948              Sony Music Entertainment
1043   Beyoncé                                   Satellites                                                SR0000623449              Sony Music Entertainment
1044   Beyoncé                                   Scared Of Lonely                                          SR0000623449              Sony Music Entertainment
1045   Beyoncé                                   Single Ladies (Put A Ring On It)                          SR0000723765              Sony Music Entertainment
1046   Beyoncé                                   Smash Into You                                            SR0000623449              Sony Music Entertainment
1047   Beyoncé                                   Start Over                                                SR0000683948              Sony Music Entertainment
1048   Beyoncé                                   Sweet Dreams                                              SR0000623449              Sony Music Entertainment
1049   Beyoncé                                   That's Why You're Beautiful                               SR0000623449              Sony Music Entertainment
1050   Beyoncé                                   Video Phone                                               SR0000623449              Sony Music Entertainment
1051   Beyoncé                                   ***Flawless                                               SR0000747291              Sony Music Entertainment
1052   Beyoncé                                   Check On It                                               SR0000395861              Sony Music Entertainment
1053   Beyoncé                                   Crazy in Love                                             SR0000787489              Sony Music Entertainment
1054   Beyoncé                                   Dance For You                                             SR0000683948              Sony Music Entertainment
1055   Beyoncé                                   Diva                                                      SR0000623449              Sony Music Entertainment
1056   Beyoncé                                   End Of Time                                               SR0000683948              Sony Music Entertainment
1057   Beyoncé                                   Haunted                                                   SR0000747291              Sony Music Entertainment
1058   Beyoncé                                   Heaven                                                    SR0000747291              Sony Music Entertainment
1059   Beyoncé                                   I Care                                                    SR0000683948              Sony Music Entertainment
1060   Beyoncé                                   Jealous                                                   SR0000747291              Sony Music Entertainment
1061   Beyoncé                                   Lay Up Under Me                                           SR0000683948              Sony Music Entertainment
1062   Beyoncé                                   Partition                                                 SR0000747291              Sony Music Entertainment
1063   Beyoncé                                   Pretty Hurts                                              SR0000747291              Sony Music Entertainment
1064   Beyoncé                                   Rocket                                                    SR0000747291              Sony Music Entertainment
1065   Beyoncé                                   Schoolin' Life                                            SR0000683948              Sony Music Entertainment
1066   Beyoncé                                   XO                                                        SR0000747291              Sony Music Entertainment
1067   Beyoncé feat. Blue Ivy                    Blue                                                      SR0000747291              Sony Music Entertainment
1068   Beyoncé feat. Drake                       Mine                                                      SR0000747291              Sony Music Entertainment
1069   Beyoncé feat. Frank Ocean                 Superpower                                                SR0000747291              Sony Music Entertainment
1070   Beyoncé feat. Jay-Z                       Drunk in Love                                             SR0000747291              Sony Music Entertainment
1071   Big Time Rush                             All Over Again                                            SR0000697856              Sony Music Entertainment
1072   Big Time Rush                             Cover Girl                                                SR0000697856              Sony Music Entertainment
1073   Big Time Rush                             Elevate                                                   SR0000697856              Sony Music Entertainment
1074   Big Time Rush                             If I Ruled The World                                      SR0000697856              Sony Music Entertainment
1075   Big Time Rush                             Invisible                                                 SR0000697856              Sony Music Entertainment
1076   Big Time Rush                             Love Me Love Me                                           SR0000697856              Sony Music Entertainment
1077   Big Time Rush                             Music Sounds Better                                       SR0000697856              Sony Music Entertainment
1078   Big Time Rush                             No Idea                                                   SR0000697856              Sony Music Entertainment
1079   Big Time Rush                             Show Me                                                   SR0000697856              Sony Music Entertainment
1080   Big Time Rush                             Superstar                                                 SR0000697856              Sony Music Entertainment
1081   Big Time Rush                             Time Of Our Life                                          SR0000697856              Sony Music Entertainment
1082   Big Time Rush                             You're Not Alone                                          SR0000697856              Sony Music Entertainment
1083   Bill Withers                              I Don't Know                                              N1596                     Sony Music Entertainment
1084   Bill Withers                              I Don't Want You on My Mind                               N1596                     Sony Music Entertainment
1085   Bill Withers                              Kissing My Love                                           N1596                     Sony Music Entertainment
1086   Bill Withers                              Lean On Me                                                N1596                     Sony Music Entertainment
1087   Bill Withers                              Lonely Town, Lonely Street                                N1596                     Sony Music Entertainment
1088   Bill Withers                              Use Me                                                    N1596                     Sony Music Entertainment
1089   Bill Withers                              Watching You Watching Me                                  SR0000065774              Sony Music Entertainment
1090   Boston                                    A Man I'll Never Be                                       SR0000004079              Sony Music Entertainment
1091   Boston                                    Don't Look Back                                           SR0000003614              Sony Music Entertainment
1092   Boston                                    Feelin' Satisfied                                         SR0000004079              Sony Music Entertainment
1093   Boston                                    Higher Power                                              SR0000239485              Sony Music Entertainment
1094   Boston                                    Higher Power (Kalodner Edit)                              SR0000239485              Sony Music Entertainment
1095   Boston                                    More Than A Feeling                                       N36238                    Sony Music Entertainment
1096   Boston                                    Party                                                     SR0000004079              Sony Music Entertainment
1097   Boston                                    Tell Me                                                   SR0000239485              Sony Music Entertainment
1098   Boston                                    The Star Spangled Banner, 4th of July Reprise             SR0000239485              Sony Music Entertainment
1099   Boys Like Girls                           Heels Over Head                                           SR0000724396              Sony Music Entertainment




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                               Artist                                                            Track                  Registration Number                    Plaintiff
1100   Boys Like Girls                                    Hero / Heroine                                             SR0000724396             Sony Music Entertainment
1101   Boys Like Girls feat. Taylor Swift                 Two Is Better Than One                                     SR0000639800             Sony Music Entertainment
1102   Brad Paisley                                       A Man Don't Have to Die                                    SR0000680360             Sony Music Entertainment
1103   Brad Paisley                                       Be The Lake                                                SR0000680360             Sony Music Entertainment
1104   Brad Paisley                                       Camouflage                                                 SR0000680360             Sony Music Entertainment
1105   Brad Paisley                                       I Do Now                                                   SR0000680360             Sony Music Entertainment
1106   Brad Paisley                                       New Favorite Memory                                        SR0000680360             Sony Music Entertainment
1107   Brad Paisley                                       Old Alabama                                                SR0000680360             Sony Music Entertainment
1108   Brad Paisley                                       One of Those Lives                                         SR0000680360             Sony Music Entertainment
1109   Brad Paisley                                       Remind Me                                                  SR0000680360             Sony Music Entertainment
1110   Brad Paisley                                       This Is Country Music                                      SR0000680360             Sony Music Entertainment
1111   Brad Paisley                                       Toothbrush                                                 SR0000680360             Sony Music Entertainment
1112   Brad Paisley                                       Working On A Tan                                           SR0000680360             Sony Music Entertainment
1113   Brad Paisley feat. Blake Shelton                   Don't Drink the Water                                      SR0000680360             Sony Music Entertainment
1114   Brad Paisley feat. Clint Eastwood                  Eastwood                                                   SR0000680360             Sony Music Entertainment
1115   Brad Paisley feat. Don Henley                      Love Her Like She's Leavin'                                SR0000680360             Sony Music Entertainment
1116   Brad Paisley feat. Marty Stuart, Sheryl Crow and   Life's Railway to Heaven                                   SR0000680360             Sony Music Entertainment
       Carl Jackson
1117   Brandi Carlile                                     Again Today / Hiding My Heart                              SR0000609517             Sony Music Entertainment
1118   Brandi Carlile                                     Cannonball                                                 SR0000609517             Sony Music Entertainment
1119   Brandi Carlile                                     Downpour                                                   SR0000609517             Sony Music Entertainment
1120   Brandi Carlile                                     Have You Ever                                              SR0000609517             Sony Music Entertainment
1121   Brandi Carlile                                     Josephine                                                  SR0000609517             Sony Music Entertainment
1122   Brandi Carlile                                     Late Morning Lullaby                                       SR0000609517             Sony Music Entertainment
1123   Brandi Carlile                                     Losing Heart                                               SR0000609517             Sony Music Entertainment
1124   Brandi Carlile                                     My Song                                                    SR0000609517             Sony Music Entertainment
1125   Brandi Carlile                                     Shadow On The Wall                                         SR0000609517             Sony Music Entertainment
1126   Brandi Carlile                                     Turpentine                                                 SR0000609517             Sony Music Entertainment
1127   Brandi Carlile                                     Until I Die                                                SR0000609517             Sony Music Entertainment
1128   Brandi Carlile                                     Wasted                                                     SR0000609517             Sony Music Entertainment
1129   Brandy                                             1st & Love                                                 SR0000622255             Sony Music Entertainment
1130   Brandy                                             A Capella (Something's Missing)                            SR0000622255             Sony Music Entertainment
1131   Brandy                                             Camouflage                                                 SR0000622255             Sony Music Entertainment
1132   Brandy                                             Can You Hear Me Now                                        SR0000710136             Sony Music Entertainment
1133   Brandy                                             Do You Know What You Have                                  SR0000710136             Sony Music Entertainment
1134   Brandy                                             Fall                                                       SR0000622255             Sony Music Entertainment
1135   Brandy                                             Hardly Breathing                                           SR0000710136             Sony Music Entertainment
1136   Brandy                                             Human                                                      SR0000622255             Sony Music Entertainment
1137   Brandy                                             Let Me Go                                                  SR0000710136             Sony Music Entertainment
1138   Brandy                                             Long Distance                                              SR0000622255             Sony Music Entertainment
1139   Brandy                                             Long Distance Interlude                                    SR0000622255             Sony Music Entertainment
1140   Brandy                                             Music                                                      SR0000710136             Sony Music Entertainment
1141   Brandy                                             No Such Thing As Too Late                                  SR0000710136             Sony Music Entertainment
1142   Brandy                                             Outro                                                      SR0000710136             Sony Music Entertainment
1143   Brandy                                             Paint This House                                           SR0000710136             Sony Music Entertainment
1144   Brandy                                             Piano Man                                                  SR0000622255             Sony Music Entertainment
1145   Brandy                                             Scared Of Beautiful                                        SR0000710136             Sony Music Entertainment
1146   Brandy                                             Shattered Heart                                            SR0000622255             Sony Music Entertainment
1147   Brandy                                             Slower                                                     SR0000710136             Sony Music Entertainment
1148   Brandy                                             So Sick                                                    SR0000710136             Sony Music Entertainment
1149   Brandy                                             The Definition                                             SR0000622255             Sony Music Entertainment
1150   Brandy                                             Torn Down                                                  SR0000622255             Sony Music Entertainment
1151   Brandy                                             True                                                       SR0000622255             Sony Music Entertainment
1152   Brandy                                             Warm It Up (With Love)                                     SR0000622255             Sony Music Entertainment
1153   Brandy                                             What You Need                                              SR0000710136             Sony Music Entertainment
1154   Brandy                                             Wildest Dreams                                             SR0000710136             Sony Music Entertainment
1155   Brandy                                             Wish Your Love Away                                        SR0000710136             Sony Music Entertainment
1156   Brandy                                             Without You                                                SR0000710136             Sony Music Entertainment
1157   Brandy feat. Chris Brown                           Put It Down                                                SR0000710136             Sony Music Entertainment
1158   Britney Spears                                     Criminal                                                   SR0000673693             Sony Music Entertainment
1159   Britney Spears                                     Don't Keep Me Waiting                                      SR0000677693             Sony Music Entertainment
1160   Britney Spears                                     Gasoline                                                   SR0000673693             Sony Music Entertainment
1161   Britney Spears                                     He About To Lose Me                                        SR0000677693             Sony Music Entertainment
1162   Britney Spears                                     Hold It Against Me                                         SR0000673693             Sony Music Entertainment
1163   Britney Spears                                     How I Roll                                                 SR0000673693             Sony Music Entertainment
1164   Britney Spears                                     I Wanna Go                                                 SR0000673693             Sony Music Entertainment
1165   Britney Spears                                     Inside Out                                                 SR0000673693             Sony Music Entertainment
1166   Britney Spears                                     Seal It With A Kiss                                        SR0000673693             Sony Music Entertainment
1167   Britney Spears                                     Selfish                                                    SR0000677693             Sony Music Entertainment
1168   Britney Spears                                     Trip To Your Heart                                         SR0000673693             Sony Music Entertainment
1169   Britney Spears                                     Trouble For Me                                             SR0000673693             Sony Music Entertainment
1170   Britney Spears                                     Up N' Down                                                 SR0000677693             Sony Music Entertainment
1171   Britney Spears feat. Sabi                          (Drop Dead) Beautiful                                      SR0000673693             Sony Music Entertainment
1172   Britney Spears feat. will.i.am                     Big Fat Bass                                               SR0000673693             Sony Music Entertainment
1173   Bruce Springsteen                                  American Land                                              SR0000705192             Sony Music Entertainment
1174   Bruce Springsteen                                  Death To My Hometown                                       SR0000705192             Sony Music Entertainment
1175   Bruce Springsteen                                  Easy Money                                                 SR0000705192             Sony Music Entertainment
1176   Bruce Springsteen                                  Jack Of All Trades                                         SR0000705192             Sony Music Entertainment
1177   Bruce Springsteen                                  Land of Hope and Dreams                                    SR0000705192             Sony Music Entertainment
1178   Bruce Springsteen                                  Rocky Ground                                               SR0000705192             Sony Music Entertainment
1179   Bruce Springsteen                                  Shackled And Drawn                                         SR0000705192             Sony Music Entertainment
1180   Bruce Springsteen                                  Swallowed Up (In The Belly Of The Whale)                   SR0000705192             Sony Music Entertainment
1181   Bruce Springsteen                                  This Depression                                            SR0000705192             Sony Music Entertainment
1182   Bruce Springsteen                                  We Are Alive                                               SR0000705192             Sony Music Entertainment
1183   Bruce Springsteen                                  We Take Care Of Our Own                                    SR0000705192             Sony Music Entertainment
1184   Bruce Springsteen                                  Wrecking Ball                                              SR0000705192             Sony Music Entertainment
1185   Bruce Springsteen                                  You've Got It                                              SR0000705192             Sony Music Entertainment
1186   Bullet For My Valentine                            A Place Where You Belong                                   SR0000706395             Sony Music Entertainment
1187   Bullet For My Valentine                            Alone                                                      SR0000706395             Sony Music Entertainment
1188   Bullet For My Valentine                            Ashes Of The Innocent                                      SR0000619985             Sony Music Entertainment
1189   Bullet For My Valentine                            Begging For Mercy                                          SR0000706395             Sony Music Entertainment
1190   Bullet For My Valentine                            Bittersweet Memories                                       SR0000706395             Sony Music Entertainment
1191   Bullet For My Valentine                            Breaking Out, Breaking Down                                SR0000706395             Sony Music Entertainment
1192   Bullet For My Valentine                            Deliver Us from Evil                                       SR0000619985             Sony Music Entertainment
1193   Bullet For My Valentine                            Dignity                                                    SR0000706395             Sony Music Entertainment
1194   Bullet For My Valentine                            Disappear                                                  SR0000619985             Sony Music Entertainment
1195   Bullet For My Valentine                            End Of Days                                                SR0000619985             Sony Music Entertainment
1196   Bullet For My Valentine                            Eye Of The Storm                                           SR0000619985             Sony Music Entertainment
1197   Bullet For My Valentine                            Fever                                                      SR0000706395             Sony Music Entertainment
1198   Bullet For My Valentine                            Forever And Always                                         SR0000619985             Sony Music Entertainment




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                              Artist                                                    Track                Registration Number                    Plaintiff
1199   Bullet For My Valentine                      Hearts Burst Into Fire                               SR0000619985              Sony Music Entertainment
1200   Bullet For My Valentine                      Last To Know                                         SR0000619985              Sony Music Entertainment
1201   Bullet For My Valentine                      One Good Reason Why                                  SR0000619985              Sony Music Entertainment
1202   Bullet For My Valentine                      Pleasure And Pain                                    SR0000706395              Sony Music Entertainment
1203   Bullet For My Valentine                      Pretty On The Outside                                SR0000706395              Sony Music Entertainment
1204   Bullet For My Valentine                      Road To Nowhere                                      SR0000619985              Sony Music Entertainment
1205   Bullet For My Valentine                      Say Goodnight                                        SR0000619985              Sony Music Entertainment
1206   Bullet For My Valentine                      Scream Aim Fire                                      PA0001607594              Sony Music Entertainment
1207   Bullet For My Valentine                      Take It Out On Me                                    SR0000619985              Sony Music Entertainment
1208   Bullet For My Valentine                      The Last Fight                                       SR0000706395              Sony Music Entertainment
1209   Bullet For My Valentine                      Waking The Demon                                     SR0000619985              Sony Music Entertainment
1210   Bullet For My Valentine                      Watching Us Die Tonight                              SR0000619985              Sony Music Entertainment
1211   Bullet For My Valentine                      Your Betrayal                                        SR0000706395              Sony Music Entertainment
1212   Cage The Elephant                            2024                                                 SR0000703665              Sony Music Entertainment
1213   Cage The Elephant                            Aberdeen                                             SR0000703665              Sony Music Entertainment
1214   Cage The Elephant                            Ain't No Rest for the Wicked                         SR0000615871              Sony Music Entertainment
1215   Cage The Elephant                            Always Something                                     SR0000703665              Sony Music Entertainment
1216   Cage The Elephant                            Around My Head                                       SR0000703665              Sony Music Entertainment
1217   Cage The Elephant                            Back Against The Wall                                SR0000631003              Sony Music Entertainment
1218   Cage The Elephant                            Back Stabbin' Betty                                  SR0000631003              Sony Music Entertainment
1219   Cage The Elephant                            Cover Me Again                                       SR0000631003              Sony Music Entertainment
1220   Cage The Elephant                            Drones In The Valley                                 SR0000631003              Sony Music Entertainment
1221   Cage The Elephant                            Flow                                                 SR0000703665              Sony Music Entertainment
1222   Cage The Elephant                            Free Love                                            SR0000631003              Sony Music Entertainment
1223   Cage The Elephant                            In One Ear                                           SR0000631003              Sony Music Entertainment
1224   Cage The Elephant                            Indy Kidz                                            SR0000703665              Sony Music Entertainment
1225   Cage The Elephant                            James Brown                                          SR0000631003              Sony Music Entertainment
1226   Cage The Elephant                            Japanese Buffalo                                     SR0000703665              Sony Music Entertainment
1227   Cage The Elephant                            Judas                                                SR0000631003              Sony Music Entertainment
1228   Cage The Elephant                            Lotus                                                SR0000631003              Sony Music Entertainment
1229   Cage The Elephant                            Right Before My Eyes                                 SR0000703665              Sony Music Entertainment
1230   Cage The Elephant                            Rubber Ball                                          SR0000703665              Sony Music Entertainment
1231   Cage The Elephant                            Sabertooth Tiger                                     SR0000703665              Sony Music Entertainment
1232   Cage The Elephant                            Sell Yourself                                        SR0000703665              Sony Music Entertainment
1233   Cage The Elephant                            Shake Me Down                                        SR0000703665              Sony Music Entertainment
1234   Cage The Elephant                            Soil To The Sun                                      SR0000631003              Sony Music Entertainment
1235   Cage The Elephant                            Tiny Little Robots                                   SR0000631003              Sony Music Entertainment
1236   Carlos Santana                               Havana Moon                                          SR0000045295              Sony Music Entertainment
1237   Carrie Underwood                             Blown Away                                           SR0000700157              Sony Music Entertainment
1238   Carrie Underwood                             Cupid's Got A Shotgun                                SR0000700157              Sony Music Entertainment
1239   Carrie Underwood                             Do You Think About Me                                SR0000700157              Sony Music Entertainment
1240   Carrie Underwood                             Forever Changed                                      SR0000700157              Sony Music Entertainment
1241   Carrie Underwood                             Good Girl                                            SR0000700157              Sony Music Entertainment
1242   Carrie Underwood                             Good In Goodbye                                      SR0000700157              Sony Music Entertainment
1243   Carrie Underwood                             Leave Love Alone                                     SR0000700157              Sony Music Entertainment
1244   Carrie Underwood                             Nobody Ever Told You                                 SR0000700157              Sony Music Entertainment
1245   Carrie Underwood                             One Way Ticket                                       SR0000700157              Sony Music Entertainment
1246   Carrie Underwood                             See You Again                                        SR0000700157              Sony Music Entertainment
1247   Carrie Underwood                             Thank God For Hometowns                              SR0000700157              Sony Music Entertainment
1248   Carrie Underwood                             Two Black Cadillacs                                  SR0000700157              Sony Music Entertainment
1249   Carrie Underwood                             Who Are You                                          SR0000700157              Sony Music Entertainment
1250   Carrie Underwood                             Wine After Whiskey                                   SR0000700157              Sony Music Entertainment
1251   Celine Dion                                  Where Does My Heart Beat Now                         SR0000124245              Sony Music Entertainment
1252   Charlie Daniels                              The Devil Went Down To Georgia                       SR0000008973              Sony Music Entertainment
1253   Charlie Wilson                               Crying For You                                       SR0000679365              Sony Music Entertainment
1254   Charlie Wilson                               I Can't Let Go                                       SR0000679365              Sony Music Entertainment
1255   Charlie Wilson                               Life Of The Party                                    SR0000679365              Sony Music Entertainment
1256   Charlie Wilson                               Lotto                                                SR0000679365              Sony Music Entertainment
1257   Charlie Wilson                               My Girl Is A Dime                                    SR0000679365              Sony Music Entertainment
1258   Charlie Wilson                               Never Got Enough                                     SR0000679365              Sony Music Entertainment
1259   Charlie Wilson                               Once And Forever                                     SR0000679365              Sony Music Entertainment
1260   Charlie Wilson                               Where Would I Be                                     SR0000679365              Sony Music Entertainment
1261   Charlie Wilson                               You Are                                              SR0000679365              Sony Music Entertainment
1262   Charlie Wilson feat. Fantasia                I Wanna Be Your Man                                  SR0000679365              Sony Music Entertainment
1263   Cher Lloyd                                   Swagger Jagger                                       SR0000724733              Sony Music Entertainment
1264   Chevelle                                     Closure                                              SR0000324184              Sony Music Entertainment
1265   Chevelle                                     Comfortable Liar                                     SR0000324184              Sony Music Entertainment
1266   Chevelle                                     Forfeit                                              SR0000324184              Sony Music Entertainment
1267   Chevelle                                     Get Some                                             SR0000363500              Sony Music Entertainment
1268   Chevelle                                     I Get It                                             SR0000407044              Sony Music Entertainment
1269   Chevelle                                     Panic Prone                                          SR0000363500              Sony Music Entertainment
1270   Chevelle                                     Send The Pain Below                                  SR0000324184              Sony Music Entertainment
1271   Chevelle                                     Straight Jacket Fashion                              SR0000407044              Sony Music Entertainment
1272   Chevelle                                     The Clincher                                         SR0000363500              Sony Music Entertainment
1273   Chevelle                                     The Fad                                              SR0000407044              Sony Music Entertainment
1274   Chevelle                                     The Red                                              PA0001060682              Sony Music Entertainment
1275   Chevelle                                     Vitamin R (Leading Us Along)                         PA0001263996              Sony Music Entertainment
1276   Chipmunk feat. Chris Brown                   Champion                                             SR0000751658              Sony Music Entertainment
1277   Chris Brown                                  2012                                                 SR0000711816              Sony Music Entertainment
1278   Chris Brown                                  4 Years Old                                          SR0000711816              Sony Music Entertainment
1279   Chris Brown                                  Bassline                                             SR0000711816              Sony Music Entertainment
1280   Chris Brown                                  Biggest Fan                                          SR0000711816              Sony Music Entertainment
1281   Chris Brown                                  Don't Judge Me                                       SR0000711816              Sony Music Entertainment
1282   Chris Brown                                  Don't Wake Me Up                                     SR0000711816              Sony Music Entertainment
1283   Chris Brown                                  Free Run                                             SR0000711816              Sony Music Entertainment
1284   Chris Brown                                  Oh My Love                                           SR0000679366              Sony Music Entertainment
1285   Chris Brown                                  Strip                                                SR0000711816              Sony Music Entertainment
1286   Chris Brown                                  Stuck On Stupid                                      SR0000711816              Sony Music Entertainment
1287   Chris Brown                                  Sweet Love                                           SR0000711816              Sony Music Entertainment
1288   Chris Brown                                  Tell Somebody                                        SR0000711816              Sony Music Entertainment
1289   Chris Brown                                  Wait For You                                         SR0000711816              Sony Music Entertainment
1290   Chris Brown feat. Benny Benassi              Beautiful People                                     SR0000679366              Sony Music Entertainment
1291   Chris Brown feat. Big Sean & Wiz Khalifa     Till I Die                                           SR0000711816              Sony Music Entertainment
1292   Chris Brown feat. Eva Simons                 Pass Out                                             SR0000747286              Sony Music Entertainment
1293   Chris Brown feat. Lil Wayne & Busta Rhymes   Look At Me Now                                       SR0000677541              Sony Music Entertainment
1294   Chris Brown feat. Lil Wayne & Swizz Beatz    I Can Transform Ya                                   SR0000747284              Sony Music Entertainment
1295   Chris Brown feat. Nas                        Mirage                                               SR0000711816              Sony Music Entertainment
1296   Chris Brown feat. Nicki Minaj                Love More                                            SR0000726473              Sony Music Entertainment
1297   Chris Brown feat. Sabrina Antionette         Trumpet Lights                                       SR0000711816              Sony Music Entertainment
1298   Chris Brown feat. Sevyn                      Party Hard / Cadillac (Interlude)                    SR0000711816              Sony Music Entertainment




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                               Artist                                              Track                Registration Number                    Plaintiff
1299   Chris Brown feat. Sevyn             Remember My Name                                         SR0000711816              Sony Music Entertainment
1300   Chris Brown feat. Sevyn             Touch Me                                                 SR0000711816              Sony Music Entertainment
1301   Chris Young                         A.M.                                                     SR0000726878              Sony Music Entertainment
1302   Chris Young                         Aw Naw                                                   SR0000726910              Sony Music Entertainment
1303   Chris Young                         Forgiveness                                              SR0000726878              Sony Music Entertainment
1304   Chris Young                         Goodbye                                                  SR0000736687              Sony Music Entertainment
1305   Chris Young                         Hold You To It                                           SR0000726878              Sony Music Entertainment
1306   Chris Young                         Lighters In the Air                                      SR0000726878              Sony Music Entertainment
1307   Chris Young                         Nothin' But the Cooler Left                              SR0000726878              Sony Music Entertainment
1308   Chris Young                         Text Me Texas                                            SR0000726878              Sony Music Entertainment
1309   Chris Young                         We're Gonna Find It Tonight                              SR0000726878              Sony Music Entertainment
1310   Chris Young                         Who I Am With You                                        SR0000726878              Sony Music Entertainment
1311   Ciara                               Ciara To The Stage                                       SR0000631011              Sony Music Entertainment
1312   Ciara                               G Is For Girl (A-Z)                                      SR0000631011              Sony Music Entertainment
1313   Ciara                               I Don't Remember                                         SR0000631011              Sony Music Entertainment
1314   Ciara                               Keep Dancin' On Me                                       SR0000631011              Sony Music Entertainment
1315   Ciara                               Like A Surgeon                                           SR0000631011              Sony Music Entertainment
1316   Ciara                               Never Ever                                               SR0000723761              Sony Music Entertainment
1317   Ciara                               Pucker Up                                                SR0000631011              Sony Music Entertainment
1318   Ciara                               Tell Me What Your Name Is                                SR0000631011              Sony Music Entertainment
1319   Ciara feat. Chris Brown             Turntables                                               SR0000631011              Sony Music Entertainment
1320   Ciara feat. Justin Timberlake       Love Sex Magic                                           SR0000631011              Sony Music Entertainment
1321   Ciara feat. Ludacris                High Price                                               SR0000631011              Sony Music Entertainment
1322   Ciara feat. Nicki Minaj             I'm Out                                                  SR0000724534              Sony Music Entertainment
1323   Ciara feat. The-Dream               Lover's Thing                                            SR0000631011              Sony Music Entertainment
1324   Crossfade                           Cold                                                     SR0000697112              Sony Music Entertainment
1325   Crossfade                           Colors                                                   SR0000354126              Sony Music Entertainment
1326   Crossfade                           Dead Skin                                                SR0000354126              Sony Music Entertainment
1327   Crossfade                           Death Trend Setta                                        SR0000354126              Sony Music Entertainment
1328   Crossfade                           Disco                                                    SR0000354126              Sony Music Entertainment
1329   Crossfade                           No Giving Up                                             SR0000354126              Sony Music Entertainment
1330   Crossfade                           So Far Away                                              SR0000354126              Sony Music Entertainment
1331   Crossfade                           Starless                                                 SR0000354126              Sony Music Entertainment
1332   Crossfade                           The Deep End                                             SR0000354126              Sony Music Entertainment
1333   Crossfade                           The Unknown                                              SR0000354126              Sony Music Entertainment
1334   Daughtry                            All These Lives                                          SR0000399960              Sony Music Entertainment
1335   Daughtry                            Breakdown                                                SR0000399960              Sony Music Entertainment
1336   Daughtry                            Crashed                                                  SR0000399960              Sony Music Entertainment
1337   Daughtry                            Feels Like Tonight                                       SR0000399960              Sony Music Entertainment
1338   Daughtry                            Gone                                                     SR0000399960              Sony Music Entertainment
1339   Daughtry                            Home                                                     SR0000399960              Sony Music Entertainment
1340   Daughtry                            It's Not Over                                            SR0000399960              Sony Music Entertainment
1341   Daughtry                            Over You                                                 SR0000399960              Sony Music Entertainment
1342   Daughtry                            There And Back Again                                     SR0000399960              Sony Music Entertainment
1343   Daughtry                            Used To                                                  SR0000399960              Sony Music Entertainment
1344   Daughtry                            What About Now                                           SR0000399960              Sony Music Entertainment
1345   Daughtry                            What I Want                                              SR0000399960              Sony Music Entertainment
1346   Dixie Chicks                        Am I the Only One (Who's Ever Felt This Way)             SR0000252000              Sony Music Entertainment
1347   Dixie Chicks                        Bitter End                                               SR0000391109              Sony Music Entertainment
1348   Dixie Chicks                        Cowboy Take Me Away                                      SR0000275086              Sony Music Entertainment
1349   Dixie Chicks                        Easy Silence                                             SR0000391109              Sony Music Entertainment
1350   Dixie Chicks                        Everybody Knows                                          SR0000391109              Sony Music Entertainment
1351   Dixie Chicks                        Give It Up Or Let Me Go                                  SR0000252000              Sony Music Entertainment
1352   Dixie Chicks                        Goodbye Earl                                             SR0000275086              Sony Music Entertainment
1353   Dixie Chicks                        Heartbreak Town                                          SR0000275086              Sony Music Entertainment
1354   Dixie Chicks                        I Believe in Love                                        SR0000314722              Sony Music Entertainment
1355   Dixie Chicks                        I Can Love You Better                                    SR0000252000              Sony Music Entertainment
1356   Dixie Chicks                        I'll Take Care of You                                    SR0000252000              Sony Music Entertainment
1357   Dixie Chicks                        Landslide                                                SR0000314722              Sony Music Entertainment
1358   Dixie Chicks                        Let 'Er Rip                                              SR0000252000              Sony Music Entertainment
1359   Dixie Chicks                        Let Him Fly                                              SR0000275086              Sony Music Entertainment
1360   Dixie Chicks                        Lil' Jack Slade                                          SR0000314722              Sony Music Entertainment
1361   Dixie Chicks                        Loving Arms                                              SR0000252000              Sony Music Entertainment
1362   Dixie Chicks                        Lubbock or Leave It                                      SR0000391109              Sony Music Entertainment
1363   Dixie Chicks                        Lullaby                                                  SR0000391109              Sony Music Entertainment
1364   Dixie Chicks                        Never Say Die                                            SR0000252000              Sony Music Entertainment
1365   Dixie Chicks                        Not Ready To Make Nice                                   SR0000697321              Sony Music Entertainment
1366   Dixie Chicks                        Once You've Loved Somebody                               SR0000252000              Sony Music Entertainment
1367   Dixie Chicks                        Ready To Run                                             SR0000309667              Sony Music Entertainment
1368   Dixie Chicks                        Silent House                                             SR0000391109              Sony Music Entertainment
1369   Dixie Chicks                        Sin Wagon                                                SR0000275086              Sony Music Entertainment
1370   Dixie Chicks                        Some Days You Gotta Dance                                SR0000275086              Sony Music Entertainment
1371   Dixie Chicks                        The Long Way Around                                      SR0000391109              Sony Music Entertainment
1372   Dixie Chicks                        There's Your Trouble                                     SR0000252000              Sony Music Entertainment
1373   Dixie Chicks                        Tonight the Heartache's on Me                            SR0000252000              Sony Music Entertainment
1374   Dixie Chicks                        Top of the World                                         SR0000314722              Sony Music Entertainment
1375   Dixie Chicks                        Travelin' Soldier                                        SR0000314722              Sony Music Entertainment
1376   Dixie Chicks                        Truth No. 2                                              SR0000314722              Sony Music Entertainment
1377   Dixie Chicks                        White Trash Wedding                                      SR0000314722              Sony Music Entertainment
1378   Dixie Chicks                        Wide Open Spaces                                         SR0000252000              Sony Music Entertainment
1379   Dixie Chicks                        Without You                                              SR0000275086              Sony Music Entertainment
1380   Dixie Chicks                        You Were Mine                                            SR0000252000              Sony Music Entertainment
1381   Eddie Money                         Baby Hold On                                             RE0000923174              Sony Music Entertainment
1382   Eddie Money                         I Wanna Go Back                                          SR0000071987              Sony Music Entertainment
1383   Eddie Money                         Looking Through The Eyes Of A Child                      SR0000109485              Sony Music Entertainment
1384   Eddie Money                         No Control                                               SR0000038050              Sony Music Entertainment
1385   Eddie Money                         Peace in Our Time                                        SR0000109485              Sony Music Entertainment
1386   Eddie Money                         Shakin'                                                  SR0000038050              Sony Music Entertainment
1387   Eddie Money                         Stop Steppin' On My Heart                                SR0000109485              Sony Music Entertainment
1388   Eddie Money                         Think I'm In Love                                        SR0000038226              Sony Music Entertainment
1389   Eddie Money                         Two Tickets To Paradise                                  RE0000923174              Sony Music Entertainment
1390   Eddie Money                         We Should Be Sleeping                                    SR0000071987              Sony Music Entertainment
1391   Eddie Money                         Where's The Party? (Live)                                SR0000109485              Sony Music Entertainment
1392   Electric Light Orchestra            Across the Border                                        N46612                    Sony Music Entertainment
1393   Electric Light Orchestra            Confusion                                                SR0000012943              Sony Music Entertainment
1394   Electric Light Orchestra            Do Ya                                                    N36991                    Sony Music Entertainment
1395   Electric Light Orchestra            Don't Bring Me Down                                      SR0000012943              Sony Music Entertainment
1396   Electric Light Orchestra            Evil Woman                                               N27257                    Sony Music Entertainment
1397   Electric Light Orchestra            Four Little Diamonds                                     SR0000046784              Sony Music Entertainment
1398   Electric Light Orchestra            Getting to the Point                                     SR0000070477              Sony Music Entertainment




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                               Artist                                            Track                Registration Number                    Plaintiff
1399   Electric Light Orchestra            Here Is the News                                       SR0000030537              Sony Music Entertainment
1400   Electric Light Orchestra            Illusions In G Major                                   N19100                    Sony Music Entertainment
1401   Electric Light Orchestra            Last Train to London                                   SR0000012943              Sony Music Entertainment
1402   Electric Light Orchestra            Livin' Thing                                           N36991                    Sony Music Entertainment
1403   Electric Light Orchestra            Ma Ma Ma Belle                                         N11365                    Sony Music Entertainment
1404   Electric Light Orchestra            Mr Blue Sky                                            N46612                    Sony Music Entertainment
1405   Electric Light Orchestra            Nightrider                                             N27257                    Sony Music Entertainment
1406   Electric Light Orchestra            Rockaria!                                              N36991                    Sony Music Entertainment
1407   Electric Light Orchestra            Secret Messages                                        SR0000046784              Sony Music Entertainment
1408   Electric Light Orchestra            Shine a Little Love                                    SR0000009161              Sony Music Entertainment
1409   Electric Light Orchestra            Showdown                                               N11365                    Sony Music Entertainment
1410   Electric Light Orchestra            So Serious                                             SR0000070477              Sony Music Entertainment
1411   Electric Light Orchestra            Strange Magic                                          N27257                    Sony Music Entertainment
1412   Electric Light Orchestra            Sweet Talkin' Woman                                    N46612                    Sony Music Entertainment
1413   Electric Light Orchestra            Telephone Line                                         N36991                    Sony Music Entertainment
1414   Electric Light Orchestra            The Diary Of Horace Wimp                               SR0000012943              Sony Music Entertainment
1415   Electric Light Orchestra            The Way Life's Meant To Be                             SR0000030537              Sony Music Entertainment
1416   Electric Light Orchestra            Ticket to the Moon                                     SR0000030537              Sony Music Entertainment
1417   Electric Light Orchestra            Turn To Stone                                          N46612                    Sony Music Entertainment
1418   Electric Light Orchestra            Twilight                                               SR0000030537              Sony Music Entertainment
1419   Electric Light Orchestra            Wild West Hero                                         N46612                    Sony Music Entertainment
1420   Elle Varner                         Damn Good Friends                                      SR0000721189              Sony Music Entertainment
1421   Elle Varner                         Leaf                                                   SR0000721189              Sony Music Entertainment
1422   Elle Varner                         Not Tonight                                            SR0000721189              Sony Music Entertainment
1423   Elle Varner                         Oh What A Night                                        SR0000721189              Sony Music Entertainment
1424   Elle Varner                         Refill                                                 SR0000721190              Sony Music Entertainment
1425   Elle Varner                         So Fly                                                 SR0000721187              Sony Music Entertainment
1426   Elle Varner                         Sound Proof Room                                       SR0000721189              Sony Music Entertainment
1427   Elle Varner                         Stop The Clock                                         SR0000721189              Sony Music Entertainment
1428   Elle Varner                         Welcome Home                                           SR0000721189              Sony Music Entertainment
1429   Elle Varner feat. J. Cole           Only Wanna Give It To You                              SR0000721192              Sony Music Entertainment
1430   Emblem3                             3000 Miles                                             SR0000726978              Sony Music Entertainment
1431   Emblem3                             Chloe (You're The One I Want)                          SR0000726979              Sony Music Entertainment
1432   Emblem3                             Do It All Again                                        SR0000726978              Sony Music Entertainment
1433   Emblem3                             Girl Next Door                                         SR0000726978              Sony Music Entertainment
1434   Emblem3                             I Love LA                                              SR0000726978              Sony Music Entertainment
1435   Emblem3                             I Wish                                                 SR0000726978              Sony Music Entertainment
1436   Emblem3                             Jaiden                                                 SR0000726978              Sony Music Entertainment
1437   Emblem3                             Just For One Day                                       SR0000726978              Sony Music Entertainment
1438   Emblem3                             Nothing To Lose                                        SR0000726978              Sony Music Entertainment
1439   Emblem3                             One Day                                                SR0000726978              Sony Music Entertainment
1440   Emblem3                             Reason                                                 SR0000726978              Sony Music Entertainment
1441   Emblem3                             Spaghetti                                              SR0000726978              Sony Music Entertainment
1442   Emblem3                             Sunset Blvd                                            SR0000726978              Sony Music Entertainment
1443   Emblem3                             Teenage Kings                                          SR0000726978              Sony Music Entertainment
1444   Emblem3                             XO                                                     SR0000726978              Sony Music Entertainment
1445   Fifth Harmony                       BO$$                                                   SR0000768358              Sony Music Entertainment
1446   Foo Fighters                        Ain't It The Life                                      SR0000285034              Sony Music Entertainment
1447   Foo Fighters                        All My Life (Edit)                                     SR0000325862              Sony Music Entertainment
1448   Foo Fighters                        Another Round                                          SR0000377762              Sony Music Entertainment
1449   Foo Fighters                        Aurora                                                 SR0000285034              Sony Music Entertainment
1450   Foo Fighters                        Ballad Of The Beaconsfield Miners                      SR0000617325              Sony Music Entertainment
1451   Foo Fighters                        Best Of You                                            SR0000734391              Sony Music Entertainment
1452   Foo Fighters                        Breakout                                               SR0000285034              Sony Music Entertainment
1453   Foo Fighters                        But, Honestly                                          SR0000617325              Sony Music Entertainment
1454   Foo Fighters                        Cheer Up, Boys (Your Make Up Is Running)               SR0000617325              Sony Music Entertainment
1455   Foo Fighters                        Cold Day In The Sun                                    SR0000377762              Sony Music Entertainment
1456   Foo Fighters                        Come Alive                                             SR0000617325              Sony Music Entertainment
1457   Foo Fighters                        DOA                                                    SR0000377762              Sony Music Entertainment
1458   Foo Fighters                        Doll                                                   SR0000297253              Sony Music Entertainment
1459   Foo Fighters                        End Over End                                           SR0000377762              Sony Music Entertainment
1460   Foo Fighters                        Enough Space                                           SR0000297253              Sony Music Entertainment
1461   Foo Fighters                        Everlong                                               SR0000297253              Sony Music Entertainment
1462   Foo Fighters                        February Stars                                         SR0000297253              Sony Music Entertainment
1463   Foo Fighters                        Free Me                                                SR0000377762              Sony Music Entertainment
1464   Foo Fighters                        Friend Of A Friend                                     SR0000377762              Sony Music Entertainment
1465   Foo Fighters                        Generator                                              SR0000285034              Sony Music Entertainment
1466   Foo Fighters                        Gimme Stitches                                         SR0000285034              Sony Music Entertainment
1467   Foo Fighters                        Headwires                                              SR0000285034              Sony Music Entertainment
1468   Foo Fighters                        Hell                                                   SR0000377762              Sony Music Entertainment
1469   Foo Fighters                        Hey, Johnny Park!                                      SR0000297253              Sony Music Entertainment
1470   Foo Fighters                        Home                                                   SR0000617325              Sony Music Entertainment
1471   Foo Fighters                        In Your Honor                                          SR0000377762              Sony Music Entertainment
1472   Foo Fighters                        Learn To Fly                                           SR0000285034              Sony Music Entertainment
1473   Foo Fighters                        Let It Die                                             SR0000617325              Sony Music Entertainment
1474   Foo Fighters                        Live-In Skin                                           SR0000285034              Sony Music Entertainment
1475   Foo Fighters                        Long Road To Ruin                                      SR0000617325              Sony Music Entertainment
1476   Foo Fighters                        M.I.A.                                                 SR0000285034              Sony Music Entertainment
1477   Foo Fighters                        Marigold                                               SR0000396409              Sony Music Entertainment
1478   Foo Fighters                        Miracle                                                SR0000377762              Sony Music Entertainment
1479   Foo Fighters                        Monkey Wrench                                          SR0000297253              Sony Music Entertainment
1480   Foo Fighters                        My Hero                                                SR0000297253              Sony Music Entertainment
1481   Foo Fighters                        My Hero (Live)                                         SR0000396409              Sony Music Entertainment
1482   Foo Fighters                        My Poor Brain                                          SR0000297253              Sony Music Entertainment
1483   Foo Fighters                        New Way Home                                           SR0000297253              Sony Music Entertainment
1484   Foo Fighters                        Next Year                                              SR0000285034              Sony Music Entertainment
1485   Foo Fighters                        No Way Back                                            SR0000377762              Sony Music Entertainment
1486   Foo Fighters                        On The Mend                                            SR0000377762              Sony Music Entertainment
1487   Foo Fighters                        Once & For All (Demo)                                  SR0000617325              Sony Music Entertainment
1488   Foo Fighters                        Over And Out                                           SR0000377762              Sony Music Entertainment
1489   Foo Fighters                        Razor                                                  SR0000396409              Sony Music Entertainment
1490   Foo Fighters                        Resolve                                                SR0000377762              Sony Music Entertainment
1491   Foo Fighters                        See You                                                SR0000297253              Sony Music Entertainment
1492   Foo Fighters                        Skin And Bones                                         SR0000396409              Sony Music Entertainment
1493   Foo Fighters                        Stacked Actors                                         SR0000285034              Sony Music Entertainment
1494   Foo Fighters                        Statues                                                SR0000617325              Sony Music Entertainment
1495   Foo Fighters                        Still                                                  SR0000377762              Sony Music Entertainment
1496   Foo Fighters                        Stranger Things Have Happened                          SR0000617325              Sony Music Entertainment
1497   Foo Fighters                        Summer's End                                           SR0000617325              Sony Music Entertainment
1498   Foo Fighters                        The Deepest Blues Are Black                            SR0000377762              Sony Music Entertainment




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                               Artist                                                            Track                Registration Number                    Plaintiff
1499   Foo Fighters                                The Last Song                                                  SR0000377762              Sony Music Entertainment
1500   Foo Fighters                                The Pretender                                                  SR0000748786              Sony Music Entertainment
1501   Foo Fighters                                Up In Arms                                                     SR0000297253              Sony Music Entertainment
1502   Foo Fighters                                Virginia Moon                                                  SR0000377762              Sony Music Entertainment
1503   Foo Fighters                                Walking After You                                              SR0000297253              Sony Music Entertainment
1504   Foo Fighters                                What If I Do?                                                  SR0000377762              Sony Music Entertainment
1505   Foo Fighters                                Wheels                                                         SR0000636262              Sony Music Entertainment
1506   Foo Fighters                                Wind Up                                                        SR0000297253              Sony Music Entertainment
1507   Foo Fighters                                Word Forward                                                   SR0000636262              Sony Music Entertainment
1508   Foster The People                           Pumped Up Kicks                                                SR0000754312              Sony Music Entertainment
1509   Fugees                                      Manifest/Outro                                                 SR0000222005              Sony Music Entertainment
1510   Fugees                                      Mista Mista                                                    SR0000222005              Sony Music Entertainment
1511   Fugees                                      No Woman No Cry                                                SR0000222005              Sony Music Entertainment
1512   Fugees                                      Ready Or Not                                                   SR0000222005              Sony Music Entertainment
1513   Fugees                                      Red Intro                                                      SR0000222005              Sony Music Entertainment
1514   Fugees                                      The Score                                                      SR0000222005              Sony Music Entertainment
1515   Fugees                                      Zealots                                                        SR0000222005              Sony Music Entertainment
1516   Future                                      Astronaut Chick                                                SR0000701457              Sony Music Entertainment
1517   Future                                      Neva End                                                       SR0000701457              Sony Music Entertainment
1518   Future                                      Permanent Scar                                                 SR0000701457              Sony Music Entertainment
1519   Future                                      Same Damn Time                                                 SR0000701457              Sony Music Entertainment
1520   Future                                      Straight Up                                                    SR0000701457              Sony Music Entertainment
1521   Future                                      Tony Montana                                                   SR0000701457              Sony Music Entertainment
1522   Future                                      Truth Gonna Hurt You                                           SR0000701457              Sony Music Entertainment
1523   Future                                      Turn On The Lights                                             SR0000701457              Sony Music Entertainment
1524   Future                                      You Deserve It                                                 SR0000701457              Sony Music Entertainment
1525   Future feat. Big Rube                       The Future Is Now                                              SR0000701457              Sony Music Entertainment
1526   Future feat. Juicy J                        I'm Trippin                                                    SR0000701457              Sony Music Entertainment
1527   Future feat. Pharrell, Pusha T and Casino   Move That Dope                                                 SR0000762576              Sony Music Entertainment
1528   Future feat. R. Kelly                       Parachute                                                      SR0000701457              Sony Music Entertainment
1529   Future feat. Snoop Dogg                     Homicide                                                       SR0000701457              Sony Music Entertainment
1530   Future feat. T.I.                           Magic                                                          SR0000701457              Sony Music Entertainment
1531   Future feat. Trae The Truth                 Long Live The Pimp                                             SR0000701457              Sony Music Entertainment
1532   Garth Brooks                                All-American Kid                                               SR0000763853              Sony Music Entertainment
1533   Garth Brooks                                Cold Like That                                                 SR0000763853              Sony Music Entertainment
1534   Garth Brooks                                Cowboys Forever                                                SR0000763853              Sony Music Entertainment
1535   Garth Brooks                                Fish                                                           SR0000763853              Sony Music Entertainment
1536   Garth Brooks                                Man Against Machine                                            SR0000763853              Sony Music Entertainment
1537   Garth Brooks                                Midnight Train                                                 SR0000763853              Sony Music Entertainment
1538   Garth Brooks                                Mom                                                            SR0000763853              Sony Music Entertainment
1539   Garth Brooks                                People Loving People                                           SR0000763608              Sony Music Entertainment
1540   Garth Brooks                                Rodeo and Juliet                                               SR0000763853              Sony Music Entertainment
1541   Garth Brooks                                Send 'Em On Down the Road                                      SR0000763607              Sony Music Entertainment
1542   Garth Brooks                                She's Tired of Boys                                            SR0000763853              Sony Music Entertainment
1543   Garth Brooks                                Tacoma                                                         SR0000763853              Sony Music Entertainment
1544   Garth Brooks                                Wrong About You                                                SR0000763853              Sony Music Entertainment
1545   Garth Brooks                                You Wreck Me                                                   SR0000763853              Sony Music Entertainment
1546   George Jones                                I Always Get Lucky With You                                    SR0000045294              Sony Music Entertainment
1547   George Jones                                If Drinkin' Don't Kill Me (Her Memory Will)                    SR0000021788              Sony Music Entertainment
1548   George Jones                                I'm A One Woman Man                                            SR0000101829              Sony Music Entertainment
1549   George Jones                                I've Aged Twenty Years In Five                                 SR0000021788              Sony Music Entertainment
1550   George Jones                                Someday My Day Will Come                                       SR0000010280              Sony Music Entertainment
1551   George Jones                                Still Doin' Time                                               SR0000030506              Sony Music Entertainment
1552   George Jones                                The Right Left Hand                                            SR0000078097              Sony Music Entertainment
1553   George Jones                                You've Still Got a Place In My Heart                           SR0000055734              Sony Music Entertainment
1554   George Michael                              An Easier Affair                                               SR0000618251              Sony Music Entertainment
1555   George Michael                              Cowboys and Angels                                             SR0000133600              Sony Music Entertainment
1556   George Michael                              Father Figure                                                  SR0000092432              Sony Music Entertainment
1557   George Michael                              Freedom! '90                                                   SR0000133600              Sony Music Entertainment
1558   George Michael                              I Want Your Sex                                                SR0000092432              Sony Music Entertainment
1559   George Michael                              Kissing A Fool                                                 SR0000092432              Sony Music Entertainment
1560   George Michael                              One More Try                                                   SR0000092432              Sony Music Entertainment
1561   George Michael                              Praying For Time                                               SR0000133600              Sony Music Entertainment
1562   George Michael                              They Won't Go When I Go                                        SR0000133600              Sony Music Entertainment
1563   Gretchen Wilson                             All Jacked Up                                                  PA0001259117              Sony Music Entertainment
1564   Gretchen Wilson                             California Girls                                               SR0000388036              Sony Music Entertainment
1565   Gretchen Wilson                             I Don't Feel Like Loving You Today                             SR0000388036              Sony Music Entertainment
1566   Gretchen Wilson                             One Of The Boys                                                SR0000609494              Sony Music Entertainment
1567   Gretchen Wilson                             Politically Uncorrect                                          SR0000388036              Sony Music Entertainment
1568   Hurricane Chris                             A Bay Bay                                                      SR0000719410              Sony Music Entertainment
1569   In This Moment                              Adrenalize                                                     SR0000703747              Sony Music Entertainment
1570   In This Moment                              Aries                                                          SR0000703747              Sony Music Entertainment
1571   In This Moment                              Beast Within                                                   SR0000703747              Sony Music Entertainment
1572   In This Moment                              Blood                                                          SR0000703747              Sony Music Entertainment
1573   In This Moment                              Burn                                                           SR0000703747              Sony Music Entertainment
1574   In This Moment                              Comanche                                                       SR0000703747              Sony Music Entertainment
1575   In This Moment                              From the Ashes                                                 SR0000703747              Sony Music Entertainment
1576   In This Moment                              Rise With Me                                                   SR0000703747              Sony Music Entertainment
1577   In This Moment                              Scarlet                                                        SR0000703747              Sony Music Entertainment
1578   In This Moment                              The Blood Legion                                               SR0000703747              Sony Music Entertainment
1579   In This Moment                              Whore                                                          SR0000703747              Sony Music Entertainment
1580   In This Moment                              You're Gonna' Listen                                           SR0000703747              Sony Music Entertainment
1581   Incubus                                     Aqueous Transmission                                           SR0000306181              Sony Music Entertainment
1582   Incubus                                     Are You In?                                                    SR0000306181              Sony Music Entertainment
1583   Incubus                                     Battlestar Scralatchtica                                       SR0000278818              Sony Music Entertainment
1584   Incubus                                     Blood on the Ground                                            SR0000306181              Sony Music Entertainment
1585   Incubus                                     Circles                                                        SR0000306181              Sony Music Entertainment
1586   Incubus                                     Clean                                                          SR0000278818              Sony Music Entertainment
1587   Incubus                                     Consequence                                                    SR0000278818              Sony Music Entertainment
1588   Incubus                                     Drive                                                          SR0000278818              Sony Music Entertainment
1589   Incubus                                     Echo                                                           SR0000306181              Sony Music Entertainment
1590   Incubus                                     Have You Ever                                                  SR0000306181              Sony Music Entertainment
1591   Incubus                                     I Miss You                                                     SR0000278818              Sony Music Entertainment
1592   Incubus                                     Just a Phase                                                   SR0000306181              Sony Music Entertainment
1593   Incubus                                     Magic Medicine                                                 SR0000249690              Sony Music Entertainment
1594   Incubus                                     Make Yourself                                                  SR0000278818              Sony Music Entertainment
1595   Incubus                                     Mexico                                                         SR0000306181              Sony Music Entertainment
1596   Incubus                                     Nice To Know You                                               SR0000306181              Sony Music Entertainment
1597   Incubus                                     Nowhere Fast                                                   SR0000278818              Sony Music Entertainment
1598   Incubus                                     Out from Under                                                 SR0000278818              Sony Music Entertainment




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                                Artist                                                     Track                                     Registration Number                    Plaintiff
1599   Incubus                                    Privilege                                                                      SR0000278818              Sony Music Entertainment
1600   Incubus                                    Stellar                                                                        SR0000278818              Sony Music Entertainment
1601   Incubus                                    Summer Romance (Anti-Gravity Love Song)                                        SR0000249690              Sony Music Entertainment
1602   Incubus                                    The Warmth                                                                     SR0000278818              Sony Music Entertainment
1603   Incubus                                    Under My Umbrella                                                              SR0000306181              Sony Music Entertainment
1604   Incubus                                    Warning                                                                        SR0000306181              Sony Music Entertainment
1605   Incubus                                    When It Comes                                                                  SR0000278818              Sony Music Entertainment
1606   Incubus                                    Wish You Were Here                                                             PA0001065849              Sony Music Entertainment
1607   Itzhak Perlman                             Theme from"Far and Away"                                                       SR0000247495              Sony Music Entertainment
1608   Itzhak Perlman; John Williams              Schindler's List: Theme                                                        SR0000247495              Sony Music Entertainment
1609   Jace Everett                               Bad Things                                                                     SR0000385664              Sony Music Entertainment
1610   Jack White                                 Blunderbuss                                                                    SR0000699383              Sony Music Entertainment
1611   Jack White                                 Freedom At 21                                                                  SR0000699383              Sony Music Entertainment
1612   Jack White                                 Hip (Eponymous) Poor Boy                                                       SR0000699383              Sony Music Entertainment
1613   Jack White                                 Hypocritical Kiss                                                              SR0000699383              Sony Music Entertainment
1614   Jack White                                 I Guess I Should Go To Sleep                                                   SR0000699383              Sony Music Entertainment
1615   Jack White                                 I'm Shakin'                                                                    SR0000699383              Sony Music Entertainment
1616   Jack White                                 Love Interruption                                                              SR0000699383              Sony Music Entertainment
1617   Jack White                                 Missing Pieces                                                                 SR0000699383              Sony Music Entertainment
1618   Jack White                                 On And On And On                                                               SR0000699383              Sony Music Entertainment
1619   Jack White                                 Sixteen Saltines                                                               SR0000699383              Sony Music Entertainment
1620   Jack White                                 Take Me With You When You Go                                                   SR0000699383              Sony Music Entertainment
1621   Jack White                                 Trash Tongue Talker                                                            SR0000699383              Sony Music Entertainment
1622   Jack White                                 Weep Themselves To Sleep                                                       SR0000699383              Sony Music Entertainment
1623   Jake Owen                                  Alone With You                                                                 SR0000697851              Sony Music Entertainment
1624   Jake Owen                                  Anywhere With You                                                              SR0000697851              Sony Music Entertainment
1625   Jake Owen                                  Apple Pie Moonshine                                                            SR0000697851              Sony Music Entertainment
1626   Jake Owen                                  Barefoot Blue Jean Night                                                       SR0000697851              Sony Music Entertainment
1627   Jake Owen                                  Beachin'                                                                       SR0000737050              Sony Music Entertainment
1628   Jake Owen                                  Heaven                                                                         SR0000697851              Sony Music Entertainment
1629   Jake Owen                                  Keepin' It Country                                                             SR0000697851              Sony Music Entertainment
1630   Jake Owen                                  Nobody Feelin' No Pain                                                         SR0000697851              Sony Music Entertainment
1631   Jake Owen                                  Settin' The World On Fire                                                      SR0000697851              Sony Music Entertainment
1632   Jake Owen                                  The Journey Of Your Life                                                       SR0000697851              Sony Music Entertainment
1633   Jake Owen                                  The One That Got Away                                                          SR0000697851              Sony Music Entertainment
1634   Jake Owen                                  Wide Awake                                                                     SR0000697851              Sony Music Entertainment
1635   James Taylor                               Only A Dream In Rio                                                            SR0000068536              Sony Music Entertainment
1636   James Taylor                               Up On The Roof                                                                 SR0000009172              Sony Music Entertainment
1637   James Taylor                               Your Smiling Face                                                              RE0000923126              Sony Music Entertainment
1638   Jamiroquai                                 Virtual Insanity                                                               SR0000299909              Sony Music Entertainment
1639   Jennifer Hudson                            The Star-Spangled Banner                                                       SR0000674220              Sony Music Entertainment
1640   Jennifer Hudson                            What You Think                                                                 SR0000674220              Sony Music Entertainment
1641   Jennifer Hudson & Ne-Yo feat. Rick Ross    Think Like A Man                                                               SR0000712017              Sony Music Entertainment
1642   Jennifer Lopez                             No Me Ames                                                                     SR0000267571              Sony Music Entertainment
1643   Jerrod Niemann                             Drink to That All Night                                                        SR0000738148              Sony Music Entertainment
1644   John Legend                                Cross The Line                                                                 SR0000619653              Sony Music Entertainment
1645   John Legend                                Everybody Knows                                                                SR0000619653              Sony Music Entertainment
1646   John Legend                                Good Morning                                                                   SR0000742202              Sony Music Entertainment
1647   John Legend                                I Love, You Love                                                               SR0000619653              Sony Music Entertainment
1648   John Legend                                If You're Out There                                                            SR0000619653              Sony Music Entertainment
1649   John Legend                                Quickly                                                                        SR0000619653              Sony Music Entertainment
1650   John Legend                                Satisfaction                                                                   SR0000619653              Sony Music Entertainment
1651   John Legend                                Take Me Away                                                                   SR0000619653              Sony Music Entertainment
1652   John Legend                                This Time                                                                      SR0000619653              Sony Music Entertainment
1653   John Legend feat. Buju Banton              Can't Be My Lover                                                              SR0000619653              Sony Music Entertainment
1654   John Legend feat. Estelle                  No Other Love                                                                  SR0000619653              Sony Music Entertainment
1655   John Legend feat. Kanye West               It's Over                                                                      SR0000619653              Sony Music Entertainment
1656   John Mayer                                 Crossroads                                                                     SR0000650569              Sony Music Entertainment
1657   John Mayer                                 Do You Know Me                                                                 SR0000650569              Sony Music Entertainment
1658   John Mayer                                 Edge Of Desire                                                                 SR0000650569              Sony Music Entertainment
1659   John Mayer                                 Friends, Lovers Or Nothing                                                     SR0000650569              Sony Music Entertainment
1660   John Mayer                                 Half Of My Heart                                                               SR0000650569              Sony Music Entertainment
1661   John Mayer                                 Heartbreak Warfare                                                             SR0000650569              Sony Music Entertainment
1662   John Mayer                                 Perfectly Lonely                                                               SR0000650569              Sony Music Entertainment
1663   John Mayer                                 War Of My Life                                                                 SR0000650569              Sony Music Entertainment
1664   John Mayer                                 Who Says                                                                       SR0000650569              Sony Music Entertainment
1665   John Williams                              Bugler's Dream and Olympic Fanfare Medley                                      SR0000224437              Sony Music Entertainment
1666   John Williams                              Hook: Flight To Neverland                                                      SR0000233783              Sony Music Entertainment
1667   John Williams                              Summon The Heroes                                                              SR0000224437              Sony Music Entertainment
1668   John Williams                              Theme From Jurassic Park                                                       SR0000233783              Sony Music Entertainment
1669   John Williams; London Symphony Orchestra   Main Title (From "Star Wars")                                                  SR0000247474              Sony Music Entertainment
1670   John Williams; The Boston Pops Orchestra   Close Encounters of the Third Kind/When You Wish Upon a Star Medley            SR0000186141              Sony Music Entertainment
1671   John Williams; The Boston Pops Orchestra   Scherzo for Motorcycle and Orchestra from Indiana Jones and the Last Crusade   SR0000186141              Sony Music Entertainment
1672   John Williams; The Boston Pops Orchestra   Theme from "Sugarland Express"                                                 SR0000186141              Sony Music Entertainment
1673   Johnny Cash                                The General Lee                                                                SR0000035327              Sony Music Entertainment
1674   Josh Thompson                              A Name In This Town                                                            SR0000652025              Sony Music Entertainment
1675   Josh Thompson                              Always Been Me                                                                 SR0000652025              Sony Music Entertainment
1676   Josh Thompson                              Back Around                                                                    SR0000652025              Sony Music Entertainment
1677   Josh Thompson                              Beer On The Table                                                              SR0000652025              Sony Music Entertainment
1678   Josh Thompson                              Blame It On Waylon                                                             SR0000652025              Sony Music Entertainment
1679   Josh Thompson                              I Won't Go Crazy                                                               SR0000652025              Sony Music Entertainment
1680   Josh Thompson                              Sinner                                                                         SR0000652025              Sony Music Entertainment
1681   Josh Thompson                              Way Out Here                                                                   SR0000652025              Sony Music Entertainment
1682   Josh Thompson                              Won't Be Lonely Long - On The Road                                             SR0000652025              Sony Music Entertainment
1683   Josh Thompson                              You Ain't Seen Country Yet                                                     SR0000652025              Sony Music Entertainment
1684   Julio Iglesias duet with Willie Nelson     To All the Girls I've Loved Before                                             SR0000058185              Sony Music Entertainment
1685   Justin Timberlake                          Blue Ocean Floor                                                               SR0000717770              Sony Music Entertainment
1686   Justin Timberlake                          Body Count                                                                     SR0000717770              Sony Music Entertainment
1687   Justin Timberlake                          Don't Hold The Wall                                                            SR0000717770              Sony Music Entertainment
1688   Justin Timberlake                          Dress On                                                                       SR0000717770              Sony Music Entertainment
1689   Justin Timberlake                          Let The Groove Get In                                                          SR0000717770              Sony Music Entertainment
1690   Justin Timberlake                          Pusher Love Girl                                                               SR0000717770              Sony Music Entertainment
1691   Justin Timberlake                          SexyBack                                                                       SR0000719411              Sony Music Entertainment
1692   Justin Timberlake                          Spaceship Coupe                                                                SR0000717770              Sony Music Entertainment
1693   Justin Timberlake                          Strawberry Bubblegum                                                           SR0000717770              Sony Music Entertainment
1694   Justin Timberlake                          Take Back The Night                                                            SR0000743698              Sony Music Entertainment
1695   Justin Timberlake                          That Girl                                                                      SR0000717770              Sony Music Entertainment
1696   Justin Timberlake                          Tunnel Vision                                                                  SR0000717770              Sony Music Entertainment
1697   Justin Timberlake feat. Jay-Z              Suit & Tie                                                                     SR0000714855              Sony Music Entertainment
1698   Karmin                                     Crash Your Party                                                               SR0000719621              Sony Music Entertainment




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                              Artist                                                       Track                       Registration Number                    Plaintiff
1699   Kelly Clarkson                             Alone                                                            SR0000693113              Sony Music Entertainment
1700   Kelly Clarkson                             Breaking Your Own Heart                                          SR0000693113              Sony Music Entertainment
1701   Kelly Clarkson                             Dark Side                                                        SR0000693113              Sony Music Entertainment
1702   Kelly Clarkson                             Einstein                                                         SR0000693113              Sony Music Entertainment
1703   Kelly Clarkson                             Hello                                                            SR0000693113              Sony Music Entertainment
1704   Kelly Clarkson                             Honestly                                                         SR0000693113              Sony Music Entertainment
1705   Kelly Clarkson                             I Forgive You                                                    SR0000693113              Sony Music Entertainment
1706   Kelly Clarkson                             Mr. Know It All                                                  SR0000715680              Sony Music Entertainment
1707   Kelly Clarkson                             Standing In Front Of You                                         SR0000693113              Sony Music Entertainment
1708   Kelly Clarkson                             Stronger (What Doesn't Kill You)                                 SR0000693113              Sony Music Entertainment
1709   Kelly Clarkson                             The Sun Will Rise                                                SR0000693113              Sony Music Entertainment
1710   Kelly Clarkson                             The War Is Over                                                  SR0000693113              Sony Music Entertainment
1711   Kelly Clarkson                             Why Don't You Try                                                SR0000734929              Sony Music Entertainment
1712   Kelly Clarkson                             You Can't Win                                                    SR0000693113              Sony Music Entertainment
1713   Kelly Clarkson                             You Love Me                                                      SR0000693113              Sony Music Entertainment
1714   Kenny Chesney                              Always Gonna Be You                                              SR0000722762              Sony Music Entertainment
1715   Kenny Chesney                              El Cerrito Place                                                 SR0000722762              Sony Music Entertainment
1716   Kenny Chesney                              I'm A Small Town                                                 SR0000722762              Sony Music Entertainment
1717   Kenny Chesney                              Makes Me Wonder                                                  SR0000722762              Sony Music Entertainment
1718   Kenny Chesney                              Sing 'Em Good My Friend                                          SR0000722762              Sony Music Entertainment
1719   Kenny Chesney                              Time Flies                                                       SR0000722762              Sony Music Entertainment
1720   Kenny Chesney                              To Get To You (55th And 3rd)                                     SR0000722762              Sony Music Entertainment
1721   Kenny Chesney                              Welcome To The Fishbowl                                          SR0000722762              Sony Music Entertainment
1722   Kenny Chesney                              While He Still Knows Who I Am                                    SR0000722762              Sony Music Entertainment
1723   Kenny Chesney feat. Grace Potter           You And Tequila                                                  SR0000722762              Sony Music Entertainment
1724   Kid Ink feat. A$AP Ferg & French Montana   Bossin' Up                                                       SR0000761343              Sony Music Entertainment
1725   Kings Of Leon                              Beautiful War                                                    SR0000734388              Sony Music Entertainment
1726   Kings Of Leon                              Comeback Story                                                   SR0000734388              Sony Music Entertainment
1727   Kings Of Leon                              Coming Back Again                                                SR0000734388              Sony Music Entertainment
1728   Kings Of Leon                              Don't Matter                                                     SR0000734388              Sony Music Entertainment
1729   Kings Of Leon                              Family Tree                                                      SR0000734388              Sony Music Entertainment
1730   Kings Of Leon                              Last Mile Home                                                   SR0000734388              Sony Music Entertainment
1731   Kings Of Leon                              On the Chin                                                      SR0000734388              Sony Music Entertainment
1732   Kings Of Leon                              Rock City                                                        SR0000734388              Sony Music Entertainment
1733   Kings Of Leon                              Supersoaker                                                      SR0000726617              Sony Music Entertainment
1734   Kings Of Leon                              Temple                                                           SR0000734388              Sony Music Entertainment
1735   Kings Of Leon                              Tonight                                                          SR0000734388              Sony Music Entertainment
1736   Kings Of Leon                              Wait for Me                                                      SR0000734389              Sony Music Entertainment
1737   Kings Of Leon                              Work On Me                                                       SR0000734388              Sony Music Entertainment
1738   Korn                                       B.B.K.                                                           SR0000263749              Sony Music Entertainment
1739   Korn                                       Cameltosis                                                       SR0000263749              Sony Music Entertainment
1740   Korn                                       Children Of The Korn                                             SR0000263749              Sony Music Entertainment
1741   Korn                                       Dead Bodies Everywhere                                           SR0000263749              Sony Music Entertainment
1742   Korn                                       Earache My Eye                                                   SR0000263749              Sony Music Entertainment
1743   Korn                                       Freak On A Leash                                                 SR0000263749              Sony Music Entertainment
1744   Korn                                       Got The Life                                                     SR0000263749              Sony Music Entertainment
1745   Korn                                       It's On!                                                         SR0000263749              Sony Music Entertainment
1746   Korn                                       Justin                                                           SR0000263749              Sony Music Entertainment
1747   Korn                                       My Gift To You                                                   SR0000263749              Sony Music Entertainment
1748   Korn                                       Pretty                                                           SR0000263749              Sony Music Entertainment
1749   Korn                                       Reclaim My Place                                                 SR0000263749              Sony Music Entertainment
1750   Korn                                       Seed                                                             SR0000263749              Sony Music Entertainment
1751   L-Burna aka Layzie Bone                    Carole Of The Bones                                              SR0000291785              Sony Music Entertainment
1752   L-Burna aka Layzie Bone                    Still The Greatest                                               SR0000291785              Sony Music Entertainment
1753   Leona Lewis                                Better In Time                                                   SR0000619647              Sony Music Entertainment
1754   London Symphony Orchestra; John Williams   Theme (From "Jaws")                                              SR0000247474              Sony Music Entertainment
1755   Los Lonely Boys                            Crazy Dream                                                      SR0000352465              Sony Music Entertainment
1756   Los Lonely Boys                            Dime Mi Amor                                                     SR0000352465              Sony Music Entertainment
1757   Los Lonely Boys                            Heaven                                                           SR0000352465              Sony Music Entertainment
1758   Los Lonely Boys                            Hollywood                                                        SR0000352465              Sony Music Entertainment
1759   Los Lonely Boys                            La Contestacion                                                  SR0000352465              Sony Music Entertainment
1760   Los Lonely Boys                            More Than Love                                                   SR0000352465              Sony Music Entertainment
1761   Los Lonely Boys                            Nobody Else                                                      SR0000352465              Sony Music Entertainment
1762   Los Lonely Boys                            Onda                                                             SR0000352465              Sony Music Entertainment
1763   Los Lonely Boys                            Real Emotions                                                    SR0000352465              Sony Music Entertainment
1764   Los Lonely Boys                            Senorita                                                         SR0000352465              Sony Music Entertainment
1765   Los Lonely Boys                            Tell Me Why                                                      SR0000352465              Sony Music Entertainment
1766   Los Lonely Boys                            Velvet Sky                                                       SR0000352465              Sony Music Entertainment
1767   Lou Rawls                                  You'll Never Find Another Love Like Mine                         N33959                    Sony Music Entertainment
1768   Love and Theft                             Angel Eyes                                                       PA0001922065              Sony Music Entertainment
1769   Luther Vandross                            A House Is Not A Home                                            SR0000030527              Sony Music Entertainment
1770   Luther Vandross                            Any Love - Wembley Stadium 1989                                  PA0000434017              Sony Music Entertainment
1771   Luther Vandross                            Give Me the Reason                                               SR0000071632              Sony Music Entertainment
1772   Luther Vandross                            Never Too Much                                                   SR0000030497              Sony Music Entertainment
1773   Luther Vandross                            Superstar/Until You Come Back To Me (That's What I'm Gonna Do)   SR0000054317              Sony Music Entertainment
1774   Macy Gray                                  A Moment To Myself                                               SR0000267460              Sony Music Entertainment
1775   Macy Gray                                  Blowin' Up Your Speakers                                         SR0000302804              Sony Music Entertainment
1776   Macy Gray                                  Boo                                                              SR0000302804              Sony Music Entertainment
1777   Macy Gray                                  Caligula                                                         SR0000267460              Sony Music Entertainment
1778   Macy Gray                                  Come Together                                                    SR0000336638              Sony Music Entertainment
1779   Macy Gray                                  Do Something                                                     SR0000267460              Sony Music Entertainment
1780   Macy Gray                                  Every Now And Then                                               SR0000336638              Sony Music Entertainment
1781   Macy Gray                                  Forgiveness                                                      SR0000302804              Sony Music Entertainment
1782   Macy Gray                                  Freak Like Me                                                    SR0000302804              Sony Music Entertainment
1783   Macy Gray                                  Gimme All Your Lovin' or I Will Kill You                         SR0000302804              Sony Music Entertainment
1784   Macy Gray                                  Happiness                                                        SR0000336638              Sony Music Entertainment
1785   Macy Gray                                  Harry                                                            SR0000302804              Sony Music Entertainment
1786   Macy Gray                                  I Can't Wait To Meetchu                                          SR0000267460              Sony Music Entertainment
1787   Macy Gray                                  I Try                                                            SR0000267460              Sony Music Entertainment
1788   Macy Gray                                  I've Committed Murder                                            SR0000267460              Sony Music Entertainment
1789   Macy Gray                                  Jesus For A Day                                                  SR0000336638              Sony Music Entertainment
1790   Macy Gray                                  My Fondest Childhood Memories                                    SR0000336638              Sony Music Entertainment
1791   Macy Gray                                  Oblivion                                                         SR0000302804              Sony Music Entertainment
1792   Macy Gray                                  Relating To A Psychopath                                         SR0000302804              Sony Music Entertainment
1793   Macy Gray                                  Screamin'                                                        SR0000336638              Sony Music Entertainment
1794   Macy Gray                                  Sex-o-matic Venus Freak                                          SR0000267460              Sony Music Entertainment
1795   Macy Gray                                  Sexual Revolution                                                SR0000302804              Sony Music Entertainment
1796   Macy Gray                                  She Don't Write Songs About You                                  SR0000336638              Sony Music Entertainment
1797   Macy Gray                                  Speechless                                                       SR0000336638              Sony Music Entertainment
1798   Macy Gray                                  Still                                                            SR0000267460              Sony Music Entertainment




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                               Artist                                              Track                  Registration Number                    Plaintiff
1799   Macy Gray                                 The Letter                                           SR0000267460              Sony Music Entertainment
1800   Macy Gray                                 Things That Made Me Change                           SR0000336638              Sony Music Entertainment
1801   Macy Gray                                 When I See You                                       PA0001207765              Sony Music Entertainment
1802   Macy Gray                                 Why Didn't You Call Me                               SR0000267460              Sony Music Entertainment
1803   Macy Gray feat. Angie Stone and Mos Def   My Nutmeg Phantasy                                   SR0000302804              Sony Music Entertainment
1804   Macy Gray feat. Erykah Badu               Sweet Baby                                           PA0001074698              Sony Music Entertainment
1805   Macy Gray feat. Slick Rick                Hey Young World, Pt. 2                               SR0000302804              Sony Music Entertainment
1806   Macy Gray feat. Sunshine Anderson         Don't Come Around                                    SR0000302804              Sony Music Entertainment
1807   Manchester Orchestra                      Apprehension                                         SR0000680374              Sony Music Entertainment
1808   Manchester Orchestra                      April Fool                                           SR0000680374              Sony Music Entertainment
1809   Manchester Orchestra                      Deer                                                 SR0000680374              Sony Music Entertainment
1810   Manchester Orchestra                      Leaky Breaks                                         SR0000680374              Sony Music Entertainment
1811   Manchester Orchestra                      Leave It Alone                                       SR0000680374              Sony Music Entertainment
1812   Manchester Orchestra                      Mighty                                               SR0000680374              Sony Music Entertainment
1813   Manchester Orchestra                      Pale Black Eye                                       SR0000680374              Sony Music Entertainment
1814   Manchester Orchestra                      Pensacola                                            SR0000680374              Sony Music Entertainment
1815   Manchester Orchestra                      Simple Math                                          SR0000680374              Sony Music Entertainment
1816   Manchester Orchestra                      Virgin                                               SR0000680374              Sony Music Entertainment
1817   Marc Anthony                              Ahora Quien                                          SR0000355308              Sony Music Entertainment
1818   Marc Anthony                              Amigo                                                SR0000355308              Sony Music Entertainment
1819   Marc Anthony                              Escapémonos                                          SR0000355308              Sony Music Entertainment
1820   Marc Anthony                              Lamento Borincano                                    SR0000358132              Sony Music Entertainment
1821   Marc Anthony                              Se Esfuma Tu Amor                                    SR0000355308              Sony Music Entertainment
1822   Marc Anthony                              Tu Amor Me Hace Bien                                 SR0000355308              Sony Music Entertainment
1823   Marc Anthony                              Valio La Pena                                        SR0000355308              Sony Music Entertainment
1824   Marc Anthony                              Vivir Mi Vida                                        SR0000727153              Sony Music Entertainment
1825   Marc Anthony                              Volando Entre Tus Brazos                             SR0000355308              Sony Music Entertainment
1826   Mariah Carey                              Breakdown                                            SR0000244014              Sony Music Entertainment
1827   Marvin Gaye                               Sexual Healing                                       SR0000038850              Sony Music Entertainment
1828   Marvin Sapp                               Comfort Zone                                         PA0001749838              Sony Music Entertainment
1829   Marvin Sapp                               Don't Count Me Out                                   PA0001749838              Sony Music Entertainment
1830   Marvin Sapp                               Fresh Wind                                           PA0001749838              Sony Music Entertainment
1831   Marvin Sapp                               He Has His Hands On You                              PA0001749838              Sony Music Entertainment
1832   Marvin Sapp                               Here I Am                                            PA0001749838              Sony Music Entertainment
1833   Marvin Sapp                               I Came                                               PA0001749838              Sony Music Entertainment
1834   Marvin Sapp                               I Came (Intro)                                       PA0001749838              Sony Music Entertainment
1835   Marvin Sapp                               Keep Holding On                                      PA0001749838              Sony Music Entertainment
1836   Marvin Sapp                               More Than A Conqueror                                PA0001749838              Sony Music Entertainment
1837   Marvin Sapp                               Praise You Forever                                   PA0001749838              Sony Music Entertainment
1838   Marvin Sapp                               The Best In Me                                       PA0001749838              Sony Music Entertainment
1839   Marvin Sapp                               Wait                                                 PA0001749838              Sony Music Entertainment
1840   Mary Mary                                 Can't Give Up Now                                    SR0000711038              Sony Music Entertainment
1841   Mary Mary                                 Dirt                                                 SR0000711038              Sony Music Entertainment
1842   Mary Mary                                 Go Get It                                            SR0000711038              Sony Music Entertainment
1843   Mary Mary                                 God Bless                                            SR0000711038              Sony Music Entertainment
1844   Mary Mary                                 He Said                                              SR0000317087              Sony Music Entertainment
1845   Mary Mary                                 I'm Running                                          SR0000711038              Sony Music Entertainment
1846   Mary Mary                                 Little Girl                                          SR0000317087              Sony Music Entertainment
1847   Mary Mary                                 Sunday Morning                                       SR0000711038              Sony Music Entertainment
1848   Mary Mary feat. Destiny's Child           Good To Me                                           SR0000269994              Sony Music Entertainment
1849   Mary Mary feat. Kirk Franklin             And I                                                SR0000378079              Sony Music Entertainment
1850   Maxwell                                   Bad Habits                                           SR0000639738              Sony Music Entertainment
1851   Maxwell                                   Cold                                                 SR0000639738              Sony Music Entertainment
1852   Maxwell                                   Fistful Of Tears                                     SR0000639738              Sony Music Entertainment
1853   Maxwell                                   Help Somebody                                        SR0000639738              Sony Music Entertainment
1854   Maxwell                                   Love You                                             SR0000639738              Sony Music Entertainment
1855   Maxwell                                   Phoenix Rise                                         SR0000639738              Sony Music Entertainment
1856   Maxwell                                   Playing Possum                                       SR0000639738              Sony Music Entertainment
1857   Maxwell                                   Pretty Wings                                         SR0000639738              Sony Music Entertainment
1858   Maxwell                                   Stop The World                                       SR0000639738              Sony Music Entertainment
1859   Meat Loaf                                 Great Boleros of Fire                                SR0000293673              Sony Music Entertainment
1860   MGMT                                      Electric Feel                                        SR0000670166              Sony Music Entertainment
1861   Michael Jackson                           Baby Be Mine                                         SR0000041965              Sony Music Entertainment
1862   Michael Jackson                           Burn This Disco Out                                  SR0000011120              Sony Music Entertainment
1863   Michael Jackson                           Don't Stop 'Til You Get Enough                       SR0000011105              Sony Music Entertainment
1864   Michael Jackson                           Get On The Floor                                     SR0000011120              Sony Music Entertainment
1865   Michael Jackson                           Girlfriend                                           SR0000011120              Sony Music Entertainment
1866   Michael Jackson                           Human Nature                                         SR0000041965              Sony Music Entertainment
1867   Michael Jackson                           I Can't Help It                                      SR0000011105              Sony Music Entertainment
1868   Michael Jackson                           It's The Falling In Love                             SR0000011120              Sony Music Entertainment
1869   Michael Jackson                           Off The Wall                                         SR0000011120              Sony Music Entertainment
1870   Michael Jackson                           P.Y.T. (Pretty Young Thing)                          SR0000041965              Sony Music Entertainment
1871   Michael Jackson                           The Lady In My Life                                  SR0000041965              Sony Music Entertainment
1872   Michael Jackson                           Workin' Day And Night                                SR0000011120              Sony Music Entertainment
1873   Miguel                                    Adorn                                                SR0000709268              Sony Music Entertainment
1874   Miguel                                    All I Want Is You                                    SR0000673073              Sony Music Entertainment
1875   Miguel                                    Girl With The Tattoo Enter.lewd                      SR0000673073              Sony Music Entertainment
1876   Miguel                                    Girls Like You                                       SR0000673073              Sony Music Entertainment
1877   Miguel                                    Hard Way                                             SR0000673073              Sony Music Entertainment
1878   Miguel                                    Hero                                                 SR0000673073              Sony Music Entertainment
1879   Miguel                                    How Many Drinks?                                     SR0000709268              Sony Music Entertainment
1880   Miguel                                    My Piece                                             SR0000673073              Sony Music Entertainment
1881   Miguel                                    Pay Me                                               SR0000673073              Sony Music Entertainment
1882   Miguel                                    Quickie                                              SR0000673073              Sony Music Entertainment
1883   Miguel                                    Sure Thing                                           SR0000673073              Sony Music Entertainment
1884   Miguel                                    Teach Me                                             SR0000673073              Sony Music Entertainment
1885   Miguel                                    To The Moon                                          SR0000673073              Sony Music Entertainment
1886   Miguel                                    Vixen                                                SR0000673073              Sony Music Entertainment
1887   Mike Posner                               Cooler Than Me                                       SR0000657938              Sony Music Entertainment
1888   Miley Cyrus                               #GETITRIGHT                                          SR0000735242              Sony Music Entertainment
1889   Miley Cyrus                               Adore You                                            SR0000735242              Sony Music Entertainment
1890   Miley Cyrus                               Do My Thang                                          SR0000735242              Sony Music Entertainment
1891   Miley Cyrus                               Drive                                                SR0000735242              Sony Music Entertainment
1892   Miley Cyrus                               Maybe You're Right                                   SR0000735242              Sony Music Entertainment
1893   Miley Cyrus                               On My Own                                            SR0000735242              Sony Music Entertainment
1894   Miley Cyrus                               Rooting for My Baby                                  SR0000735242              Sony Music Entertainment
1895   Miley Cyrus                               Someone Else                                         SR0000735242              Sony Music Entertainment
1896   Miley Cyrus                               We Can't Stop                                        SR0000726503              Sony Music Entertainment
1897   Miley Cyrus feat. Big Sean                Love Money Party                                     SR0000735242              Sony Music Entertainment
1898   Miley Cyrus feat. Britney Spears          SMS (Bangerz)                                        SR0000735242              Sony Music Entertainment




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                               Artist                                              Track                Registration Number                    Plaintiff
1899   Miley Cyrus feat. French Montana    FU                                                       SR0000735242              Sony Music Entertainment
1900   Miley Cyrus feat. Future            My Darlin'                                               SR0000735242              Sony Music Entertainment
1901   Miley Cyrus feat. Ludacris          Hands in the Air                                         SR0000735242              Sony Music Entertainment
1902   Miley Cyrus feat. Nelly             4x4                                                      SR0000735242              Sony Music Entertainment
1903   Miranda Lambert                     Airstream Song                                           SR0000641403              Sony Music Entertainment
1904   Miranda Lambert                     All Kinds of Kinds                                       PA0001805349              Sony Music Entertainment
1905   Miranda Lambert                     Automatic                                                SR0000738201              Sony Music Entertainment
1906   Miranda Lambert                     Baggage Claim                                            PA0001805349              Sony Music Entertainment
1907   Miranda Lambert                     Better In The Long Run                                   PA0001805349              Sony Music Entertainment
1908   Miranda Lambert                     Bring Me Down                                            SR0000367710              Sony Music Entertainment
1909   Miranda Lambert                     Crazy Ex-Girlfriend                                      SR0000746292              Sony Music Entertainment
1910   Miranda Lambert                     Dead Flowers                                             SR0000641403              Sony Music Entertainment
1911   Miranda Lambert                     Dear Diamond                                             PA0001805349              Sony Music Entertainment
1912   Miranda Lambert                     Desperation                                              SR0000609529              Sony Music Entertainment
1913   Miranda Lambert                     Down                                                     SR0000609529              Sony Music Entertainment
1914   Miranda Lambert                     Dry Town                                                 SR0000609529              Sony Music Entertainment
1915   Miranda Lambert                     Easy From Now On                                         SR0000609529              Sony Music Entertainment
1916   Miranda Lambert                     Easy Living                                              PA0001805349              Sony Music Entertainment
1917   Miranda Lambert                     Famous In A Small Town                                   SR0000609529              Sony Music Entertainment
1918   Miranda Lambert                     Fastest Girl In Town                                     PA0001805349              Sony Music Entertainment
1919   Miranda Lambert                     Fine Tune                                                PA0001805349              Sony Music Entertainment
1920   Miranda Lambert                     Getting Ready                                            SR0000609529              Sony Music Entertainment
1921   Miranda Lambert                     Greyhound Bound For Nowhere                              SR0000367710              Sony Music Entertainment
1922   Miranda Lambert                     Guilty In Here                                           SR0000609529              Sony Music Entertainment
1923   Miranda Lambert                     Gunpowder & Lead                                         SR0000609529              Sony Music Entertainment
1924   Miranda Lambert                     Heart Like Mine                                          SR0000641403              Sony Music Entertainment
1925   Miranda Lambert                     Hurts To Think                                           PA0001805349              Sony Music Entertainment
1926   Miranda Lambert                     I Can't Be Bothered                                      SR0000367710              Sony Music Entertainment
1927   Miranda Lambert                     I Wanna Die                                              SR0000367710              Sony Music Entertainment
1928   Miranda Lambert                     Kerosene                                                 SR0000367710              Sony Music Entertainment
1929   Miranda Lambert                     Look At Miss Ohio                                        PA0001805349              Sony Music Entertainment
1930   Miranda Lambert                     Love Is Looking For You                                  SR0000367710              Sony Music Entertainment
1931   Miranda Lambert                     Love Letters                                             SR0000609529              Sony Music Entertainment
1932   Miranda Lambert                     Love Song                                                SR0000641403              Sony Music Entertainment
1933   Miranda Lambert                     Love Your Memory                                         SR0000367710              Sony Music Entertainment
1934   Miranda Lambert                     Maintain the Pain                                        SR0000641403              Sony Music Entertainment
1935   Miranda Lambert                     Makin' Plans                                             SR0000641403              Sony Music Entertainment
1936   Miranda Lambert                     Mama, I'm Alright                                        SR0000367710              Sony Music Entertainment
1937   Miranda Lambert                     Mama's Broken Heart                                      PA0001805349              Sony Music Entertainment
1938   Miranda Lambert                     Me And Charlie Talking                                   SR0000746293              Sony Music Entertainment
1939   Miranda Lambert                     Me and Your Cigarettes                                   SR0000641403              Sony Music Entertainment
1940   Miranda Lambert                     More Like Her                                            SR0000609529              Sony Music Entertainment
1941   Miranda Lambert                     New Strings                                              SR0000367710              Sony Music Entertainment
1942   Miranda Lambert                     Nobody's Fool                                            PA0001805349              Sony Music Entertainment
1943   Miranda Lambert                     Oklahoma Sky                                             PA0001805349              Sony Music Entertainment
1944   Miranda Lambert                     Only Prettier                                            SR0000641403              Sony Music Entertainment
1945   Miranda Lambert                     Over You                                                 PA0001805349              Sony Music Entertainment
1946   Miranda Lambert                     Safe                                                     PA0001805349              Sony Music Entertainment
1947   Miranda Lambert                     Same Old You                                             PA0001805349              Sony Music Entertainment
1948   Miranda Lambert                     Sin For A Sin                                            SR0000641403              Sony Music Entertainment
1949   Miranda Lambert                     Somewhere Trouble Don't Go                               SR0000641403              Sony Music Entertainment
1950   Miranda Lambert                     That's the Way That the World Goes 'Round                SR0000641403              Sony Music Entertainment
1951   Miranda Lambert                     There's A Wall                                           SR0000367710              Sony Music Entertainment
1952   Miranda Lambert                     Time To Get A Gun                                        SR0000641403              Sony Music Entertainment
1953   Miranda Lambert                     Virginia Bluebell                                        SR0000641403              Sony Music Entertainment
1954   Miranda Lambert                     What About Georgia?                                      SR0000367710              Sony Music Entertainment
1955   Miranda Lambert                     White Liar                                               SR0000641403              Sony Music Entertainment
1956   Modest Mouse                        Education                                                SR0000407040              Sony Music Entertainment
1957   Modest Mouse                        Fire It Up                                               SR0000407040              Sony Music Entertainment
1958   Modest Mouse                        Florida                                                  SR0000407040              Sony Music Entertainment
1959   Modest Mouse                        Fly Trapped In A Jar                                     SR0000407040              Sony Music Entertainment
1960   Modest Mouse                        Invisible                                                SR0000407040              Sony Music Entertainment
1961   Modest Mouse                        Little Motel                                             SR0000407040              Sony Music Entertainment
1962   Modest Mouse                        March Into The Sea                                       SR0000407040              Sony Music Entertainment
1963   Modest Mouse                        Missed The Boat                                          SR0000407040              Sony Music Entertainment
1964   Modest Mouse                        Parting of the Sensory                                   SR0000407040              Sony Music Entertainment
1965   Modest Mouse                        People As Places As People                               SR0000407040              Sony Music Entertainment
1966   Modest Mouse                        Spitting Venom                                           SR0000407040              Sony Music Entertainment
1967   Modest Mouse                        Steam Engenius                                           SR0000407040              Sony Music Entertainment
1968   Modest Mouse                        We've Got Everything                                     SR0000407040              Sony Music Entertainment
1969   Monica feat. Rick Ross              Anything (To Find You)                                   SR0000700530              Sony Music Entertainment
1970   Montgomery Gentry                   Daddy Won't Sell the Farm                                SR0000266467              Sony Music Entertainment
1971   Montgomery Gentry                   Didn't I                                                 PA0001079468              Sony Music Entertainment
1972   Montgomery Gentry                   Gone                                                     SR0000266467              Sony Music Entertainment
1973   Montgomery Gentry                   Hell Yeah                                                SR0000314295              Sony Music Entertainment
1974   Montgomery Gentry                   Lonely And Gone                                          SR0000266467              Sony Music Entertainment
1975   Montgomery Gentry                   My Town                                                  SR0000314295              Sony Music Entertainment
1976   Montgomery Gentry                   She Don't Tell Me To                                     SR0000386446              Sony Music Entertainment
1977   Montgomery Gentry                   Something To Be Proud Of                                 SR0000355896              Sony Music Entertainment
1978   Montgomery Gentry                   Speed                                                    SR0000314295              Sony Music Entertainment
1979   Oh Land                             Break The Chain                                          SR0000674211              Sony Music Entertainment
1980   Oh Land                             Helicopter                                               SR0000674211              Sony Music Entertainment
1981   Oh Land                             Human                                                    SR0000674211              Sony Music Entertainment
1982   Oh Land                             Lean                                                     SR0000674211              Sony Music Entertainment
1983   Oh Land                             Perfection                                               SR0000674211              Sony Music Entertainment
1984   Oh Land                             Rainbow                                                  SR0000674211              Sony Music Entertainment
1985   Oh Land                             Sun Of A Gun                                             SR0000674211              Sony Music Entertainment
1986   Oh Land                             Voodoo                                                   SR0000674211              Sony Music Entertainment
1987   Oh Land                             We Turn It Up                                            SR0000674211              Sony Music Entertainment
1988   Oh Land                             White Nights                                             SR0000674211              Sony Music Entertainment
1989   Oh Land                             Wolf & I                                                 SR0000674211              Sony Music Entertainment
1990   One Direction                       Everything About You                                     SR0000703645              Sony Music Entertainment
1991   One Direction                       Gotta Be You                                             SR0000703645              Sony Music Entertainment
1992   One Direction                       I Want                                                   SR0000703645              Sony Music Entertainment
1993   One Direction                       I Wish                                                   SR0000703645              Sony Music Entertainment
1994   One Direction                       Moments                                                  SR0000703645              Sony Music Entertainment
1995   One Direction                       More Than This                                           SR0000703645              Sony Music Entertainment
1996   One Direction                       One Thing                                                SR0000703645              Sony Music Entertainment
1997   One Direction                       Same Mistakes                                            SR0000703645              Sony Music Entertainment
1998   One Direction                       Save You Tonight                                         SR0000703645              Sony Music Entertainment




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                                  Artist                                             Track                Registration Number                    Plaintiff
1999   One Direction                       Stand Up                                                   SR0000703645              Sony Music Entertainment
2000   One Direction                       Stole My Heart                                             SR0000703645              Sony Music Entertainment
2001   One Direction                       Taken                                                      SR0000703645              Sony Music Entertainment
2002   One Direction                       Tell Me A Lie                                              SR0000703645              Sony Music Entertainment
2003   One Direction                       What Makes You Beautiful                                   SR0000703645              Sony Music Entertainment
2004   OutKast                             Idlewild Blue (Don'tchu Worry 'Bout Me)                    SR0000747302              Sony Music Entertainment
2005   OutKast                             Mighty "O"                                                 SR0000747300              Sony Music Entertainment
2006   Ozzy Osbourne                       21st Century Schizoid Man                                  SR0000388035              Sony Music Entertainment
2007   Ozzy Osbourne                       A.V.H.                                                     SR0000135019              Sony Music Entertainment
2008   Ozzy Osbourne                       Back on Earth                                              SR0000247732              Sony Music Entertainment
2009   Ozzy Osbourne                       Bark At The Moon                                           SR0000053824              Sony Music Entertainment
2010   Ozzy Osbourne                       Breakin' All The Rules                                     SR0000098705              Sony Music Entertainment
2011   Ozzy Osbourne                       Crazy Babies                                               SR0000098705              Sony Music Entertainment
2012   Ozzy Osbourne                       Crazy Train                                                SR0000028652              Sony Music Entertainment
2013   Ozzy Osbourne                       Desire                                                     SR0000135019              Sony Music Entertainment
2014   Ozzy Osbourne                       Diary of a Madman                                          SR0000034167              Sony Music Entertainment
2015   Ozzy Osbourne                       Dreamer                                                    SR0000303331              Sony Music Entertainment
2016   Ozzy Osbourne                       Gets Me Through                                            SR0000303331              Sony Music Entertainment
2017   Ozzy Osbourne                       Ghost Behind My Eyes                                       SR0000171292              Sony Music Entertainment
2018   Ozzy Osbourne                       Hellraiser                                                 SR0000135019              Sony Music Entertainment
2019   Ozzy Osbourne                       I Can't Save You                                           SR0000628282              Sony Music Entertainment
2020   Ozzy Osbourne                       I Don't Wanna Stop                                         SR0000628282              Sony Music Entertainment
2021   Ozzy Osbourne                       I Don't Want to Change the World                           SR0000135019              Sony Music Entertainment
2022   Ozzy Osbourne                       I Just Want You                                            SR0000171292              Sony Music Entertainment
2023   Ozzy Osbourne                       In My Life                                                 SR0000373744              Sony Music Entertainment
2024   Ozzy Osbourne                       Mama, I'm Coming Home                                      SR0000135019              Sony Music Entertainment
2025   Ozzy Osbourne                       Miracle Man                                                SR0000098705              Sony Music Entertainment
2026   Ozzy Osbourne                       Mississippi Queen                                          SR0000388035              Sony Music Entertainment
2027   Ozzy Osbourne                       Mr. Crowley                                                SR0000028652              Sony Music Entertainment
2028   Ozzy Osbourne                       Mr. Tinkertrain                                            SR0000135019              Sony Music Entertainment
2029   Ozzy Osbourne                       Nightmare                                                  SR0000628282              Sony Music Entertainment
2030   Ozzy Osbourne                       No Easy Way Out                                            SR0000303331              Sony Music Entertainment
2031   Ozzy Osbourne                       No More Tears                                              SR0000135019              Sony Music Entertainment
2032   Ozzy Osbourne                       Not Going Away                                             SR0000628282              Sony Music Entertainment
2033   Ozzy Osbourne                       Over The Mountain                                          SR0000034167              Sony Music Entertainment
2034   Ozzy Osbourne                       Perry Mason                                                SR0000171292              Sony Music Entertainment
2035   Ozzy Osbourne                       Road To Nowhere                                            SR0000135019              Sony Music Entertainment
2036   Ozzy Osbourne                       Shot In The Dark                                           SR0000076545              Sony Music Entertainment
2037   Ozzy Osbourne                       Thunder Underground                                        SR0000171292              Sony Music Entertainment
2038   Ozzy Osbourne                       Time After Time                                            SR0000135019              Sony Music Entertainment
2039   Ozzy Osbourne                       Won't Be Coming Home (S.I.N.)                              SR0000135019              Sony Music Entertainment
2040   Ozzy Osbourne                       Zombie Stomp                                               SR0000135019              Sony Music Entertainment
2041   P!nk                                Chaos & Piss                                               SR0000709377              Sony Music Entertainment
2042   P!nk                                Just Give Me a Reason                                      SR0000709056              Sony Music Entertainment
2043   P!nk                                Push You Away                                              SR0000644873              Sony Music Entertainment
2044   P!nk                                Timebomb                                                   SR0000709377              Sony Music Entertainment
2045   P!nk feat. William Orbit            Feel Good Time                                             PA0001242238              Sony Music Entertainment
2046   Passion Pit                         Little Secrets                                             PA0001678112              Sony Music Entertainment
2047   Passion Pit                         To Kingdom Come                                            PA0001683346              Sony Music Entertainment
2048   Pearl Jam                           1/2 Full                                                   SR0000324204              Sony Music Entertainment
2049   Pearl Jam                           All or None                                                SR0000324204              Sony Music Entertainment
2050   Pearl Jam                           Animal (Remastered)                                        SR0000207219              Sony Music Entertainment
2051   Pearl Jam                           Arc                                                        SR0000324204              Sony Music Entertainment
2052   Pearl Jam                           Army Reserve                                               SR0000654748              Sony Music Entertainment
2053   Pearl Jam                           Around The Bend                                            SR0000230851              Sony Music Entertainment
2054   Pearl Jam                           Aye Davanita                                               SR0000206558              Sony Music Entertainment
2055   Pearl Jam                           Big Wave                                                   SR0000654748              Sony Music Entertainment
2056   Pearl Jam                           Black                                                      SR0000137787              Sony Music Entertainment
2057   Pearl Jam                           Brain Of J.                                                SR0000255869              Sony Music Entertainment
2058   Pearl Jam                           Breakerfall                                                SR0000300972              Sony Music Entertainment
2059   Pearl Jam                           Bu$hleaguer                                                SR0000324204              Sony Music Entertainment
2060   Pearl Jam                           Bugs                                                       SR0000206558              Sony Music Entertainment
2061   Pearl Jam                           Can't Keep                                                 SR0000324204              Sony Music Entertainment
2062   Pearl Jam                           Come Back                                                  SR0000654748              Sony Music Entertainment
2063   Pearl Jam                           Cropduster                                                 SR0000324204              Sony Music Entertainment
2064   Pearl Jam                           Daughter                                                   SR0000207219              Sony Music Entertainment
2065   Pearl Jam                           Deep                                                       SR0000137787              Sony Music Entertainment
2066   Pearl Jam                           Evacuation                                                 SR0000300972              Sony Music Entertainment
2067   Pearl Jam                           Faithful                                                   SR0000255869              Sony Music Entertainment
2068   Pearl Jam                           Get Right                                                  SR0000324204              Sony Music Entertainment
2069   Pearl Jam                           Ghost                                                      SR0000324204              Sony Music Entertainment
2070   Pearl Jam                           Gods' Dice                                                 SR0000300972              Sony Music Entertainment
2071   Pearl Jam                           Gone                                                       SR0000654748              Sony Music Entertainment
2072   Pearl Jam                           Green Disease                                              SR0000324204              Sony Music Entertainment
2073   Pearl Jam                           Grievance                                                  SR0000300972              Sony Music Entertainment
2074   Pearl Jam                           Habit                                                      SR0000230851              Sony Music Entertainment
2075   Pearl Jam                           Help Help                                                  SR0000324204              Sony Music Entertainment
2076   Pearl Jam                           I'm Open                                                   SR0000230851              Sony Music Entertainment
2077   Pearl Jam                           In My Tree                                                 SR0000230851              Sony Music Entertainment
2078   Pearl Jam                           Indifference (Remastered)                                  SR0000207219              Sony Music Entertainment
2079   Pearl Jam                           Inside Job                                                 SR0000654748              Sony Music Entertainment
2080   Pearl Jam                           Insignificance                                             SR0000300972              Sony Music Entertainment
2081   Pearl Jam                           Last Exit                                                  SR0000206558              Sony Music Entertainment
2082   Pearl Jam                           Leash                                                      SR0000207219              Sony Music Entertainment
2083   Pearl Jam                           Life Wasted                                                SR0000654748              Sony Music Entertainment
2084   Pearl Jam                           Love Boat Captain                                          SR0000324204              Sony Music Entertainment
2085   Pearl Jam                           Low Light                                                  SR0000255869              Sony Music Entertainment
2086   Pearl Jam                           Lukin                                                      SR0000230851              Sony Music Entertainment
2087   Pearl Jam                           Mankind                                                    SR0000230851              Sony Music Entertainment
2088   Pearl Jam                           Marker In The Sand                                         SR0000654748              Sony Music Entertainment
2089   Pearl Jam                           MFC                                                        SR0000255869              Sony Music Entertainment
2090   Pearl Jam                           No Way                                                     SR0000255869              Sony Music Entertainment
2091   Pearl Jam                           Oceans                                                     SR0000137787              Sony Music Entertainment
2092   Pearl Jam                           Of The Girl                                                SR0000300972              Sony Music Entertainment
2093   Pearl Jam                           Parachutes                                                 SR0000654748              Sony Music Entertainment
2094   Pearl Jam                           Parting Ways                                               SR0000300972              Sony Music Entertainment
2095   Pearl Jam                           Pilate                                                     SR0000255869              Sony Music Entertainment
2096   Pearl Jam                           Porch                                                      SR0000137787              Sony Music Entertainment
2097   Pearl Jam                           Present Tense                                              SR0000230851              Sony Music Entertainment
2098   Pearl Jam                           Pry, To                                                    SR0000206558              Sony Music Entertainment




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                                Artist                                                        Track                Registration Number                    Plaintiff
2099   Pearl Jam                                     Push Me, Pull Me                                          SR0000255869              Sony Music Entertainment
2100   Pearl Jam                                     Rats (Remastered)                                         SR0000207219              Sony Music Entertainment
2101   Pearl Jam                                     Red Bar (also known as "●" or "The Color Red")            SR0000255869              Sony Music Entertainment
2102   Pearl Jam                                     Red Mosquito                                              SR0000230851              Sony Music Entertainment
2103   Pearl Jam                                     Release                                                   SR0000137787              Sony Music Entertainment
2104   Pearl Jam                                     Rival                                                     SR0000300972              Sony Music Entertainment
2105   Pearl Jam                                     Satan's Bed                                               SR0000206558              Sony Music Entertainment
2106   Pearl Jam                                     Save You                                                  SR0000324204              Sony Music Entertainment
2107   Pearl Jam                                     Sleight Of Hand                                           SR0000300972              Sony Music Entertainment
2108   Pearl Jam                                     Smile                                                     SR0000230851              Sony Music Entertainment
2109   Pearl Jam                                     Sometimes                                                 SR0000230851              Sony Music Entertainment
2110   Pearl Jam                                     Soon Forget                                               SR0000300972              Sony Music Entertainment
2111   Pearl Jam                                     Stupid Mop                                                SR0000206558              Sony Music Entertainment
2112   Pearl Jam                                     Thin Air                                                  SR0000300972              Sony Music Entertainment
2113   Pearl Jam                                     Thumbing My Way                                           SR0000324204              Sony Music Entertainment
2114   Pearl Jam                                     Tremor Christ                                             SR0000206558              Sony Music Entertainment
2115   Pearl Jam                                     Unemployable                                              SR0000654748              Sony Music Entertainment
2116   Pearl Jam                                     W.M.A.                                                    SR0000207219              Sony Music Entertainment
2117   Pearl Jam                                     Wash                                                      SR0000363498              Sony Music Entertainment
2118   Pearl Jam                                     Wasted Reprise                                            SR0000654748              Sony Music Entertainment
2119   Pearl Jam                                     Whipping                                                  SR0000206558              Sony Music Entertainment
2120   Pearl Jam                                     Why Go                                                    SR0000137787              Sony Music Entertainment
2121   Pearl Jam                                     World Wide Suicide                                        SR0000654748              Sony Music Entertainment
2122   Pitbull                                       Give Me Everything                                        SR0000681904              Sony Music Entertainment
2123   Pitbull                                       Hotel Room Service                                        SR0000641804              Sony Music Entertainment
2124   Pitbull                                       Pause                                                     SR0000681904              Sony Music Entertainment
2125   Pitbull                                       Something For The DJs                                     SR0000681904              Sony Music Entertainment
2126   Pitbull feat. Akon                            Shut It Down                                              SR0000641804              Sony Music Entertainment
2127   Pitbull feat. Akon & DJ Frank E               Mr. Right Now                                             SR0000683282              Sony Music Entertainment
2128   Pitbull feat. B.O.B.                          Across The World                                          SR0000641804              Sony Music Entertainment
2129   Pitbull feat. Enrique Iglesias                Come N Go                                                 SR0000681904              Sony Music Entertainment
2130   Pitbull feat. Jamie Foxx                      Where Do We Go                                            SR0000681904              Sony Music Entertainment
2131   Pitbull feat. Ke$ha                           Timber                                                    SR0000737322              Sony Music Entertainment
2132   Pitbull feat. Kelly Rowland & Jamie Drastik   Castle Made Of Sand                                       SR0000681904              Sony Music Entertainment
2133   Pitbull feat. Lil Jon                         Krazy                                                     SR0000641804              Sony Music Entertainment
2134   Pitbull feat. Nayer & Bass III Euro           Full Of S**t                                              SR0000641804              Sony Music Entertainment
2135   Pitbull feat. Nelly                           My Kinda Girl                                             SR0000683282              Sony Music Entertainment
2136   Pitbull feat. Red Foo, Vein & David Rush      Took My Love                                              SR0000641804              Sony Music Entertainment
2137   Pitbull feat. T-Pain                          Hey Baby (Drop It To The Floor)                           SR0000681904              Sony Music Entertainment
2138   Pitbull feat. T-Pain & Sean Paul              Shake Senora                                              SR0000681904              Sony Music Entertainment
2139   Pitbull feat. T-Pain, Sean Paul & Ludacris    Shake Senora Remix                                        SR0000683282              Sony Music Entertainment
2140   Pitbull feat. Vein                            Mr. Worldwide (Intro)                                     SR0000681904              Sony Music Entertainment
2141   Pitbull vs. Nicola Fasano                     Oye Baby                                                  SR0000683282              Sony Music Entertainment
2142   R. Kelly                                      Cookie                                                    SR0000737848              Sony Music Entertainment
2143   R. Kelly                                      Every Position                                            SR0000737848              Sony Music Entertainment
2144   R. Kelly                                      Genius                                                    SR0000737850              Sony Music Entertainment
2145   R. Kelly                                      Marry the P***y                                           SR0000737848              Sony Music Entertainment
2146   R. Kelly                                      Physical                                                  SR0000737848              Sony Music Entertainment
2147   R. Kelly                                      Prelude                                                   SR0000737848              Sony Music Entertainment
2148   R. Kelly                                      Throw This Money On You                                   SR0000737848              Sony Music Entertainment
2149   R. Kelly                                      You Deserve Better                                        SR0000737848              Sony Music Entertainment
2150   R. Kelly & Usher                              Same Girl                                                 SR0000611942              Sony Music Entertainment
2151   R. Kelly feat. 2 Chainz                       My Story                                                  SR0000737848              Sony Music Entertainment
2152   R. Kelly feat. Future                         Tear It Up                                                SR0000737848              Sony Music Entertainment
2153   R. Kelly feat. Ludacris                       Legs Shakin'                                              SR0000737848              Sony Music Entertainment
2154   R. Kelly feat. Migos & Juicy J                Show Ya P***y                                             SR0000737848              Sony Music Entertainment
2155   Ray Charles                                   Seven Spanish Angels                                      SR0000058443              Sony Music Entertainment
2156   Santana                                       All I Ever Wanted                                         SR0000013645              Sony Music Entertainment
2157   Santana                                       Aqua Marine                                               SR0000013645              Sony Music Entertainment
2158   Santana                                       Blues for Salvador                                        SR0000086429              Sony Music Entertainment
2159   Santana                                       Brightest Star                                            SR0000028839              Sony Music Entertainment
2160   Santana                                       Carnaval                                                  N40322                    Sony Music Entertainment
2161   Santana                                       Dance Sister Dance (Baila Mi Hermana)                     N33113                    Sony Music Entertainment
2162   Santana                                       Europa (Earth's Cry Heaven's Smile)                       N33113                    Sony Music Entertainment
2163   Santana                                       Flor D'Luna (Moonflower)                                  N47421                    Sony Music Entertainment
2164   Santana                                       Full Moon                                                 SR0000118423              Sony Music Entertainment
2165   Santana                                       Gypsy Woman                                               SR0000118423              Sony Music Entertainment
2166   Santana                                       Hannibal                                                  SR0000086429              Sony Music Entertainment
2167   Santana                                       Hold On                                                   SR0000039658              Sony Music Entertainment
2168   Santana                                       How Long                                                  SR0000065770              Sony Music Entertainment
2169   Santana                                       I Love You Much Too Much                                  SR0000028774              Sony Music Entertainment
2170   Santana                                       I'll Be Waiting                                           N40322                    Sony Music Entertainment
2171   Santana                                       La Fuente del Ritmo                                       N3383; N5328              Sony Music Entertainment
2172   Santana                                       Let the Children Play                                     N40322                    Sony Music Entertainment
2173   Santana                                       Mirage                                                    RE0000872000              Sony Music Entertainment
2174   Santana                                       Nowhere to Run                                            SR0000039763              Sony Music Entertainment
2175   Santana                                       One Chain (Don't Make No Prison)                          SR0000004781              Sony Music Entertainment
2176   Santana                                       Revelations                                               N40322                    Sony Music Entertainment
2177   Santana                                       Say It Again                                              PA0000254926              Sony Music Entertainment
2178   Santana                                       The Sensitive Kind                                        SR0000028774              Sony Music Entertainment
2179   Santana                                       Well All Right                                            SR0000004781              Sony Music Entertainment
2180   Santana                                       Winning                                                   SR0000028839              Sony Music Entertainment
2181   Santana                                       You Know That I Love You                                  SR0000013645              Sony Music Entertainment
2182   Sara Bareilles                                1000 Times                                                SR0000727195              Sony Music Entertainment
2183   Sara Bareilles                                Brave                                                     SR0000727192              Sony Music Entertainment
2184   Sara Bareilles                                Cassiopeia                                                SR0000727195              Sony Music Entertainment
2185   Sara Bareilles                                Chasing The Sun                                           SR0000727195              Sony Music Entertainment
2186   Sara Bareilles                                December                                                  SR0000727195              Sony Music Entertainment
2187   Sara Bareilles                                Eden                                                      SR0000727195              Sony Music Entertainment
2188   Sara Bareilles                                Hercules                                                  SR0000727195              Sony Music Entertainment
2189   Sara Bareilles                                I Choose You                                              SR0000727195              Sony Music Entertainment
2190   Sara Bareilles                                Islands                                                   SR0000727195              Sony Music Entertainment
2191   Sara Bareilles                                Little Black Dress                                        SR0000727195              Sony Music Entertainment
2192   Sara Bareilles                                Manhattan                                                 SR0000727193              Sony Music Entertainment
2193   Sara Bareilles                                Satellite Call                                            SR0000727195              Sony Music Entertainment
2194   Savage Garden                                 Affirmation                                               SR0000276120              Sony Music Entertainment
2195   Savage Garden                                 California                                                SR0000386428              Sony Music Entertainment
2196   Savage Garden                                 Crash And Burn                                            SR0000276120              Sony Music Entertainment
2197   Savage Garden                                 Hold Me                                                   SR0000276120              Sony Music Entertainment
2198   Savage Garden                                 So Beautiful                                              SR0000386428              Sony Music Entertainment




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                            Artist                                                      Track                Registration Number                    Plaintiff
2199   Savage Garden                           The Animal Song                                           SR0000276120              Sony Music Entertainment
2200   Sean Kingston and Justin Bieber         Eenie Meenie                                              SR0000730824              Sony Music Entertainment
2201   Shakira                                 Devoción                                                  SR0000669191              Sony Music Entertainment
2202   Shakira                                 Gordita                                                   SR0000669191              Sony Music Entertainment
2203   Shakira                                 Lo Que Más                                                SR0000669191              Sony Music Entertainment
2204   Shakira                                 Loca (feat. Dizzee Rascal)                                SR0000669191              Sony Music Entertainment
2205   Shakira                                 Loca (feat. El Cata)                                      SR0000669191              Sony Music Entertainment
2206   Shakira                                 Rabiosa                                                   SR0000669191              Sony Music Entertainment
2207   Shakira                                 Waka Waka (This Time For Africa)                          SR0000669191              Sony Music Entertainment
2208   Social Distortion                       Ball And Chain                                            SR0000115085              Sony Music Entertainment
2209   Social Distortion                       Ring Of Fire                                              SR0000115085              Sony Music Entertainment
2210   Social Distortion                       Story Of My Life                                          SR0000115085              Sony Music Entertainment
2211   Stevie Ray Vaughan and Double Trouble   Boot Hill                                                 SR0000138313              Sony Music Entertainment
2212   Stevie Ray Vaughan and Double Trouble   Chitlins Con Carne                                        SR0000138313              Sony Music Entertainment
2213   Stevie Ray Vaughan and Double Trouble   Close to You                                              SR0000138313              Sony Music Entertainment
2214   Stevie Ray Vaughan and Double Trouble   Empty Arms                                                SR0000138313              Sony Music Entertainment
2215   Stevie Ray Vaughan and Double Trouble   Life By The Drop                                          SR0000138313              Sony Music Entertainment
2216   Stevie Ray Vaughan and Double Trouble   Little Wing                                               SR0000138313              Sony Music Entertainment
2217   Stevie Ray Vaughan and Double Trouble   May I Have a Talk with You                                SR0000138313              Sony Music Entertainment
2218   Stevie Ray Vaughan and Double Trouble   So Excited                                                SR0000138313              Sony Music Entertainment
2219   Stevie Ray Vaughan and Double Trouble   The Sky Is Crying                                         SR0000138313              Sony Music Entertainment
2220   Stevie Ray Vaughan and Double Trouble   Wham                                                      SR0000138313              Sony Music Entertainment
2221   Switchfoot                              Adding To The Noise                                       SR0000347967              Sony Music Entertainment
2222   Switchfoot                              Ammunition                                                SR0000347967              Sony Music Entertainment
2223   Switchfoot                              Gone                                                      SR0000347967              Sony Music Entertainment
2224   Switchfoot                              Meant To Live                                             SR0000347967              Sony Music Entertainment
2225   Switchfoot                              More Than Fine                                            SR0000347967              Sony Music Entertainment
2226   Switchfoot                              On Fire                                                   SR0000347967              Sony Music Entertainment
2227   Switchfoot                              Redemption                                                SR0000347967              Sony Music Entertainment
2228   Switchfoot                              The Beautiful Letdown                                     SR0000347967              Sony Music Entertainment
2229   Switchfoot                              Twenty-four                                               SR0000347967              Sony Music Entertainment
2230   System Of A Down                        Attack                                                    SR0000388170              Sony Music Entertainment
2231   System Of A Down                        Dreaming                                                  SR0000388170              Sony Music Entertainment
2232   System Of A Down                        Holy Mountains                                            SR0000388170              Sony Music Entertainment
2233   System Of A Down                        Hypnotize                                                 SR0000748788              Sony Music Entertainment
2234   System Of A Down                        Kill Rock 'n Roll                                         SR0000388170              Sony Music Entertainment
2235   System Of A Down                        Lonely Day                                                SR0000388170              Sony Music Entertainment
2236   System Of A Down                        She's Like Heroin                                         SR0000388170              Sony Music Entertainment
2237   System Of A Down                        Soldier Side                                              SR0000388170              Sony Music Entertainment
2238   System Of A Down                        Stealing Society                                          SR0000388170              Sony Music Entertainment
2239   System Of A Down                        Tentative                                                 SR0000388170              Sony Music Entertainment
2240   System Of A Down                        U-Fig                                                     SR0000388170              Sony Music Entertainment
2241   System Of A Down                        Vicinity Of Obscenity                                     SR0000388170              Sony Music Entertainment
2242   Teddy Pendergrass                       All I Need Is You                                         SR0000012942              Sony Music Entertainment
2243   Teddy Pendergrass                       And If I Had                                              RE0000926587              Sony Music Entertainment
2244   Teddy Pendergrass                       Be Sure                                                   RE0000926587              Sony Music Entertainment
2245   Teddy Pendergrass                       Cold, Cold World                                          SR0000002510              Sony Music Entertainment
2246   Teddy Pendergrass                       Do Me                                                     SR0000012942              Sony Music Entertainment
2247   Teddy Pendergrass                       Easy, Easy, Got To Take It Easy                           RE0000926587              Sony Music Entertainment
2248   Teddy Pendergrass                       Get Up, Get Down, Get Funky, Get Loose                    SR0000002555              Sony Music Entertainment
2249   Teddy Pendergrass                       Girl You Know                                             SR0000019849              Sony Music Entertainment
2250   Teddy Pendergrass                       I Just Called to Say                                      SR0000019849              Sony Music Entertainment
2251   Teddy Pendergrass                       If You Know Like I Know                                   SR0000009608              Sony Music Entertainment
2252   Teddy Pendergrass                       I'll Never See Heaven Again                               SR0000012942              Sony Music Entertainment
2253   Teddy Pendergrass                       Is It Still Good To Ya?                                   SR0000019849              Sony Music Entertainment
2254   Teddy Pendergrass                       It Don't Hurt Now                                         SR0000002510              Sony Music Entertainment
2255   Teddy Pendergrass                       Let Me Love You                                           SR0000019849              Sony Music Entertainment
2256   Teddy Pendergrass                       Life Is A Circle                                          SR0000012942              Sony Music Entertainment
2257   Teddy Pendergrass                       Life Is A Song Worth Singing                              SR0000002510              Sony Music Entertainment
2258   Teddy Pendergrass                       Set Me Free                                               SR0000012942              Sony Music Entertainment
2259   Teddy Pendergrass                       Somebody Told Me                                          RE0000926587              Sony Music Entertainment
2260   Teddy Pendergrass                       When Somebody Loves You Back                              SR0000002510              Sony Music Entertainment
2261   Teddy Pendergrass                       You Can't Hide From Yourself                              RE0000926587              Sony Music Entertainment
2262   Teddy Pendergrass & Stephanie Mills     Feel the Fire                                             SR0000019849              Sony Music Entertainment
2263   Teddy Pendergrass & Stephanie Mills     Take Me In Your Arms Tonight                              SR0000019849              Sony Music Entertainment
2264   The Clash                               Brand New Cadillac                                        SR0000016270              Sony Music Entertainment
2265   The Clash                               Clampdown                                                 SR0000016270              Sony Music Entertainment
2266   The Clash                               Death Or Glory                                            SR0000016270              Sony Music Entertainment
2267   The Clash                               Four Horsemen                                             SR0000016270              Sony Music Entertainment
2268   The Clash                               Hateful                                                   SR0000016270              Sony Music Entertainment
2269   The Clash                               I'm Not Down                                              SR0000016270              Sony Music Entertainment
2270   The Clash                               Jimmy Jazz                                                SR0000016270              Sony Music Entertainment
2271   The Clash                               Koka Kola                                                 SR0000016270              Sony Music Entertainment
2272   The Clash                               London Calling                                            SR0000016270              Sony Music Entertainment
2273   The Clash                               Lost In The Supermarket                                   SR0000016270              Sony Music Entertainment
2274   The Clash                               Lover's Rock                                              SR0000016270              Sony Music Entertainment
2275   The Clash                               Revolution Rock                                           SR0000016270              Sony Music Entertainment
2276   The Clash                               Rudie Can't Fail                                          SR0000016270              Sony Music Entertainment
2277   The Clash                               Spanish Bombs                                             SR0000016270              Sony Music Entertainment
2278   The Clash                               The Card Cheat                                            SR0000016270              Sony Music Entertainment
2279   The Clash                               The Guns Of Brixton                                       SR0000016270              Sony Music Entertainment
2280   The Clash                               The Right Profile                                         SR0000016270              Sony Music Entertainment
2281   The Clash                               Train In Vain                                             SR0000293426              Sony Music Entertainment
2282   The Clash                               Wrong 'Em Boyo                                            SR0000016270              Sony Music Entertainment
2283   The Fugees                              Cowboys                                                   SR0000222005              Sony Music Entertainment
2284   The Fugees                              Family Business                                           SR0000222005              Sony Music Entertainment
2285   The Fugees                              Killing Me Softly With His Song                           SR0000222005              Sony Music Entertainment
2286   The Fugees                              The Beast                                                 SR0000222005              Sony Music Entertainment
2287   The Weather Girls                       It's Raining Men                                          SR0000043246              Sony Music Entertainment
2288   Three 6 Mafia                           Stay Fly                                                  PA0001305910              Sony Music Entertainment
2289   Three Days Grace                        Bitter Taste                                              SR0000641798              Sony Music Entertainment
2290   Three Days Grace                        Break                                                     SR0000641798              Sony Music Entertainment
2291   Three Days Grace                        Goin' Down                                                SR0000641798              Sony Music Entertainment
2292   Three Days Grace                        Last To Know                                              SR0000641798              Sony Music Entertainment
2293   Three Days Grace                        Life Starts Now                                           SR0000641798              Sony Music Entertainment
2294   Three Days Grace                        Lost In You                                               SR0000641798              Sony Music Entertainment
2295   Three Days Grace                        No More                                                   SR0000641798              Sony Music Entertainment
2296   Three Days Grace                        Someone Who Cares                                         SR0000641798              Sony Music Entertainment
2297   Three Days Grace                        The Good Life                                             SR0000641798              Sony Music Entertainment
2298   Three Days Grace                        Without You                                               SR0000641798              Sony Music Entertainment




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                               Artist                                             Track                     Registration Number                    Plaintiff
2299   Three Days Grace                    World So Cold                                                SR0000641798              Sony Music Entertainment
2300   Tony Terry                          With You                                                     SR0000127422              Sony Music Entertainment
2301   Toto                                Afraid of Love                                               SR0000034599              Sony Music Entertainment
2302   Toto                                Good for You                                                 SR0000034599              Sony Music Entertainment
2303   Toto                                It's a Feeling                                               SR0000034599              Sony Music Entertainment
2304   Toto                                Lovers in the Night                                          SR0000034599              Sony Music Entertainment
2305   Toto                                Make Believe                                                 SR0000034599              Sony Music Entertainment
2306   Toto                                We Made It                                                   SR0000034599              Sony Music Entertainment
2307   T-Pain feat. B.o.B                  Up Down (Do This All Day)                                    SR0000766922              Sony Music Entertainment
2308   Train                               50 Ways To Say Goodbye                                       SR0000700152              Sony Music Entertainment
2309   Train                               Meet Virginia                                                SR0000298334              Sony Music Entertainment
2310   Tyler Farr                          Redneck Crazy                                                SR0000729105              Sony Music Entertainment
2311   Usher                               2nd Round                                                    SR0000731104              Sony Music Entertainment
2312   Usher                               Can't Stop Won't Stop                                        SR0000731104              Sony Music Entertainment
2313   Usher                               Climax                                                       SR0000731104              Sony Music Entertainment
2314   Usher                               Dive                                                         SR0000731104              Sony Music Entertainment
2315   Usher                               Euphoria                                                     SR0000731104              Sony Music Entertainment
2316   Usher                               Good Kisser                                                  SR0000773759              Sony Music Entertainment
2317   Usher                               Hey Daddy (Daddy's Home)                                     SR0000652023              Sony Music Entertainment
2318   Usher                               I Care For U                                                 SR0000731104              Sony Music Entertainment
2319   Usher                               I.F.U.                                                       SR0000731104              Sony Music Entertainment
2320   Usher                               Lemme See                                                    SR0000731104              Sony Music Entertainment
2321   Usher                               Lessons For The Lover                                        SR0000731104              Sony Music Entertainment
2322   Usher                               More                                                         SR0000652023              Sony Music Entertainment
2323   Usher                               Numb                                                         SR0000731104              Sony Music Entertainment
2324   Usher                               Papers                                                       SR0000652023              Sony Music Entertainment
2325   Usher                               Say The Words                                                SR0000731104              Sony Music Entertainment
2326   Usher                               Scream                                                       SR0000731104              Sony Music Entertainment
2327   Usher                               Show Me                                                      SR0000731104              Sony Music Entertainment
2328   Usher                               Sins Of My Father                                            SR0000731104              Sony Music Entertainment
2329   Usher                               There Goes My Baby                                           SR0000652023              Sony Music Entertainment
2330   Usher                               What Happened To U                                           SR0000731104              Sony Music Entertainment
2331   Usher feat. A$AP Rocky              Hot Thing                                                    SR0000731104              Sony Music Entertainment
2332   Usher feat. Luke Steele             Looking 4 Myself                                             SR0000731104              Sony Music Entertainment
2333   Usher feat. Nicki Minaj             Lil Freak                                                    SR0000652023              Sony Music Entertainment
2334   Warrant                             32 Pennies                                                   SR0000103108              Sony Music Entertainment
2335   Warrant                             Bed Of Roses                                                 SR0000122785              Sony Music Entertainment
2336   Warrant                             Big Talk                                                     SR0000103108              Sony Music Entertainment
2337   Warrant                             Cherry Pie                                                   SR0000122785              Sony Music Entertainment
2338   Warrant                             D.R.F.S.R.                                                   SR0000103108              Sony Music Entertainment
2339   Warrant                             Down Boys                                                    SR0000103108              Sony Music Entertainment
2340   Warrant                             Heaven                                                       SR0000103108              Sony Music Entertainment
2341   Warrant                             I Saw Red                                                    SR0000122785              Sony Music Entertainment
2342   Warrant                             Mr. Rainmaker                                                SR0000122785              Sony Music Entertainment
2343   Warrant                             Sometimes She Cries                                          SR0000103108              Sony Music Entertainment
2344   Warrant                             Sure Feels Good to Me                                        SR0000122785              Sony Music Entertainment
2345   Warrant                             The Hole In My Wall                                          SR0000146976              Sony Music Entertainment
2346   Warrant                             Train, Train                                                 SR0000122785              Sony Music Entertainment
2347   Warrant                             Uncle Tom's Cabin                                            SR0000122785              Sony Music Entertainment
2348   Weird Al Yankovic                   (This Song's Just) Six Words Long                            SR0000088931              Sony Music Entertainment
2349   Weird Al Yankovic                   Alimony                                                      SR0000088931              Sony Music Entertainment
2350   Weird Al Yankovic                   Another One Rides The Bus                                    SR0000046144              Sony Music Entertainment
2351   Weird Al Yankovic                   Attack Of The Radioactive Hamsters From A Planet Near Mars   SR0000108100              Sony Music Entertainment
2352   Weird Al Yankovic                   Buckingham Blues                                             SR0000046320              Sony Music Entertainment
2353   Weird Al Yankovic                   Buy Me A Condo                                               SR0000054056              Sony Music Entertainment
2354   Weird Al Yankovic                   Cable TV                                                     SR0000068020              Sony Music Entertainment
2355   Weird Al Yankovic                   Christmas At Ground Zero                                     SR0000078099              Sony Music Entertainment
2356   Weird Al Yankovic                   Dare To Be Stupid                                            SR0000068020              Sony Music Entertainment
2357   Weird Al Yankovic                   Dog Eat Dog                                                  SR0000078099              Sony Music Entertainment
2358   Weird Al Yankovic                   Eat It                                                       SR0000054439              Sony Music Entertainment
2359   Weird Al Yankovic                   Fat                                                          SR0000088931              Sony Music Entertainment
2360   Weird Al Yankovic                   Fun Zone                                                     SR0000108100              Sony Music Entertainment
2361   Weird Al Yankovic                   Gandhi II                                                    SR0000108100              Sony Music Entertainment
2362   Weird Al Yankovic                   Generic Blues                                                SR0000108100              Sony Music Entertainment
2363   Weird Al Yankovic                   George Of The Jungle                                         SR0000068020              Sony Music Entertainment
2364   Weird Al Yankovic                   Girls Just Want To Have Lunch                                SR0000068020              Sony Music Entertainment
2365   Weird Al Yankovic                   Good Enough For Now                                          SR0000078099              Sony Music Entertainment
2366   Weird Al Yankovic                   Good Old Days                                                SR0000088931              Sony Music Entertainment
2367   Weird Al Yankovic                   Gotta Boogie                                                 SR0000046144              Sony Music Entertainment
2368   Weird Al Yankovic                   Happy Birthday                                               SR0000046144              Sony Music Entertainment
2369   Weird Al Yankovic                   Here's Johnny                                                SR0000078099              Sony Music Entertainment
2370   Weird Al Yankovic                   Hooked On Polkas                                             SR0000068020              Sony Music Entertainment
2371   Weird Al Yankovic                   I Lost On Jeopardy                                           SR0000054056              Sony Music Entertainment
2372   Weird Al Yankovic                   I Love Rocky Road                                            SR0000046144              Sony Music Entertainment
2373   Weird Al Yankovic                   I Want A New Duck                                            SR0000068020              Sony Music Entertainment
2374   Weird Al Yankovic                   I'll Be Mellow When I'm Dead                                 SR0000046144              Sony Music Entertainment
2375   Weird Al Yankovic                   Isle Thing                                                   SR0000108100              Sony Music Entertainment
2376   Weird Al Yankovic                   King Of Suede                                                SR0000054056              Sony Music Entertainment
2377   Weird Al Yankovic                   Lasagna                                                      SR0000088931              Sony Music Entertainment
2378   Weird Al Yankovic                   Like A Surgeon                                               PA0000254936              Sony Music Entertainment
2379   Weird Al Yankovic                   Melanie                                                      SR0000088931              Sony Music Entertainment
2380   Weird Al Yankovic                   Midnight Star                                                SR0000054056              Sony Music Entertainment
2381   Weird Al Yankovic                   Money for Nothing/Beverly Hillbillies                        SR0000108100              Sony Music Entertainment
2382   Weird Al Yankovic                   Mr. Frump In The Iron Lung                                   SR0000046144              Sony Music Entertainment
2383   Weird Al Yankovic                   Mr. Popeil                                                   SR0000054056              Sony Music Entertainment
2384   Weird Al Yankovic                   Nature Trail To Hell                                         SR0000054056              Sony Music Entertainment
2385   Weird Al Yankovic                   One More Minute                                              SR0000068020              Sony Music Entertainment
2386   Weird Al Yankovic                   One Of Those Days                                            SR0000078099              Sony Music Entertainment
2387   Weird Al Yankovic                   Polka Party                                                  SR0000078099              Sony Music Entertainment
2388   Weird Al Yankovic                   Polkas On 45                                                 SR0000054056              Sony Music Entertainment
2389   Weird Al Yankovic                   Ricky                                                        SR0000046320              Sony Music Entertainment
2390   Weird Al Yankovic                   She Drives Like Crazy                                        SR0000108100              Sony Music Entertainment
2391   Weird Al Yankovic                   Spam                                                         SR0000108100              Sony Music Entertainment
2392   Weird Al Yankovic                   Spatula City                                                 SR0000108100              Sony Music Entertainment
2393   Weird Al Yankovic                   Stop Draggin' My Car Around                                  SR0000046144              Sony Music Entertainment
2394   Weird Al Yankovic                   Such A Groovy Guy                                            SR0000046144              Sony Music Entertainment
2395   Weird Al Yankovic                   That Boy Could Dance                                         SR0000054439              Sony Music Entertainment
2396   Weird Al Yankovic                   The Biggest Ball Of Twine In Minnesota                       SR0000108100              Sony Music Entertainment
2397   Weird Al Yankovic                   The Brady Bunch                                              SR0000054056              Sony Music Entertainment
2398   Weird Al Yankovic                   The Check's In The Mail                                      SR0000046144              Sony Music Entertainment




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                             Artist                                                 Track                Registration Number                    Plaintiff
2399   Weird Al Yankovic                   The Hot Rocks Polka                                       SR0000108100              Sony Music Entertainment
2400   Weird Al Yankovic                   Theme From Rocky XIII                                     SR0000054056              Sony Music Entertainment
2401   Weird Al Yankovic                   This Is The Life                                          SR0000068020              Sony Music Entertainment
2402   Weird Al Yankovic                   Toothless People                                          SR0000078099              Sony Music Entertainment
2403   Weird Al Yankovic                   Twister                                                   SR0000088931              Sony Music Entertainment
2404   Weird Al Yankovic                   Uhf                                                       SR0000108100              Sony Music Entertainment
2405   Weird Al Yankovic                   Velvet Elvis                                              SR0000088931              Sony Music Entertainment
2406   Weird Al Yankovic                   Yoda                                                      SR0000068020              Sony Music Entertainment
2407   Weird Al Yankovic                   You Make Me                                               SR0000088931              Sony Music Entertainment
2408   Wham                                Careless Whisper                                          SR0000068616              Sony Music Entertainment
2409   Willie Nelson                       Always On My Mind                                         SR0000034836              Sony Music Entertainment
2410   Willie Nelson                       Angel Flying Too Close To The Ground                      SR0000033917              Sony Music Entertainment
2411   Willie Nelson                       City Of New Orleans                                       SR0000055605              Sony Music Entertainment
2412   Willie Nelson                       Forgiving You Was Easy                                    SR0000064588              Sony Music Entertainment
2413   Willie Nelson                       Good Hearted Woman                                        SR0000004979              Sony Music Entertainment
2414   Willie Nelson                       Graceland                                                 SR0000153066              Sony Music Entertainment
2415   Willie Nelson                       Last Thing I Needed First Thing This Morning              SR0000034842              Sony Music Entertainment
2416   Willie Nelson                       My Heroes Have Always Been Cowboys                        SR0000015871              Sony Music Entertainment
2417   Willie Nelson                       On The Road Again                                         PA0000084966;
                                                                                                                               Sony Music Entertainment
                                                                                                     SR0000034019
2418   Willie Nelson with Ray Price        Faded Love                                                SR0000019676              Sony Music Entertainment
2419   Marc Anthony                        A Quién Quiero Mentirle                                   SR0000654928              Sony Music Entertainment US Latin
2420   Marc Anthony                        Aguanile                                                  SR0000615507              Sony Music Entertainment US Latin
2421   Marc Anthony                        Che Che Colé                                              SR0000615507              Sony Music Entertainment US Latin
2422   Marc Anthony                        El Cantante                                               SR0000615507              Sony Music Entertainment US Latin
2423   Marc Anthony                        El Día de Mi Suerte                                       SR0000615507              Sony Music Entertainment US Latin
2424   Marc Anthony                        Escandalo                                                 SR0000615507              Sony Music Entertainment US Latin
2425   Marc Anthony                        Qué Lío                                                   SR0000615507              Sony Music Entertainment US Latin
2426   Marc Anthony                        Quítate Tú Pa' Ponerme Yo                                 SR0000615507              Sony Music Entertainment US Latin
2427   Marc Anthony                        Te Lo Pido Por Favor                                      SR0000654928              Sony Music Entertainment US Latin
2428   Marc Anthony                        Todo Tiene Su Final                                       SR0000615507              Sony Music Entertainment US Latin
2429   Marc Anthony                        Y Cómo Es Él                                              SR0000654928              Sony Music Entertainment US Latin
2430   Marc Anthony                        Amada Amante                                              SR0000654928              Sony Music Entertainment US Latin
2431   Slipknot                            (515)                                                     SR0000330440              The All Blacks U.S.A., Inc.
2432   Slipknot                            742617000027                                              SR0000301094              The All Blacks U.S.A., Inc.
2433   Slipknot                            (sic)                                                     SR0000301094              The All Blacks U.S.A., Inc.
2434   Slipknot                            .execute.                                                 SR0000656810              The All Blacks U.S.A., Inc.
2435   Slipknot                            All Hope Is Gone                                          SR0000656810              The All Blacks U.S.A., Inc.
2436   Slipknot                            Before I Forget                                           SR0000358238              The All Blacks U.S.A., Inc.
2437   Slipknot                            Dead Memories                                             SR0000656810              The All Blacks U.S.A., Inc.
2438   Slipknot                            Disasterpiece                                             SR0000330440              The All Blacks U.S.A., Inc.
2439   Slipknot                            Duality                                                   SR0000358238              The All Blacks U.S.A., Inc.
2440   Slipknot                            Everything Ends                                           SR0000330440              The All Blacks U.S.A., Inc.
2441   Slipknot                            Eyeless                                                   SR0000301094              The All Blacks U.S.A., Inc.
2442   Slipknot                            Gematria (The Killing Name)                               SR0000656810              The All Blacks U.S.A., Inc.
2443   Slipknot                            Iowa                                                      SR0000330440              The All Blacks U.S.A., Inc.
2444   Slipknot                            Left Behind                                               SR0000330440              The All Blacks U.S.A., Inc.
2445   Slipknot                            My Plague                                                 SR0000330440              The All Blacks U.S.A., Inc.
2446   Slipknot                            People = Shit                                             SR0000330440              The All Blacks U.S.A., Inc.
2447   Slipknot                            Prelude 3.0                                               SR0000358238              The All Blacks U.S.A., Inc.
2448   Slipknot                            Psychosocial                                              SR0000656810              The All Blacks U.S.A., Inc.
2449   Slipknot                            Snuff                                                     SR0000656810              The All Blacks U.S.A., Inc.
2450   Slipknot                            Spit It Out                                               SR0000301094              The All Blacks U.S.A., Inc.
2451   Slipknot                            Sulfur                                                    SR0000656810              The All Blacks U.S.A., Inc.
2452   Slipknot                            Surfacing                                                 SR0000301094              The All Blacks U.S.A., Inc.
2453   Slipknot                            The Blister Exists                                        SR0000358238              The All Blacks U.S.A., Inc.
2454   Slipknot                            The Heretic Anthem                                        SR0000330440              The All Blacks U.S.A., Inc.
2455   Slipknot                            The Nameless                                              SR0000358238              The All Blacks U.S.A., Inc.
2456   Slipknot                            Til We Die                                                SR0000656810              The All Blacks U.S.A., Inc.
2457   Slipknot                            Vermilion                                                 SR0000358238              The All Blacks U.S.A., Inc.
2458   Slipknot                            Vermilion Pt. 2                                           SR0000358238              The All Blacks U.S.A., Inc.
2459   Slipknot                            Wait And Bleed                                            SR0000301094              The All Blacks U.S.A., Inc.
2460   Fozzy                               A Passed Life                                             SR0000726755              The Century Family, Inc.
2461   Fozzy                               Blood Happens                                             SR0000726755              The Century Family, Inc.
2462   Fozzy                               Dark Passenger                                            SR0000726755              The Century Family, Inc.
2463   Fozzy                               Inside My Head                                            SR0000726755              The Century Family, Inc.
2464   Fozzy                               Sandpaper                                                 SR0000726755              The Century Family, Inc.
2465   Fozzy                               She's My Addiction                                        SR0000726755              The Century Family, Inc.
2466   Fozzy                               Shine Forever                                             SR0000726755              The Century Family, Inc.
2467   Fozzy                               Sin and Bones                                             SR0000726755              The Century Family, Inc.
2468   Fozzy                               Spider in My Mouth                                        SR0000726755              The Century Family, Inc.
2469   Fozzy                               Storm the Beaches                                         SR0000726755              The Century Family, Inc.
2470   In This Moment                      A Star-Crossed Wasteland                                  SR0000669909              The Century Family, Inc.
2471   In This Moment                      Blazin'                                                   SR0000669909              The Century Family, Inc.
2472   In This Moment                      Gunshow                                                   SR0000669909              The Century Family, Inc.
2473   In This Moment                      Iron Army                                                 SR0000669909              The Century Family, Inc.
2474   In This Moment                      Just Drive                                                SR0000669909              The Century Family, Inc.
2475   In This Moment                      Standing Alone                                            SR0000669909              The Century Family, Inc.
2476   In This Moment                      The Last Cowboy                                           SR0000669909              The Century Family, Inc.
2477   In This Moment                      The Road                                                  SR0000669909              The Century Family, Inc.
2478   In This Moment                      Whispers Of October                                       SR0000610825              The Century Family, Inc.
2479   In This Moment                      World In Flames                                           SR0000669909              The Century Family, Inc.
2480   In This Moment                      You Always Believed                                       SR0000630468              The Century Family, Inc.
2481   Otherwise                           Crimson                                                   SR0000704620              The Century Family, Inc.
2482   Otherwise                           Die for You                                               SR0000704620              The Century Family, Inc.
2483   Otherwise                           Don't Be Afraid                                           SR0000704620              The Century Family, Inc.
2484   Otherwise                           Full Circle                                               SR0000704620              The Century Family, Inc.
2485   Otherwise                           Heaven                                                    SR0000704620              The Century Family, Inc.
2486   Otherwise                           I Don't Apologize (1000 Pictures)                         SR0000704620              The Century Family, Inc.
2487   Otherwise                           I                                                         SR0000704620              The Century Family, Inc.
2488   Otherwise                           II                                                        SR0000704620              The Century Family, Inc.
2489   Otherwise                           III                                                       SR0000704620              The Century Family, Inc.
2490   Otherwise                           Lighthouse                                                SR0000704620              The Century Family, Inc.
2491   Otherwise                           Scream Now                                                SR0000704620              The Century Family, Inc.
2492   Otherwise                           Silence Reigns                                            SR0000704620              The Century Family, Inc.
2493   Otherwise                           Soldiers                                                  SR0000704620              The Century Family, Inc.
2494   Otherwise                           Vegas Girl                                                SR0000704620              The Century Family, Inc.
2495   In This Moment                      All For You                                               SR0000630468              The Century Family, Inc.
2496   In This Moment                      Ashes                                                     SR0000610825              The Century Family, Inc.
2497   In This Moment                      Beautiful Tragedy                                         SR0000610825              The Century Family, Inc.




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                        Artist                                                Track               Registration Number                   Plaintiff
2498   In This Moment                      Circles                                             SR0000610825             The Century Family, Inc.
2499   In This Moment                      Forever                                             SR0000630468             The Century Family, Inc.
2500   In This Moment                      He Said Eternity                                    SR0000610825             The Century Family, Inc.
2501   In This Moment                      Her Kiss                                            SR0000630468             The Century Family, Inc.
2502   In This Moment                      Into The Light                                      SR0000630468             The Century Family, Inc.
2503   In This Moment                      Legacy of Odio                                      SR0000610825             The Century Family, Inc.
2504   In This Moment                      Lost At Sea                                         SR0000630468             The Century Family, Inc.
2505   In This Moment                      Mechanical Love                                     SR0000630468             The Century Family, Inc.
2506   In This Moment                      Next Life                                           SR0000610825             The Century Family, Inc.
2507   In This Moment                      Prayers                                             SR0000610829             The Century Family, Inc.
2508   In This Moment                      The Dream                                           SR0000630468             The Century Family, Inc.
2509   In This Moment                      The Great Divide                                    SR0000630468             The Century Family, Inc.
2510   In This Moment                      The Rabbit Hole                                     SR0000630468             The Century Family, Inc.
2511   In This Moment                      This Moment                                         SR0000610825             The Century Family, Inc.
2512   In This Moment                      Violet Skies                                        SR0000630468             The Century Family, Inc.
2513   In This Moment                      When the Storm Subsides                             SR0000610825             The Century Family, Inc.
2514   2 Chainz                            Feds Watching                                       SR0000724645             UMG Recordings, Inc.
2515   2 Chainz                            Ghetto Dreams                                       SR0000706415             UMG Recordings, Inc.
2516   2 Chainz                            No Lie                                              SR0000700831             UMG Recordings, Inc.
2517   2 Chainz                            Wut We Doin?                                        SR0000706415             UMG Recordings, Inc.
2518   2Pac                                2 Of Amerikaz Most Wanted                           SR0000331786             UMG Recordings, Inc.
2519   2Pac                                Brenda's Got A Baby                                 SR0000172261             UMG Recordings, Inc.
2520   2Pac                                California Love                                     SR0000331786             UMG Recordings, Inc.
2521   2Pac                                Can U Get Away                                      SR0000198774             UMG Recordings, Inc.
2522   2Pac                                Changes                                             SR0000246223             UMG Recordings, Inc.
2523   2Pac                                Dear Mama                                           SR0000198941             UMG Recordings, Inc.
2524   2Pac                                Death Around The Corner                             SR0000198774             UMG Recordings, Inc.
2525   2Pac                                Definition Of A Thug N***a                          SR0000260354             UMG Recordings, Inc.
2526   2Pac                                Dopefiend's Diner                                   SR0000627960             UMG Recordings, Inc.
2527   2Pac                                Fuck The World                                      SR0000198774             UMG Recordings, Inc.
2528   2Pac                                Ghetto Gospel                                       SR0000366107             UMG Recordings, Inc.
2529   2Pac                                Hail Mary                                           SR0000230629             UMG Recordings, Inc.
2530   2Pac                                Heavy In The Game                                   SR0000198774             UMG Recordings, Inc.
2531   2Pac                                How Do U Want It                                    SR0000331786             UMG Recordings, Inc.
2532   2Pac                                I Ain't Mad At Cha                                  SR0000331786             UMG Recordings, Inc.
2533   2Pac                                If I Die 2Nite                                      SR0000198774             UMG Recordings, Inc.
2534   2Pac                                It Ain't Easy                                       SR0000198774             UMG Recordings, Inc.
2535   2Pac                                Keep Ya Head Up                                     SR0000152641             UMG Recordings, Inc.
2536   2Pac                                Lord Knows                                          SR0000198774             UMG Recordings, Inc.
2537   2Pac                                Me Against The World                                SR0000198774             UMG Recordings, Inc.
2538   2Pac                                Never Call U B**** Again                            SR0000323532             UMG Recordings, Inc.
2539   2Pac                                Old School                                          SR0000198774             UMG Recordings, Inc.
2540   2Pac                                Resist The Temptation                               SR0000628434             UMG Recordings, Inc.
2541   2Pac                                So Many Tears                                       SR0000198774             UMG Recordings, Inc.
2542   2Pac                                Still Ballin'                                       SR0000323532             UMG Recordings, Inc.
2543   2Pac                                Temptations                                         SR0000198774             UMG Recordings, Inc.
2544   2Pac                                They Don't Give A F**** About Us                    SR0000323532             UMG Recordings, Inc.
2545   2Pac                                Thugz Mansion                                       SR0000323532             UMG Recordings, Inc.
2546   2Pac                                Trapped                                             SR0000172261             UMG Recordings, Inc.
2547   2Pac                                Unconditional Love                                  SR0000246223             UMG Recordings, Inc.
2548   2Pac                                Until The End Of Time                               SR0000295873             UMG Recordings, Inc.
2549   2Pac                                When I Get Free                                     SR0000260354             UMG Recordings, Inc.
2550   2Pac                                Young Niggaz                                        SR0000198774             UMG Recordings, Inc.
2551   3 Doors Down                        Be Like That                                        SR0000277407             UMG Recordings, Inc.
2552   3 Doors Down                        By My Side                                          SR0000277407             UMG Recordings, Inc.
2553   3 Doors Down                        Down Poison                                         SR0000277407             UMG Recordings, Inc.
2554   3 Doors Down                        Duck And Run                                        SR0000277407             UMG Recordings, Inc.
2555   3 Doors Down                        Kryptonite                                          SR0000277407             UMG Recordings, Inc.
2556   3 Doors Down                        Life Of My Own                                      SR0000277407             UMG Recordings, Inc.
2557   3 Doors Down                        Loser                                               SR0000277407             UMG Recordings, Inc.
2558   3 Doors Down                        Not Enough                                          SR0000277407             UMG Recordings, Inc.
2559   3 Doors Down                        Smack                                               SR0000277407             UMG Recordings, Inc.
2560   3 Doors Down                        So I Need You                                       SR0000277407             UMG Recordings, Inc.
2561   3 Doors Down                        The Better Life                                     SR0000277407             UMG Recordings, Inc.
2562   50 Cent                             A Baltimore Love Thing                              SR0000366051             UMG Recordings, Inc.
2563   50 Cent                             All Of Me                                           SR0000611234             UMG Recordings, Inc.
2564   50 Cent                             Amusement Park                                      SR0000611234             UMG Recordings, Inc.
2565   50 Cent                             Build You Up                                        SR0000366051             UMG Recordings, Inc.
2566   50 Cent                             Candy Shop                                          SR0000366051             UMG Recordings, Inc.
2567   50 Cent                             Come & Go                                           SR0000611234             UMG Recordings, Inc.
2568   50 Cent                             Curtis 187                                          SR0000611234             UMG Recordings, Inc.
2569   50 Cent                             Disco Inferno                                       SR0000366950             UMG Recordings, Inc.
2570   50 Cent                             Fire                                                SR0000611234             UMG Recordings, Inc.
2571   50 Cent                             Follow My Lead                                      SR0000611234             UMG Recordings, Inc.
2572   50 Cent                             Fully Loaded Clip                                   SR0000611234             UMG Recordings, Inc.
2573   50 Cent                             GATman And Robbin                                   SR0000366051             UMG Recordings, Inc.
2574   50 Cent                             Get In My Car                                       SR0000366051             UMG Recordings, Inc.
2575   50 Cent                             God Gave Me Style                                   SR0000366051             UMG Recordings, Inc.
2576   50 Cent                             Gunz Come Out                                       SR0000366051             UMG Recordings, Inc.
2577   50 Cent                             Hate It Or Love It                                  SR0000366051             UMG Recordings, Inc.
2578   50 Cent                             I Don't Need 'Em                                    SR0000366051             UMG Recordings, Inc.
2579   50 Cent                             I Get Money                                         SR0000610389             UMG Recordings, Inc.
2580   50 Cent                             I'll Still Kill                                     SR0000611234             UMG Recordings, Inc.
2581   50 Cent                             I'm Supposed To Die Tonight                         SR0000366051             UMG Recordings, Inc.
2582   50 Cent                             Intro/ 50 Cent/ The Massacre                        SR0000366051             UMG Recordings, Inc.
2583   50 Cent                             Just A Lil Bit                                      SR0000366051             UMG Recordings, Inc.
2584   50 Cent                             Man Down                                            SR0000611234             UMG Recordings, Inc.
2585   50 Cent                             Movin On Up                                         SR0000611234             UMG Recordings, Inc.
2586   50 Cent                             My Gun Go Off                                       SR0000611234             UMG Recordings, Inc.
2587   50 Cent                             My Toy Soldier                                      SR0000366051             UMG Recordings, Inc.
2588   50 Cent                             Outta Control                                       SR0000366051             UMG Recordings, Inc.
2589   50 Cent                             Peep Show                                           SR0000611234             UMG Recordings, Inc.
2590   50 Cent                             Piggy Bank                                          SR0000366051             UMG Recordings, Inc.
2591   50 Cent                             Position Of Power                                   SR0000366051             UMG Recordings, Inc.
2592   50 Cent                             Ryder Music                                         SR0000366051             UMG Recordings, Inc.
2593   50 Cent                             Ski Mask Way                                        SR0000366051             UMG Recordings, Inc.
2594   50 Cent                             So Amazing                                          SR0000366051             UMG Recordings, Inc.
2595   50 Cent                             Straight To The Bank                                SR0000611234             UMG Recordings, Inc.
2596   50 Cent                             This Is 50                                          SR0000366051             UMG Recordings, Inc.
2597   50 Cent                             Touch The Sky                                       SR0000611234             UMG Recordings, Inc.




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                          Artist                                                 Track                Registration Number                  Plaintiff
2598   A Perfect Circle                    A Stranger                                              SR0000341312             UMG Recordings, Inc.
2599   A Perfect Circle                    Crimes                                                  SR0000341312             UMG Recordings, Inc.
2600   A Perfect Circle                    Gravity                                                 SR0000341312             UMG Recordings, Inc.
2601   A Perfect Circle                    Lullaby                                                 SR0000341312             UMG Recordings, Inc.
2602   A Perfect Circle                    Pet                                                     SR0000341312             UMG Recordings, Inc.
2603   A Perfect Circle                    The Noose                                               SR0000341312             UMG Recordings, Inc.
2604   A Perfect Circle                    The Nurse Who Loved Me                                  SR0000341312             UMG Recordings, Inc.
2605   A Perfect Circle                    Vanishing                                               SR0000341312             UMG Recordings, Inc.
2606   A Perfect Circle                    Weak And Powerless                                      SR0000341312             UMG Recordings, Inc.
2607   Akon                                Against The Grain                                       SR0000620196             UMG Recordings, Inc.
2608   Akon                                Be With You                                             SR0000620196             UMG Recordings, Inc.
2609   Akon                                Beautiful                                               SR0000620196             UMG Recordings, Inc.
2610   Akon                                Birthmark                                               SR0000620196             UMG Recordings, Inc.
2611   Akon                                Blown Away                                              SR0000610156             UMG Recordings, Inc.
2612   Akon                                Clap Again                                              SR0000620724             UMG Recordings, Inc.
2613   Akon                                Freedom                                                 SR0000620196             UMG Recordings, Inc.
2614   Akon                                Gangsta Bop                                             SR0000610156             UMG Recordings, Inc.
2615   Akon                                Holla Holla                                             SR0000620196             UMG Recordings, Inc.
2616   Akon                                I Can't Wait                                            SR0000610156             UMG Recordings, Inc.
2617   Akon                                I'm So Paid                                             SR0000624773             UMG Recordings, Inc.
2618   Akon                                Keep You Much Longer                                    SR0000620196             UMG Recordings, Inc.
2619   Akon                                Mama Africa                                             SR0000610156             UMG Recordings, Inc.
2620   Akon                                Never Took The Time                                     SR0000610156             UMG Recordings, Inc.
2621   Akon                                Once In A While                                         SR0000610156             UMG Recordings, Inc.
2622   Akon                                Over The Edge                                           SR0000620196             UMG Recordings, Inc.
2623   Akon                                Right Now (Na Na Na)                                    SR0000620197             UMG Recordings, Inc.
2624   Akon                                Shake Down                                              SR0000610156             UMG Recordings, Inc.
2625   Akon                                Sunny Day                                               SR0000620196             UMG Recordings, Inc.
2626   Akon                                The Rain                                                SR0000610156             UMG Recordings, Inc.
2627   Akon                                Tired Of Runnin'                                        SR0000610156             UMG Recordings, Inc.
2628   Akon                                Troublemaker                                            SR0000620198             UMG Recordings, Inc.
2629   Akon                                We Don't Care                                           SR0000620196             UMG Recordings, Inc.
2630   Alex Clare                          Hands Are Clever                                        SR0000700527             UMG Recordings, Inc.
2631   Alex Clare                          Humming Bird                                            SR0000700527             UMG Recordings, Inc.
2632   Alex Clare                          I Love You                                              SR0000700527             UMG Recordings, Inc.
2633   Alex Clare                          I Won't Let You Down                                    SR0000700527             UMG Recordings, Inc.
2634   Alex Clare                          Relax My Beloved                                        SR0000700527             UMG Recordings, Inc.
2635   Alex Clare                          Sanctuary                                               SR0000700527             UMG Recordings, Inc.
2636   Alex Clare                          Treading Water                                          SR0000700527             UMG Recordings, Inc.
2637   Alex Clare                          Up All Night                                            SR0000680301             UMG Recordings, Inc.
2638   Alex Clare                          When Doves Cry                                          SR0000700527             UMG Recordings, Inc.
2639   Alex Clare                          Whispering                                              SR0000700527             UMG Recordings, Inc.
2640   Amy Winehouse                       Cupid                                                   SR0000636832             UMG Recordings, Inc.
2641   Amy Winehouse                       Hey Little Rich Girl                                    SR0000636832             UMG Recordings, Inc.
2642   Amy Winehouse                       Love Is A Losing Game (Demo)                            SR0000636832             UMG Recordings, Inc.
2643   Amy Winehouse                       Monkey Man                                              SR0000636832             UMG Recordings, Inc.
2644   Amy Winehouse                       Mr Magic (Through The Smoke) (Janice Long Session)      SR0000614121             UMG Recordings, Inc.
2645   Amy Winehouse                       Some Unholy War (Down Tempo)                            SR0000636832             UMG Recordings, Inc.
2646   Amy Winehouse                       Stronger Than Me                                        SR0000614121             UMG Recordings, Inc.
2647   Amy Winehouse                       To Know Him Is To Love Him (Live)                       SR0000636832             UMG Recordings, Inc.
2648   Amy Winehouse                       Valerie                                                 SR0000636832             UMG Recordings, Inc.
2649   Amy Winehouse                       You Know I'm No Good                                    SR0000407451             UMG Recordings, Inc.
2650   Amy Winehouse                       You're Wondering Now                                    SR0000636832             UMG Recordings, Inc.
2651   Ariana Grande                       Problem                                                 SR0000743514             UMG Recordings, Inc.
2652   Ariana Grande                       The Way                                                 SR0000722427             UMG Recordings, Inc.
2653   Avant                               4 Minutes                                               SR0000379553             UMG Recordings, Inc.
2654   Avant                               AV                                                      SR0000339561             UMG Recordings, Inc.
2655   Avant                               Call On Me                                              SR0000308368             UMG Recordings, Inc.
2656   Avant                               Destiny                                                 SR0000281220             UMG Recordings, Inc.
2657   Avant                               Director                                                SR0000396388             UMG Recordings, Inc.
2658   Avant                               Don't Say No, Just Say Yes                              SR0000341102             UMG Recordings, Inc.
2659   Avant                               Don't Take Your Love Away                               SR0000339561             UMG Recordings, Inc.
2660   Avant                               Everything About You                                    SR0000339561             UMG Recordings, Inc.
2661   Avant                               Exclusive                                               SR0000396388             UMG Recordings, Inc.
2662   Avant                               Feast                                                   SR0000339561             UMG Recordings, Inc.
2663   Avant                               Flickin'                                                SR0000339561             UMG Recordings, Inc.
2664   Avant                               Get Away                                                SR0000281220             UMG Recordings, Inc.
2665   Avant                               GPSA (Ghetto Public Service Announcement)               SR0000396388             UMG Recordings, Inc.
2666   Avant                               Grown Ass Man                                           SR0000396388             UMG Recordings, Inc.
2667   Avant                               Happy                                                   SR0000281220             UMG Recordings, Inc.
2668   Avant                               Have Some Fun                                           SR0000339561             UMG Recordings, Inc.
2669   Avant                               Heaven                                                  SR0000339561             UMG Recordings, Inc.
2670   Avant                               Hooked                                                  SR0000339561             UMG Recordings, Inc.
2671   Avant                               I Wanna Know                                            SR0000281220             UMG Recordings, Inc.
2672   Avant                               Imagination                                             SR0000396388             UMG Recordings, Inc.
2673   Avant                               Jack & Jill                                             SR0000308368             UMG Recordings, Inc.
2674   Avant                               Let's Make a Deal                                       SR0000281220             UMG Recordings, Inc.
2675   Avant                               Lie About Us                                            SR0000396388             UMG Recordings, Inc.
2676   Avant                               Love School                                             SR0000308368             UMG Recordings, Inc.
2677   Avant                               Makin' Good Love                                        SR0000308368             UMG Recordings, Inc.
2678   Avant                               Mr. Dream                                               SR0000396388             UMG Recordings, Inc.
2679   Avant                               My First Love                                           SR0000281220             UMG Recordings, Inc.
2680   Avant                               No Limit                                                SR0000308368             UMG Recordings, Inc.
2681   Avant                               Now You Got Someone                                     SR0000396388             UMG Recordings, Inc.
2682   Avant                               One Way Street                                          SR0000308368             UMG Recordings, Inc.
2683   Avant                               Ooh Aah                                                 SR0000281220             UMG Recordings, Inc.
2684   Avant                               Phone Sex (That's What's Up)                            SR0000339561             UMG Recordings, Inc.
2685   Avant                               Private Room Intro                                      SR0000339561             UMG Recordings, Inc.
2686   Avant                               Reaction                                                SR0000281220             UMG Recordings, Inc.
2687   Avant                               Read Your Mind                                          SR0000344351             UMG Recordings, Inc.
2688   Avant                               Right Place, Wrong Time                                 SR0000396388             UMG Recordings, Inc.
2689   Avant                               Seems To Be                                             SR0000339561             UMG Recordings, Inc.
2690   Avant                               Separated                                               SR0000281220             UMG Recordings, Inc.
2691   Avant                               Serious                                                 SR0000281220             UMG Recordings, Inc.
2692   Avant                               Six In Da Morning                                       SR0000308368             UMG Recordings, Inc.
2693   Avant                               So Many Ways                                            SR0000396388             UMG Recordings, Inc.
2694   Avant                               Sorry                                                   SR0000308368             UMG Recordings, Inc.
2695   Avant                               Suicide                                                 SR0000308368             UMG Recordings, Inc.
2696   Avant                               Thinkin' About You                                      SR0000308368             UMG Recordings, Inc.
2697   Avant                               This Is Your Night                                      SR0000396388             UMG Recordings, Inc.




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2698   Avant                               This Time                                                 SR0000281220             UMG Recordings, Inc.
2699   Avant                               Wanna Be Close                                            SR0000339561             UMG Recordings, Inc.
2700   Avant                               What Do You Want                                          SR0000308368             UMG Recordings, Inc.
2701   Avant                               Why                                                       SR0000281220             UMG Recordings, Inc.
2702   Avant                               With You                                                  SR0000396388             UMG Recordings, Inc.
2703   Avant                               You                                                       SR0000339561             UMG Recordings, Inc.
2704   Avant                               You Ain't Right                                           SR0000308368             UMG Recordings, Inc.
2705   Avant                               You Got Me                                                SR0000339561             UMG Recordings, Inc.
2706   Avant                               You Know What                                             SR0000378385             UMG Recordings, Inc.
2707   Bad Meets Evil                      A Kiss                                                    SR0000678636             UMG Recordings, Inc.
2708   Bad Meets Evil                      Above The Law                                             SR0000678636             UMG Recordings, Inc.
2709   Bad Meets Evil                      Echo                                                      SR0000678636             UMG Recordings, Inc.
2710   Bad Meets Evil                      Fast Lane                                                 SR0000678637             UMG Recordings, Inc.
2711   Bad Meets Evil                      I'm On Everything                                         SR0000678636             UMG Recordings, Inc.
2712   Bad Meets Evil                      Lighters                                                  SR0000678636             UMG Recordings, Inc.
2713   Bad Meets Evil                      Loud Noises                                               SR0000678636             UMG Recordings, Inc.
2714   Bad Meets Evil                      Take From Me                                              SR0000678636             UMG Recordings, Inc.
2715   Bad Meets Evil                      The Reunion                                               SR0000678636             UMG Recordings, Inc.
2716   Bad Meets Evil                      Welcome 2 Hell                                            SR0000678636             UMG Recordings, Inc.
2717   Bastille                            Daniel in the Den                                         SR0000753441             UMG Recordings, Inc.
2718   Bastille                            Durban Skies                                              SR0000748676             UMG Recordings, Inc.
2719   Bastille                            Flaws                                                     SR0000753441             UMG Recordings, Inc.
2720   Bastille                            Get Home                                                  SR0000753441             UMG Recordings, Inc.
2721   Bastille                            Haunt                                                     SR0000728185             UMG Recordings, Inc.
2722   Bastille                            Icarus                                                    SR0000753441             UMG Recordings, Inc.
2723   Bastille                            Laughter Lines                                            SR0000753441             UMG Recordings, Inc.
2724   Bastille                            Oblivion                                                  SR0000753441             UMG Recordings, Inc.
2725   Bastille                            Of The Night                                              SR0000748676             UMG Recordings, Inc.
2726   Bastille                            Overjoyed                                                 SR0000728185             UMG Recordings, Inc.
2727   Bastille                            Poet                                                      SR0000748676             UMG Recordings, Inc.
2728   Bastille                            Previously On Other People's Heartache...                 SR0000748676             UMG Recordings, Inc.
2729   Bastille                            Skulls                                                    SR0000748676             UMG Recordings, Inc.
2730   Bastille                            Sleepsong                                                 SR0000748676             UMG Recordings, Inc.
2731   Bastille                            The Draw                                                  SR0000748676             UMG Recordings, Inc.
2732   Bastille                            The Silence                                               SR0000753441             UMG Recordings, Inc.
2733   Bastille                            These Streets                                             SR0000753441             UMG Recordings, Inc.
2734   Bastille                            Things We Lost in the Fire                                SR0000753441             UMG Recordings, Inc.
2735   Bastille                            Tuning Out...                                             SR0000748676             UMG Recordings, Inc.
2736   Bastille                            Weight of Living, Pt. I                                   SR0000753441             UMG Recordings, Inc.
2737   Bastille                            What Would You Do                                         SR0000748676             UMG Recordings, Inc.
2738   Big Sean                            Beware                                                    SR0000730543             UMG Recordings, Inc.
2739   Big Sean                            Celebrity                                                 SR0000678630             UMG Recordings, Inc.
2740   Big Sean                            Dance (Ass)                                               SR0000678630             UMG Recordings, Inc.
2741   Big Sean                            Don't Tell Me You Love Me                                 SR0000678630             UMG Recordings, Inc.
2742   Big Sean                            Get It                                                    SR0000678630             UMG Recordings, Inc.
2743   Big Sean                            High                                                      SR0000678630             UMG Recordings, Inc.
2744   Big Sean                            Intro                                                     SR0000678630             UMG Recordings, Inc.
2745   Big Sean                            Keys                                                      SR0000678630             UMG Recordings, Inc.
2746   Big Sean                            Livin This Life                                           SR0000678630             UMG Recordings, Inc.
2747   Big Sean                            Marvin & Chardonnay                                       SR0000678630             UMG Recordings, Inc.
2748   Big Sean                            Memories Pt 2                                             SR0000678630             UMG Recordings, Inc.
2749   Big Sean                            My House                                                  SR0000678630             UMG Recordings, Inc.
2750   Big Sean                            So Much More                                              SR0000678630             UMG Recordings, Inc.
2751   Big Sean                            Wait For Me                                               SR0000678630             UMG Recordings, Inc.
2752   Big Sean                            What Goes Around                                          SR0000678632             UMG Recordings, Inc.
2753   Billy Currington                    23 Degrees And South                                      SR0000730540             UMG Recordings, Inc.
2754   Billy Currington                    Another Day Without You                                   SR0000730540             UMG Recordings, Inc.
2755   Billy Currington                    Banana Pancakes                                           SR0000730540             UMG Recordings, Inc.
2756   Billy Currington                    Closer Tonight                                            SR0000730540             UMG Recordings, Inc.
2757   Billy Currington                    Hallelujah                                                SR0000730540             UMG Recordings, Inc.
2758   Billy Currington                    Hard To Be A Hippie                                       SR0000730540             UMG Recordings, Inc.
2759   Billy Currington                    Hey Girl                                                  SR0000722290             UMG Recordings, Inc.
2760   Billy Currington                    Let Me Down Easy                                          SR0000664523             UMG Recordings, Inc.
2761   Billy Currington                    One Way Ticket                                            SR0000730540             UMG Recordings, Inc.
2762   Billy Currington                    We Are Tonight                                            SR0000730540             UMG Recordings, Inc.
2763   Billy Currington                    Wingman                                                   SR0000730540             UMG Recordings, Inc.
2764   Black Eyed Peas                     Alive                                                     SR0000633587             UMG Recordings, Inc.
2765   Black Eyed Peas                     Another Weekend                                           SR0000633584             UMG Recordings, Inc.
2766   Black Eyed Peas                     Boom Boom Pow                                             SR0000633584             UMG Recordings, Inc.
2767   Black Eyed Peas                     Don't Bring Me Down                                       SR0000633584             UMG Recordings, Inc.
2768   Black Eyed Peas                     Don't Phunk Around                                        SR0000633584             UMG Recordings, Inc.
2769   Black Eyed Peas                     Electric City                                             SR0000633584             UMG Recordings, Inc.
2770   Black Eyed Peas                     I Gotta Feeling                                           SR0000633584             UMG Recordings, Inc.
2771   Black Eyed Peas                     I Gotta Feeling (FMIF Remix)                              SR0000652380             UMG Recordings, Inc.
2772   Black Eyed Peas                     Imma Be                                                   SR0000633585             UMG Recordings, Inc.
2773   Black Eyed Peas                     Let's Get Re-Started                                      SR0000633584             UMG Recordings, Inc.
2774   Black Eyed Peas                     Mare                                                      SR0000633584             UMG Recordings, Inc.
2775   Black Eyed Peas                     Meet Me Halfway                                           SR0000633584             UMG Recordings, Inc.
2776   Black Eyed Peas                     Missing You                                               SR0000633584             UMG Recordings, Inc.
2777   Black Eyed Peas                     Now Generation                                            SR0000633584             UMG Recordings, Inc.
2778   Black Eyed Peas                     One Tribe                                                 SR0000633584             UMG Recordings, Inc.
2779   Black Eyed Peas                     Out Of My Head                                            SR0000633584             UMG Recordings, Inc.
2780   Black Eyed Peas                     Party All The Time                                        SR0000633584             UMG Recordings, Inc.
2781   Black Eyed Peas                     Pump It Harder                                            SR0000633584             UMG Recordings, Inc.
2782   Black Eyed Peas                     Ring-A-Ling                                               SR0000633584             UMG Recordings, Inc.
2783   Black Eyed Peas                     Rock That Body                                            SR0000633584             UMG Recordings, Inc.
2784   Black Eyed Peas                     Rockin To The Beat                                        SR0000633584             UMG Recordings, Inc.
2785   Black Eyed Peas                     Showdown                                                  SR0000633584             UMG Recordings, Inc.
2786   Black Eyed Peas                     Shut Up                                                   SR0000347870             UMG Recordings, Inc.
2787   Black Eyed Peas                     Simple Little Melody                                      SR0000633584             UMG Recordings, Inc.
2788   Black Eyed Peas                     That's The Joint                                          SR0000633584             UMG Recordings, Inc.
2789   Black Eyed Peas                     Where Ya Wanna Go                                         SR0000633584             UMG Recordings, Inc.
2790   Blue October                        18th Floor Balcony                                        SR0000388117             UMG Recordings, Inc.
2791   Blue October                        Congratulations                                           SR0000388117             UMG Recordings, Inc.
2792   Blue October                        Drilled A Wire Through My Cheek                           SR0000388117             UMG Recordings, Inc.
2793   Blue October                        Everlasting Friend                                        SR0000388117             UMG Recordings, Inc.
2794   Blue October                        Hate Me                                                   SR0000388117             UMG Recordings, Inc.
2795   Blue October                        Into The Ocean                                            SR0000388117             UMG Recordings, Inc.
2796   Blue October                        Let It Go                                                 SR0000388117             UMG Recordings, Inc.
2797   Blue October                        Overweight                                                SR0000388117             UMG Recordings, Inc.




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2798   Blue October                        She's My Ride Home                                   SR0000388117              UMG Recordings, Inc.
2799   Blue October                        Sound Of Pulling Heaven Down                         SR0000388117              UMG Recordings, Inc.
2800   Blue October                        What If We Could                                     SR0000388117              UMG Recordings, Inc.
2801   Blue October                        X-Amount Of Words                                    SR0000388117              UMG Recordings, Inc.
2802   Blue October                        You Make Me Smile                                    SR0000615154              UMG Recordings, Inc.
2803   Bob Marley                          Buffalo Soldier                                      SR0000045126              UMG Recordings, Inc.
2804   Bob Marley                          Could You Be Loved                                   SR0000020594              UMG Recordings, Inc.
2805   Bob Marley                          Mr Brown                                             SR0000152585              UMG Recordings, Inc.
2806   Bob Marley                          One Love                                             RE0000926868              UMG Recordings, Inc.
2807   Bob Marley                          Three Little Birds                                   N48538; RE0000926868      UMG Recordings, Inc.
2808   Bob Marley & The Wailers            Exodus                                               N48538; RE0000926868      UMG Recordings, Inc.
2809   Bob Marley & The Wailers            Get Up, Stand Up                                     NF137; RE0000931699       UMG Recordings, Inc.
2810   Bob Marley & The Wailers            Jamming                                              N48538; RE0000926868      UMG Recordings, Inc.
2811   Bob Marley & The Wailers            Misty Morning                                        SR0000001122              UMG Recordings, Inc.
2812   Bob Marley & The Wailers            No Woman, No Cry (Live)                              NF1250; RE0000888745      UMG Recordings, Inc.
2813   Bob Marley & The Wailers            Rebel Music (3 O'Clock Roadblock)                    RE0000906116              UMG Recordings, Inc.
2814   Bob Marley & The Wailers            Redemption Song                                      SR0000019502              UMG Recordings, Inc.
2815   Bob Marley & The Wailers            Satisfy My Soul                                      SR0000001122              UMG Recordings, Inc.
2816   Bob Marley & the Wailers            So Much Things To Say                                N48538; RE0000926868      UMG Recordings, Inc.
2817   Bob Marley & the Wailers            Stir It Up                                           N8793; RE0000860333       UMG Recordings, Inc.
2818   Bob Marley & The Wailers            Time Will Tell                                       SR0000001122              UMG Recordings, Inc.
2819   Bob Marley & The Wailers            Waiting In Vain                                      N48538; RE0000926868      UMG Recordings, Inc.
2820   Bob Marley & The Wailers            Who The Cap Fit                                      SR0000323536              UMG Recordings, Inc.
2821   Carly Rae Jepsen                    Beautiful                                            SR0000738473              UMG Recordings, Inc.
2822   Carly Rae Jepsen                    Curiosity                                            SR0000738473              UMG Recordings, Inc.
2823   Carly Rae Jepsen                    Drive                                                SR0000738473              UMG Recordings, Inc.
2824   Carly Rae Jepsen                    Guitar String / Wedding Ring                         SR0000738473              UMG Recordings, Inc.
2825   Carly Rae Jepsen                    Hurt So Good                                         SR0000738473              UMG Recordings, Inc.
2826   Carly Rae Jepsen                    I Know You Have A Girlfriend                         SR0000738473              UMG Recordings, Inc.
2827   Carly Rae Jepsen                    More Than A Memory                                   SR0000738473              UMG Recordings, Inc.
2828   Carly Rae Jepsen                    Sweetie                                              SR0000738473              UMG Recordings, Inc.
2829   Carly Rae Jepsen                    This Kiss                                            SR0000709280              UMG Recordings, Inc.
2830   Carly Rae Jepsen                    Tiny Little Bows                                     SR0000738473              UMG Recordings, Inc.
2831   Carly Rae Jepsen                    Tonight I'm Getting Over You                         SR0000738473              UMG Recordings, Inc.
2832   Carly Rae Jepsen                    Turn Me Up                                           SR0000738473              UMG Recordings, Inc.
2833   Carly Rae Jepsen                    Wrong Feels So Right                                 SR0000738473              UMG Recordings, Inc.
2834   Carly Rae Jepsen                    Your Heart Is A Muscle                               SR0000738473              UMG Recordings, Inc.
2835   Chamillionaire                      Bad Guy                                              SR0000385655              UMG Recordings, Inc.
2836   Chamillionaire                      Fly As The Sky                                       SR0000381901              UMG Recordings, Inc.
2837   Chamillionaire                      Frontin'                                             SR0000381901              UMG Recordings, Inc.
2838   Chamillionaire                      Grown and Sexy                                       SR0000381901              UMG Recordings, Inc.
2839   Chamillionaire                      In The Trunk                                         SR0000381901              UMG Recordings, Inc.
2840   Chamillionaire                      No Snitchin'                                         SR0000381901              UMG Recordings, Inc.
2841   Chamillionaire                      Outro                                                SR0000381901              UMG Recordings, Inc.
2842   Chamillionaire                      Peepin' Me                                           SR0000381901              UMG Recordings, Inc.
2843   Chamillionaire                      Picture Perfect                                      SR0000381901              UMG Recordings, Inc.
2844   Chamillionaire                      Radio Interruption                                   SR0000381901              UMG Recordings, Inc.
2845   Chamillionaire                      Rain                                                 SR0000381901              UMG Recordings, Inc.
2846   Chamillionaire                      Ridin'                                               SR0000381901              UMG Recordings, Inc.
2847   Chamillionaire                      Southern Takeover                                    SR0000381901              UMG Recordings, Inc.
2848   Chamillionaire                      Think I'm Crazy                                      SR0000381901              UMG Recordings, Inc.
2849   Chamillionaire                      Turn It Up                                           SR0000381901              UMG Recordings, Inc.
2850   Chamillionaire                      Void In My Life                                      SR0000381901              UMG Recordings, Inc.
2851   Colbie Caillat                      Battle                                               SR0000620297              UMG Recordings, Inc.
2852   Colbie Caillat                      Brand New Me                                         SR0000619237              UMG Recordings, Inc.
2853   Colbie Caillat                      Bubbly                                               SR0000620298              UMG Recordings, Inc.
2854   Colbie Caillat                      Capri                                                SR0000620297              UMG Recordings, Inc.
2855   Colbie Caillat                      Circles                                              SR0000619237              UMG Recordings, Inc.
2856   Colbie Caillat                      Don't Hold Me Down                                   SR0000637479              UMG Recordings, Inc.
2857   Colbie Caillat                      Feelings Show                                        SR0000620297              UMG Recordings, Inc.
2858   Colbie Caillat                      Hold Your Head High                                  SR0000637479              UMG Recordings, Inc.
2859   Colbie Caillat                      Hoy Me Voy                                           SR0000619237              UMG Recordings, Inc.
2860   Colbie Caillat                      Magic                                                SR0000620297              UMG Recordings, Inc.
2861   Colbie Caillat                      Midnight Bottle                                      SR0000620297              UMG Recordings, Inc.
2862   Colbie Caillat                      Never Let You Go                                     SR0000637479              UMG Recordings, Inc.
2863   Colbie Caillat                      One Fine Wire                                        SR0000620297              UMG Recordings, Inc.
2864   Colbie Caillat                      Out of My Mind                                       SR0000637479              UMG Recordings, Inc.
2865   Colbie Caillat                      Oxygen                                               SR0000620297              UMG Recordings, Inc.
2866   Colbie Caillat                      Realize                                              SR0000620297              UMG Recordings, Inc.
2867   Colbie Caillat                      Somethin' Special                                    SR0000615614              UMG Recordings, Inc.
2868   Colbie Caillat                      Stay With Me                                         SR0000637479              UMG Recordings, Inc.
2869   Colbie Caillat                      Tailor Made                                          SR0000620297              UMG Recordings, Inc.
2870   Colbie Caillat                      Tell Him                                             SR0000619237              UMG Recordings, Inc.
2871   Colbie Caillat                      The Little Things                                    SR0000620297              UMG Recordings, Inc.
2872   Colbie Caillat                      Tied Down                                            SR0000620297              UMG Recordings, Inc.
2873   Colbie Caillat                      Turn Your Lights Down Low                            SR0000619237              UMG Recordings, Inc.
2874   Colbie Caillat                      What I Wanted to Say                                 SR0000637479              UMG Recordings, Inc.
2875   Disclosure                          Latch                                                SR0000724303              UMG Recordings, Inc.
2876   Dr. Dre                             I Need A Doctor                                      SR0000674469              UMG Recordings, Inc.
2877   Easton Corbin                       A Thing For You                                      SR0000709974              UMG Recordings, Inc.
2878   Easton Corbin                       All Over The Road                                    SR0000709974              UMG Recordings, Inc.
2879   Easton Corbin                       Are You With Me                                      SR0000709974              UMG Recordings, Inc.
2880   Easton Corbin                       Dance Real Slow                                      SR0000709974              UMG Recordings, Inc.
2881   Easton Corbin                       Hearts Drawn In The Sand                             SR0000709972              UMG Recordings, Inc.
2882   Easton Corbin                       I Think Of You                                       SR0000709974              UMG Recordings, Inc.
2883   Easton Corbin                       Only A Girl                                          SR0000710243              UMG Recordings, Inc.
2884   Easton Corbin                       That's Gonna Leave A Memory                          SR0000709974              UMG Recordings, Inc.
2885   Easton Corbin                       This Feels A Lot Like Love                           SR0000709974              UMG Recordings, Inc.
2886   Easton Corbin                       Tulsa Texas                                          SR0000709974              UMG Recordings, Inc.
2887   Eli Young Band                      Every Other Memory                                   SR0000684024              UMG Recordings, Inc.
2888   Eli Young Band                      How Quickly You Forget                               SR0000684024              UMG Recordings, Inc.
2889   Eli Young Band                      Life At Best                                         SR0000684024              UMG Recordings, Inc.
2890   Eli Young Band                      My Old Man's Son                                     SR0000684024              UMG Recordings, Inc.
2891   Eli Young Band                      On My Way                                            SR0000684024              UMG Recordings, Inc.
2892   Eli Young Band                      Recover                                              SR0000684024              UMG Recordings, Inc.
2893   Eli Young Band                      Say Goodnight                                        SR0000684024              UMG Recordings, Inc.
2894   Eli Young Band                      The Falling                                          SR0000684024              UMG Recordings, Inc.
2895   Eli Young Band                      War On A Desperate Man                               SR0000684024              UMG Recordings, Inc.
2896   Ellie Goulding                      Anything Could Happen                                SR0000709961              UMG Recordings, Inc.
2897   Ellie Goulding                      Atlantis                                             SR0000709960              UMG Recordings, Inc.




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2898   Ellie Goulding                      Dead In The Water                                         SR0000709960              UMG Recordings, Inc.
2899   Ellie Goulding                      Don't Say A Word                                          SR0000709960              UMG Recordings, Inc.
2900   Ellie Goulding                      Explosions                                                SR0000709960              UMG Recordings, Inc.
2901   Ellie Goulding                      Figure 8                                                  SR0000709960              UMG Recordings, Inc.
2902   Ellie Goulding                      Halcyon                                                   SR0000709960              UMG Recordings, Inc.
2903   Ellie Goulding                      Hanging On                                                SR0000709960              UMG Recordings, Inc.
2904   Ellie Goulding                      I Know You Care                                           SR0000709960              UMG Recordings, Inc.
2905   Ellie Goulding                      In My City                                                SR0000709960              UMG Recordings, Inc.
2906   Ellie Goulding                      Joy                                                       SR0000709960              UMG Recordings, Inc.
2907   Ellie Goulding                      My Blood                                                  SR0000709960              UMG Recordings, Inc.
2908   Ellie Goulding                      Only You                                                  SR0000709960              UMG Recordings, Inc.
2909   Ellie Goulding                      Ritual                                                    SR0000709960              UMG Recordings, Inc.
2910   Ellie Goulding                      Roscoe                                                    SR0000752677              UMG Recordings, Inc.
2911   Ellie Goulding                      The End                                                   SR0000752677              UMG Recordings, Inc.
2912   Ellie Goulding                      Without Your Love                                         SR0000709960              UMG Recordings, Inc.
2913   Elliott Smith                       A Question Mark                                           SR0000241677              UMG Recordings, Inc.
2914   Elliott Smith                       Amity                                                     SR0000241677              UMG Recordings, Inc.
2915   Elliott Smith                       Baby Britain                                              SR0000241677              UMG Recordings, Inc.
2916   Elliott Smith                       Better Be Quiet Now                                       SR0000280584              UMG Recordings, Inc.
2917   Elliott Smith                       Bled White                                                SR0000241677              UMG Recordings, Inc.
2918   Elliott Smith                       Bottle Up And Explode!                                    SR0000241677              UMG Recordings, Inc.
2919   Elliott Smith                       Bye                                                       SR0000280584              UMG Recordings, Inc.
2920   Elliott Smith                       Can't Make A Sound                                        SR0000280584              UMG Recordings, Inc.
2921   Elliott Smith                       Colorbars                                                 SR0000280584              UMG Recordings, Inc.
2922   Elliott Smith                       Easy Way Out                                              SR0000280584              UMG Recordings, Inc.
2923   Elliott Smith                       Everybody Cares, Everybody Understands                    SR0000241677              UMG Recordings, Inc.
2924   Elliott Smith                       Everything Reminds Me Of Her                              SR0000280584              UMG Recordings, Inc.
2925   Elliott Smith                       I Didn't Understand                                       SR0000241677              UMG Recordings, Inc.
2926   Elliott Smith                       In The Lost And Found (Honky Bach)/The Roost              SR0000280584              UMG Recordings, Inc.
2927   Elliott Smith                       Independence Day                                          SR0000241677              UMG Recordings, Inc.
2928   Elliott Smith                       Junk Bond Trader                                          SR0000280584              UMG Recordings, Inc.
2929   Elliott Smith                       Oh Well, Okay                                             SR0000241677              UMG Recordings, Inc.
2930   Elliott Smith                       Pitseleh                                                  SR0000241677              UMG Recordings, Inc.
2931   Elliott Smith                       Pretty Mary K                                             SR0000280584              UMG Recordings, Inc.
2932   Elliott Smith                       Somebody That I Used To Know                              SR0000280584              UMG Recordings, Inc.
2933   Elliott Smith                       Stupidity Tries                                           SR0000280584              UMG Recordings, Inc.
2934   Elliott Smith                       Sweet Adeline                                             SR0000241677              UMG Recordings, Inc.
2935   Elliott Smith                       Tomorrow Tomorrow                                         SR0000241677              UMG Recordings, Inc.
2936   Elliott Smith                       Waltz #1                                                  SR0000241677              UMG Recordings, Inc.
2937   Elliott Smith                       Wouldn't Mama Be Proud?                                   SR0000280584              UMG Recordings, Inc.
2938   Elton John                          Bennie And The Jets                                       N10950                    UMG Recordings, Inc.
2939   Elton John                          Crocodile Rock                                            N6758                     UMG Recordings, Inc.
2940   Elton John                          Don't Let The Sun Go Down On Me                           N0511; RE0000866913       UMG Recordings, Inc.
2941   Elton John                          I Guess That's Why They Call It The Blues                 SR0000045784              UMG Recordings, Inc.
2942   Elton John                          I Want Love                                               SR0000303795              UMG Recordings, Inc.
2943   Elton John                          Philadelphia Freedom                                      N22622; RE0000887755      UMG Recordings, Inc.
2944   Elton John                          Saturday Night's Alright For Fighting                     N10950                    UMG Recordings, Inc.
2945   Elton John                          Tinderbox                                                 SR0000396047              UMG Recordings, Inc.
2946   Eminem                              25 To Life                                                SR0000653572              UMG Recordings, Inc.
2947   Eminem                              3 a.m.                                                    SR0000633156              UMG Recordings, Inc.
2948   Eminem                              8 Mile                                                    SR0000322706              UMG Recordings, Inc.
2949   Eminem                              Almost Famous                                             SR0000653572              UMG Recordings, Inc.
2950   Eminem                              Ass Like That                                             SR0000364769              UMG Recordings, Inc.
2951   Eminem                              Bagpipes From Baghdad                                     SR0000633152              UMG Recordings, Inc.
2952   Eminem                              Beautiful                                                 SR0000633152              UMG Recordings, Inc.
2953   Eminem                              Berzerk                                                   SR0000729822              UMG Recordings, Inc.
2954   Eminem                              Big Weenie                                                SR0000364769              UMG Recordings, Inc.
2955   Eminem                              Business                                                  SR0000317924              UMG Recordings, Inc.
2956   Eminem                              Cinderella Man                                            SR0000653572              UMG Recordings, Inc.
2957   Eminem                              Cleanin' Out My Closet                                    SR0000317924              UMG Recordings, Inc.
2958   Eminem                              Cold Wind Blows                                           SR0000653572              UMG Recordings, Inc.
2959   Eminem                              Crack A Bottle                                            SR0000633152              UMG Recordings, Inc.
2960   Eminem                              Crazy In Love                                             SR0000364769              UMG Recordings, Inc.
2961   Eminem                              Curtains Close (Skit)                                     SR0000317924              UMG Recordings, Inc.
2962   Eminem                              Curtains Up                                               SR0000364769              UMG Recordings, Inc.
2963   Eminem                              Deja Vu                                                   SR0000633152              UMG Recordings, Inc.
2964   Eminem                              Dr. West                                                  SR0000633152              UMG Recordings, Inc.
2965   Eminem                              Drips                                                     SR0000317924              UMG Recordings, Inc.
2966   Eminem                              Em Calls Paul                                             SR0000364769              UMG Recordings, Inc.
2967   Eminem                              Encore                                                    SR0000364769              UMG Recordings, Inc.
2968   Eminem                              Encore/Curtains Down                                      SR0000364769              UMG Recordings, Inc.
2969   Eminem                              Evil Deeds                                                SR0000364769              UMG Recordings, Inc.
2970   Eminem                              FACK                                                      SR0000382840              UMG Recordings, Inc.
2971   Eminem                              Final Thought (Skit)                                      SR0000364769              UMG Recordings, Inc.
2972   Eminem                              Go To Sleep                                               SR0000327127              UMG Recordings, Inc.
2973   Eminem                              Going Through Changes                                     SR0000653572              UMG Recordings, Inc.
2974   Eminem                              Guilty Conscience                                         SR0000262686              UMG Recordings, Inc.
2975   Eminem                              Hailie's Song                                             SR0000317924              UMG Recordings, Inc.
2976   Eminem                              Hello                                                     SR0000633152              UMG Recordings, Inc.
2977   Eminem                              Insane                                                    SR0000633152              UMG Recordings, Inc.
2978   Eminem                              Intro                                                     SR0000382840              UMG Recordings, Inc.
2979   Eminem                              Jimmy Crack Corn                                          SR0000405877              UMG Recordings, Inc.
2980   Eminem                              Just Don't Give A Fuck                                    SR0000262686              UMG Recordings, Inc.
2981   Eminem                              Just Lose It                                              SR0000362082              UMG Recordings, Inc.
2982   Eminem                              Like Toy Soldiers                                         SR0000364769              UMG Recordings, Inc.
2983   Eminem                              Lose Yourself                                             SR0000322706              UMG Recordings, Inc.
2984   Eminem                              Love The Way You Lie                                      SR0000653572              UMG Recordings, Inc.
2985   Eminem                              Love You More                                             SR0000364769              UMG Recordings, Inc.
2986   Eminem                              Medicine Ball                                             SR0000633152              UMG Recordings, Inc.
2987   Eminem                              Mockingbird                                               SR0000364769              UMG Recordings, Inc.
2988   Eminem                              Mosh                                                      SR0000364769              UMG Recordings, Inc.
2989   Eminem                              Mr. Mathers                                               SR0000633152              UMG Recordings, Inc.
2990   Eminem                              Must Be The Ganja                                         SR0000633152              UMG Recordings, Inc.
2991   Eminem                              My 1st Single                                             SR0000364769              UMG Recordings, Inc.
2992   Eminem                              My Dad's Gone Crazy                                       SR0000317924              UMG Recordings, Inc.
2993   Eminem                              My Fault                                                  SR0000262686              UMG Recordings, Inc.
2994   Eminem                              My Mom                                                    SR0000633152              UMG Recordings, Inc.
2995   Eminem                              Never Enough                                              SR0000364769              UMG Recordings, Inc.
2996   Eminem                              No Apologies                                              SR0000401289              UMG Recordings, Inc.
2997   Eminem                              No Love                                                   SR0000653572              UMG Recordings, Inc.




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                           Artist                                                  Track               Registration Number                  Plaintiff
2998   Eminem                              Not Afraid                                              SR0000653571              UMG Recordings, Inc.
2999   Eminem                              Old Time's Sake                                         SR0000633157              UMG Recordings, Inc.
3000   Eminem                              On Fire                                                 SR0000653572              UMG Recordings, Inc.
3001   Eminem                              One Shot 2 Shot                                         SR0000364769              UMG Recordings, Inc.
3002   Eminem                              Paul                                                    SR0000364769              UMG Recordings, Inc.
3003   Eminem                              Public Enemy #1                                         SR0000401289              UMG Recordings, Inc.
3004   Eminem                              Puke                                                    SR0000364769              UMG Recordings, Inc.
3005   Eminem                              Rabbit Run                                              SR0000322706              UMG Recordings, Inc.
3006   Eminem                              Rain Man                                                SR0000364769              UMG Recordings, Inc.
3007   Eminem                              Ricky Ticky Toc                                         SR0000364769              UMG Recordings, Inc.
3008   Eminem                              Ridaz                                                   SR0000659181              UMG Recordings, Inc.
3009   Eminem                              Same Song & Dance                                       SR0000633152              UMG Recordings, Inc.
3010   Eminem                              Say Goodbye Hollywood                                   SR0000317924              UMG Recordings, Inc.
3011   Eminem                              Say What You Say                                        SR0000317924              UMG Recordings, Inc.
3012   Eminem                              Seduction                                               SR0000653572              UMG Recordings, Inc.
3013   Eminem                              Session One                                             SR0000659181              UMG Recordings, Inc.
3014   Eminem                              Shake That                                              SR0000382840              UMG Recordings, Inc.
3015   Eminem                              Sing For The Moment                                     SR0000317924              UMG Recordings, Inc.
3016   Eminem                              So Bad                                                  SR0000653572              UMG Recordings, Inc.
3017   Eminem                              Soldier                                                 SR0000317924              UMG Recordings, Inc.
3018   Eminem                              Space Bound                                             SR0000653572              UMG Recordings, Inc.
3019   Eminem                              Spend Some Time                                         SR0000364769              UMG Recordings, Inc.
3020   Eminem                              Square Dance                                            SR0000317924              UMG Recordings, Inc.
3021   Eminem                              Stay Wide Awake                                         SR0000633152              UMG Recordings, Inc.
3022   Eminem                              Still Don't Give                                        SR0000262686              UMG Recordings, Inc.
3023   Eminem                              Superman                                                SR0000317924              UMG Recordings, Inc.
3024   Eminem                              Talkin' 2 Myself                                        SR0000653572              UMG Recordings, Inc.
3025   Eminem                              The Kiss (Skit)                                         SR0000317924              UMG Recordings, Inc.
3026   Eminem                              The Monster                                             SR0000735452              UMG Recordings, Inc.
3027   Eminem                              The Real Slim Shady                                     SR0000293541              UMG Recordings, Inc.
3028   Eminem                              The Re-Up                                               SR0000401289              UMG Recordings, Inc.
3029   Eminem                              The Way I Am                                            SR0000287944              UMG Recordings, Inc.
3030   Eminem                              Till I Collapse                                         SR0000317924              UMG Recordings, Inc.
3031   Eminem                              Tonya                                                   SR0000633152              UMG Recordings, Inc.
3032   Eminem                              Underground                                             SR0000633152              UMG Recordings, Inc.
3033   Eminem                              Untitled                                                SR0000653572              UMG Recordings, Inc.
3034   Eminem                              W.T.P.                                                  SR0000653572              UMG Recordings, Inc.
3035   Eminem                              We As Americans                                         SR0000364769              UMG Recordings, Inc.
3036   Eminem                              We Made You                                             SR0000633152              UMG Recordings, Inc.
3037   Eminem                              When I'm Gone                                           SR0000382840              UMG Recordings, Inc.
3038   Eminem                              When The Music Stops                                    SR0000317924              UMG Recordings, Inc.
3039   Eminem                              White America                                           SR0000317924              UMG Recordings, Inc.
3040   Eminem                              Without Me                                              SR0000317924              UMG Recordings, Inc.
3041   Eminem                              Won't Back Down                                         SR0000653572              UMG Recordings, Inc.
3042   Eminem                              Yellow Brick Road                                       SR0000364769              UMG Recordings, Inc.
3043   Eminem                              You Don't Know                                          SR0000400225              UMG Recordings, Inc.
3044   Eminem                              You're Never Over                                       SR0000653572              UMG Recordings, Inc.
3045   Eric Clapton                        Cocaine                                                 SR0000001112              UMG Recordings, Inc.
3046   Eric Clapton                        I Shot The Sheriff                                      N16785                    UMG Recordings, Inc.
3047   Eric Clapton                        Knockin' On Heaven's Door                               N25879                    UMG Recordings, Inc.
3048   Eric Clapton                        Let It Grow                                             N16809; RE0000866829      UMG Recordings, Inc.
3049   Fall Out Boy                        27                                                      SR0000620008              UMG Recordings, Inc.
3050   Fall Out Boy                        (Coffee's For Closers)                                  SR0000620008              UMG Recordings, Inc.
3051   Fall Out Boy                        20 Dollar Nose Bleed                                    SR0000620008              UMG Recordings, Inc.
3052   Fall Out Boy                        Alone Together                                          SR0000720423              UMG Recordings, Inc.
3053   Fall Out Boy                        America's Suitehearts                                   SR0000620002              UMG Recordings, Inc.
3054   Fall Out Boy                        Beat It                                                 SR0000612454              UMG Recordings, Inc.
3055   Fall Out Boy                        Death Valley                                            SR0000720423              UMG Recordings, Inc.
3056   Fall Out Boy                        Disloyal Order Of Water Buffaloes                       SR0000620008              UMG Recordings, Inc.
3057   Fall Out Boy                        Headfirst Slide Into Cooperstown On A Bad Bet           SR0000620005              UMG Recordings, Inc.
3058   Fall Out Boy                        Just One Yesterday                                      SR0000720423              UMG Recordings, Inc.
3059   Fall Out Boy                        Miss Missing You                                        SR0000720423              UMG Recordings, Inc.
3060   Fall Out Boy                        My Songs Know What You Did In The Dark (Light Em Up)    SR0000718973              UMG Recordings, Inc.
3061   Fall Out Boy                        Pavlove                                                 SR0000620008              UMG Recordings, Inc.
3062   Fall Out Boy                        Rat A Tat                                               SR0000720423              UMG Recordings, Inc.
3063   Fall Out Boy                        Save Rock And Roll                                      SR0000720423              UMG Recordings, Inc.
3064   Fall Out Boy                        She's My Winona                                         SR0000620008              UMG Recordings, Inc.
3065   Fall Out Boy                        The (Shipped) Gold Standard                             SR0000620008              UMG Recordings, Inc.
3066   Fall Out Boy                        The Mighty Fall                                         SR0000720423              UMG Recordings, Inc.
3067   Fall Out Boy                        The Phoenix                                             SR0000720423              UMG Recordings, Inc.
3068   Fall Out Boy                        Tiffany Blews                                           SR0000620008              UMG Recordings, Inc.
3069   Fall Out Boy                        w.a.m.s.                                                SR0000620008              UMG Recordings, Inc.
3070   Fall Out Boy                        West Coast Smoker                                       SR0000620008              UMG Recordings, Inc.
3071   Fall Out Boy                        What A Catch, Donnie                                    SR0000620003              UMG Recordings, Inc.
3072   Fall Out Boy                        Where Did The Party Go                                  SR0000720423              UMG Recordings, Inc.
3073   Fall Out Boy                        Young Volcanoes                                         SR0000720423              UMG Recordings, Inc.
3074   Far East Movement                   Like A G6                                               SR0000658290              UMG Recordings, Inc.
3075   Feist                               Gatekeeper                                              SR0000374394              UMG Recordings, Inc.
3076   Feist                               Inside And Out                                          SR0000374394              UMG Recordings, Inc.
3077   Feist                               Leisure Suite                                           SR0000374394              UMG Recordings, Inc.
3078   Feist                               Let It Die                                              SR0000374394              UMG Recordings, Inc.
3079   Feist                               Lonely Lonely                                           SR0000374394              UMG Recordings, Inc.
3080   Feist                               Mushaboom                                               SR0000388836              UMG Recordings, Inc.
3081   Feist                               Now At Last                                             SR0000374394              UMG Recordings, Inc.
3082   Feist                               One Evening                                             SR0000374394              UMG Recordings, Inc.
3083   Feist                               Secret Heart                                            SR0000374394              UMG Recordings, Inc.
3084   Feist                               Tout Doucement                                          SR0000374394              UMG Recordings, Inc.
3085   Feist                               When I Was A Young Girl                                 SR0000374394              UMG Recordings, Inc.
3086   Fergie                              All That I Got (The Make Up Song)                       SR0000393675              UMG Recordings, Inc.
3087   Fergie                              Barracuda                                               SR0000613597              UMG Recordings, Inc.
3088   Fergie                              Big Girls Don't Cry (Personal)                          SR0000393675              UMG Recordings, Inc.
3089   Fergie                              Clumsy                                                  SR0000393675              UMG Recordings, Inc.
3090   Fergie                              Fergalicious                                            SR0000393675              UMG Recordings, Inc.
3091   Fergie                              Finally                                                 SR0000393675              UMG Recordings, Inc.
3092   Fergie                              Glamorous                                               SR0000393675              UMG Recordings, Inc.
3093   Fergie                              Here I Come                                             SR0000393675              UMG Recordings, Inc.
3094   Fergie                              Labels Or Love                                          SR0000613598              UMG Recordings, Inc.
3095   Fergie                              London Bridge                                           SR0000399946              UMG Recordings, Inc.
3096   Fergie                              Losing My Ground                                        SR0000393675              UMG Recordings, Inc.
3097   Fergie                              Mary Jane Shoes                                         SR0000393675              UMG Recordings, Inc.




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3098   Fergie                              Pedestal                                                           SR0000393675             UMG Recordings, Inc.
3099   Fergie                              Velvet                                                             SR0000393675             UMG Recordings, Inc.
3100   Fergie                              Voodoo Doll                                                        SR0000393675             UMG Recordings, Inc.
3101   Florence + The Machine              Between Two Lungs                                                  SR0000645045             UMG Recordings, Inc.
3102   Florence + The Machine              Blinding                                                           SR0000645045             UMG Recordings, Inc.
3103   Florence + The Machine              Cosmic Love                                                        SR0000645045             UMG Recordings, Inc.
3104   Florence + The Machine              Dog Days Are Over                                                  SR0000645045             UMG Recordings, Inc.
3105   Florence + The Machine              Girl With One Eye                                                  SR0000645045             UMG Recordings, Inc.
3106   Florence + The Machine              Howl                                                               SR0000645045             UMG Recordings, Inc.
3107   Florence + The Machine              Hurricane Drunk                                                    SR0000645045             UMG Recordings, Inc.
3108   Florence + The Machine              I'm Not Calling You A Liar                                         SR0000645045             UMG Recordings, Inc.
3109   Florence + The Machine              My Boy Builds Coffins                                              SR0000645045             UMG Recordings, Inc.
3110   Florence + The Machine              Rabbit Heart (Raise It Up)                                         SR0000645045             UMG Recordings, Inc.
3111   Florence + The Machine              You've Got The Love                                                SR0000645045             UMG Recordings, Inc.
3112   Florida Georgia Line                Angel                                                              SR0000760519             UMG Recordings, Inc.
3113   Florida Georgia Line                Bumpin' The Night                                                  SR0000760522             UMG Recordings, Inc.
3114   Florida Georgia Line                Dirt                                                               SR0000760519             UMG Recordings, Inc.
3115   Frank Ocean                         Super Rich Kids                                                    SR0000704928             UMG Recordings, Inc.
3116   Frank Ocean                         Sweet Life                                                         SR0000704928             UMG Recordings, Inc.
3117   George Strait                       A Fire I Can't Put Out                                             SR0000213745             UMG Recordings, Inc.
3118   George Strait                       Ace In The Hole                                                    SR0000100975             UMG Recordings, Inc.
3119   George Strait                       Adalida                                                            SR0000278184             UMG Recordings, Inc.
3120   George Strait                       All My Ex's Live In Texas                                          SR0000358502             UMG Recordings, Inc.
3121   George Strait                       Am I Blue (Yes I'm Blue)                                           SR0000213745             UMG Recordings, Inc.
3122   George Strait                       Amarillo By Morning                                                SR0000213745             UMG Recordings, Inc.
3123   George Strait                       Baby Blue                                                          SR0000358502             UMG Recordings, Inc.
3124   George Strait                       Baby's Gotten Good At Goodbye                                      SR0000100975             UMG Recordings, Inc.
3125   George Strait                       Blue Clear Sky                                                     SR0000218886             UMG Recordings, Inc.
3126   George Strait                       Carried Away                                                       SR0000358502             UMG Recordings, Inc.
3127   George Strait                       Carrying Your Love With Me                                         SR0000358502             UMG Recordings, Inc.
3128   George Strait                       Check Yes Or No                                                    SR0000213745             UMG Recordings, Inc.
3129   George Strait                       Cowboys Like Us                                                    SR0000333733             UMG Recordings, Inc.
3130   George Strait                       Desperately                                                        SR0000334394             UMG Recordings, Inc.
3131   George Strait                       Does Fort Worth Ever Cross Your Mind                               SR0000213745             UMG Recordings, Inc.
3132   George Strait                       Don't Make Me Come Over There And Love You                         SR0000270094             UMG Recordings, Inc.
3133   George Strait                       Down And Out                                                       SR0000030829             UMG Recordings, Inc.
3134   George Strait                       Drinking Champagne                                                 SR0000213745             UMG Recordings, Inc.
3135   George Strait                       Easy Come, Easy Go                                                 SR0000213745             UMG Recordings, Inc.
3136   George Strait                       Famous Last Words Of A Fool                                        SR0000358502             UMG Recordings, Inc.
3137   George Strait                       Fool Hearted Memory                                                SR0000213745             UMG Recordings, Inc.
3138   George Strait                       Go On                                                              SR0000270094             UMG Recordings, Inc.
3139   George Strait                       Gone As A Girl Can Get                                             SR0000141229             UMG Recordings, Inc.
3140   George Strait                       Good News, Bad News                                                SR0000372131             UMG Recordings, Inc.
3141   George Strait                       Heartland                                                          SR0000213745             UMG Recordings, Inc.
3142   George Strait                       How 'Bout Them Cowgirls                                            SR0000398524             UMG Recordings, Inc.
3143   George Strait                       I Can Still Make Cheyenne                                          SR0000358502             UMG Recordings, Inc.
3144   George Strait                       I Cross My Heart                                                   SR0000213745             UMG Recordings, Inc.
3145   George Strait                       I Hate Everything                                                  SR0000358502             UMG Recordings, Inc.
3146   George Strait                       I Just Want To Dance With You                                      SR0000252101             UMG Recordings, Inc.
3147   George Strait                       I Know She Still Loves Me                                          SR0000358502             UMG Recordings, Inc.
3148   George Strait                       I'd Like To Have That One Back                                     SR0000178495             UMG Recordings, Inc.
3149   George Strait                       If I Know Me                                                       SR0000358502             UMG Recordings, Inc.
3150   George Strait                       If You Ain't Lovin' (You Ain't Livin')                             SR0000213745             UMG Recordings, Inc.
3151   George Strait                       If You Can Do Anything Else                                        SR0000270094             UMG Recordings, Inc.
3152   George Strait                       If You're Thinking You Want A Stranger (There's One Coming Home)   SR0000030829             UMG Recordings, Inc.
3153   George Strait                       It Ain't Cool To Be Crazy About You                                SR0000358502             UMG Recordings, Inc.
3154   George Strait                       I've Come To Expect It From You                                    SR0000358502             UMG Recordings, Inc.
3155   George Strait                       Lead On                                                            SR0000358502             UMG Recordings, Inc.
3156   George Strait                       Let's Fall To Pieces Together                                      SR0000358502             UMG Recordings, Inc.
3157   George Strait                       Living And Living Well                                             SR0000309691             UMG Recordings, Inc.
3158   George Strait                       Love Without End, Amen                                             SR0000358502             UMG Recordings, Inc.
3159   George Strait                       Marina Del Rey                                                     SR0000066434             UMG Recordings, Inc.
3160   George Strait                       Meanwhile                                                          SR0000263154             UMG Recordings, Inc.
3161   George Strait                       Nobody In His Right Mind Would've Left Her                         SR0000077926             UMG Recordings, Inc.
3162   George Strait                       Ocean Front Property                                               SR0000079124             UMG Recordings, Inc.
3163   George Strait                       One Night At A Time                                                SR0000358502             UMG Recordings, Inc.
3164   George Strait                       Overnight Success                                                  SR0000100975             UMG Recordings, Inc.
3165   George Strait                       Right Or Wrong                                                     SR0000358502             UMG Recordings, Inc.
3166   George Strait                       Round About Way                                                    SR0000358502             UMG Recordings, Inc.
3167   George Strait                       Run                                                                SR0000358502             UMG Recordings, Inc.
3168   George Strait                       She Let Herself Go                                                 SR0000372131             UMG Recordings, Inc.
3169   George Strait                       She'll Leave You With A Smile                                      SR0000358502             UMG Recordings, Inc.
3170   George Strait                       So Much Like My Dad                                                SR0000358502             UMG Recordings, Inc.
3171   George Strait                       The Best Day                                                       SR0000278800             UMG Recordings, Inc.
3172   George Strait                       The Big One                                                        SR0000358502             UMG Recordings, Inc.
3173   George Strait                       The Chair                                                          SR0000073980             UMG Recordings, Inc.
3174   George Strait                       The Chill Of An Early Fall                                         SR0000128640             UMG Recordings, Inc.
3175   George Strait                       The Cowboy Rides Away                                              SR0000213745             UMG Recordings, Inc.
3176   George Strait                       The Fireman                                                        SR0000213745             UMG Recordings, Inc.
3177   George Strait                       The Love Bug                                                       SR0000178495             UMG Recordings, Inc.
3178   George Strait                       The Man In Love With You                                           SR0000178495             UMG Recordings, Inc.
3179   George Strait                       The Seashores Of Old Mexico                                        SR0000372131             UMG Recordings, Inc.
3180   George Strait                       Today My World Slipped Away                                        SR0000278184             UMG Recordings, Inc.
3181   George Strait                       True                                                               SR0000252089             UMG Recordings, Inc.
3182   George Strait                       Unwound                                                            SR0000030829             UMG Recordings, Inc.
3183   George Strait                       We Really Shouldn't Be Doing This                                  SR0000278184             UMG Recordings, Inc.
3184   George Strait                       What Do You Say To That                                            SR0000263154             UMG Recordings, Inc.
3185   George Strait                       What's Going On In Your World                                      SR0000100975             UMG Recordings, Inc.
3186   George Strait                       When Did You Stop Loving Me                                        SR0000146421             UMG Recordings, Inc.
3187   George Strait                       Write This Down                                                    SR0000263154             UMG Recordings, Inc.
3188   George Strait                       You Can't Make A Heart Love Somebody                               SR0000200310             UMG Recordings, Inc.
3189   George Strait                       You Know Me Better Than That                                       SR0000213745             UMG Recordings, Inc.
3190   George Strait                       You Look So Good In Love                                           SR0000213745             UMG Recordings, Inc.
3191   George Strait                       You'll Be There                                                    SR0000376078             UMG Recordings, Inc.
3192   George Strait                       You're Something Special To Me                                     SR0000073980             UMG Recordings, Inc.
3193   Gotye                               Bronte                                                             SR0000692982             UMG Recordings, Inc.
3194   Gotye                               Don't Worry, We'll Be Watching You                                 SR0000692982             UMG Recordings, Inc.
3195   Gotye                               Easy Way Out                                                       SR0000692982             UMG Recordings, Inc.
3196   Gotye                               Eyes Wide Open                                                     SR0000692982             UMG Recordings, Inc.
3197   Gotye                               Giving Me A Chance                                                 SR0000692982             UMG Recordings, Inc.




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3198   Gotye                               I Feel Better                                     SR0000692982             UMG Recordings, Inc.
3199   Gotye                               In Your Light                                     SR0000692982             UMG Recordings, Inc.
3200   Gotye                               Making Mirrors                                    SR0000692982             UMG Recordings, Inc.
3201   Gotye                               Save Me                                           SR0000692982             UMG Recordings, Inc.
3202   Gotye                               Smoke And Mirrors                                 SR0000692982             UMG Recordings, Inc.
3203   Gotye                               Somebody That I Used To Know                      SR0000692982             UMG Recordings, Inc.
3204   Gotye                               State Of The Art                                  SR0000692982             UMG Recordings, Inc.
3205   Gwen Stefani                        4 In The Morning                                  SR0000400614             UMG Recordings, Inc.
3206   Gwen Stefani                        Breakin' Up                                       SR0000400614             UMG Recordings, Inc.
3207   Gwen Stefani                        Bubble Pop Electric                               SR0000364759             UMG Recordings, Inc.
3208   Gwen Stefani                        Cool                                              SR0000364759             UMG Recordings, Inc.
3209   Gwen Stefani                        Crash                                             SR0000364759             UMG Recordings, Inc.
3210   Gwen Stefani                        Danger Zone                                       SR0000364759             UMG Recordings, Inc.
3211   Gwen Stefani                        Don't Get It Twisted                              SR0000400614             UMG Recordings, Inc.
3212   Gwen Stefani                        Early Winter                                      SR0000400614             UMG Recordings, Inc.
3213   Gwen Stefani                        Fluorescent                                       SR0000400614             UMG Recordings, Inc.
3214   Gwen Stefani                        Harajuku Girls                                    SR0000364759             UMG Recordings, Inc.
3215   Gwen Stefani                        Hollaback Girl                                    SR0000364759             UMG Recordings, Inc.
3216   Gwen Stefani                        Long Way To Go                                    SR0000364759             UMG Recordings, Inc.
3217   Gwen Stefani                        Luxurious                                         SR0000364759             UMG Recordings, Inc.
3218   Gwen Stefani                        Now That You Got It                               SR0000400614             UMG Recordings, Inc.
3219   Gwen Stefani                        Orange County Girl                                SR0000400614             UMG Recordings, Inc.
3220   Gwen Stefani                        Rich Girl                                         SR0000364759             UMG Recordings, Inc.
3221   Gwen Stefani                        Serious                                           SR0000364759             UMG Recordings, Inc.
3222   Gwen Stefani                        The Real Thing                                    SR0000364759             UMG Recordings, Inc.
3223   Gwen Stefani                        The Sweet Escape                                  SR0000400614             UMG Recordings, Inc.
3224   Gwen Stefani                        U Started It                                      SR0000400614             UMG Recordings, Inc.
3225   Gwen Stefani                        What You Waiting For?                             SR0000364759             UMG Recordings, Inc.
3226   Gwen Stefani                        Wind It Up                                        SR0000400613             UMG Recordings, Inc.
3227   Gwen Stefani                        Yummy                                             SR0000400614             UMG Recordings, Inc.
3228   Hinder                              Bed Of Roses                                      SR0000617110             UMG Recordings, Inc.
3229   Hinder                              Better Than Me                                    SR0000379192             UMG Recordings, Inc.
3230   Hinder                              Bliss (I Don't Wanna Know)                        SR0000379192             UMG Recordings, Inc.
3231   Hinder                              Born To Be Wild                                   SR0000617110             UMG Recordings, Inc.
3232   Hinder                              By The Way                                        SR0000379192             UMG Recordings, Inc.
3233   Hinder                              Far From Home                                     SR0000622802             UMG Recordings, Inc.
3234   Hinder                              Get Stoned                                        SR0000379192             UMG Recordings, Inc.
3235   Hinder                              Heartless                                         SR0000619828             UMG Recordings, Inc.
3236   Hinder                              Heaven Sent                                       SR0000622802             UMG Recordings, Inc.
3237   Hinder                              Homecoming Queen                                  SR0000379192             UMG Recordings, Inc.
3238   Hinder                              How Long                                          SR0000379192             UMG Recordings, Inc.
3239   Hinder                              Last Kiss Goodbye                                 SR0000622802             UMG Recordings, Inc.
3240   Hinder                              Lips Of An Angel                                  SR0000379192             UMG Recordings, Inc.
3241   Hinder                              Live For Today                                    SR0000622802             UMG Recordings, Inc.
3242   Hinder                              Loaded and Alone                                  SR0000622802             UMG Recordings, Inc.
3243   Hinder                              Lost In The Sun                                   SR0000622802             UMG Recordings, Inc.
3244   Hinder                              Nothin' Good About Goodbye                        SR0000379192             UMG Recordings, Inc.
3245   Hinder                              One Night Stand                                   SR0000619828             UMG Recordings, Inc.
3246   Hinder                              Room 21                                           SR0000379192             UMG Recordings, Inc.
3247   Hinder                              Running In The Rain                               SR0000622802             UMG Recordings, Inc.
3248   Hinder                              Shoulda                                           SR0000379192             UMG Recordings, Inc.
3249   Hinder                              Take It To The Limit                              SR0000622802             UMG Recordings, Inc.
3250   Hinder                              Take Me Home Tonight                              SR0000617110             UMG Recordings, Inc.
3251   Hinder                              The Best is Yet to Come                           SR0000622802             UMG Recordings, Inc.
3252   Hinder                              Thing For You                                     SR0000622802             UMG Recordings, Inc.
3253   Hinder                              Thunderstruck                                     SR0000622802             UMG Recordings, Inc.
3254   Hinder                              Up All Night                                      SR0000619214             UMG Recordings, Inc.
3255   Hinder                              Use Me                                            SR0000614599             UMG Recordings, Inc.
3256   Hinder                              Without You                                       SR0000619215             UMG Recordings, Inc.
3257   Iggy Azalea                         Work                                              SR0000720743             UMG Recordings, Inc.
3258   Imagine Dragons                     America                                           SR0000717800             UMG Recordings, Inc.
3259   Imagine Dragons                     Demons                                            SR0000695196             UMG Recordings, Inc.
3260   Imagine Dragons                     Fallen                                            SR0000706680             UMG Recordings, Inc.
3261   Imagine Dragons                     Selene                                            SR0000707482             UMG Recordings, Inc.
3262   Imagine Dragons                     The River                                         SR0000707482             UMG Recordings, Inc.
3263   Imagine Dragons                     Working Man                                       SR0000706680             UMG Recordings, Inc.
3264   Jadakiss                            Air It Out                                        SR0000356267             UMG Recordings, Inc.
3265   Jadakiss                            Bring You Down                                    SR0000356267             UMG Recordings, Inc.
3266   Jadakiss                            Hot Sauce To Go                                   SR0000356267             UMG Recordings, Inc.
3267   Jadakiss                            I'm Goin Back                                     SR0000356267             UMG Recordings, Inc.
3268   Jadakiss                            Real Hip Hop                                      SR0000356267             UMG Recordings, Inc.
3269   Jadakiss                            Shine                                             SR0000356267             UMG Recordings, Inc.
3270   Jadakiss                            Still Feel Me                                     SR0000356267             UMG Recordings, Inc.
3271   Jadakiss                            Welcome To D-Block                                SR0000356267             UMG Recordings, Inc.
3272   James Blake                         Give Me My Month                                  SR0000673339             UMG Recordings, Inc.
3273   James Blake                         I Mind                                            SR0000673339             UMG Recordings, Inc.
3274   James Blake                         I Never Learnt To Share                           SR0000673339             UMG Recordings, Inc.
3275   James Blake                         Limit To Your Love                                SR0000673339             UMG Recordings, Inc.
3276   James Blake                         Lindisfarne II                                    SR0000673339             UMG Recordings, Inc.
3277   James Blake                         Measurements                                      SR0000673339             UMG Recordings, Inc.
3278   James Blake                         To Care (Like You)                                SR0000673339             UMG Recordings, Inc.
3279   James Blake                         Unluck                                            SR0000673339             UMG Recordings, Inc.
3280   James Blake                         Why Don't You Call Me?                            SR0000673339             UMG Recordings, Inc.
3281   JAY Z                               Gotta Have It                                     SR0000683714             UMG Recordings, Inc.
3282   JAY Z                               Made In America                                   SR0000683714             UMG Recordings, Inc.
3283   JAY Z                               Murder To Excellence                              SR0000683714             UMG Recordings, Inc.
3284   JAY Z                               New Day                                           SR0000683714             UMG Recordings, Inc.
3285   JAY Z                               Ni**as In Paris                                   SR0000683714             UMG Recordings, Inc.
3286   JAY Z                               No Church In The Wild                             SR0000683714             UMG Recordings, Inc.
3287   JAY Z                               Otis                                              SR0000683713             UMG Recordings, Inc.
3288   JAY Z                               That's My Bitch                                   SR0000683714             UMG Recordings, Inc.
3289   JAY Z                               Welcome To The Jungle                             SR0000683714             UMG Recordings, Inc.
3290   JAY Z                               Who Gon Stop Me                                   SR0000683714             UMG Recordings, Inc.
3291   JAY Z                               Why I Love You                                    SR0000683714             UMG Recordings, Inc.
3292   JAY-Z                               Renegade                                          SR0000305948             UMG Recordings, Inc.
3293   Jennifer Lopez                      I'm Into You                                      SR0000751797             UMG Recordings, Inc.
3294   Jeremih                             Down On Me                                        SR0000664544             UMG Recordings, Inc.
3295   Jimmy Eat World                     Drugs Or Me                                       SR0000366508             UMG Recordings, Inc.
3296   Jimmy Eat World                     Futures                                           SR0000366508             UMG Recordings, Inc.
3297   Jimmy Eat World                     Just Tonight                                      SR0000366508             UMG Recordings, Inc.




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                         Artist                                                     Track                Registration Number                  Plaintiff
3298   Jimmy Eat World                     Kill                                                       SR0000366508             UMG Recordings, Inc.
3299   Jimmy Eat World                     Night Drive                                                SR0000366508             UMG Recordings, Inc.
3300   Jimmy Eat World                     Nothing Wrong                                              SR0000366508             UMG Recordings, Inc.
3301   Jimmy Eat World                     Polaris                                                    SR0000366508             UMG Recordings, Inc.
3302   Jimmy Eat World                     The World You Love                                         SR0000366508             UMG Recordings, Inc.
3303   Josh Turner                         All Over Me                                                SR0000645586             UMG Recordings, Inc.
3304   Josh Turner                         Angels Fall Sometimes                                      SR0000386947             UMG Recordings, Inc.
3305   Josh Turner                         Another Try                                                SR0000615283             UMG Recordings, Inc.
3306   Josh Turner                         As Fast As I Could                                         SR0000645586             UMG Recordings, Inc.
3307   Josh Turner                         Baby, I Go Crazy                                           SR0000621056             UMG Recordings, Inc.
3308   Josh Turner                         Baby's Gone Home To Mama                                   SR0000386947             UMG Recordings, Inc.
3309   Josh Turner                         Everything Is Fine                                         SR0000621055             UMG Recordings, Inc.
3310   Josh Turner                         Eye Candy                                                  SR0000645586             UMG Recordings, Inc.
3311   Josh Turner                         Firecracker                                                SR0000621055             UMG Recordings, Inc.
3312   Josh Turner                         Friday Paycheck                                            SR0000645586             UMG Recordings, Inc.
3313   Josh Turner                         Gravity                                                    SR0000381628             UMG Recordings, Inc.
3314   Josh Turner                         Haywire                                                    SR0000645586             UMG Recordings, Inc.
3315   Josh Turner                         I Wouldn't Be A Man                                        SR0000645586             UMG Recordings, Inc.
3316   Josh Turner                         I'll Be There                                              SR0000645586             UMG Recordings, Inc.
3317   Josh Turner                         Let's Find A Church                                        SR0000645586             UMG Recordings, Inc.
3318   Josh Turner                         Lord Have Mercy On A Country Boy                           SR0000386947             UMG Recordings, Inc.
3319   Josh Turner                         Loretta Lynn's Lincoln                                     SR0000386947             UMG Recordings, Inc.
3320   Josh Turner                         Lovin' You On My Mind                                      SR0000645586             UMG Recordings, Inc.
3321   Josh Turner                         Me And God                                                 SR0000386947             UMG Recordings, Inc.
3322   Josh Turner                         No Rush                                                    SR0000386947             UMG Recordings, Inc.
3323   Josh Turner                         Nowhere Fast                                               SR0000621055             UMG Recordings, Inc.
3324   Josh Turner                         One Woman Man                                              SR0000621055             UMG Recordings, Inc.
3325   Josh Turner                         So Not My Baby                                             SR0000621055             UMG Recordings, Inc.
3326   Josh Turner                         Soulmate                                                   SR0000621055             UMG Recordings, Inc.
3327   Josh Turner                         South Carolina Low Country                                 SR0000621055             UMG Recordings, Inc.
3328   Josh Turner                         The Answer                                                 SR0000645586             UMG Recordings, Inc.
3329   Josh Turner                         The Longer The Waiting                                     SR0000621055             UMG Recordings, Inc.
3330   Josh Turner                         The Way He Was Raised                                      SR0000621055             UMG Recordings, Inc.
3331   Josh Turner                         This Kind Of Love                                          SR0000645586             UMG Recordings, Inc.
3332   Josh Turner                         Trailerhood                                                SR0000621055             UMG Recordings, Inc.
3333   Josh Turner                         Way Down South                                             SR0000386947             UMG Recordings, Inc.
3334   Josh Turner                         White Noise                                                SR0000386947             UMG Recordings, Inc.
3335   Josh Turner                         Why Don't We Just Dance                                    SR0000635058             UMG Recordings, Inc.
3336   Josh Turner                         Would You Go With Me                                       SR0000615305             UMG Recordings, Inc.
3337   Josh Turner                         Your Man                                                   SR0000386947             UMG Recordings, Inc.
3338   Josh Turner                         Your Smile                                                 SR0000645586             UMG Recordings, Inc.
3339   Justin Bieber                       All Around The World                                       SR0000705166             UMG Recordings, Inc.
3340   Justin Bieber                       As Long As You Love Me                                     SR0000710074             UMG Recordings, Inc.
3341   Justin Bieber                       Be Alright                                                 SR0000710074             UMG Recordings, Inc.
3342   Justin Bieber                       Beauty And A Beat                                          SR0000710074             UMG Recordings, Inc.
3343   Justin Bieber                       Catching Feelings                                          SR0000710074             UMG Recordings, Inc.
3344   Justin Bieber                       Die In Your Arms                                           SR0000705165             UMG Recordings, Inc.
3345   Justin Bieber                       Fall                                                       SR0000710074             UMG Recordings, Inc.
3346   Justin Bieber                       Maria                                                      SR0000710074             UMG Recordings, Inc.
3347   Justin Bieber                       One Love                                                   SR0000710074             UMG Recordings, Inc.
3348   Justin Bieber                       Out Of Town Girl                                           SR0000710074             UMG Recordings, Inc.
3349   Justin Bieber                       Right Here                                                 SR0000710074             UMG Recordings, Inc.
3350   Justin Bieber                       She Don't Like The Lights                                  SR0000710074             UMG Recordings, Inc.
3351   Justin Bieber                       Take You                                                   SR0000710074             UMG Recordings, Inc.
3352   Justin Bieber                       Thought Of You                                             SR0000710074             UMG Recordings, Inc.
3353   K Camp                              Cut Her Off                                                SR0000741940             UMG Recordings, Inc.
3354   Kanye West                          Bad News                                                   SR0000620203             UMG Recordings, Inc.
3355   Kanye West                          Barry Bonds                                                SR0000615020             UMG Recordings, Inc.
3356   Kanye West                          Big Brother                                                SR0000615020             UMG Recordings, Inc.
3357   Kanye West                          Bittersweet Poetry                                         SR0000614872             UMG Recordings, Inc.
3358   Kanye West                          Breathe In Breathe Out                                     SR0000347391             UMG Recordings, Inc.
3359   Kanye West                          Champion                                                   SR0000615020             UMG Recordings, Inc.
3360   Kanye West                          Clique                                                     SR0000763373             UMG Recordings, Inc.
3361   Kanye West                          Cold.1                                                     SR0000683430             UMG Recordings, Inc.
3362   Kanye West                          Coldest Winter                                             SR0000620203             UMG Recordings, Inc.
3363   Kanye West                          Don't Like.1                                               SR0000683430             UMG Recordings, Inc.
3364   Kanye West                          Drunk And Hot Girls                                        SR0000615020             UMG Recordings, Inc.
3365   Kanye West                          Everything I Am                                            SR0000615020             UMG Recordings, Inc.
3366   Kanye West                          Get Em High                                                SR0000347391             UMG Recordings, Inc.
3367   Kanye West                          Good Morning                                               SR0000615020             UMG Recordings, Inc.
3368   Kanye West                          Graduation Day                                             SR0000347391             UMG Recordings, Inc.
3369   Kanye West                          I Wonder                                                   SR0000615020             UMG Recordings, Inc.
3370   Kanye West                          I'll Fly Away                                              SR0000347391             UMG Recordings, Inc.
3371   Kanye West                          Last Call                                                  SR0000347391             UMG Recordings, Inc.
3372   Kanye West                          Lil Jimmy Skit                                             SR0000347391             UMG Recordings, Inc.
3373   Kanye West                          Mercy                                                      SR0000699408             UMG Recordings, Inc.
3374   Kanye West                          Mercy.1                                                    SR0000763373             UMG Recordings, Inc.
3375   Kanye West                          Monster                                                    SR0000683430             UMG Recordings, Inc.
3376   Kanye West                          Never Let Me Down                                          SR0000347391             UMG Recordings, Inc.
3377   Kanye West                          New God Flow.1                                             SR0000683430             UMG Recordings, Inc.
3378   Kanye West                          Pinocchio Story (Freestyle Live From Singapore)            SR0000620203             UMG Recordings, Inc.
3379   Kanye West                          Runaway                                                    SR0000683430             UMG Recordings, Inc.
3380   Kanye West                          Say You Will                                               SR0000620203             UMG Recordings, Inc.
3381   Kanye West                          School Spirit                                              SR0000347391             UMG Recordings, Inc.
3382   Kanye West                          School Spirit Skit 1                                       SR0000347391             UMG Recordings, Inc.
3383   Kanye West                          See You In My Nightmares                                   SR0000620203             UMG Recordings, Inc.
3384   Kanye West                          Spaceship                                                  SR0000347391             UMG Recordings, Inc.
3385   Kanye West                          Street Lights                                              SR0000620203             UMG Recordings, Inc.
3386   Kanye West                          Stronger                                                   SR0000615019             UMG Recordings, Inc.
3387   Kanye West                          The Glory                                                  SR0000615020             UMG Recordings, Inc.
3388   Kanye West                          The One                                                    SR0000763373             UMG Recordings, Inc.
3389   Kanye West                          To The World                                               SR0000763373             UMG Recordings, Inc.
3390   Kanye West                          Two Words                                                  SR0000347391             UMG Recordings, Inc.
3391   Kanye West                          Way Too Cold                                               SR0000699415             UMG Recordings, Inc.
3392   Kanye West                          We Don't Care                                              SR0000347391             UMG Recordings, Inc.
3393   Kanye West                          Workout Plan                                               SR0000347391             UMG Recordings, Inc.
3394   Keane                               Snowed Under                                               SR0000637459             UMG Recordings, Inc.
3395   Keane                               Somewhere Only We Know                                     SR0000355429             UMG Recordings, Inc.
3396   Keane                               Walnut Tree                                                SR0000737377             UMG Recordings, Inc.
3397   Kelly Rowland                       Heaven & Earth                                             SR0000681564             UMG Recordings, Inc.




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                        Artist                                                       Track               Registration Number                  Plaintiff
3398   Kelly Rowland                       Motivation                                                 SR0000677261             UMG Recordings, Inc.
3399   Keri Hilson                         Alienated                                                  SR0000629123             UMG Recordings, Inc.
3400   Keri Hilson                         Change Me                                                  SR0000629123             UMG Recordings, Inc.
3401   Keri Hilson                         Energy                                                     SR0000612858             UMG Recordings, Inc.
3402   Keri Hilson                         Get Your Money Up                                          SR0000629123             UMG Recordings, Inc.
3403   Keri Hilson                         How Does It Feel                                           SR0000629123             UMG Recordings, Inc.
3404   Keri Hilson                         Intro                                                      SR0000629123             UMG Recordings, Inc.
3405   Keri Hilson                         Intuition                                                  SR0000629123             UMG Recordings, Inc.
3406   Keri Hilson                         Knock You Down                                             SR0000629123             UMG Recordings, Inc.
3407   Keri Hilson                         Make Love                                                  SR0000629123             UMG Recordings, Inc.
3408   Keri Hilson                         Return The Favor                                           SR0000619820             UMG Recordings, Inc.
3409   Keri Hilson                         Slow Dance                                                 SR0000629123             UMG Recordings, Inc.
3410   Keri Hilson                         Tell Him The Truth                                         SR0000629123             UMG Recordings, Inc.
3411   Keri Hilson                         Turnin Me On                                               SR0000621818             UMG Recordings, Inc.
3412   Keri Hilson                         Where Did He Go                                            SR0000629123             UMG Recordings, Inc.
3413   Kid Cudi                            Alive (Nightmare)                                          SR0000637865             UMG Recordings, Inc.
3414   Kid Cudi                            All Along                                                  SR0000696989             UMG Recordings, Inc.
3415   Kid Cudi                            Ashin' Kusher                                              SR0000696989             UMG Recordings, Inc.
3416   Kid Cudi                            Creepers                                                   SR0000763372             UMG Recordings, Inc.
3417   Kid Cudi                            Cudi Zone                                                  SR0000637865             UMG Recordings, Inc.
3418   Kid Cudi                            Day 'N' Nite                                               SR0000641952             UMG Recordings, Inc.
3419   Kid Cudi                            Day 'N' Nite (Nightmare)                                   SR0000637865             UMG Recordings, Inc.
3420   Kid Cudi                            Don't Play This Song                                       SR0000696989             UMG Recordings, Inc.
3421   Kid Cudi                            Enter Galactic (Love Connection Part I)                    SR0000637865             UMG Recordings, Inc.
3422   Kid Cudi                            GHOST!                                                     SR0000696989             UMG Recordings, Inc.
3423   Kid Cudi                            Heart Of A Lion (Kid Cudi Theme Music)                     SR0000637865             UMG Recordings, Inc.
3424   Kid Cudi                            Hyyerr                                                     SR0000637865             UMG Recordings, Inc.
3425   Kid Cudi                            In My Dreams (Cudder Anthem)                               SR0000637865             UMG Recordings, Inc.
3426   Kid Cudi                            Is There Any Love                                          SR0000637865             UMG Recordings, Inc.
3427   Kid Cudi                            Make Her Say                                               SR0000641951             UMG Recordings, Inc.
3428   Kid Cudi                            MANIAC                                                     SR0000696989             UMG Recordings, Inc.
3429   Kid Cudi                            Marijuana                                                  SR0000696989             UMG Recordings, Inc.
3430   Kid Cudi                            Mojo So Dope                                               SR0000696989             UMG Recordings, Inc.
3431   Kid Cudi                            Mr. Rager                                                  SR0000695775             UMG Recordings, Inc.
3432   Kid Cudi                            My World                                                   SR0000637865             UMG Recordings, Inc.
3433   Kid Cudi                            Pursuit Of Happiness                                       SR0000637865             UMG Recordings, Inc.
3434   Kid Cudi                            Revolution (Revofev)                                       SR0000696989             UMG Recordings, Inc.
3435   Kid Cudi                            Scott Mescudi Vs. The World                                SR0000696989             UMG Recordings, Inc.
3436   Kid Cudi                            Simple As...                                               SR0000637865             UMG Recordings, Inc.
3437   Kid Cudi                            Sky Might Fall                                             SR0000637865             UMG Recordings, Inc.
3438   Kid Cudi                            Solo Dolo (nightmare)                                      SR0000637865             UMG Recordings, Inc.
3439   Kid Cudi                            Soundtrack 2 My Life                                       SR0000637865             UMG Recordings, Inc.
3440   Kid Cudi                            T.G.I.F.                                                   SR0000637865             UMG Recordings, Inc.
3441   Kid Cudi                            The End                                                    SR0000696989             UMG Recordings, Inc.
3442   Kid Cudi                            The Mood                                                   SR0000696989             UMG Recordings, Inc.
3443   Kid Cudi                            These Worries                                              SR0000696989             UMG Recordings, Inc.
3444   Kid Cudi                            Trapped In My Mind                                         SR0000696989             UMG Recordings, Inc.
3445   Kid Cudi                            Up Up & Away                                               SR0000637865             UMG Recordings, Inc.
3446   Kid Cudi                            We Aite (Wake Your Mind Up)                                SR0000696989             UMG Recordings, Inc.
3447   Kid Cudi                            Wyld'n Cuz I'm Young                                       SR0000696989             UMG Recordings, Inc.
3448   Lady Gaga                           Alejandro                                                  SR0000642917             UMG Recordings, Inc.
3449   Lady Gaga                           Bad Romance                                                SR0000642919             UMG Recordings, Inc.
3450   Lady Gaga                           Beautiful, Dirty, Rich                                     SR0000617842             UMG Recordings, Inc.
3451   Lady Gaga                           Born This Way                                              SR0000671815             UMG Recordings, Inc.
3452   Lady Gaga                           Brown Eyes                                                 SR0000617841             UMG Recordings, Inc.
3453   Lady Gaga                           Christmas Tree                                             SR0000621816             UMG Recordings, Inc.
3454   Lady Gaga                           Dance In The Dark                                          SR0000642917             UMG Recordings, Inc.
3455   Lady Gaga                           Disco Heaven                                               SR0000619254             UMG Recordings, Inc.
3456   Lady Gaga                           Eh, Eh (Nothing Else I Can Say)                            SR0000617841             UMG Recordings, Inc.
3457   Lady Gaga                           Fashion                                                    SR0000737557             UMG Recordings, Inc.
3458   Lady Gaga                           I Like It Rough                                            SR0000617841             UMG Recordings, Inc.
3459   Lady Gaga                           Just Dance                                                 SR0000613221             UMG Recordings, Inc.
3460   Lady Gaga                           LoveGame                                                   SR0000617841             UMG Recordings, Inc.
3461   Lady Gaga                           Money Honey                                                SR0000617841             UMG Recordings, Inc.
3462   Lady Gaga                           Monster                                                    SR0000642917             UMG Recordings, Inc.
3463   Lady Gaga                           Paparazzi                                                  SR0000617841             UMG Recordings, Inc.
3464   Lady Gaga                           Paper Gangsta                                              SR0000617841             UMG Recordings, Inc.
3465   Lady Gaga                           Poker Face                                                 SR0000617843             UMG Recordings, Inc.
3466   Lady Gaga                           So Happy I Could Die                                       SR0000642917             UMG Recordings, Inc.
3467   Lady Gaga                           Speechless                                                 SR0000642917             UMG Recordings, Inc.
3468   Lady Gaga                           Starstruck                                                 SR0000617841             UMG Recordings, Inc.
3469   Lady Gaga                           Summerboy                                                  SR0000617841             UMG Recordings, Inc.
3470   Lady Gaga                           Teeth                                                      SR0000642917             UMG Recordings, Inc.
3471   Lady Gaga                           Telephone                                                  SR0000642917             UMG Recordings, Inc.
3472   Lady Gaga                           The Fame                                                   SR0000617841             UMG Recordings, Inc.
3473   Lady Gaga                           You And I                                                  SR0000678406             UMG Recordings, Inc.
3474   Lana Del Rey                        American                                                   SR0000712342             UMG Recordings, Inc.
3475   Lana Del Rey                        Bel Air                                                    SR0000712342             UMG Recordings, Inc.
3476   Lana Del Rey                        Blue Velvet                                                SR0000712342             UMG Recordings, Inc.
3477   Lana Del Rey                        Body Electric                                              SR0000712342             UMG Recordings, Inc.
3478   Lana Del Rey                        Burning Desire                                             SR0000711860             UMG Recordings, Inc.
3479   Lana Del Rey                        Cola                                                       SR0000712342             UMG Recordings, Inc.
3480   Lana Del Rey                        Gods & Monsters                                            SR0000712342;            UMG Recordings, Inc.
                                                                                                      SR0000412525
3481   Lana Del Rey                        Ride                                                       SR0000711860             UMG Recordings, Inc.
3482   Lana Del Rey                        Yayo                                                       SR0000712342             UMG Recordings, Inc.
3483   Ledisi                              BGTY                                                       SR0000678487             UMG Recordings, Inc.
3484   Ledisi                              Bravo                                                      SR0000678487             UMG Recordings, Inc.
3485   Ledisi                              Coffee                                                     SR0000678487             UMG Recordings, Inc.
3486   Ledisi                              Hate Me                                                    SR0000678487             UMG Recordings, Inc.
3487   Ledisi                              I Gotta Get To You                                         SR0000678487             UMG Recordings, Inc.
3488   Ledisi                              I Miss You Now                                             SR0000678487             UMG Recordings, Inc.
3489   Ledisi                              Pieces Of Me                                               SR0000678490             UMG Recordings, Inc.
3490   Ledisi                              Raise Up                                                   SR0000678487             UMG Recordings, Inc.
3491   Ledisi                              Shine                                                      SR0000678487             UMG Recordings, Inc.
3492   Ledisi                              Shut Up                                                    SR0000678487             UMG Recordings, Inc.
3493   Ledisi                              So Into You                                                SR0000678487             UMG Recordings, Inc.
3494   Ledisi                              Stay Together                                              SR0000678487             UMG Recordings, Inc.
3495   Lee Ann Womack                      After I Fall                                               SR0000281198             UMG Recordings, Inc.
3496   Lee Ann Womack                      Ashes By Now                                               SR0000281198             UMG Recordings, Inc.




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                         Artist                                                   Track               Registration Number                  Plaintiff
3497   Lee Ann Womack                      Does My Ring Burn Your Finger                           SR0000281198             UMG Recordings, Inc.
3498   Lee Ann Womack                      I Feel Like I'm Forgetting Something                    SR0000281198             UMG Recordings, Inc.
3499   Lee Ann Womack                      I Hope You Dance                                        SR0000281261             UMG Recordings, Inc.
3500   Lee Ann Womack                      I Know Why The River Runs                               SR0000281261             UMG Recordings, Inc.
3501   Lee Ann Womack                      Lonely Too                                              SR0000281198             UMG Recordings, Inc.
3502   Lee Ann Womack                      Lord I Hope This Day Is Good                            SR0000281198             UMG Recordings, Inc.
3503   Lee Ann Womack                      Stronger Than I Am                                      SR0000281198             UMG Recordings, Inc.
3504   Lee Ann Womack                      The Healing Kind                                        SR0000281261             UMG Recordings, Inc.
3505   Lee Ann Womack                      Thinkin' With My Heart Again                            SR0000281198             UMG Recordings, Inc.
3506   Lee Ann Womack                      Why They Call It Falling                                SR0000281198             UMG Recordings, Inc.
3507   Lifehouse                           All In All                                              SR0000370643             UMG Recordings, Inc.
3508   Lifehouse                           Am I Ever Gonna Find Out                                SR0000321812             UMG Recordings, Inc.
3509   Lifehouse                           Anchor                                                  SR0000321812             UMG Recordings, Inc.
3510   Lifehouse                           Better Luck Next Time                                   SR0000370643             UMG Recordings, Inc.
3511   Lifehouse                           Breathing                                               SR0000289389             UMG Recordings, Inc.
3512   Lifehouse                           Chapter One                                             SR0000370643             UMG Recordings, Inc.
3513   Lifehouse                           Cling And Clatter                                       SR0000289389             UMG Recordings, Inc.
3514   Lifehouse                           Come Back Down                                          SR0000370643             UMG Recordings, Inc.
3515   Lifehouse                           Days Go By                                              SR0000370643             UMG Recordings, Inc.
3516   Lifehouse                           Empty Space                                             SR0000321812             UMG Recordings, Inc.
3517   Lifehouse                           Everything                                              SR0000289389             UMG Recordings, Inc.
3518   Lifehouse                           How Long                                                SR0000321812             UMG Recordings, Inc.
3519   Lifehouse                           Into The Sun                                            SR0000370643             UMG Recordings, Inc.
3520   Lifehouse                           Just Another Name                                       SR0000321812             UMG Recordings, Inc.
3521   Lifehouse                           My Precious                                             SR0000321812             UMG Recordings, Inc.
3522   Lifehouse                           Only One                                                SR0000289389             UMG Recordings, Inc.
3523   Lifehouse                           Out Of Breath                                           SR0000321812             UMG Recordings, Inc.
3524   Lifehouse                           Quasimodo                                               SR0000289389             UMG Recordings, Inc.
3525   Lifehouse                           Sick Cycle Carousel                                     SR0000289389             UMG Recordings, Inc.
3526   Lifehouse                           Simon                                                   SR0000289389             UMG Recordings, Inc.
3527   Lifehouse                           Sky Is Falling                                          SR0000321812             UMG Recordings, Inc.
3528   Lifehouse                           Someone Else's Song                                     SR0000289389             UMG Recordings, Inc.
3529   Lifehouse                           Somewhere In Between                                    SR0000289389             UMG Recordings, Inc.
3530   Lifehouse                           Spin                                                    SR0000321812             UMG Recordings, Inc.
3531   Lifehouse                           Stanley Climbfall                                       SR0000321812             UMG Recordings, Inc.
3532   Lifehouse                           Take Me Away                                            SR0000321812             UMG Recordings, Inc.
3533   Lifehouse                           The Beginning                                           SR0000321812             UMG Recordings, Inc.
3534   Lifehouse                           The End Has Only Begun                                  SR0000370643             UMG Recordings, Inc.
3535   Lifehouse                           Trying                                                  SR0000289389             UMG Recordings, Inc.
3536   Lifehouse                           Undone                                                  SR0000370643             UMG Recordings, Inc.
3537   Lifehouse                           Unknown                                                 SR0000289389             UMG Recordings, Inc.
3538   Lifehouse                           Walking Away                                            SR0000370643             UMG Recordings, Inc.
3539   Lifehouse                           Wash                                                    SR0000321812             UMG Recordings, Inc.
3540   Lifehouse                           We'll Never Know                                        SR0000370643             UMG Recordings, Inc.
3541   Little Big Town                     Pontoon                                                 SR0000709014             UMG Recordings, Inc.
3542   Lloyd                               Certified                                               SR0000391940             UMG Recordings, Inc.
3543   Lloyd                               Get It Shawty                                           SR0000391940             UMG Recordings, Inc.
3544   Lloyd                               Hazel                                                   SR0000391940             UMG Recordings, Inc.
3545   Lloyd                               I Don't Mind                                            SR0000391940             UMG Recordings, Inc.
3546   Lloyd                               I Want You                                              SR0000391940             UMG Recordings, Inc.
3547   Lloyd                               Incredible                                              SR0000391940             UMG Recordings, Inc.
3548   Lloyd                               Killing Me                                              SR0000391940             UMG Recordings, Inc.
3549   Lloyd                               Lloyd (Intro)                                           SR0000391940             UMG Recordings, Inc.
3550   Lloyd                               One For Me                                              SR0000391940             UMG Recordings, Inc.
3551   Lloyd                               Player's Prayer                                         SR0000391940             UMG Recordings, Inc.
3552   Lloyd                               StreetLove                                              SR0000391940             UMG Recordings, Inc.
3553   Lloyd                               Take You Home                                           SR0000391940             UMG Recordings, Inc.
3554   Lloyd                               Valentine                                               SR0000391940             UMG Recordings, Inc.
3555   Lloyd                               What You Wanna Do                                       SR0000391940             UMG Recordings, Inc.
3556   Lloyd                               You (Edited)                                            SR0000391940             UMG Recordings, Inc.
3557   LMFAO                               I'm In Miami Bitch                                      SR0000621810             UMG Recordings, Inc.
3558   LMFAO                               Reminds Me Of You                                       SR0000678646             UMG Recordings, Inc.
3559   LMFAO                               Take It To The Hole                                     SR0000678646             UMG Recordings, Inc.
3560   LMFAO                               We Came Here To Party                                   SR0000678646             UMG Recordings, Inc.
3561   Lorde                               Biting Down                                             SR0000724529             UMG Recordings, Inc.
3562   Lorde                               Bravado                                                 SR0000724529             UMG Recordings, Inc.
3563   Lorde                               Million Dollar Bills                                    SR0000724529             UMG Recordings, Inc.
3564   Lorde                               No Better                                               SR0000736121             UMG Recordings, Inc.
3565   Lorde                               Royals                                                  SR0000724529             UMG Recordings, Inc.
3566   Lorde                               Swingin Party                                           SR0000726964             UMG Recordings, Inc.
3567   Lorde                               The Love Club                                           SR0000724529             UMG Recordings, Inc.
3568   M.I.A.                              Attention                                               SR0000736308             UMG Recordings, Inc.
3569   M.I.A.                              Bad Girls                                               SR0000698452             UMG Recordings, Inc.
3570   M.I.A.                              Boom Skit                                               SR0000736308             UMG Recordings, Inc.
3571   M.I.A.                              Come Walk With Me                                       SR0000736307             UMG Recordings, Inc.
3572   M.I.A.                              Double Bubble Trouble                                   SR0000736308             UMG Recordings, Inc.
3573   M.I.A.                              Karmageddon                                             SR0000736308             UMG Recordings, Inc.
3574   M.I.A.                              Know It Ain't Right                                     SR0000736308             UMG Recordings, Inc.
3575   M.I.A.                              Lights                                                  SR0000736308             UMG Recordings, Inc.
3576   M.I.A.                              MATANGI                                                 SR0000736308             UMG Recordings, Inc.
3577   M.I.A.                              Only 1                                                  SR0000736308             UMG Recordings, Inc.
3578   M.I.A.                              Refugee-In-Tent                                         SR0000736308             UMG Recordings, Inc.
3579   M.I.A.                              Sexodus                                                 SR0000736308             UMG Recordings, Inc.
3580   M.I.A.                              Sexodus (Hitboy Version)                                SR0000736308             UMG Recordings, Inc.
3581   M.I.A.                              Warriors                                                SR0000736308             UMG Recordings, Inc.
3582   M.I.A.                              Y.A.L.A.                                                SR0000736309             UMG Recordings, Inc.
3583   Macy Gray                           Everybody                                               SR0000395382             UMG Recordings, Inc.
3584   Macy Gray                           Get Out                                                 SR0000395382             UMG Recordings, Inc.
3585   Macy Gray                           Glad You're Here                                        SR0000395382             UMG Recordings, Inc.
3586   Macy Gray                           Okay                                                    SR0000395382             UMG Recordings, Inc.
3587   Macy Gray                           One For Me                                              SR0000395382             UMG Recordings, Inc.
3588   Macy Gray                           Slowly                                                  SR0000395382             UMG Recordings, Inc.
3589   Macy Gray                           Strange Behavior                                        SR0000395382             UMG Recordings, Inc.
3590   Macy Gray                           Treat Me Like Your Money                                SR0000395382             UMG Recordings, Inc.
3591   Macy Gray                           What I Gotta Do                                         SR0000395382             UMG Recordings, Inc.
3592   Mariah Carey                        #Beautiful                                              SR0000750755             UMG Recordings, Inc.
3593   Mariah Carey                        Touch My Body                                           SR0000612879             UMG Recordings, Inc.
3594   Maroon 5                            Beautiful Goodbye                                       SR0000705167             UMG Recordings, Inc.
3595   Maroon 5                            Daylight                                                SR0000705167             UMG Recordings, Inc.
3596   Maroon 5                            Doin' Dirt                                              SR0000705167             UMG Recordings, Inc.




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                       Artist                                                      Track                Registration Number                  Plaintiff
3597   Maroon 5                            Figure It Out                                            SR0000627938              UMG Recordings, Inc.
3598   Maroon 5                            Fortune Teller                                           SR0000705167              UMG Recordings, Inc.
3599   Maroon 5                            Harder To Breathe                                        SR0000357928              UMG Recordings, Inc.
3600   Maroon 5                            Hello                                                    SR0000393024              UMG Recordings, Inc.
3601   Maroon 5                            Kiss                                                     SR0000705167              UMG Recordings, Inc.
3602   Maroon 5                            Ladykiller                                               SR0000705167              UMG Recordings, Inc.
3603   Maroon 5                            Love Somebody                                            SR0000705167              UMG Recordings, Inc.
3604   Maroon 5                            Lucky Strike                                             SR0000705167              UMG Recordings, Inc.
3605   Maroon 5                            Miss You Love You                                        SR0000627938              UMG Recordings, Inc.
3606   Maroon 5                            Moves Like Jagger                                        SR0000680542              UMG Recordings, Inc.
3607   Maroon 5                            Must Get Out                                             SR0000357928              UMG Recordings, Inc.
3608   Maroon 5                            Must Get Out (Live)                                      SR0000393024              UMG Recordings, Inc.
3609   Maroon 5                            Not Coming Home                                          SR0000357928              UMG Recordings, Inc.
3610   Maroon 5                            Not Coming Home (Live)                                   SR0000393024              UMG Recordings, Inc.
3611   Maroon 5                            One More Night (Sticky K Remix)                          SR0000703878              UMG Recordings, Inc.
3612   Maroon 5                            Payphone                                                 SR0000705168              UMG Recordings, Inc.
3613   Maroon 5                            Rag Doll                                                 SR0000702833              UMG Recordings, Inc.
3614   Maroon 5                            Sad                                                      SR0000705167              UMG Recordings, Inc.
3615   Maroon 5                            Secret                                                   SR0000357928              UMG Recordings, Inc.
3616   Maroon 5                            Secret/Ain't No Sunshine                                 SR0000393024              UMG Recordings, Inc.
3617   Maroon 5                            She Will Be Loved                                        SR0000674174              UMG Recordings, Inc.
3618   Maroon 5                            Shiver                                                   SR0000357928              UMG Recordings, Inc.
3619   Maroon 5                            Sunday Morning                                           SR0000357928              UMG Recordings, Inc.
3620   Maroon 5                            Sweetest Goodbye                                         SR0000357928              UMG Recordings, Inc.
3621   Maroon 5                            Sweetest Goodbye (Live)                                  SR0000393024              UMG Recordings, Inc.
3622   Maroon 5                            Tangled                                                  SR0000357928              UMG Recordings, Inc.
3623   Maroon 5                            The Man Who Never Lied                                   SR0000705167              UMG Recordings, Inc.
3624   Maroon 5                            The Sun                                                  SR0000357928              UMG Recordings, Inc.
3625   Maroon 5                            This Love                                                SR0000348508              UMG Recordings, Inc.
3626   Maroon 5                            Through With You                                         SR0000357928              UMG Recordings, Inc.
3627   Maroon 5                            Through With You (Live)                                  SR0000393024              UMG Recordings, Inc.
3628   Maroon 5                            Tickets                                                  SR0000705167              UMG Recordings, Inc.
3629   Maroon 5                            Wasted Years                                             SR0000705167              UMG Recordings, Inc.
3630   Maroon 5                            Wipe Your Eyes                                           SR0000705167              UMG Recordings, Inc.
3631   Marvin Gaye                         Anger                                                    SR0000005020              UMG Recordings, Inc.
3632   Marvin Gaye                         Come Get To This                                         N08961; RE0000860289      UMG Recordings, Inc.
3633   Marvin Gaye                         Ego Tripping Out                                         SR0000012844              UMG Recordings, Inc.
3634   Marvin Gaye                         Got To Give It Up                                        N42204                    UMG Recordings, Inc.
3635   Marvin Gaye                         Praise                                                   SR0000024441              UMG Recordings, Inc.
3636   Marvin Gaye                         You're The Man - Pts. I & II                             N03735; RE0000852280      UMG Recordings, Inc.
3637   Mary J. Blige                       Someone To Love Me (Naked)                               SR0000676435              UMG Recordings, Inc.
3638   Nelly                               Just A Dream                                             SR0000662586              UMG Recordings, Inc.
3639   Nelly Furtado                       Afraid                                                   SR0000387509              UMG Recordings, Inc.
3640   Nelly Furtado                       All Good Things                                          SR0000387509              UMG Recordings, Inc.
3641   Nelly Furtado                       Do It                                                    SR0000387509              UMG Recordings, Inc.
3642   Nelly Furtado                       Maneater                                                 SR0000387509              UMG Recordings, Inc.
3643   Nelly Furtado                       No Hay Igual                                             SR0000387509              UMG Recordings, Inc.
3644   Nelly Furtado                       Promiscuous                                              SR0000391617              UMG Recordings, Inc.
3645   Nelly Furtado                       Say It Right                                             SR0000387509              UMG Recordings, Inc.
3646   Nelly Furtado                       Showtime                                                 SR0000387509              UMG Recordings, Inc.
3647   Nelly Furtado                       Somebody To Love                                         SR0000387509              UMG Recordings, Inc.
3648   Nelly Furtado                       Te Busqué                                                SR0000387509              UMG Recordings, Inc.
3649   Nelly Furtado                       Wait For You                                             SR0000387509              UMG Recordings, Inc.
3650   Nelly Furtado                       What I Wanted                                            SR0000387509              UMG Recordings, Inc.
3651   Neon Trees                          Sleeping With A Friend                                   SR0000737412              UMG Recordings, Inc.
3652   Ne-Yo                               Addicted                                                 SR0000394385              UMG Recordings, Inc.
3653   Ne-Yo                               Ain't Thinking About You                                 SR0000394385              UMG Recordings, Inc.
3654   Ne-Yo                               Angel                                                    SR0000668445              UMG Recordings, Inc.
3655   Ne-Yo                               Because Of You                                           SR0000394385              UMG Recordings, Inc.
3656   Ne-Yo                               Can We Chill                                             SR0000394385              UMG Recordings, Inc.
3657   Ne-Yo                               Crazy                                                    SR0000394385              UMG Recordings, Inc.
3658   Ne-Yo                               Do You                                                   SR0000394385              UMG Recordings, Inc.
3659   Ne-Yo                               Go On Girl                                               SR0000394385              UMG Recordings, Inc.
3660   Ne-Yo                               Leaving Tonight                                          SR0000394385              UMG Recordings, Inc.
3661   Ne-Yo                               Let Me Love You (Until You Learn To Love Yourself)       SR0000705073              UMG Recordings, Inc.
3662   Ne-Yo                               Make It Work                                             SR0000394385              UMG Recordings, Inc.
3663   Ne-Yo                               Say It                                                   SR0000394385              UMG Recordings, Inc.
3664   Ne-Yo                               Sex With My Ex                                           SR0000394385              UMG Recordings, Inc.
3665   Nirvana                             About A Girl                                             SR0000320325              UMG Recordings, Inc.
3666   Nirvana                             All Apologies                                            SR0000178690              UMG Recordings, Inc.
3667   Nirvana                             Been A Son                                               SR0000148333              UMG Recordings, Inc.
3668   Nirvana                             Come As You Are                                          SR0000178690              UMG Recordings, Inc.
3669   Nirvana                             Heart Shaped Box                                         SR0000172276              UMG Recordings, Inc.
3670   Nirvana                             Lithium                                                  SR0000135335              UMG Recordings, Inc.
3671   Nirvana                             Pennyroyal Tea                                           SR0000172276              UMG Recordings, Inc.
3672   Nirvana                             Rape Me                                                  SR0000172276              UMG Recordings, Inc.
3673   Nirvana                             Sliver                                                   SR0000148333              UMG Recordings, Inc.
3674   Nirvana                             Smells Like Teen Spirit                                  SR0000134601              UMG Recordings, Inc.
3675   Nirvana                             The Man Who Sold The World (Live, MTV Unplugged)         SR0000178690              UMG Recordings, Inc.
3676   Nirvana                             You Know You're Right                                    SR0000320325              UMG Recordings, Inc.
3677   No Doubt                            Settle Down                                              SR0000708747              UMG Recordings, Inc.
3678   Obie Trice                          Adrenaline Rush (Explicit)                               SR0000322706              UMG Recordings, Inc.
3679   Obie Trice                          Average Man                                              SR0000341637              UMG Recordings, Inc.
3680   Obie Trice                          Bad Bitch                                                SR0000341637              UMG Recordings, Inc.
3681   Obie Trice                          Cheers                                                   SR0000341637              UMG Recordings, Inc.
3682   Obie Trice                          Don't Come Down (Explicit)                               SR0000341637              UMG Recordings, Inc.
3683   Obie Trice                          Follow My Life                                           SR0000341637              UMG Recordings, Inc.
3684   Obie Trice                          Got Some Teeth (Explicit)                                SR0000341637              UMG Recordings, Inc.
3685   Obie Trice                          Hands On You                                             SR0000341637              UMG Recordings, Inc.
3686   Obie Trice                          Hoodrats                                                 SR0000341637              UMG Recordings, Inc.
3687   Obie Trice                          Lady                                                     SR0000341637              UMG Recordings, Inc.
3688   Obie Trice                          Look In My Eyes                                          SR0000341637              UMG Recordings, Inc.
3689   Obie Trice                          Never Forget Ya                                          SR0000341637              UMG Recordings, Inc.
3690   Obie Trice                          Oh!                                                      SR0000341637              UMG Recordings, Inc.
3691   Obie Trice                          Outro (Obie Trice/ Cheers)                               SR0000341637              UMG Recordings, Inc.
3692   Obie Trice                          Rap Name                                                 SR0000322706              UMG Recordings, Inc.
3693   Obie Trice                          Shit Hits The Fan                                        SR0000341637              UMG Recordings, Inc.
3694   Obie Trice                          Spread Yo Shit                                           SR0000341637              UMG Recordings, Inc.
3695   Obie Trice                          The Setup                                                SR0000339737              UMG Recordings, Inc.
3696   Obie Trice                          We All Die One Day                                       SR0000341637              UMG Recordings, Inc.




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                             Artist                                                Track               Registration Number                  Plaintiff
3697   Of Monsters and Men                 Little Talks                                             SR0000694984             UMG Recordings, Inc.
3698   Of Monsters and Men                 Your Bones                                               SR0000698589             UMG Recordings, Inc.
3699   OneRepublic                         All Fall Down                                            SR0000614111             UMG Recordings, Inc.
3700   OneRepublic                         All We Are                                               SR0000614111             UMG Recordings, Inc.
3701   OneRepublic                         Come Home                                                SR0000632435             UMG Recordings, Inc.
3702   OneRepublic                         Goodbye, Apathy                                          SR0000614111             UMG Recordings, Inc.
3703   OneRepublic                         Prodigal                                                 SR0000614111             UMG Recordings, Inc.
3704   OneRepublic                         Someone To Save You                                      SR0000614111             UMG Recordings, Inc.
3705   OneRepublic                         Stop And Stare                                           SR0000614111             UMG Recordings, Inc.
3706   OneRepublic                         Won't Stop                                               SR0000614111             UMG Recordings, Inc.
3707   Phillip Phillips                    A Fool's Dance                                           SR0000712841             UMG Recordings, Inc.
3708   Phillip Phillips                    Can't Go Wrong                                           SR0000712841             UMG Recordings, Inc.
3709   Phillip Phillips                    Drive Me                                                 SR0000712841             UMG Recordings, Inc.
3710   Phillip Phillips                    Get Up Get Down                                          SR0000712841             UMG Recordings, Inc.
3711   Phillip Phillips                    Gone, Gone, Gone                                         SR0000712841             UMG Recordings, Inc.
3712   Phillip Phillips                    Hazel                                                    SR0000712841             UMG Recordings, Inc.
3713   Phillip Phillips                    Hold On                                                  SR0000712841             UMG Recordings, Inc.
3714   Phillip Phillips                    Home                                                     SR0000712859             UMG Recordings, Inc.
3715   Phillip Phillips                    Man On The Moon                                          SR0000712841             UMG Recordings, Inc.
3716   Phillip Phillips                    So Easy                                                  SR0000712841             UMG Recordings, Inc.
3717   Phillip Phillips                    Tell Me A Story                                          SR0000712841             UMG Recordings, Inc.
3718   Phillip Phillips                    Wanted Is Love                                           SR0000712841             UMG Recordings, Inc.
3719   Phillip Phillips                    Where We Came From                                       SR0000712860             UMG Recordings, Inc.
3720   Phillip Phillips                    Wicked Game                                              SR0000712841             UMG Recordings, Inc.
3721   Pusha T                             New God Flow                                             SR0000703870             UMG Recordings, Inc.
3722   Rick Ross                           911                                                      SR0000706411             UMG Recordings, Inc.
3723   Rick Ross                           9 Piece                                                  SR0000677844             UMG Recordings, Inc.
3724   Rick Ross                           All I Have In This World                                 SR0000642144             UMG Recordings, Inc.
3725   Rick Ross                           All I Really Want                                        SR0000631749             UMG Recordings, Inc.
3726   Rick Ross                           Billionaire                                              SR0000642144             UMG Recordings, Inc.
3727   Rick Ross                           Cross That Line                                          SR0000394154             UMG Recordings, Inc.
3728   Rick Ross                           DJ Khaled Interlude                                      SR0000642144             UMG Recordings, Inc.
3729   Rick Ross                           Here I Am                                                SR0000627325             UMG Recordings, Inc.
3730   Rick Ross                           Hustlin'                                                 SR0000387156             UMG Recordings, Inc.
3731   Rick Ross                           Ice Cold                                                 SR0000706411             UMG Recordings, Inc.
3732   Rick Ross                           I'm Only Human                                           SR0000642144             UMG Recordings, Inc.
3733   Rick Ross                           Luxury Tax                                               SR0000642144             UMG Recordings, Inc.
3734   Rick Ross                           Mafia Music                                              SR0000631748             UMG Recordings, Inc.
3735   Rick Ross                           Magnificent                                              SR0000631747             UMG Recordings, Inc.
3736   Rick Ross                           Maybach Music                                            SR0000642144             UMG Recordings, Inc.
3737   Rick Ross                           Money Make Me Come                                       SR0000642144             UMG Recordings, Inc.
3738   Rick Ross                           Push It                                                  SR0000394154             UMG Recordings, Inc.
3739   Rick Ross                           Reppin My City                                           SR0000642144             UMG Recordings, Inc.
3740   Rick Ross                           Speedin'                                                 SR0000627979             UMG Recordings, Inc.
3741   Rick Ross                           Street Life                                              SR0000394154             UMG Recordings, Inc.
3742   Rick Ross                           The Boss                                                 SR0000642192             UMG Recordings, Inc.
3743   Rick Ross                           This Is The Life                                         SR0000642144             UMG Recordings, Inc.
3744   Rick Ross                           This Me                                                  SR0000642144             UMG Recordings, Inc.
3745   Rick Ross                           Trilla Intro                                             SR0000642144             UMG Recordings, Inc.
3746   Rick Ross                           Triple Beam Dream                                        SR0000706411             UMG Recordings, Inc.
3747   Rick Ross                           We Shinin'                                               SR0000642144             UMG Recordings, Inc.
3748   Rick Ross                           You The Boss                                             SR0000689369             UMG Recordings, Inc.
3749   Rihanna                             A Girl Like Me                                           SR0000387137             UMG Recordings, Inc.
3750   Rihanna                             A Million Miles Away                                     SR0000387137             UMG Recordings, Inc.
3751   Rihanna                             Birthday Cake                                            SR0000689431             UMG Recordings, Inc.
3752   Rihanna                             Break It Off                                             SR0000387137             UMG Recordings, Inc.
3753   Rihanna                             Cockiness (Love It)                                      SR0000689431             UMG Recordings, Inc.
3754   Rihanna                             Crazy Little Thing Called Love                           SR0000387137             UMG Recordings, Inc.
3755   Rihanna                             Dem Haters                                               SR0000387137             UMG Recordings, Inc.
3756   Rihanna                             Disturbia                                                SR0000616718             UMG Recordings, Inc.
3757   Rihanna                             Do Ya Thang                                              SR0000689431             UMG Recordings, Inc.
3758   Rihanna                             Don't Stop The Music                                     SR0000411459             UMG Recordings, Inc.
3759   Rihanna                             Drunk On Love                                            SR0000689431             UMG Recordings, Inc.
3760   Rihanna                             Farewell                                                 SR0000689431             UMG Recordings, Inc.
3761   Rihanna                             Final Goodbye                                            SR0000387137             UMG Recordings, Inc.
3762   Rihanna                             Fool In Love                                             SR0000689431             UMG Recordings, Inc.
3763   Rihanna                             Haunted                                                  SR0000629434             UMG Recordings, Inc.
3764   Rihanna                             Here I Go Again                                          SR0000372611             UMG Recordings, Inc.
3765   Rihanna                             If It's Lovin' That You Want - Part 2                    SR0000387137             UMG Recordings, Inc.
3766   Rihanna                             Kisses Don't Lie                                         SR0000387137             UMG Recordings, Inc.
3767   Rihanna                             Let Me                                                   SR0000372611             UMG Recordings, Inc.
3768   Rihanna                             Music Of The Sun                                         SR0000372611             UMG Recordings, Inc.
3769   Rihanna                             Now I Know                                               SR0000372611             UMG Recordings, Inc.
3770   Rihanna                             Only Girl (In The World)                                 SR0000669316             UMG Recordings, Inc.
3771   Rihanna                             P.S. (I'm Still Not Over You)                            SR0000387137             UMG Recordings, Inc.
3772   Rihanna                             Pon de Replay                                            SR0000378134             UMG Recordings, Inc.
3773   Rihanna                             Rehab                                                    SR0000635072             UMG Recordings, Inc.
3774   Rihanna                             Roc Me Out                                               SR0000689431             UMG Recordings, Inc.
3775   Rihanna                             Rude Boy                                                 SR0000644571             UMG Recordings, Inc.
3776   Rihanna                             Rush                                                     SR0000372611             UMG Recordings, Inc.
3777   Rihanna                             S&M                                                      SR0000684805             UMG Recordings, Inc.
3778   Rihanna                             Selfish Girl                                             SR0000387137             UMG Recordings, Inc.
3779   Rihanna                             Shut Up and Drive                                        SR0000411459             UMG Recordings, Inc.
3780   Rihanna                             SOS                                                      SR0000385674             UMG Recordings, Inc.
3781   Rihanna                             Take A Bow                                               SR0000616719             UMG Recordings, Inc.
3782   Rihanna                             Talk That Talk                                           SR0000689431             UMG Recordings, Inc.
3783   Rihanna                             That La, La, La                                          SR0000372611             UMG Recordings, Inc.
3784   Rihanna                             The Last Time                                            SR0000372611             UMG Recordings, Inc.
3785   Rihanna                             There's A Thug In My Life                                SR0000372611             UMG Recordings, Inc.
3786   Rihanna                             Umbrella                                                 SR0000615487             UMG Recordings, Inc.
3787   Rihanna                             Unfaithful                                               SR0000387137             UMG Recordings, Inc.
3788   Rihanna                             Watch N Learn                                            SR0000689431             UMG Recordings, Inc.
3789   Rihanna                             We All Want Love                                         SR0000689431             UMG Recordings, Inc.
3790   Rihanna                             We Found Love                                            SR0000684805             UMG Recordings, Inc.
3791   Rihanna                             We Ride                                                  SR0000387137             UMG Recordings, Inc.
3792   Rihanna                             What's My Name?                                          SR0000669319             UMG Recordings, Inc.
3793   Rihanna                             Where Have You Been                                      SR0000689431             UMG Recordings, Inc.
3794   Rihanna                             Willing To Wait                                          SR0000372611             UMG Recordings, Inc.
3795   Rihanna                             You Da One                                               SR0000689433             UMG Recordings, Inc.
3796   Rihanna                             You Don't Love Me (No, No, No)                           SR0000372611             UMG Recordings, Inc.




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                         Artist                                                  Track               Registration Number                  Plaintiff
3797   Rise Against                        A Gentlemen's Coup                                     SR0000671827             UMG Recordings, Inc.
3798   Rise Against                        Architects                                             SR0000671826             UMG Recordings, Inc.
3799   Rise Against                        Audience Of One                                        SR0000617587             UMG Recordings, Inc.
3800   Rise Against                        Broken Mirrors                                         SR0000671827             UMG Recordings, Inc.
3801   Rise Against                        Collapse (Post-Amerika)                                SR0000617587             UMG Recordings, Inc.
3802   Rise Against                        Disparity By Design                                    SR0000671827             UMG Recordings, Inc.
3803   Rise Against                        Endgame                                                SR0000671827             UMG Recordings, Inc.
3804   Rise Against                        Entertainment                                          SR0000617587             UMG Recordings, Inc.
3805   Rise Against                        From Heads Unworthy                                    SR0000617587             UMG Recordings, Inc.
3806   Rise Against                        Hairline Fracture                                      SR0000617587             UMG Recordings, Inc.
3807   Rise Against                        Help Is On The Way                                     SR0000671825             UMG Recordings, Inc.
3808   Rise Against                        Hero Of War                                            SR0000617587             UMG Recordings, Inc.
3809   Rise Against                        Kotov Syndrome                                         SR0000617587             UMG Recordings, Inc.
3810   Rise Against                        Long Forgotten Sons                                    SR0000617587             UMG Recordings, Inc.
3811   Rise Against                        Make It Stop (September's Children)                    SR0000671827             UMG Recordings, Inc.
3812   Rise Against                        Midnight Hands                                         SR0000671827             UMG Recordings, Inc.
3813   Rise Against                        Re-Education (Through Labor)                           SR0000617586             UMG Recordings, Inc.
3814   Rise Against                        Satellite                                              SR0000671827             UMG Recordings, Inc.
3815   Rise Against                        Savior                                                 SR0000617587             UMG Recordings, Inc.
3816   Rise Against                        Survivor Guilt                                         SR0000671827             UMG Recordings, Inc.
3817   Rise Against                        The Dirt Whispered                                     SR0000617587             UMG Recordings, Inc.
3818   Rise Against                        The Strength To Go On                                  SR0000617587             UMG Recordings, Inc.
3819   Rise Against                        This Is Letting Go                                     SR0000671827             UMG Recordings, Inc.
3820   Rise Against                        Wait For Me                                            SR0000671827             UMG Recordings, Inc.
3821   Rise Against                        Whereabouts Unknown                                    SR0000617587             UMG Recordings, Inc.
3822   Robin Thicke                        Cry No More                                            SR0000617389             UMG Recordings, Inc.
3823   Robin Thicke                        Dreamworld                                             SR0000617389             UMG Recordings, Inc.
3824   Robin Thicke                        Ebb and Flow                                           SR0000618754             UMG Recordings, Inc.
3825   Robin Thicke                        Everybody's a Star                                     SR0000618754             UMG Recordings, Inc.
3826   Robin Thicke                        Hard On My Love                                        SR0000617389             UMG Recordings, Inc.
3827   Robin Thicke                        I'm Coming Home                                        SR0000618754             UMG Recordings, Inc.
3828   Robin Thicke                        Lost Without U                                         SR0000398513             UMG Recordings, Inc.
3829   Robin Thicke                        Loverman                                               SR0000617389             UMG Recordings, Inc.
3830   Robin Thicke                        Magic                                                  SR0000622566             UMG Recordings, Inc.
3831   Robin Thicke                        Magic Touch                                            SR0000618707             UMG Recordings, Inc.
3832   Robin Thicke                        Ms. Harmony                                            SR0000617389             UMG Recordings, Inc.
3833   Robin Thicke                        Sex Therapy                                            SR0000644567             UMG Recordings, Inc.
3834   Robin Thicke                        Shadow of Doubt                                        SR0000617389             UMG Recordings, Inc.
3835   Robin Thicke                        Sidestep                                               SR0000617389             UMG Recordings, Inc.
3836   Robin Thicke                        Something Else                                         SR0000617389             UMG Recordings, Inc.
3837   Robin Thicke                        The Sweetest Love                                      SR0000617386             UMG Recordings, Inc.
3838   Robin Thicke                        Tie My Hands                                           SR0000617389             UMG Recordings, Inc.
3839   Robin Thicke                        You're My Baby                                         SR0000617389             UMG Recordings, Inc.
3840   Saving Abel                         18 Days                                                SR0000639174             UMG Recordings, Inc.
3841   Saving Abel                         Addicted                                               SR0000639174             UMG Recordings, Inc.
3842   Saving Abel                         Beautiful Day                                          SR0000639174             UMG Recordings, Inc.
3843   Saving Abel                         Beautiful You                                          SR0000639174             UMG Recordings, Inc.
3844   Saving Abel                         Drowning (Face Down)                                   SR0000639174             UMG Recordings, Inc.
3845   Saving Abel                         In God's Eyes                                          SR0000639174             UMG Recordings, Inc.
3846   Saving Abel                         New Tatoo                                              SR0000639174             UMG Recordings, Inc.
3847   Saving Abel                         Out Of My Face                                         SR0000639174             UMG Recordings, Inc.
3848   Saving Abel                         Running From You                                       SR0000639174             UMG Recordings, Inc.
3849   Saving Abel                         Sailed Away                                            SR0000639174             UMG Recordings, Inc.
3850   Saving Abel                         She Got Over Me                                        SR0000639174             UMG Recordings, Inc.
3851   Schoolboy Q                         Man Of The Year                                        SR0000733738             UMG Recordings, Inc.
3852   Schoolboy Q                         Studio                                                 SR0000740379             UMG Recordings, Inc.
3853   Scissor Sisters                     Better Luck Next Time                                  SR0000355220             UMG Recordings, Inc.
3854   Scissor Sisters                     Filthy/Gorgeous                                        SR0000355220             UMG Recordings, Inc.
3855   Scissor Sisters                     It Can't Come Quickly Enough                           SR0000355220             UMG Recordings, Inc.
3856   Scissor Sisters                     Laura                                                  SR0000355220             UMG Recordings, Inc.
3857   Scissor Sisters                     Lovers In The Backseat                                 SR0000355220             UMG Recordings, Inc.
3858   Scissor Sisters                     Mary                                                   SR0000355220             UMG Recordings, Inc.
3859   Scissor Sisters                     Music Is The Victim                                    SR0000355220             UMG Recordings, Inc.
3860   Scissor Sisters                     Return To Oz                                           SR0000355220             UMG Recordings, Inc.
3861   Scissor Sisters                     Take Your Mama                                         SR0000355220             UMG Recordings, Inc.
3862   Scissor Sisters                     Tits On The Radio                                      SR0000355220             UMG Recordings, Inc.
3863   Scotty McCreery                     Before Midnight                                        SR0000735611             UMG Recordings, Inc.
3864   Scotty McCreery                     Blue Jean Baby                                         SR0000735611             UMG Recordings, Inc.
3865   Scotty McCreery                     Buzzin'                                                SR0000735611             UMG Recordings, Inc.
3866   Scotty McCreery                     Can You Feel It                                        SR0000735611             UMG Recordings, Inc.
3867   Scotty McCreery                     Carolina Eyes                                          SR0000735611             UMG Recordings, Inc.
3868   Scotty McCreery                     Carolina Moon                                          SR0000735611             UMG Recordings, Inc.
3869   Scotty McCreery                     Feel Good Summer Song                                  SR0000735611             UMG Recordings, Inc.
3870   Scotty McCreery                     Feelin' It                                             SR0000735611             UMG Recordings, Inc.
3871   Scotty McCreery                     Forget To Forget You                                   SR0000735611             UMG Recordings, Inc.
3872   Scotty McCreery                     Get Gone With You                                      SR0000735611             UMG Recordings, Inc.
3873   Scotty McCreery                     I Don't Wanna Be Your Friend                           SR0000735611             UMG Recordings, Inc.
3874   Scotty McCreery                     Roll Your Window Down                                  SR0000735611             UMG Recordings, Inc.
3875   Scotty McCreery                     See You Tonight                                        SR0000735611             UMG Recordings, Inc.
3876   Scotty McCreery                     Something More                                         SR0000735611             UMG Recordings, Inc.
3877   Scotty McCreery                     The Dash                                               SR0000735611             UMG Recordings, Inc.
3878   Snow Patrol                         Disaster Button                                        SR0000618124             UMG Recordings, Inc.
3879   Snow Patrol                         Engines                                                SR0000618124             UMG Recordings, Inc.
3880   Snow Patrol                         If There's a Rocket Tie Me To It                       SR0000618124             UMG Recordings, Inc.
3881   Snow Patrol                         Lifeboats                                              SR0000618124             UMG Recordings, Inc.
3882   Snow Patrol                         Please Just Take These Photos From My Hands            SR0000618124             UMG Recordings, Inc.
3883   Snow Patrol                         Set Down Your Glass                                    SR0000618124             UMG Recordings, Inc.
3884   Snow Patrol                         The Golden Floor                                       SR0000618124             UMG Recordings, Inc.
3885   Snow Patrol                         The Planets Bend Between Us                            SR0000618124             UMG Recordings, Inc.
3886   Sting                               Brand New Day                                          SR0000271015             UMG Recordings, Inc.
3887   Sting                               Desert Rose                                            SR0000271015             UMG Recordings, Inc.
3888   Sting                               Englishman In New York                                 SR0000658285             UMG Recordings, Inc.
3889   Sting                               Fields Of Gold                                         SR0000174453             UMG Recordings, Inc.
3890   Sting                               Fragile                                                SR0000085672             UMG Recordings, Inc.
3891   Sting                               If I Ever Lose My Faith In You                         SR0000175546             UMG Recordings, Inc.
3892   Sting                               If You Love Somebody Set Them Free                     SR0000063226             UMG Recordings, Inc.
3893   Sting                               Seven Days                                             SR0000174453             UMG Recordings, Inc.
3894   Sting                               When We Dance                                          SR0000658285             UMG Recordings, Inc.
3895   Taio Cruz                           Higher                                                 SR0000670292             UMG Recordings, Inc.
3896   The Band Perry                      Double Heart                                           SR0000664551             UMG Recordings, Inc.




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                            Artist                                                Track                  Registration Number                    Plaintiff
3897   The Band Perry                      Hip To My Heart                                            SR0000637103             UMG Recordings, Inc.
3898   The Band Perry                      If I Die Young                                             SR0000653353             UMG Recordings, Inc.
3899   The Band Perry                      Independence                                               SR0000664551             UMG Recordings, Inc.
3900   The Band Perry                      Lasso                                                      SR0000664551             UMG Recordings, Inc.
3901   The Band Perry                      Miss You Being Gone                                        SR0000664551             UMG Recordings, Inc.
3902   The Band Perry                      Walk Me Down the Middle                                    SR0000664551             UMG Recordings, Inc.
3903   The Band Perry                      You Lie                                                    SR0000664551             UMG Recordings, Inc.
3904   The Band Perry                      All Your Life                                              SR0000653353             UMG Recordings, Inc.
3905   The Band Perry                      Postcard From Paris                                        SR0000653353             UMG Recordings, Inc.
3906   The Band Perry                      Quittin? You                                               SR0000653353             UMG Recordings, Inc.
3907   The Police                          Can't Stand Losing You                                     SR0000006942             UMG Recordings, Inc.
3908   The Police                          De Do Do Do, De Da Da Da                                   SR0000021466             UMG Recordings, Inc.
3909   The Police                          Every Little Thing She Does Is Magic                       SR0000030222             UMG Recordings, Inc.
3910   The Police                          Message In A Bottle                                        SR0000013166             UMG Recordings, Inc.
3911   The Police                          Roxanne                                                    SR0000004190             UMG Recordings, Inc.
3912   The Police                          So Lonely                                                  SR0000006942             UMG Recordings, Inc.
3913   The Pussycat Dolls                  Stickwitu                                                  SR0000377102             UMG Recordings, Inc.
3914   Timbaland                           Apologize                                                  SR0000623039             UMG Recordings, Inc.
3915   Timbaland                           Can You Feel It                                            SR0000636223             UMG Recordings, Inc.
3916   Timbaland                           Carry Out                                                  SR0000636223             UMG Recordings, Inc.
3917   Timbaland                           Ease Off The Liquor                                        SR0000636223             UMG Recordings, Inc.
3918   Timbaland                           If We Ever Meet Again                                      SR0000636223             UMG Recordings, Inc.
3919   Timbaland                           Intro By DJ Felli Fel                                      SR0000636223             UMG Recordings, Inc.
3920   Timbaland                           Long Way Down                                              SR0000636223             UMG Recordings, Inc.
3921   Timbaland                           Lose Control                                               SR0000636223             UMG Recordings, Inc.
3922   Timbaland                           Meet In Tha Middle                                         SR0000636223             UMG Recordings, Inc.
3923   Timbaland                           Morning After Dark                                         SR0000636224             UMG Recordings, Inc.
3924   Timbaland                           Say Something                                              SR0000636225             UMG Recordings, Inc.
3925   Timbaland                           Symphony                                                   SR0000636223             UMG Recordings, Inc.
3926   Timbaland                           The One I Love                                             SR0000636223             UMG Recordings, Inc.
3927   Timbaland                           Timothy Where You Been                                     SR0000636223             UMG Recordings, Inc.
3928   Timbaland                           Tomorrow In The Bottle                                     SR0000636223             UMG Recordings, Inc.
3929   Timbaland                           Undertow                                                   SR0000636223             UMG Recordings, Inc.
3930   Timbaland                           We Belong To The Music                                     SR0000636223             UMG Recordings, Inc.
3931   Toby Keith                          Beer For My Horses                                         SR0000307469             UMG Recordings, Inc.
3932   Toby Keith                          Country Comes To Town                                      SR0000278495             UMG Recordings, Inc.
3933   Toby Keith                          Courtesy Of The Red, White And Blue (The Angry American)   SR0000307469             UMG Recordings, Inc.
3934   Toby Keith                          Go With Her                                                SR0000363112             UMG Recordings, Inc.
3935   Toby Keith                          How Do You Like Me Now?!                                   SR0000278495             UMG Recordings, Inc.
3936   Toby Keith                          I Wanna Talk About Me                                      SR0000301479             UMG Recordings, Inc.
3937   Toby Keith                          I'm Just Talkin' About Tonight                             SR0000301479             UMG Recordings, Inc.
3938   Toby Keith                          Mockingbird                                                SR0000363112             UMG Recordings, Inc.
3939   Toby Keith                          Should've Been A Cowboy                                    SR0000152653             UMG Recordings, Inc.
3940   Toby Keith                          Stays In Mexico                                            SR0000363112             UMG Recordings, Inc.
3941   Toby Keith                          Who's Your Daddy?                                          SR0000307469             UMG Recordings, Inc.
3942   Toby Keith                          You Ain't Much Fun                                         SR0000363112             UMG Recordings, Inc.
3943   Toby Keith                          You Shouldn't Kiss Me Like This                            SR0000278495             UMG Recordings, Inc.
3944   Warren G                            Do You See                                                 SR0000629800             UMG Recordings, Inc.
3945   Warren G                            Gangsta Sermon                                             SR0000629800             UMG Recordings, Inc.
3946   Warren G                            Recognize                                                  SR0000629800             UMG Recordings, Inc.
3947   Warren G                            Regulate                                                   SR0000629800             UMG Recordings, Inc.
3948   Warren G                            Super Soul Sis                                             SR0000629800             UMG Recordings, Inc.
3949   Warren G                            This D.J.                                                  SR0000629800             UMG Recordings, Inc.
3950   Warren G                            What's Next                                                SR0000629800             UMG Recordings, Inc.
3951   Weezer                              Buddy Holly                                                SR0000187644             UMG Recordings, Inc.
3952   Weezer                              Holiday                                                    SR0000350888             UMG Recordings, Inc.
3953   Weezer                              In The Garage                                              SR0000187644             UMG Recordings, Inc.
3954   Weezer                              My Name Is Jonas                                           SR0000350888             UMG Recordings, Inc.
3955   Weezer                              No One Else                                                SR0000187644             UMG Recordings, Inc.
3956   Weezer                              Only In Dreams                                             SR0000350888             UMG Recordings, Inc.
3957   Weezer                              Say It Ain't So                                            SR0000187644             UMG Recordings, Inc.
3958   Weezer                              Surf Wax America                                           SR0000187644             UMG Recordings, Inc.
3959   Weezer                              The World Has Turned And Left Me Here                      SR0000187644             UMG Recordings, Inc.
3960   Weezer                              Undone -- The Sweater Song                                 SR0000187644             UMG Recordings, Inc.
3961   YG                                  Who Do You Love?                                           SR0000745799             UMG Recordings, Inc.
3962   Young Jeezy                         Amazin'                                                    SR0000616586             UMG Recordings, Inc.
3963   Young Jeezy                         By The Way                                                 SR0000616586             UMG Recordings, Inc.
3964   Young Jeezy                         Circulate                                                  SR0000616586             UMG Recordings, Inc.
3965   Young Jeezy                         Crazy World                                                SR0000616586             UMG Recordings, Inc.
3966   Young Jeezy                         Don't Do It                                                SR0000616586             UMG Recordings, Inc.
3967   Young Jeezy                         Don't You Know                                             SR0000616586             UMG Recordings, Inc.
3968   Young Jeezy                         Everything                                                 SR0000616586             UMG Recordings, Inc.
3969   Young Jeezy                         Get Allot                                                  SR0000616586             UMG Recordings, Inc.
3970   Young Jeezy                         Hustlaz Ambition                                           SR0000616586             UMG Recordings, Inc.
3971   Young Jeezy                         My President                                               SR0000616586             UMG Recordings, Inc.
3972   Young Jeezy                         Put On                                                     SR0000615616             UMG Recordings, Inc.
3973   Young Jeezy                         Takin' It There                                            SR0000616586             UMG Recordings, Inc.
3974   Young Jeezy                         The Recession                                              SR0000616586             UMG Recordings, Inc.
3975   Young Jeezy                         The Recession (Intro)                                      SR0000616586             UMG Recordings, Inc.
3976   Young Jeezy                         Vacation                                                   SR0000616586             UMG Recordings, Inc.
3977   Young Jeezy                         Welcome Back                                               SR0000616586             UMG Recordings, Inc.
3978   Young Jeezy                         What They Want                                             SR0000616586             UMG Recordings, Inc.
3979   Young Jeezy                         Who Dat                                                    SR0000616586             UMG Recordings, Inc.
3980   Young Jeezy                         Word Play                                                  SR0000616586             UMG Recordings, Inc.
3981   Zedd                                Clarity                                                    SR0000736147             UMG Recordings, Inc.
3982   Zedd                                Epos                                                       SR0000745858             UMG Recordings, Inc.
3983   Zedd                                Fall Into The Sky                                          SR0000745858             UMG Recordings, Inc.
3984   Zedd                                Follow You Down                                            SR0000709927             UMG Recordings, Inc.
3985   Zedd                                Hourglass                                                  SR0000736147             UMG Recordings, Inc.
3986   Zedd                                Lost At Sea                                                SR0000744174             UMG Recordings, Inc.
3987   Zedd                                Shave It Up                                                SR0000709927             UMG Recordings, Inc.
3988   Zedd                                Spectrum                                                   SR0000736147             UMG Recordings, Inc.
3989   Zedd                                Stache                                                     SR0000745858             UMG Recordings, Inc.
3990   Weird Al Yankovic                   A Complicated Song                                         SR0000331347             Volcano Entertainment III, LLC
3991   Weird Al Yankovic                   Achy Breaky Song                                           SR0000184456             Volcano Entertainment III, LLC
3992   Weird Al Yankovic                   Airline Amy                                                SR0000251666             Volcano Entertainment III, LLC
3993   Weird Al Yankovic                   Amish Paradise                                             SR0000225008             Volcano Entertainment III, LLC
3994   Weird Al Yankovic                   Angry White Boy Polka                                      SR0000331347             Volcano Entertainment III, LLC
3995   Weird Al Yankovic                   Bedrock Anthem                                             SR0000184456             Volcano Entertainment III, LLC
3996   Weird Al Yankovic                   Bob                                                        SR0000331347             Volcano Entertainment III, LLC




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3997   Weird Al Yankovic                   Bohemian Polka                                        SR0000184456             Volcano Entertainment III, LLC
3998   Weird Al Yankovic                   Callin' In Sick                                       SR0000225008             Volcano Entertainment III, LLC
3999   Weird Al Yankovic                   Cavity Search                                         SR0000225008             Volcano Entertainment III, LLC
4000   Weird Al Yankovic                   Couch Potato                                          SR0000331347             Volcano Entertainment III, LLC
4001   Weird Al Yankovic                   Ebay                                                  SR0000331347             Volcano Entertainment III, LLC
4002   Weird Al Yankovic                   Everything You Know Is Wrong                          SR0000225008             Volcano Entertainment III, LLC
4003   Weird Al Yankovic                   Frank's 2000" TV                                      SR0000184456             Volcano Entertainment III, LLC
4004   Weird Al Yankovic                   Genius In France                                      SR0000331347             Volcano Entertainment III, LLC
4005   Weird Al Yankovic                   Gump                                                  SR0000225008             Volcano Entertainment III, LLC
4006   Weird Al Yankovic                   Hardware Store                                        SR0000331347             Volcano Entertainment III, LLC
4007   Weird Al Yankovic                   I Can't Watch This                                    SR0000251666             Volcano Entertainment III, LLC
4008   Weird Al Yankovic                   I Remember Larry                                      SR0000225008             Volcano Entertainment III, LLC
4009   Weird Al Yankovic                   I Was Only Kidding                                    SR0000251666             Volcano Entertainment III, LLC
4010   Weird Al Yankovic                   I'm So Sick Of You                                    SR0000225008             Volcano Entertainment III, LLC
4011   Weird Al Yankovic                   Jurassic Park                                         SR0000184456             Volcano Entertainment III, LLC
4012   Weird Al Yankovic                   Livin' In The Fridge                                  SR0000184456             Volcano Entertainment III, LLC
4013   Weird Al Yankovic                   Ode To A Superhero                                    SR0000331347             Volcano Entertainment III, LLC
4014   Weird Al Yankovic                   Party At The Leper Colony                             SR0000331347             Volcano Entertainment III, LLC
4015   Weird Al Yankovic                   Phony Calls                                           SR0000225008             Volcano Entertainment III, LLC
4016   Weird Al Yankovic                   Polka Your Eyes Out                                   SR0000251666             Volcano Entertainment III, LLC
4017   Weird Al Yankovic                   She Never Told Me She Was A Mime                      SR0000184456             Volcano Entertainment III, LLC
4018   Weird Al Yankovic                   Smells Like Nirvana                                   SR0000251666             Volcano Entertainment III, LLC
4019   Weird Al Yankovic                   Spy Hard                                              SR0000251798             Volcano Entertainment III, LLC
4020   Weird Al Yankovic                   Syndicated Inc.                                       SR0000225008             Volcano Entertainment III, LLC
4021   Weird Al Yankovic                   Taco Grande                                           SR0000251666             Volcano Entertainment III, LLC
4022   Weird Al Yankovic                   Talk Soup                                             SR0000184456             Volcano Entertainment III, LLC
4023   Weird Al Yankovic                   The Alternative Polka                                 SR0000225008             Volcano Entertainment III, LLC
4024   Weird Al Yankovic                   The Night Santa Went Crazy                            SR0000225008             Volcano Entertainment III, LLC
4025   Weird Al Yankovic                   The Plumbing Song                                     SR0000251666             Volcano Entertainment III, LLC
4026   Weird Al Yankovic                   The White Stuff                                       SR0000251666             Volcano Entertainment III, LLC
4027   Weird Al Yankovic                   Traffic Jam                                           SR0000184456             Volcano Entertainment III, LLC
4028   Weird Al Yankovic                   Trash Day                                             SR0000331347             Volcano Entertainment III, LLC
4029   Weird Al Yankovic                   Trigger Happy                                         SR0000251666             Volcano Entertainment III, LLC
4030   Weird Al Yankovic                   Waffle King                                           SR0000184456             Volcano Entertainment III, LLC
4031   Weird Al Yankovic                   Wanna B Ur Lovr                                       SR0000331347             Volcano Entertainment III, LLC
4032   Weird Al Yankovic                   Why Does This Always Happen To Me?                    SR0000331347             Volcano Entertainment III, LLC
4033   Weird Al Yankovic                   You Don't Love Me Anymore                             SR0000251666             Volcano Entertainment III, LLC
4034   Weird Al Yankovic                   Young, Dumb & Ugly                                    SR0000184456             Volcano Entertainment III, LLC
4035   Nickelback                          Burn It To The Ground                                 SR0000651954             Warner Music Inc.
4036   Nickelback                          Gotta Be Somebody                                     SR0000651954             Warner Music Inc.
4037   Nickelback                          I'd Come For You                                      SR0000651954             Warner Music Inc.
4038   Nickelback                          If Today Was Your Last Day                            SR0000651954             Warner Music Inc.
4039   Nickelback                          Just To Get High                                      SR0000651954             Warner Music Inc.
4040   Nickelback                          Never Gonna Be Alone                                  SR0000651954             Warner Music Inc.
4041   Nickelback                          Next Go Round                                         SR0000651954             Warner Music Inc.
4042   Nickelback                          S.E.X.                                                SR0000651954             Warner Music Inc.
4043   Nickelback                          Shakin' Hands                                         SR0000651954             Warner Music Inc.
4044   Nickelback                          Something In Your Mouth                               SR0000651954             Warner Music Inc.
4045   Nickelback                          This Afternoon                                        SR0000651954             Warner Music Inc.
4046   Stone Sour                          Bother                                                SR0000330447             Warner Music Inc.
4047   Stone Sour                          Choose                                                SR0000330447             Warner Music Inc.
4048   Stone Sour                          Digital (Did You Tell)                                SR0000689549             Warner Music Inc.
4049   Stone Sour                          Get Inside                                            SR0000330447             Warner Music Inc.
4050   Stone Sour                          Home Again                                            SR0000689549             Warner Music Inc.
4051   Stone Sour                          Inhale                                                SR0000330447             Warner Music Inc.
4052   Stone Sour                          Kill Everybody                                        SR0000357276             Warner Music Inc.
4053   Stone Sour                          Nylon 6/6                                             SR0000689549             Warner Music Inc.
4054   Stone Sour                          Orchids                                               SR0000330447             Warner Music Inc.
4055   Stone Sour                          Pieces                                                SR0000689549             Warner Music Inc.
4056   Stone Sour                          Road Hogs                                             SR0000357276             Warner Music Inc.
4057   Stone Sour                          Say You'll Haunt Me                                   SR0000689549             Warner Music Inc.
4058   Stone Sour                          Take A Number                                         SR0000330447             Warner Music Inc.
4059   Stone Sour                          The Bitter End                                        SR0000689549             Warner Music Inc.
4060   Stone Sour                          Threadbare                                            SR0000689549             Warner Music Inc.
4061   Stone Sour                          Tumult                                                SR0000330447             Warner Music Inc.
4062   Avenged Sevenfold                   Bat Country                                           SR0000374368             Warner Records Inc.
4063   Avenged Sevenfold                   Beast And The Harlot                                  SR0000374368             Warner Records Inc.
4064   Avenged Sevenfold                   Betrayed                                              SR0000374368             Warner Records Inc.
4065   Avenged Sevenfold                   Blinded In Chains                                     SR0000374368             Warner Records Inc.
4066   Avenged Sevenfold                   Burn It Down                                          SR0000374368             Warner Records Inc.
4067   Avenged Sevenfold                   M.I.A.                                                SR0000374368             Warner Records Inc.
4068   Avenged Sevenfold                   Seize The Day                                         SR0000374368             Warner Records Inc.
4069   Avenged Sevenfold                   Sidewinder                                            SR0000374368             Warner Records Inc.
4070   Avenged Sevenfold                   Strength Of The World                                 SR0000374368             Warner Records Inc.
4071   Avenged Sevenfold                   The Wicked End                                        SR0000374368             Warner Records Inc.
4072   Avenged Sevenfold                   Trashed And Scattered                                 SR0000374368             Warner Records Inc.
4073   Blake Shelton                       All About Tonight                                     SR0000668677             Warner Records Inc.
4074   Blake Shelton                       Austin                                                SR0000299678             Warner Records Inc.
4075   Blake Shelton                       Boys 'Round Here                                      SR0000721082             Warner Records Inc.
4076   Blake Shelton                       Country On The Radio                                  SR0000721082             Warner Records Inc.
4077   Blake Shelton                       Do You Remember                                       SR0000721082             Warner Records Inc.
4078   Blake Shelton                       Doin' What She Likes                                  SR0000721082             Warner Records Inc.
4079   Blake Shelton                       Don't Make Me                                         SR0000406834             Warner Records Inc.
4080   Blake Shelton                       Drink On It                                           SR0000693085             Warner Records Inc.
4081   Blake Shelton                       Get Some                                              SR0000693085             Warner Records Inc.
4082   Blake Shelton                       God Gave Me You                                       SR0000693085             Warner Records Inc.
4083   Blake Shelton                       Good Ole Boys                                         SR0000693085             Warner Records Inc.
4084   Blake Shelton                       Goodbye Time                                          SR0000359309             Warner Records Inc.
4085   Blake Shelton                       Granddaddy's Gun                                      SR0000721082             Warner Records Inc.
4086   Blake Shelton                       Hey                                                   SR0000693085             Warner Records Inc.
4087   Blake Shelton                       Hillbilly Bone                                        SR0000685229             Warner Records Inc.
4088   Blake Shelton                       Honey Bee                                             SR0000693085             Warner Records Inc.
4089   Blake Shelton                       I Still Got A Finger                                  SR0000721082             Warner Records Inc.
4090   Blake Shelton                       I'm Sorry                                             SR0000693085             Warner Records Inc.
4091   Blake Shelton                       Kiss My Country Ass                                   SR0000685229             Warner Records Inc.
4092   Blake Shelton                       Lay Low                                               SR0000721082             Warner Records Inc.
4093   Blake Shelton                       Mine Would Be You                                     SR0000721082             Warner Records Inc.
4094   Blake Shelton                       My Eyes                                               SR0000721082             Warner Records Inc.
4095   Blake Shelton                       Nobody But Me                                         SR0000359309             Warner Records Inc.
4096   Blake Shelton                       Ol' Red                                               SR0000300565             Warner Records Inc.




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4097   Blake Shelton                       Over                                                      SR0000693085             Warner Records Inc.
4098   Blake Shelton                       Playboys Of The Southwestern World                        SR0000331177             Warner Records Inc.
4099   Blake Shelton                       Ready To Roll                                             SR0000693085             Warner Records Inc.
4100   Blake Shelton                       Red River Blue                                            SR0000693085             Warner Records Inc.
4101   Blake Shelton                       She Wouldn't Be Gone                                      SR0000659650             Warner Records Inc.
4102   Blake Shelton                       Small Town Big Time                                       SR0000721082             Warner Records Inc.
4103   Blake Shelton                       Some Beach                                                SR0000359307             Warner Records Inc.
4104   Blake Shelton                       Sunny In Seattle                                          SR0000693085             Warner Records Inc.
4105   Blake Shelton                       Sure Be Cool If You Did                                   SR0000721082             Warner Records Inc.
4106   Blake Shelton                       Ten Times Crazier                                         SR0000721082             Warner Records Inc.
4107   Blake Shelton                       The More I Drink                                          SR0000406834             Warner Records Inc.
4108   Blake Shelton                       Who Are You When I'm Not Looking                          SR0000668677             Warner Records Inc.
4109   Disturbed                           Criminal                                                  SR0000647297             Warner Records Inc.
4110   Disturbed                           Deceiver                                                  SR0000647297             Warner Records Inc.
4111   Disturbed                           Divide                                                    SR0000647297             Warner Records Inc.
4112   Disturbed                           Enough                                                    SR0000647297             Warner Records Inc.
4113   Disturbed                           Facade                                                    SR0000647297             Warner Records Inc.
4114   Disturbed                           Haunted                                                   SR0000647297             Warner Records Inc.
4115   Disturbed                           Indestructible                                            SR0000647297             Warner Records Inc.
4116   Disturbed                           Inside The Fire                                           SR0000647297             Warner Records Inc.
4117   Disturbed                           Just Stop                                                 SR0000380289             Warner Records Inc.
4118   Disturbed                           Parasite                                                  SR0000695381             Warner Records Inc.
4119   Disturbed                           Perfect Insanity                                          SR0000647297             Warner Records Inc.
4120   Disturbed                           Run                                                       SR0000695381             Warner Records Inc.
4121   Disturbed                           Stricken                                                  SR0000380288             Warner Records Inc.
4122   Disturbed                           Stupify                                                   SR0000280324             Warner Records Inc.
4123   Disturbed                           The Curse                                                 SR0000647297             Warner Records Inc.
4124   Disturbed                           The Night                                                 SR0000647297             Warner Records Inc.
4125   Disturbed                           Torn                                                      SR0000647297             Warner Records Inc.
4126   Eric Clapton                        (I) Get Lost                                              SR0000276566             Warner Records Inc.
4127   Eric Clapton                        Riding With The King                                      SR0000285808             Warner Records Inc.
4128   Faith Hill                          A Man's Home Is His Castle                                SR0000169102             Warner Records Inc.
4129   Faith Hill                          A Room In My Heart                                        SR0000169102             Warner Records Inc.
4130   Faith Hill                          Baby You Belong                                           SR0000321377             Warner Records Inc.
4131   Faith Hill                          Back To You                                               SR0000321377             Warner Records Inc.
4132   Faith Hill                          Beautiful                                                 SR0000321377             Warner Records Inc.
4133   Faith Hill                          Bed Of Roses                                              SR0000169102             Warner Records Inc.
4134   Faith Hill                          Better Days                                               SR0000253752             Warner Records Inc.
4135   Faith Hill                          Breathe                                                   SR0000276629             Warner Records Inc.
4136   Faith Hill                          Bringing Out The Elvis                                    SR0000276629             Warner Records Inc.
4137   Faith Hill                          But I Will                                                SR0000182853             Warner Records Inc.
4138   Faith Hill                          Cry                                                       SR0000321377             Warner Records Inc.
4139   Faith Hill                          Dearly Beloved                                            SR0000374377             Warner Records Inc.
4140   Faith Hill                          Fireflies                                                 SR0000374377             Warner Records Inc.
4141   Faith Hill                          Go The Distance                                           SR0000182853             Warner Records Inc.
4142   Faith Hill                          I Can't Do That Anymore                                   SR0000169102             Warner Records Inc.
4143   Faith Hill                          I Got My Baby                                             SR0000276629             Warner Records Inc.
4144   Faith Hill                          I Love You                                                SR0000253752             Warner Records Inc.
4145   Faith Hill                          I Think I Will                                            SR0000321377             Warner Records Inc.
4146   Faith Hill                          I Want You                                                SR0000374377             Warner Records Inc.
4147   Faith Hill                          I Would Be Stronger Than That                             SR0000182853             Warner Records Inc.
4148   Faith Hill                          If I Should Fall Behind                                   SR0000276629             Warner Records Inc.
4149   Faith Hill                          If I'm Not In Love                                        SR0000276629             Warner Records Inc.
4150   Faith Hill                          If My Heart Had Wings                                     SR0000276629             Warner Records Inc.
4151   Faith Hill                          If This Is The End                                        SR0000321377             Warner Records Inc.
4152   Faith Hill                          If You Ask                                                SR0000374377             Warner Records Inc.
4153   Faith Hill                          If You're Gonna Fly Away                                  SR0000321377             Warner Records Inc.
4154   Faith Hill                          It Matters To Me                                          SR0000169102             Warner Records Inc.
4155   Faith Hill                          It Will Be Me                                             SR0000276629             Warner Records Inc.
4156   Faith Hill                          I've Got This Friend (With Larry Stewart)                 SR0000182853             Warner Records Inc.
4157   Faith Hill                          Just About Now                                            SR0000182853             Warner Records Inc.
4158   Faith Hill                          Just Around The Eyes                                      SR0000182853             Warner Records Inc.
4159   Faith Hill                          Just To Hear You Say That You Love Me (with Tim McGraw)   SR0000253752             Warner Records Inc.
4160   Faith Hill                          Keep Walkin' On                                           SR0000169102             Warner Records Inc.
4161   Faith Hill                          Let Me Let Go                                             SR0000253752             Warner Records Inc.
4162   Faith Hill                          Let's Go To Vegas                                         SR0000169102             Warner Records Inc.
4163   Faith Hill                          Life's Too Short To Love Like That                        SR0000182853             Warner Records Inc.
4164   Faith Hill                          Like We Never Loved At All                                SR0000374377             Warner Records Inc.
4165   Faith Hill                          Love Ain't Like That                                      SR0000253752             Warner Records Inc.
4166   Faith Hill                          Love Is A Sweet Thing                                     SR0000276629             Warner Records Inc.
4167   Faith Hill                          Me                                                        SR0000253752             Warner Records Inc.
4168   Faith Hill                          Mississippi Girl                                          SR0000374378             Warner Records Inc.
4169   Faith Hill                          My Wild Frontier                                          SR0000253752             Warner Records Inc.
4170   Faith Hill                          One                                                       SR0000321377             Warner Records Inc.
4171   Faith Hill                          Piece Of My Heart                                         SR0000182853             Warner Records Inc.
4172   Faith Hill                          Somebody Stand By Me                                      SR0000253752             Warner Records Inc.
4173   Faith Hill                          Someone Else's Dream                                      SR0000169102             Warner Records Inc.
4174   Faith Hill                          Stealing Kisses                                           SR0000374377             Warner Records Inc.
4175   Faith Hill                          Stronger                                                  SR0000321377             Warner Records Inc.
4176   Faith Hill                          Sunshine & Summertime                                     SR0000374377             Warner Records Inc.
4177   Faith Hill                          Take Me As I Am                                           SR0000182853             Warner Records Inc.
4178   Faith Hill                          That's How Love Moves                                     SR0000276629             Warner Records Inc.
4179   Faith Hill                          The Hard Way                                              SR0000253752             Warner Records Inc.
4180   Faith Hill                          The Lucky One                                             SR0000374377             Warner Records Inc.
4181   Faith Hill                          The Secret Of Life                                        SR0000253752             Warner Records Inc.
4182   Faith Hill                          The Way You Love Me                                       SR0000276629             Warner Records Inc.
4183   Faith Hill                          There Will Come A Day                                     SR0000276629             Warner Records Inc.
4184   Faith Hill                          This Is Me                                                SR0000321377             Warner Records Inc.
4185   Faith Hill                          This Kiss (Pop Remix a.k.a. Radio Version)                SR0000181237             Warner Records Inc.
4186   Faith Hill                          Unsaveable                                                SR0000321377             Warner Records Inc.
4187   Faith Hill                          We've Got Nothing But Love To Prove                       SR0000374377             Warner Records Inc.
4188   Faith Hill                          What's In It For Me                                       SR0000276629             Warner Records Inc.
4189   Faith Hill                          When The Lights Go Down                                   SR0000321377             Warner Records Inc.
4190   Faith Hill                          Wild One                                                  SR0000182853             Warner Records Inc.
4191   Faith Hill                          Wish For You                                              SR0000374377             Warner Records Inc.
4192   Faith Hill                          You Can't Lose Me                                         SR0000169102             Warner Records Inc.
4193   Faith Hill                          You Give Me Love                                          SR0000253752             Warner Records Inc.
4194   Faith Hill                          You Stay With Me                                          SR0000374377             Warner Records Inc.
4195   Faith Hill                          You Will Be Mine                                          SR0000169102             Warner Records Inc.
4196   Faith Hill                          You're Still Here                                         SR0000321377             Warner Records Inc.




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4197   Faith Hill & Tim McGraw             Let's Make Love                                        SR0000276629              Warner Records Inc.
4198   Green Day                           American Eulogy: Mass Hysteria/Modern World            SR0000762131              Warner Records Inc.
4199   Green Day                           Before The Lobotomy                                    SR0000762131              Warner Records Inc.
4200   Green Day                           Christian's Inferno                                    SR0000762131              Warner Records Inc.
4201   Green Day                           Horseshoes and Handgrenades                            SR0000762131              Warner Records Inc.
4202   Green Day                           İViva La Gloria!                                       SR0000762131              Warner Records Inc.
4203   Green Day                           Last Night On Earth                                    SR0000762131              Warner Records Inc.
4204   Green Day                           Murder City                                            SR0000762131              Warner Records Inc.
4205   Green Day                           Peacemaker                                             SR0000762131              Warner Records Inc.
4206   Green Day                           Restless Heart Syndrome                                SR0000762131              Warner Records Inc.
4207   Green Day                           See The Light                                          SR0000762131              Warner Records Inc.
4208   Green Day                           Song Of The Century                                    SR0000762131              Warner Records Inc.
4209   Green Day                           The Static Age                                         SR0000762131              Warner Records Inc.
4210   Gucci Mane                          Haterade                                               SR0000665931              Warner Records Inc.
4211   James Taylor                        Don't Let Me Be Lonely Tonight                         N3810                     Warner Records Inc.
4212   James Taylor                        Golden Moments                                         N35786                    Warner Records Inc.
4213   Jason Derulo                        Marry Me                                               SR0000763207              Warner Records Inc.
4214   Jason Derulo                        Stupid Love                                            SR0000763207              Warner Records Inc.
4215   Jason Derulo                        Trumpets                                               SR0000763207              Warner Records Inc.
4216   Jason Derulo                        Vertigo                                                SR0000763207              Warner Records Inc.
4217   Jason Derulo                        Whatcha Say                                            SR0000685175              Warner Records Inc.
4218   Jason Derulo                        With The Lights On                                     SR0000763207              Warner Records Inc.
4219   John Williams                       Theme from Superman                                    SR0000006230              Warner Records Inc.
4220   Linkin Park                         1stp Klosr                                             SR0000316952              Warner Records Inc.
4221   Linkin Park                         A Place For My Head                                    SR0000288402              Warner Records Inc.
4222   Linkin Park                         BURN IT DOWN                                           SR0000708311              Warner Records Inc.
4223   Linkin Park                         By Myself                                              SR0000288402              Warner Records Inc.
4224   Linkin Park                         By_Myslf                                               SR0000316952              Warner Records Inc.
4225   Linkin Park                         CASTLE OF GLASS                                        SR0000708311              Warner Records Inc.
4226   Linkin Park                         Crawling (Live In Texas)                               SR0000350998              Warner Records Inc.
4227   Linkin Park                         Cure For The Itch                                      SR0000288402              Warner Records Inc.
4228   Linkin Park                         Don't Stay                                             SR0000346247              Warner Records Inc.
4229   Linkin Park                         Easier To Run                                          SR0000346247              Warner Records Inc.
4230   Linkin Park                         Enth E Nd                                              SR0000316952              Warner Records Inc.
4231   Linkin Park                         Faint                                                  SR0000346247              Warner Records Inc.
4232   Linkin Park                         Figure.09                                              SR0000346247              Warner Records Inc.
4233   Linkin Park                         Forgotten                                              SR0000288402              Warner Records Inc.
4234   Linkin Park                         Frgt/10                                                SR0000316952              Warner Records Inc.
4235   Linkin Park                         H! Vltg3                                               SR0000316952              Warner Records Inc.
4236   Linkin Park                         Hit The Floor                                          SR0000346247              Warner Records Inc.
4237   Linkin Park                         I'LL BE GONE                                           SR0000708311              Warner Records Inc.
4238   Linkin Park                         IN MY REMAINS                                          SR0000708311              Warner Records Inc.
4239   Linkin Park                         In The End (Live In Texas)                             SR0000350998              Warner Records Inc.
4240   Linkin Park                         Krwlng                                                 SR0000316952              Warner Records Inc.
4241   Linkin Park                         Kyur4 Th Ich                                           SR0000316952              Warner Records Inc.
4242   Linkin Park                         LIES GREED MISERY                                      SR0000708311              Warner Records Inc.
4243   Linkin Park                         My<Dsmbr                                               SR0000316952              Warner Records Inc.
4244   Linkin Park                         Nobody's Listening                                     SR0000346247              Warner Records Inc.
4245   Linkin Park                         One Step Closer (Live In Texas)                        SR0000350998              Warner Records Inc.
4246   Linkin Park                         P5hng Me A*wy (Live in Texas)                          SR0000350998              Warner Records Inc.
4247   Linkin Park                         Papercut                                               SR0000288402              Warner Records Inc.
4248   Linkin Park                         Plc.4 Mie Haed                                         SR0000316952              Warner Records Inc.
4249   Linkin Park                         Points Of Authority                                    SR0000288402              Warner Records Inc.
4250   Linkin Park                         POWERLESS                                              SR0000708311              Warner Records Inc.
4251   Linkin Park                         PPr:Kut                                                SR0000316952              Warner Records Inc.
4252   Linkin Park                         Pts.OF.Athrty                                          SR0000316952              Warner Records Inc.
4253   Linkin Park                         Rnw@y                                                  SR0000316952              Warner Records Inc.
4254   Linkin Park                         ROADS UNTRAVELED                                       SR0000708311              Warner Records Inc.
4255   Linkin Park                         Runaway                                                SR0000288402              Warner Records Inc.
4256   Linkin Park                         Session                                                SR0000346247              Warner Records Inc.
4257   Linkin Park                         SKIN TO BONE                                           SR0000708311              Warner Records Inc.
4258   Linkin Park                         Somewhere I Belong                                     SR0000346247              Warner Records Inc.
4259   Linkin Park                         TINFOIL                                                SR0000708311              Warner Records Inc.
4260   Linkin Park                         UNTIL IT BREAKS                                        SR0000708311              Warner Records Inc.
4261   Linkin Park                         VICTIMIZED                                             SR0000708311              Warner Records Inc.
4262   Linkin Park                         With You                                               SR0000288402              Warner Records Inc.
4263   Linkin Park                         Wth>You                                                SR0000316952              Warner Records Inc.
4264   Linkin Park                         X-Ecutioner Style                                      SR0000316952              Warner Records Inc.
4265   Linkin Park & Jay-Z                 Dirt Off Your Shoulder/Lying From You                  SR0000362315              Warner Records Inc.
4266   Linkin Park & Jay-Z                 Numb/Encore                                            SR0000362316              Warner Records Inc.
4267   Madonna                             Revolver                                               SR0000662296              Warner Records Inc.
4268   Maze feat. Frankie Beverly          Africa                                                 SR0000107982              Warner Records Inc.
4269   Maze feat. Frankie Beverly          All Night Long                                         SR0000171913              Warner Records Inc.
4270   Maze feat. Frankie Beverly          Can't Get Over You                                     SR0000107982              Warner Records Inc.
4271   Maze feat. Frankie Beverly          Change Our Ways                                        SR0000107982              Warner Records Inc.
4272   Maze feat. Frankie Beverly          Don't Wanna Lose Your Love                             SR0000171913              Warner Records Inc.
4273   Maze feat. Frankie Beverly          In Time                                                SR0000171913              Warner Records Inc.
4274   Maze feat. Frankie Beverly          Just Us                                                SR0000107982              Warner Records Inc.
4275   Maze feat. Frankie Beverly          Laid Back Girl                                         SR0000171913              Warner Records Inc.
4276   Maze feat. Frankie Beverly          Love Is                                                SR0000171913              Warner Records Inc.
4277   Maze feat. Frankie Beverly          Love's On The Run                                      SR0000107982              Warner Records Inc.
4278   Maze feat. Frankie Beverly          Mandela                                                SR0000107982              Warner Records Inc.
4279   Maze feat. Frankie Beverly          Midnight                                               SR0000107982              Warner Records Inc.
4280   Maze feat. Frankie Beverly          Nobody Knows What You Feel Inside                      SR0000171913              Warner Records Inc.
4281   Maze feat. Frankie Beverly          Silky Soul                                             SR0000107982              Warner Records Inc.
4282   Maze feat. Frankie Beverly          Somebody Else's Arms                                   SR0000107982              Warner Records Inc.
4283   Maze feat. Frankie Beverly          Songs Of Love                                          SR0000107982              Warner Records Inc.
4284   Maze feat. Frankie Beverly          The Morning After                                      SR0000171913              Warner Records Inc.
4285   Maze feat. Frankie Beverly          Twilight                                               SR0000171913              Warner Records Inc.
4286   Maze feat. Frankie Beverly          What Goes Up                                           SR0000171913              Warner Records Inc.
4287   My Chemical Romance                 Blood                                                  SR0000651990              Warner Records Inc.
4288   My Chemical Romance                 Bulletproof Heart                                      SR0000681139              Warner Records Inc.
4289   My Chemical Romance                 Bury Me In Black (Demo)                                SR0000360198              Warner Records Inc.
4290   My Chemical Romance                 Cancer                                                 SR0000399985              Warner Records Inc.
4291   My Chemical Romance                 Cancer (Live In Mexico)                                SR0000651990              Warner Records Inc.
4292   My Chemical Romance                 Cemetery Drive                                         SR0000360197              Warner Records Inc.
4293   My Chemical Romance                 Cemetery Drive (Live Version)                          SR0000400291              Warner Records Inc.
4294   My Chemical Romance                 Dead!                                                  SR0000399985              Warner Records Inc.
4295   My Chemical Romance                 Dead! (Live In Mexico)                                 SR0000651990              Warner Records Inc.
4296   My Chemical Romance                 Desert Song                                            SR0000400291              Warner Records Inc.




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4297   My Chemical Romance                 Disenchanted                                                                                 SR0000399985             Warner Records Inc.
4298   My Chemical Romance                 Disenchanted (Live In Mexico)                                                                SR0000651990             Warner Records Inc.
4299   My Chemical Romance                 Famous Last Words                                                                            SR0000399985             Warner Records Inc.
4300   My Chemical Romance                 Famous Last Words (Live In Mexico)                                                           SR0000651990             Warner Records Inc.
4301   My Chemical Romance                 Give 'Em Hell, Kid                                                                           SR0000360197             Warner Records Inc.
4302   My Chemical Romance                 Give 'Em Hell, Kid (Live Version)                                                            SR0000400291             Warner Records Inc.
4303   My Chemical Romance                 Hang 'Em High                                                                                SR0000360197             Warner Records Inc.
4304   My Chemical Romance                 Headfirst For Halos (Live Version)                                                           SR0000400291             Warner Records Inc.
4305   My Chemical Romance                 Helena                                                                                       SR0000360197             Warner Records Inc.
4306   My Chemical Romance                 House Of Wolves                                                                              SR0000399985             Warner Records Inc.
4307   My Chemical Romance                 House Of Wolves (Live In Mexico)                                                             SR0000651990             Warner Records Inc.
4308   My Chemical Romance                 I Don't Love You                                                                             SR0000399985             Warner Records Inc.
4309   My Chemical Romance                 I Don't Love You (Live In Mexico)                                                            SR0000651990             Warner Records Inc.
4310   My Chemical Romance                 I Never Told You What I Do For A Living                                                      SR0000360197             Warner Records Inc.
4311   My Chemical Romance                 I Never Told You What I Do For A Living (Demo)                                               SR0000400291             Warner Records Inc.
4312   My Chemical Romance                 I'm Not Okay (I Promise)                                                                     SR0000360197             Warner Records Inc.
4313   My Chemical Romance                 Interlude                                                                                    SR0000360197             Warner Records Inc.
4314   My Chemical Romance                 Interlude (Live In Mexico)                                                                   SR0000651990             Warner Records Inc.
4315   My Chemical Romance                 It's Not A Fashion Statement It's A Deathwish                                                SR0000360197             Warner Records Inc.
4316   My Chemical Romance                 Mama                                                                                         SR0000399985             Warner Records Inc.
4317   My Chemical Romance                 Mama (Live In Mexico)                                                                        SR0000651990             Warner Records Inc.
4318   My Chemical Romance                 Na Na Na (Na Na Na Na Na Na Na Na Na)                                                        SR0000681139             Warner Records Inc.
4319   My Chemical Romance                 Planetary (GO!)                                                                              SR0000681139             Warner Records Inc.
4320   My Chemical Romance                 Save Yourself, I'll Hold Them Back                                                           SR0000681139             Warner Records Inc.
4321   My Chemical Romance                 Sleep                                                                                        SR0000399985             Warner Records Inc.
4322   My Chemical Romance                 Sleep (Live In Mexico)                                                                       SR0000651990             Warner Records Inc.
4323   My Chemical Romance                 Teenagers                                                                                    SR0000399985             Warner Records Inc.
4324   My Chemical Romance                 Teenagers (Live In Mexico)                                                                   SR0000651990             Warner Records Inc.
4325   My Chemical Romance                 Thank You For The Venom                                                                      SR0000360197             Warner Records Inc.
4326   My Chemical Romance                 Thank You For The Venom (Live Version)                                                       SR0000400291             Warner Records Inc.
4327   My Chemical Romance                 The Black Parade Is Dead (Live In Mexico)                                                    SR0000651990             Warner Records Inc.
4328   My Chemical Romance                 The End.                                                                                     SR0000399985             Warner Records Inc.
4329   My Chemical Romance                 The End. (Live In Mexico)                                                                    SR0000651990             Warner Records Inc.
4330   My Chemical Romance                 The Ghost Of You                                                                             SR0000360197             Warner Records Inc.
4331   My Chemical Romance                 The Jetset Life Is Gonna Kill You                                                            SR0000360197             Warner Records Inc.
4332   My Chemical Romance                 The Kids From Yesterday                                                                      SR0000681139             Warner Records Inc.
4333   My Chemical Romance                 The Only Hope For Me Is You                                                                  SR0000681139             Warner Records Inc.
4334   My Chemical Romance                 The Sharpest Lives                                                                           SR0000399985             Warner Records Inc.
4335   My Chemical Romance                 The Sharpest Lives (Live In Mexico)                                                          SR0000651990             Warner Records Inc.
4336   My Chemical Romance                 This Is How I Disappear                                                                      SR0000399985             Warner Records Inc.
4337   My Chemical Romance                 This Is How I Disappear (Live In Mexico)                                                     SR0000651990             Warner Records Inc.
4338   My Chemical Romance                 To The End                                                                                   SR0000360197             Warner Records Inc.
4339   My Chemical Romance                 Vampire Money                                                                                SR0000681139             Warner Records Inc.
4340   My Chemical Romance                 Welcome To The Black Parade                                                                  SR0000399985             Warner Records Inc.
4341   My Chemical Romance                 Welcome To The Black Parade (Live In Mexico)                                                 SR0000651990             Warner Records Inc.
4342   My Chemical Romance                 You Know What They Do To Guys Like Us In Prison                                              SR0000360197             Warner Records Inc.
4343   Prince                              1999                                                                                         SR0000039818             Warner Records Inc.
4344   Prince                              200 Balloons                                                                                 SR0000112253             Warner Records Inc.
4345   Prince                              4 The Tears In Your Eyes                                                                     SR0000172034             Warner Records Inc.
4346   Prince                              Adore                                                                                        SR0000082403             Warner Records Inc.
4347   Prince                              Alphabet St.                                                                                 SR0000085595             Warner Records Inc.
4348   Prince                              Controversy                                                                                  SR0000029922             Warner Records Inc.
4349   Prince                              Delirious                                                                                    SR0000041035             Warner Records Inc.
4350   Prince                              Dirty Mind                                                                                   SR0000021996             Warner Records Inc.
4351   Prince                              Do Me, Baby                                                                                  SR0000030445             Warner Records Inc.
4352   Prince                              Escape                                                                                       SR0000094291             Warner Records Inc.
4353   Prince                              Feel U Up                                                                                    SR0000109054             Warner Records Inc.
4354   Prince                              Gotta Stop (Messin' About)                                                                   SR0000172034             Warner Records Inc.
4355   Prince                              Head                                                                                         SR0000021996             Warner Records Inc.
4356   Prince                              Horny Toad                                                                                   SR0000049498             Warner Records Inc.
4357   Prince                              How Come U Don't Call Me Anymore                                                             SR0000039818             Warner Records Inc.
4358   Prince                              I Could Never Take The Place Of Your Man                                                     SR0000082403             Warner Records Inc.
4359   Prince                              I Feel for You                                                                               SR0000014281             Warner Records Inc.
4360   Prince                              I Love U In Me                                                                               SR0000113649             Warner Records Inc.
4361   Prince                              If I Was Your Girlfriend                                                                     SR0000082403             Warner Records Inc.
4362   Prince                              Irresistible Bitch                                                                           SR0000050859             Warner Records Inc.
4363   Prince                              La, La, La, He, He, Hee                                                                      SR0000078909             Warner Records Inc.
4364   Prince                              Peach                                                                                        SR0000172034             Warner Records Inc.
4365   Prince                              Pink Cashmere                                                                                SR0000172034             Warner Records Inc.
4366   Prince                              Pope                                                                                         SR0000172034             Warner Records Inc.
4367   Prince                              Power Fantastic                                                                              SR0000172034             Warner Records Inc.
4368   Prince                              Scarlet Pussy                                                                                SR0000102073             Warner Records Inc.
4369   Prince                              Shockadelica                                                                                 SR0000082213             Warner Records Inc.
4370   Prince                              Sign 'O' The Times                                                                           SR0000078909             Warner Records Inc.
4371   Prince                              Soft And Wet                                                                                 SR0000000839             Warner Records Inc.
4372   Prince                              Thieves In The Temple                                                                        SR0000139907             Warner Records Inc.
4373   Prince                              Uptown                                                                                       SR0000021987             Warner Records Inc.
4374   Prince                              When Doves Cry                                                                               SR0000054684             Warner Records Inc.
4375   Prince                              When You Were Mine                                                                           SR0000021996             Warner Records Inc.
4376   Prince                              Why You Wanna Treat Me So Bad                                                                SR0000014281             Warner Records Inc.
4377   Prince & The New Power Generation   7                                                                                            SR0000146900             Warner Records Inc.
4378   Prince & The New Power Generation   Cream                                                                                        SR0000135489             Warner Records Inc.
4379   Prince & The New Power Generation   Nothing Compares 2 U                                                                         SR0000172034             Warner Records Inc.
4380   Prince & The New Power Generation   Sexy M.F.                                                                                    SR0000146900             Warner Records Inc.
4381   Prince & The New Power Generation   Gett Off                                                                                     SR0000135873             Warner Records Inc.
4382   Prince And The Revolution           17 Days (the rain will come down, then U will have 2 choose. If U believe, look 2 the dawn   SR0000054684             Warner Records Inc.
                                           and U shall never lose)
4383   Prince And The Revolution           Another Lonely Christmas                                                                     SR0000058458             Warner Records Inc.
4384   Prince And The Revolution           Erotic City                                                                                  SR0000055739             Warner Records Inc.
4385   Prince And The Revolution           Girl                                                                                         SR0000066585             Warner Records Inc.
4386   Prince And The Revolution           God                                                                                          SR0000057169             Warner Records Inc.
4387   Prince And The Revolution           Hello                                                                                        SR0000064741             Warner Records Inc.
4388   Prince And The Revolution           Kiss                                                                                         SR0000069888             Warner Records Inc.
4389   Prince And The Revolution           Let's Go Crazy                                                                               SR0000054679;
                                                                                                                                                                 Warner Records Inc.
                                                                                                                                        SR0000055615
4390   Prince And The Revolution           Pop Life                                                                                     SR0000062059             Warner Records Inc.
4391   Prince And The Revolution           Purple Rain (Short Version)                                                                  SR0000057169             Warner Records Inc.
4392   Prince And The Revolution           Raspberry Beret                                                                              SR0000062059             Warner Records Inc.
4393   Prince And The Revolution           She's Always In My Hair                                                                      SR0000062682             Warner Records Inc.
4394   Randy Travis                        Forever And Ever, Amen                                                                       SR0000080879             Warner Records Inc.




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4395   The Cure                            Let's Go To Bed                                         SR0000045130             Warner Records/SIRE Ventures LLC
4396   The Cure                            The Caterpillar                                         SR0000054339             Warner Records/SIRE Ventures LLC
4397   Coldplay                            A Message                                               SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4398   Coldplay                            Fix You                                                 SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4399   Coldplay                            Low                                                     SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4400   Coldplay                            Speed Of Sound                                          SRu000573811             WEA International Inc.
4401   Coldplay                            Square One                                              SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4402   Coldplay                            Swallowed In The Sea                                    SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4403   Coldplay                            Talk                                                    SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4404   Coldplay                            The Hardest Part                                        SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4405   Coldplay                            Til Kingdom Come                                        SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4406   Coldplay                            Twisted Logic                                           SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4407   Coldplay                            What If                                                 SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4408   Coldplay                            White Shadows                                           SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4409   Coldplay                            X&Y                                                     SRu000573811;
                                                                                                                            WEA International Inc.
                                                                                                   SR0000376828
4410   David Guetta                        Choose                                                  SR0000643286             WEA International Inc.
4411   David Guetta                        Crank It Up                                             SR0000683523             WEA International Inc.
4412   David Guetta                        Gettin' Over                                            SR0000649229             WEA International Inc.
4413   David Guetta                        I Can Only Imagine                                      SR0000683523             WEA International Inc.
4414   David Guetta                        In My Head                                              SR0000712148             WEA International Inc.
4415   David Guetta                        It's The Way You Love Me                                SR0000643286             WEA International Inc.
4416   David Guetta                        Just One Last Time                                      SR0000712148             WEA International Inc.
4417   David Guetta                        Little Bad Girl                                         SR0000683522             WEA International Inc.
4418   David Guetta                        Memories                                                SR0000643286             WEA International Inc.
4419   David Guetta                        Metropolis (Edit)                                       SR0000712148             WEA International Inc.
4420   David Guetta                        Missing You                                             SR0000643286             WEA International Inc.
4421   David Guetta                        Night Of Your Life                                      SR0000683519             WEA International Inc.
4422   David Guetta                        On The Dancefloor                                       SR0000678057             WEA International Inc.
4423   David Guetta                        Play Hard                                               SR0000712148             WEA International Inc.
4424   David Guetta                        She Wolf (Falling to Pieces)                            SR0000712148             WEA International Inc.
4425   David Guetta                        Sound Of Letting Go                                     SR0000643286             WEA International Inc.
4426   David Guetta                        Titanium                                                SR0000683518             WEA International Inc.
4427   David Guetta                        What the F***                                           SR0000712148             WEA International Inc.
4428   David Guetta                        When Love Takes Over                                    SR0000643600             WEA International Inc.
4429   David Guetta                        Without You                                             SR0000683523             WEA International Inc.
4430   David Guetta                        How Soon Is Now                                         SR0000701482             WEA International Inc.
4431   David Guetta                        I Just Wanna F.                                         SR0000683523             WEA International Inc.
4432   David Guetta                        I Wanna Go Crazy                                        SR0000643286             WEA International Inc.
4433   David Guetta                        Nothing Really Matters                                  SR0000683523             WEA International Inc.
4434   David Guetta                        Repeat                                                  SR0000683523             WEA International Inc.
4435   David Guetta                        Where Them Girls At                                     SR0000683517             WEA International Inc.
4436   Ed Sheeran                          Drunk                                                   SR0000704259             WEA International Inc.
4437   Ed Sheeran                          Give Me Love                                            SR0000704259             WEA International Inc.
4438   Ed Sheeran                          Grade 8                                                 SR0000704259             WEA International Inc.
4439   Ed Sheeran                          Lego House                                              SR0000704259             WEA International Inc.
4440   Ed Sheeran                          Small Bump                                              SR0000704259             WEA International Inc.
4441   Ed Sheeran                          The A Team                                              SR0000704259             WEA International Inc.
4442   Ed Sheeran                          The City                                                SR0000704259             WEA International Inc.
4443   Ed Sheeran                          This                                                    SR0000704259             WEA International Inc.
4444   Ed Sheeran                          U.N.I.                                                  SR0000704259             WEA International Inc.
4445   Ed Sheeran                          Wake Me Up                                              SR0000704259             WEA International Inc.
4446   Ed Sheeran                          You Need Me, I Don't Need You                           SR0000704259             WEA International Inc.
4447   Gorillaz                            5/4                                                     SR0000409208             WEA International Inc.
4448   Gorillaz                            19-2000                                                 SR0000409208             WEA International Inc.
4449   Gorillaz                            All Alone                                               SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4450   Gorillaz                            Clint Eastwood                                          SR0000409208             WEA International Inc.
4451   Gorillaz                            DARE                                                    SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4452   Gorillaz                            Demon Days                                              SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4453   Gorillaz                            Dirty Harry                                             SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4454   Gorillaz                            Don't Get Lost In Heaven                                SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4455   Gorillaz                            El Mañana                                               SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4456   Gorillaz                            Every Planet We Reach Is Dead                           SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4457   Gorillaz                            Feel Good Inc.                                          SR0000379134;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4458   Gorillaz                            Fire Coming Out Of The Monkey's Head                    SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4459   Gorillaz                            Hong Kong                                               SR0000614363             WEA International Inc.
4460   Gorillaz                            Kids With Guns                                          SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4461   Gorillaz                            Last Living Souls                                       SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4462   Gorillaz                            November Has Come                                       SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4463   Gorillaz                            O Green World                                           SR0000379135;
                                                                                                                            WEA International Inc.
                                                                                                   SRu000573812
4464   Gorillaz                            On Melancholy Hill                                      SR0000650312             WEA International Inc.
4465   Gorillaz                            People                                                  SR0000614363             WEA International Inc.
4466   Gorillaz                            Re-Hash                                                 SR0000409208             WEA International Inc.
4467   Gorillaz                            Rhinestone Eyes                                         SR0000650312             WEA International Inc.
4468   Gorillaz                            Rock The House                                          SR0000371589             WEA International Inc.
4469   Gorillaz                            Rockit                                                  SR0000614363             WEA International Inc.




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                            Artist                                                      Track                 Registration Number                    Plaintiff
4470   Gorillaz                                Stylo                                                      SR0000650310              WEA International Inc.
4471   Gorillaz                                Superfast Jellyfish                                        SR0000650312              WEA International Inc.
4472   Gorillaz                                Tomorrow Comes Today                                       SR0000373824              WEA International Inc.
4473   Gorillaz                                White Light                                                SR0000379135;
                                                                                                                                    WEA International Inc.
                                                                                                          SRu000573812
4474   Muse                                    Assassin                                                   SR0000400299              WEA International Inc.
4475   Muse                                    Bliss                                                      SR0000383074              WEA International Inc.
4476   Muse                                    Citizen Erased                                             SR0000383074              WEA International Inc.
4477   Muse                                    City Of Delusion                                           SR0000400299              WEA International Inc.
4478   Muse                                    Exo-Politics                                               SR0000400299              WEA International Inc.
4479   Muse                                    Feeling Good                                               SR0000383074              WEA International Inc.
4480   Muse                                    Hoodoo                                                     SR0000400299              WEA International Inc.
4481   Muse                                    Hyper Music                                                SR0000383074              WEA International Inc.
4482   Muse                                    Invincible                                                 SR0000400299              WEA International Inc.
4483   Muse                                    Knights Of Cydonia                                         SR0000400299              WEA International Inc.
4484   Muse                                    Map Of The Problematique                                   SR0000400299              WEA International Inc.
4485   Muse                                    Megalomania                                                SR0000383074              WEA International Inc.
4486   Muse                                    Micro Cuts                                                 SR0000383074              WEA International Inc.
4487   Muse                                    New Born                                                   SR0000383074              WEA International Inc.
4488   Muse                                    Plug In Baby                                               SR0000383074              WEA International Inc.
4489   Muse                                    Prelude                                                    SR0000721619              WEA International Inc.
4490   Muse                                    Soldier's Poem                                             SR0000400299              WEA International Inc.
4491   Muse                                    Starlight                                                  SR0000400299              WEA International Inc.
4492   Muse                                    Supermassive Black Hole                                    SR0000400298              WEA International Inc.
4493   Muse                                    The 2nd Law: Unsustainable                                 SR0000721619              WEA International Inc.
4494   Muse                                    United States Of Eurasia (+Collateral Damage)              SR0000682053              WEA International Inc.
4495   Space Monkeyz vs. Gorillaz              Lil' Dub Chefin'                                           SR0000336541              WEA International Inc.
4496   Britney Spears                          Amnesia                                                    SR0000620789              Zomba Recording LLC
4497   Britney Spears                          Blur                                                       SR0000620789              Zomba Recording LLC
4498   Britney Spears                          Circus                                                     SR0000620789              Zomba Recording LLC
4499   Britney Spears                          If U Seek Amy                                              SR0000620789              Zomba Recording LLC
4500   Britney Spears                          Kill The Lights                                            SR0000620789              Zomba Recording LLC
4501   Britney Spears                          Lace and Leather                                           SR0000620789              Zomba Recording LLC
4502   Britney Spears                          Mannequin                                                  SR0000620789              Zomba Recording LLC
4503   Britney Spears                          Mmm Papi                                                   SR0000620789              Zomba Recording LLC
4504   Britney Spears                          My Baby                                                    SR0000620789              Zomba Recording LLC
4505   Britney Spears                          Out From Under                                             SR0000620789              Zomba Recording LLC
4506   Britney Spears                          Phonography                                                SR0000620789              Zomba Recording LLC
4507   Britney Spears                          Radar                                                      SR0000609604              Zomba Recording LLC
4508   Britney Spears                          Rock Me In                                                 SR0000620789              Zomba Recording LLC
4509   Britney Spears                          Shattered Glass                                            SR0000620789              Zomba Recording LLC
4510   Britney Spears                          Unusual You                                                SR0000620789              Zomba Recording LLC
4511   Britney Spears                          Womanizer                                                  PA0001619000              Zomba Recording LLC
4512   Chris Brown                             Damage                                                     SR0000630132              Zomba Recording LLC
4513   Chris Brown                             Down                                                       SR0000630132              Zomba Recording LLC
4514   Chris Brown                             Forever                                                    SR0000613921              Zomba Recording LLC
4515   Chris Brown                             Gimme Whatcha Got                                          SR0000630132              Zomba Recording LLC
4516   Chris Brown                             Heart Ain't A Brain                                        SR0000613921              Zomba Recording LLC
4517   Chris Brown                             Help Me                                                    SR0000630132              Zomba Recording LLC
4518   Chris Brown                             Hold Up                                                    SR0000630132              Zomba Recording LLC
4519   Chris Brown                             I Wanna Be                                                 SR0000630132              Zomba Recording LLC
4520   Chris Brown                             I'll Call Ya                                               SR0000630132              Zomba Recording LLC
4521   Chris Brown                             Kiss Kiss                                                  SR0000630132              Zomba Recording LLC
4522   Chris Brown                             Lottery                                                    SR0000630132              Zomba Recording LLC
4523   Chris Brown                             Nice                                                       SR0000630132              Zomba Recording LLC
4524   Chris Brown                             Picture Perfect                                            SR0000630132              Zomba Recording LLC
4525   Chris Brown                             Superhuman                                                 SR0000613921              Zomba Recording LLC
4526   Chris Brown                             Take You Down                                              SR0000630132              Zomba Recording LLC
4527   Chris Brown                             Throwed                                                    SR0000630132              Zomba Recording LLC
4528   Chris Brown                             Wall To Wall                                               PA0001634637              Zomba Recording LLC
4529   Chris Brown                             With You                                                   SR0000630132              Zomba Recording LLC
4530   Chris Brown                             You                                                        SR0000630132              Zomba Recording LLC
4531   Ciara                                   And I                                                      SR0000355316              Zomba Recording LLC
4532   Ciara                                   Crazy                                                      SR0000355316              Zomba Recording LLC
4533   Ciara                                   Goodies                                                    SR0000355316              Zomba Recording LLC
4534   Ciara                                   Hotline                                                    SR0000355316              Zomba Recording LLC
4535   Ciara                                   Lookin' At You                                             SR0000355316              Zomba Recording LLC
4536   Ciara                                   Ooh Baby                                                   SR0000355316              Zomba Recording LLC
4537   Ciara                                   Other Chicks                                               SR0000355316              Zomba Recording LLC
4538   Ciara                                   Pick Up The Phone                                          SR0000355316              Zomba Recording LLC
4539   Ciara                                   The Title                                                  SR0000355316              Zomba Recording LLC
4540   Ciara                                   Thug Style                                                 SR0000355316              Zomba Recording LLC
4541   Ciara feat. Missy Elliott               One, Two Step                                              SR0000355316              Zomba Recording LLC
4542   Ciara feat. R. Kelly                    Next To You                                                SR0000355316              Zomba Recording LLC
4543   Justin Timberlake                       (Another Song) All Over Again                              SR0000395943              Zomba Recording LLC
4544   Justin Timberlake                       Chop Me Up                                                 SR0000395943              Zomba Recording LLC
4545   Justin Timberlake                       FutureSex / LoveSound                                      SR0000395943              Zomba Recording LLC
4546   Justin Timberlake                       Losing My Way                                              SR0000395943              Zomba Recording LLC
4547   Justin Timberlake                       Lovestoned/ I Think She Knows                              SR0000395943              Zomba Recording LLC
4548   Justin Timberlake                       Medley: Sexy Ladies / Let Me Talk to You (Prelude)         SR0000395943              Zomba Recording LLC
4549   Justin Timberlake                       My Love                                                    SR0000395943              Zomba Recording LLC
4550   Justin Timberlake                       Sexy Ladies                                                SR0000395943              Zomba Recording LLC
4551   Justin Timberlake                       Summer Love                                                SR0000395943              Zomba Recording LLC
4552   Justin Timberlake                       Until The End Of Time                                      SR0000395943              Zomba Recording LLC
4553   Justin Timberlake                       What Goes Around... Comes Around                           SR0000395943              Zomba Recording LLC
4554   Justin Timberlake feat. will.i.am       Damn Girl                                                  SR0000395943              Zomba Recording LLC
4555   Three Days Grace                        Born Like This                                             SR0000338429              Zomba Recording LLC
4556   Three Days Grace                        Burn                                                       SR0000338429              Zomba Recording LLC
4557   Three Days Grace                        Drown                                                      SR0000338429              Zomba Recording LLC
4558   Three Days Grace                        I Hate Everything About You                                SR0000338429              Zomba Recording LLC
4559   Three Days Grace                        Just Like You                                              SR0000338429              Zomba Recording LLC
4560   Three Days Grace                        Let You Down                                               SR0000338429              Zomba Recording LLC
4561   Three Days Grace                        Now or Never                                               SR0000338429              Zomba Recording LLC
4562   Three Days Grace                        Overrated                                                  SR0000338429              Zomba Recording LLC
4563   Three Days Grace                        Scared                                                     SR0000338429              Zomba Recording LLC
4564   Three Days Grace                        Take Me Under                                              SR0000338429              Zomba Recording LLC
4565   Three Days Grace                        Wake Up                                                    SR0000338429              Zomba Recording LLC
4566   UGK (Underground Kingz) feat. Outkast   Int'l Players Anthem (I Choose You)                        PA0001634651              Zomba Recording LLC
4567   Usher                                   Confessions Part II (Remix)                                SR0000352165              Zomba Recording LLC
4568   Usher                                   My Boo                                                     SR0000352165              Zomba Recording LLC




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                           Artist                                                Track               Registration Number                  Plaintiff
4569   Usher                               Red Light                                              SR0000352165             Zomba Recording LLC
4570   Usher                               Seduction                                              SR0000352165             Zomba Recording LLC
4571   Weird Al Yankovic                   Albuquerque                                            SR0000275219             Zomba Recording LLC
4572   Weird Al Yankovic                   Germs                                                  SR0000275219             Zomba Recording LLC
4573   Weird Al Yankovic                   Grapefruit Diet                                        SR0000275219             Zomba Recording LLC
4574   Weird Al Yankovic                   It's All About The Pentiums                            SR0000275219             Zomba Recording LLC
4575   Weird Al Yankovic                   Jerry Springer                                         SR0000275219             Zomba Recording LLC
4576   Weird Al Yankovic                   My Baby's In Love With Eddie Vedder                    SR0000275219             Zomba Recording LLC
4577   Weird Al Yankovic                   Polka Power!                                           SR0000275219             Zomba Recording LLC
4578   Weird Al Yankovic                   Pretty Fly For A Rabbi                                 SR0000275219             Zomba Recording LLC
4579   Weird Al Yankovic                   The Saga Begins                                        SR0000275219             Zomba Recording LLC
4580   Weird Al Yankovic                   The Weird Al Show Theme                                SR0000275219             Zomba Recording LLC
4581   Weird Al Yankovic                   Truck Drivin' Song                                     SR0000275219             Zomba Recording LLC
4582   Weird Al Yankovic                   Your Horoscope For Today                               SR0000275219             Zomba Recording LLC




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